              Case 3:16-bk-02230-PMG         Doc 1118     Filed 07/18/18   Page 1 of 352


                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION

    In re:
                                                             Case No.: 3:16-bk-02230-PMG
    RMS TITANIC, INC., et al.,
                                                            Chapter 11
          Debtors. 1
    ________________________________/                       (Jointly Administered)


 OBJECTION OF THE OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS
TO DEBTORS' MOTION TO RECONSIDER THE COURT'S ORDER GRANTING THE
  MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, THE
TRUSTEES OF THE NATIONAL MARITIME MUSEUM, THE BOARD OF TRUSTEES
   OF NATIONAL MUSEUMS AND GALLERIES OF NORTHERN IRELAND, AND
      RUNNING SUBWAY PRODUCTIONS, LLC FOR ENTRY OF AN ORDER
     SCHEDULING A STATUS CONFERENCE ON OR BEFORE JULY 25, 2018

             The Official Committee of Equity Security Holders (the "Equity Committee") of Premier

Exhibitions, Inc. ("Premier"), Chapter 11 Debtor in Case No. 3:16-bk-02232-PMG and the parent

company of RMS Titanic, Inc. ("RMST"), the Chapter 11 Debtor in Case No. 3:16-bk-02230-

PMG, by and through undersigned counsel, files its objection to the Debtors' Motion to

Reconsider the Court's Order Granting the Motion of the Official Committee of Unsecured

Creditors, the Trustees of the National Maritime Museum, the Board of Trustees of National

Museum and Galleries of Northern Ireland, and Running Subway Productions, LLC for Entry of

an Order Scheduling a Status Conference on or Before July 25, 2018 (the "Reconsideration

Motion") (Doc. 1114), and respectfully represents the following:




1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax
identification number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier
Exhibitions Management, LLC (3101); Arts and Exhibitions International, LLC (3101); Premier
Exhibitions International, LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising,
LLC (3867); and Dinosaurs Unearthed Corp. (7309) (collectively, the "Debtors"). The Debtors' service
address is 3045 Kingston Court, Suite I, Peachtree Corners, Georgia 30071.


45845346;1
             Case 3:16-bk-02230-PMG         Doc 1118       Filed 07/18/18      Page 2 of 352


                                    FACTUAL BACKGROUND

         1.      On June 14, 2016 (the "Petition Date"), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code, commencing the above-captioned,

jointly administered bankruptcy case (the "Bankruptcy Case").

         2.      The Debtors continue to operate their businesses as debtors in possession pursuant

to Bankruptcy Code Section 1107 and 1108.

         3.      No trustee or examiner has been appointed in the Bankruptcy Case.

         4.      On June 15, 2018, the Debtors filed the Motion for Approval of (a) Competitive

Bidding and Sale Procedures; (b) Form and Manner of Notices; (c) Form of Asset Purchase

Agreement; (d) Break Up-Fee and Expense Reimbursement; (e) Scheduling Auction and Hearing

to Consider Final Approval of Sale, Including Rejection or Assumption and Assignment of

Related Executory Contracts and Unexpired Leases; (f) Authorizing Sale of the Transferred

Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests; (g) Settlement with

PacBridge Parties; and (h) Granting Related Relief (Doc. 1055) (the "Sale Motion"). A

preliminary hearing on the Sale Motion was originally scheduled for July 25, 2018.

         5.      On June 29, 2018, the Debtors filed their Motion To Approve Asset Purchase

Agreement And Authorize The Sale Of 100% Of RMST's Stock To Premier Acquisition Holdings

LLC Or Other Qualified Purchaser As Approved By The Bankruptcy Court (the “Sale Approval

Motion”)2 in the United States District Court for the Eastern District of Virginia (the “District




2
 The Debtors apparently filed the Sale Approval Motion at the clerk’s window in Richmond, Virginia, and
not electronically. The Sale Approval Motion did not appear on PACER until July 5, 2018. The Debtors
did not give notice of the filing to any of the parties in interest in the Bankruptcy Cases. A copy of the
Approval Motion is attached hereto as Exhibit 1.


                                                    2
45845346;1
             Case 3:16-bk-02230-PMG       Doc 1118      Filed 07/18/18    Page 3 of 352


Court”), sitting as the Admiralty Court in the matter of RMST v The Wrecked and Abandoned

Vessel…believed to be the RMS Titanic, in rem, Civil Action No. 2:93cv902.

         6.      On July 6, 2018, the Official Committee of Unsecured Creditors (the "Creditors'

Committee"), the Trustees of the National Maritime Museum, the Board of Trustees of National

Museums and Galleries of Northern Ireland, and Running Subway Productions, LLC filed a

Motion for Entry of an Order Scheduling a Status Conference on or Before July 25, 2018 (Doc.

1099) (the "Status Conference Motion").

         7.      On July 10, 2018, the Equity Committee filed its Limited Joinder in and Statement

in Support of the Motion of the Official Committee of Unsecured Creditors, The Trustees Of The

National Maritime Museum, The Board Of Trustees Of National Museums And Galleries Of

Northern Ireland, And Running Subway Productions, LLC For Entry Of An Order Scheduling a

Status Conference On or Before July 25, 2018 (Doc. 1103) (the “Limited Joinder”).

         8.      On July 11, 2018, Euclid Claims Recovery LLC filed an Objection (Doc. 1109)

to the Sale Motion.

         9.      On July 13, 2018, the Court entered the Order Granting Motion of the Official

Committee of Unsecured Creditors, the Trustees of the National Maritime Museum, the Board of

Trustees of National Museums and Galleries of Northern Ireland, and Running Subway

Productions, LLC for Entry of an Order Scheduling a Status Conference on or Before July 25,

2018 (Doc. 1112) (the "Status Conference Order").

         10.     On July 16, 2018, the Debtors filed the Reconsideration Motion.

                                  SUMMARY OF ARGUMENT

         11.     Reconsideration is appropriate only where the moving party produces newly

discovered evidence that was not available prior to the court's ruling, the court made a "clear



                                                  3
45845346;1
             Case 3:16-bk-02230-PMG       Doc 1118      Filed 07/18/18     Page 4 of 352


error" in deciding a legal argument raised prior to the ruling, or newly made controlling law

would alter the result. None of these criteria is present here.

         12.     The Debtors present no new evidence in support of their Reconsideration Motion

but simply repeat the factual allegations of the initial Sale Motion that the Purchasers have

demanded that the sale close by a certain date in August. That was stated in the Sale Motion and

is restated numerous times by the Debtors in their Reconsideration Motion.

         13.     The remainder of the Reconsideration Motion is comprised of objections to the

Equity Committee Plan and Disclosure Statement and the Creditors Committee Plan and

Disclosure Statement. None of these arguments address the central issues to be addressed at the

Status Conference on July 25: (i) whether the three proposals to liquidate the Debtors and their

assets should be presented on a level playing field with an opportunity for all of the economic

stakeholders of the estate to be heard, not just the inside equity holders who comprise the Stalking

Horse Purchaser; and (ii) whether a procedure should be instituted to provide structure to the

parties supporting their respective liquidation plans and the two Courts whose jurisdiction is

implicated by those proposals.

         14.     Nothing presented by the Debtors in their Reconsideration Motion rises to the

level that the Court now should reverse itself and proceed to hear the Sale Motion and the

Disclosure Statement hearings on July 25.

                                              OBJECTION

    A. The Debtors Present No Legal Justification for Reconsideration.

         15.     Motions for reconsideration fall "within the ambit of either Federal Rule of Civil

Procedure 59(e) (motion to alter or amend a judgment) or Federal Rule of Civil Procedure 60(b)

(motion for relief from judgment)." Alternative Debt Portfolios, L.P. v. E-Z Pay Servs. (In re EZ



                                                  4
45845346;1
             Case 3:16-bk-02230-PMG        Doc 1118      Filed 07/18/18      Page 5 of 352


Pay Servs., Inc.), 390 B.R. 445, 464 (Bankr. M.D. Fla. 2008) (internal citations and quotations

omitted); see Region 8 Forest Serv. Timber Purchases Council v. Alcock, 993 F.2d 800, 806 n.5

(11th Cir. 1993). "A motion to alter or amend a judgment must demonstrate why the court should

reconsider its prior decisions and set forth facts or law of a strongly convincing nature to induce

the court to reconsider its prior decision." Mead v. USA (In re Mead), 374 B.R. 296, 309 (Bankr.

M.D. Fla. 2007) (internal quotations and citations omitted).

         16.     "'[R]econsideration of a previous order is an extraordinary remedy to be employed

sparingly in the interests of finality and conservation of scarce judicial resources.'" Id. (internal

citations omitted).

         17.     "Rule 59(e) does not specify grounds for relief, but the Eleventh Circuit Court of

Appeals has articulated that the only grounds for granting a motion for reconsideration 'are newly-

discovered evidence or manifest errors of law or fact.'" Blue Dream Pools, Inc. v. Ross (In re Ross),

379 B.R. 207, 212 (Bankr. M.D. Fla. 2007) (quoting Kellogg v. Schreiber (In re Kellogg), 197

F.3d 1116, 1119 (11th Cir. 1999)). In other words, "[a] court can grant a motion for reconsideration

when the moving party shows one of three criteria: (1) there is newly available evidence; (2) there

is an intervening change in the controlling law; or (3) there is a need to correct a clear error of law

or to prevent manifest injustice." Mead, 374 B.R. at 309; E-Z Pay Servs., 390 B.R. at 464.

         18.     "A manifest error [of law or fact] 'is not demonstrated by the disappointment of the

losing party'; rather it arises upon the court's 'wholesale disregard, misapplication, or failure to

recognize controlling precedent.'" In re Castleberry, 437 B.R. 705, 707 (Bankr. M.D. Ga. 2010)

(quoting Oto v. Metro. Life Ins. Co., 224 F.3d 601, 606 (7th Cir. 2000); Sedrak v. Callahan, 987

F. Supp. 1063, 1069 (N.D. Ill. 1997)).




                                                  5
45845346;1
             Case 3:16-bk-02230-PMG        Doc 1118      Filed 07/18/18      Page 6 of 352


         19.     "Motions for reconsideration . . . are not simply an opportunity to reargue facts and

theories upon which a court has already ruled." Black v. Tomlinson, 235 F.R.D. 532, 533 (D.D.C.

2006).

         20.     As this Court noted in D'Angelo v. Parker (In re Parker), 378 B.R. 365, 371 (Bankr.

M.D. Fla. 2007), "[t]he function of a motion to alter or amend a judgment is not to serve as a

vehicle to relitigate old matters or present the case under a new legal theory . . . [or] to give the

moving party another 'bite at the apple' by permitting the arguing of issues and procedures that

could and should have been raised prior to judgment." (quoting Mathis v. U.S. (In re Mathis), 312

B.R. 912, 914 (Bankr. S.D. Fla. 2005)); In re Grand Builders, Inc., 122 B.R. 673, 675-676 (Bankr.

W.D. Pa. 1990) (motion for reconsideration "is not a vehicle for rehashing arguments previously

made or for refuting the court's prior ruling").

         21.     A motion for reconsideration is improper if designed simply to ask a court to rethink

its prior decision. In re Mannie, 299 B.R. 603, 607-608 (Bankr. N.D. Cal. 2003).

         22.     The Debtors have presented no legal justification for reconsideration of the Status

Conference Order.

    B. The Debtors Present No Evidence Requiring Reconsideration.

         23.     The Debtors purported “evidence” in support of reconsideration is nothing but a

misguided diatribe against the official committees for daring to represent the interests of their

respective constituencies. The Debtors, for example, underscore that the members of the Equity

Committee hold only about 10% of the outstanding shares equity in the Debtors, while the

Purchasers hold 40% of the shares. The Equity Committee members, however, are fiduciaries

for all equity holders, while the shareholder members of the Purchaser3 represent only their own


3
 The secured lender members of the Stalking Horse are part of the control group through which Daoping
Bao controls the Debtor. Each shareholder contributed their stock to the voting trust which made Daoping

                                                   6
45845346;1
             Case 3:16-bk-02230-PMG         Doc 1118      Filed 07/18/18      Page 7 of 352


self-interests as purchasers of estate assets. They do not represent the interests of shareholders

other than themselves; representing the interests of non-purchasing shareholders is the statutory

duty of the Equity Committee.

i.           The Debtors Arguments Respecting the Equity Committee are Inapposite.

         24.       The Debtors misstate the Equity Committee’s opposition to the November 2017

Letter of Intent from some of the current Stalking Horse Group – PacBridge and the Secured

Lenders. Reconsideration Motion, p. 14, FN 8. That letter, Exhibit B to the Reconsideration

Motion, reflects the Equity Committee’s concern that the Debtors’ Chairman, Daoping Bao, was

to receive an equity interest in the entity acquiring the Debtors. That concern, as expressed in

Exhibit B, was that,

         “Mr. Bao participated fully for the entire five months of the sale process in negotiations

         with PacBridge, as well as every other potential purchaser, and supervised the sale

         process in his capacity as Chairman and CEO of the Debtors. During this period, Mr.

         Bao had full access to every aspect of the process; received regular updates from Glass

         Ratner regarding potential bidders and the associated terms with respect to the offers,

         proposals, and terms sheets submitted by each.”

Reconsideration Motion, Exhibit B, October 11, 2017 letter to Mr. Cavender, page 2.

         25.       It is inappropriate for an interested member of management and a director who

has an interest in the proposal from one potential bidder to participate in the process by which

the Debtors select a bidder. The Equity Committee complained about that process, and demanded

that Mr. Bao be excluded from the sale process and that the Debtors identify those members of


Bao CEO and Chairman of the Board. Since they are part of the control group, they are insiders under 11
U.S.C. § 101(31)(B)(iii). Attached as Exhibit 2 is the Rule 13D form filed by the secured lenders and Mr.
Bao in which they acknowledge the establishment of the voting trust which controls the Debtors.


                                                   7
45845346;1
             Case 3:16-bk-02230-PMG         Doc 1118      Filed 07/18/18     Page 8 of 352


the board and management who would supervise the sale process. The Debtors' agreed to that

demand. In his October 16, 2017 letter responding to the Equity Committee demands, Mr.

Cavender stated:

         "Because PacBridge has indicated in its latest term sheet that it desires for Mr. Bao to

         participate in some way in connection with its proposed transaction, it is entirely

         appropriate, and the Debtors’ Board of Directors has directed, that Mr. Bao be excluded

         from participating in any deliberations or decisions made with respect to any potential

         transaction given that he may have a conflicting interest in completing the PacBridge

         proposal. As an additional step, the Debtors and their management and professionals

         have agreed not to provide Mr. Bao going forward any information relative to any

         potential bids unless that information is equally available to all other potential bidders.”

Reconsideration Motion, Exhibit B, October 16, 2017 letter from Mr. Cavender, at Page 3.

         26.     With that understanding in place, the Equity Committee agreed to move forward

with the PacBridge proposal. See attached Exhibit 3, October 19, 2017 letter from Mr. Gurfein

to Mr. Cavender. In the end, however, PacBridge decided not to proceed with that transaction.

         27.     PacBridge is back once again, however, with the current offer, this time joined by

two private equity funds. Yet the issue of Mr. Bao’s participation in the process apparently

remains. In paragraph 52 of the Sale Motion, the Debtors take the extraordinary step to inform

the Court that: “The negotiations between the Debtors and the Stalking Horse Purchaser have

been rigorous and extensive, conducted by independent professionals, and the APA has been

approved by independent members of Premier’s board.” Emphasis added. By asserting the

approval by “independent” board members, the Debtors imply that there are “interested” board

members who did not participate in that approval. That is why the Equity Committee asked the



                                                   8
45845346;1
             Case 3:16-bk-02230-PMG       Doc 1118      Filed 07/18/18     Page 9 of 352


question in discovery whether the chairman of the board, Mr. Bao, had any interest in the

transaction. The Debtor’s Sale Motion suggests that might be the case.

         28.     The remainder of the Debtors’ arguments respecting the Equity Committee

pertain to the Debtors’ objections to the Equity Committee’s Plan and Disclosure Statement. The

Debtors will have ample opportunity to address those objections at a Disclosure Statement

hearing, an issue to be discussed at the July 25 status conference.

ii. The Debtors’ Arguments Respecting the Creditors Committee Have No Merit.

         29.     The Debtors’ arguments respecting the Creditors Committee likewise constitute

an objection to the Creditors Committee Plan and Disclosure Statement and misstate the intent

of the Protocol Motion.

         30.     The Debtors currently enjoy a monopoly in the District Court and appear

determined to prevent others from seeking a ruling from that Court. On July 5, 2018, the Debtors’

Sale Approval Motion appeared on the District Court’s docket. No notice was provided to any

party to the Bankruptcy Case, including the Bankruptcy Court itself. The Sale Approval Motion

clearly had implication for the Bankruptcy Case. In footnote 6 of the Sale Approval Motion, for

example, the Debtors disclosed to the District Court that the Debtors intended to dismiss the

RMST bankruptcy case upon closing of the sale. The Debtors failed to inform any party to their

Bankruptcy Case, or the Bankruptcy Court, of that fact.

         31.      The Debtors now protest that no protocol between the two courts is necessary

because all parties have equal access to both courts. Yet the Debtors objected to the notice of

appearance filed in the District Court by the National Maritime Museum, the Creditors

Committee’s plan sponsor. How can the Debtors argue that access to the District Court is open

to all, and that there is no need to reach agreement on appearances in that court, and then fight to



                                                  9
45845346;1
             Case 3:16-bk-02230-PMG       Doc 1118       Filed 07/18/18      Page 10 of 352


keep one plan sponsor out of that court?4 The Debtors' objection to the Museum’s appearance is

a "scorched earth" litigation tactic that is counter-productive and has no place in a bankruptcy

case. A copy of the Museum’s Notice of Appearance, and the Debtors’ opposition to the

Museum’s appearance, are attached hereto as Exhibits 4 and 5, respectively.

          32.     The deference of Judge Smith to this Court's bankruptcy jurisdiction does not

mean that it would not be a good idea for the two Courts to confer and reach agreement on a

process. Clearly, through three pleadings (the Creditors Committee's Protocol Motion, the Equity

Committee's Limited Joinder, and the Debtors’ Reconsideration Motion) it is clear that there is

no agreement on process. Why should that process not be presented by the parties, with fair and

equal footing, to both Courts for their consideration? Agreeing upon a process will not "usurp"

any court's jurisdiction but it would prevent one party in interest from gaining undue advantage

by proceeding in a court in which it says no other party in interest has standing.

                                              CONCLUSION

          WHEREFORE, the Equity Committee respectfully requests the Court enter an Order

denying the Reconsideration Motion and granting such other and further relief as the Court deems

just and proper.

    Date: July 18, 2018                           Peter J. Gurfein, Esq.
                                                  LANDAU GOTTFRIED & BERGER LLP
                                                  1801 Century Park East, Suite 700
                                                  Los Angeles, California 90067
                                                  (310) 557-0050
                                                  (310) 557-0056 (Facsimile)
                                                  pgurfein@lgbfirm.com
                                                 -and-




4
 Counsel for the Debtors have repeatedly discouraged the Equity Committee from appearing in the District
Court and the Equity Committee has obliged for now, though it is under no obligation to do so.


                                                  10
45845346;1
             Case 3:16-bk-02230-PMG    Doc 1118      Filed 07/18/18    Page 11 of 352


                                              AKERMAN LLP
                                              By: /s/ Jacob A. Brown
                                              Jacob A. Brown
                                              Florida Bar No. 170038
                                              50 North Laura Street, Suite 3100
                                              Jacksonville, Florida 32202
                                              (904) 798-3700
                                              (904) 798-3730 (Facsimile)
                                              Jacob.brown@akerman.com
                                              Attorneys for the Official Committee of Equity
                                              Security Holders of Premier Exhibitions, Inc.



                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 18, 2018, the foregoing was transmitted to the Court
for uploading to the Case Management/Electronic Case Files ("CM/ECF") System, which will
send a notice of electronic filing to all creditors and parties in interest who have consented to
receiving electronic notifications in this case. In accordance with the Court's Order Granting
Debtors' Motion for an Order Pursuant to 11 U.S.C. § 105(a) and Rule 2002 Establishing Notice
Procedures (Doc. 140), a copy of the foregoing was also furnished on July 18, 2018 by U.S. mail,
postage prepaid and properly addressed, to the Master Service List attached hereto.

                                                           /s/ Jacob A. Brown
                                                           Attorney




                                               11
45845346;1
      Case 3:16-bk-02230-PMG        Doc 1118   Filed 07/18/18   Page 12 of 352



                               MASTER SERVICE LIST
                              Case No. 3:16-bk-02230-PMG

A-1 Storage and Crane                    ABC Imaging
2482 197th Avenue                        14 East 38th Street
Manchester, IA 52057                     New York, NY 10017

A.N. Deringer, Inc.                      ATS, Inc.
PO Box 11349                             1900 W. Anaheim Street
Succursale Centre-Ville                  Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                           CBS Outdoor/Outfront Media
30 Rockefeller Plaza                     185 US Highway 48
54th Floor                               Fairfield, NJ 07004
New York, NY 10112

Dentons Canada LLP                       Enterprise Rent-A-Car Canada
250 Howe Street, 20th Floor              709 Miner Avenue
Vancouver, BC V6C 3R8                    Scarborough, ON M1B 6B6

Expedia, Inc.                            George Young Company
10190 Covington Cross Drive              509 Heron Drive
Las Vegas, NV 89144                      Swedesboro, NJ 08085

Gowlings                                 Hoffen Global Ltd.
550 Burrard Street                       305 Crosstree Lane
Suite 2300, Bental 5                     Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications               MNP LLP
5230 W. Patrick Lane                     15303 - 31st Avenue
Las Vegas, NV 89118                      Suite 301
                                         Surrey, BC V3Z 6X2

Morris Visitor Publications              NASDAQ Stock Market, LLC
PO Box 1584                              805 King Farm Blvd.
Augusta, GA 30903                        Rockville, MD 20850

National Geographic Society              NYC Dept. of Finance
1145 - 17th Avenue NW                    PO Box 3646
Washington, DC 20036                     New York, NY 10008
      Case 3:16-bk-02230-PMG          Doc 1118    Filed 07/18/18   Page 13 of 352



PacBridge Limited Partners                  Pallet Rack Surplus, Inc.
22/F Fung House                             1981 Old Covington Cross Road NE
19-20 Connaught Road                        Conyers, GA 30013
Central Hong Kong

Ramparts, Inc.                              Screen Actors Guild
d/b/a Luxor Hotel and Casino                1900 Broadway
3900 Las Vegas Blvd. South                  5th Floor
Las Vegas, NV 89119                         New York, NY 10023

Seaventures, Ltd.                           Sophrintendenza Archeologica
5603 Oxford Moor Blvd.                      di Napoli e Pompei
Windemere, FL 34786                         Piazza Museo 19
                                            Naples, Italy 80135

Syzygy3, Inc.                               Time Out New York
231 West 29th Street                        405 Park Avenue
Suite 606                                   New York, NY 10022
New York, NY 10001

TPL                                         TSX Operating Co.
3340 Peachtree Road                         70 West 40th Street
Suite 2140                                  9th Floor
Atlanta, GA 30326                           New York, NY 10018

Verifone, Inc.                              Samuel Weiser
300 S. Park Place Blvd.                     565 Willow Raod
Clearwater, FL 33759                        Winnetka, IL 60093

WNBC - NBC Universal Media                  United States Attorney’s Office
30 Rockefeller Center                       Middle District of Florida
New York, NY 10112                          300 N. Hogan Street, Suite 700
                                            Jacksonville, FL 32202

Jonathan B. Ross, Esq.                      Christine R. Etheridge, Esq.
Gowling WLG (Canada) LLP                    Bankruptcy Administration
550 Burrard Street, Suite 2300, Bentall 5   Wells Fargo Vendor Financial Services, LLC
Vancouver, BC V6C 2B5                       PO Box 13708
                                            Macon, GA 31208
      Case 3:16-bk-02230-PMG        Doc 1118   Filed 07/18/18   Page 14 of 352



TSX Operating Co., LLC                   Dallian Hoffen Biotechnique Co., Ltd.
c/o James Sanna                          c/o Ezra B. Jones
70 W. 40th Street                        305 Crosstree Lane
New York, NY 10018                       Atlanta, GA 30328
Creditor Committee                       Creditor Committee

B.E. Capital Management Fund LP
Thomas Branziel
205 East 42nd Street , 14th Floor
New York, NY 10017
Creditor Committee
Case 3:16-bk-02230-PMG   Doc 1118   Filed 07/18/18   Page 15 of 352




               Exhibit 1
 Case 3:16-bk-02230-PMG               Doc 1118     Filed 07/18/18      Page 16 of 352

Case 2:93-cv-00902-RBS Document 448 Filed 06/29/18 Page 1 of 2 PageID# 451



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Norfolk Division

  R.M.S. TITANIC, INC.,
  successor in interest to Titanic
  Ventures, limited partnership.

                 Plaintiff,

  V.                                                 Civil Action No. 2:93cv902

  The Wrecked and Abandoned
  Vessel,.. .believed to be
  the RMS TITANIC, in rem,

                 Defendant.




                  PLAINTIFF'S MOTION TO APPROVE
        ASSET PURCHASE AGREEMENT AND AUTHORIZE THE SALE
   OF 100% OF RMST'S STOCK TO PREMIER ACQUISITION HOLDINGS LLC
           OR OTHER QUALIFIED PURCHASER AS APPROVED BY THE
                                     BANKRUPTCY COURT

         NOW COMES Plaintiff, RMS Titanic, Inc. ("RMST"), by and through counsel,

  and moves this Court for entry of an order approving the Asset Purchase Agreement

  executed by Premier Exhibitions, Inc. ("Premier"), RMST and other affiliates of Premier,

  and Premier Acquisition Holdings LLC, a Delaware limited liability company (the

  "Stalking Horse Purchaser"), and authorizing the sale of 100% of RMST's stock to the

  Stalking Horse Purchaser, or such other prevailing qualified bidder as determined by the

  Bankruptcy Court.

          In support of its Motion to Approve Asset Purchase Agreement and Authorize the
  Sale of 100% of RMST's Stock to Premier Acquisition Holdings LLC, or Other Qualified

  Purchaser as Approved by the Bankruptcy Court ("The Motion"), Plaintiffrefers the

  Courtto its Memorandum in Support, filed simultaneously herewith.
 Case 3:16-bk-02230-PMG              Doc 1118      Filed 07/18/18       Page 17 of 352

Case 2:93-cv-00902-RBS Document 448 Filed 06/29/18 Page 2 of 2 PageID# 452



          RMST respectfully requests that the Court grant the Motion and enter the attached

  Proposed Order, for the reasons set forth in the accompanying Memorandum in Support.

                                                      Respectfully submitted,

                                                      R.M.S. TITANIC, INC.

                                                      By Counsel


  Counsel:




  Robert W. McFarland (VSB #24021)
  McGuireWoods LLP
  9000 World Trade Center
  Norfolk, VA 23510
  Tele: 757/640-3716
  Fax: 757/640-3966
  Email: rmcfarland@mcguirewoods.com

  Brian A. Wainger (VSB #38476)
  Kaleo Legal
  4456 Corporation Lane, Suite 135
  Virginia Beach, VA 23462
  Tele: 757/965-6804
  Fax: 757/304-6175
  Email: bwainger@kaleolegal.com


                                     CERTIFICATION


          I hereby certify that a copy of the foregoing has been hand delivered to Kent
  Porter, Esq., U.S. Attorney's Office, 8000 World Trade Center, Norfolk, VA 23510, this
  ^^1*' day of June. 2018.



                                              Robert W. McFarland




  104034020 1
     Case 3:16-bk-02230-PMG           Doc 1118       Filed 07/18/18       Page 18 of 352

Case 2:93-cv-00902-RBS Document 449 Filed 06/29/18 Page 1 of 16 PageID# 453




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Norfolk Division

R.M.S. TITANIC, INC.,
successor in interest to Titanic
Ventures, limited partnership,

               Plaintiff,                              ^
V.                                                  Civil Action No. 2:93cv902

The Wrecked and Abandoned
Vessel,.. .believed to be
the RMS TITANIC, inrem.


               Defendant.

                     MEMORANDUM IN SUPPORT OF PLAINTIFF'S
 MOTION TO APPROVE ASSET PURCHASE AGREEMENT AND AUTHORIZE THE
 SALE OF 100% OF RMST'S STOCK TO PREMIER ACOUISITION HOLDINGS LLC
     OR OTHER OUALIFIED PURCHASER AS APPROVED BY THE BANKRUPTCY
                                            COURT


       NOW COMES Plaintiff RMS Titanic, Inc., ("RMST"), by counsel, and respectfully

requests that the Court enter an order granting its Motion to Approve the Asset Purchase

Agreement (the "Motion") executed by Premier Exhibitions, Inc. ("Premier"), RMST and other

affiliates of Premier (collectively the "Company"), and Premier Acquisition Holdings LLC, a

Delaware limited liability company (the "Stalking Horse Purchaser") and authorizing the sale of

100% of RMST's stock to the Stalking Horse Purchaser, or such other prevailing qualified

bidder as determined by the Bankruptcy Court. In support of its Motion, RMST states as follows:

I.      PRELIMINARY STATEMENT


        As the Court is well aware, RMST and its affiliates have been in a chapter 11 proceeding

pending before the United States Bankruptcy Court for the Middle District of Florida (the

"Bankruptcy Court") for over two years. In that time, the Company, together with its creditor
                                                1
   Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18       Page 19 of 352

Case 2:93-cv-00902-RBS Document 449 Filed 06/29/18 Page 2 of 16 PageID# 454



constituencies, considered a variety of options for restructuring the Company's obligations so

that it could successfully emerge from chapter II. Ultimately, the Company determined that a

sale process was the best (and likely only) path to maximizing value for stakeholders. After an

extensive marketing processand months of negotiations, RMST is pleased to report to this Court

that on June 14,2018, the Company entered into an Asset Purchase Agreement (the "APA"),

with the Stalking Horse Purchaser, subject to higher and better offers as determined through a

competitive bidding process in the Bankruptcy Court.

       Under the APA, the Stalking Horse Purchaser will acquire 100% of the stock of RMST,

along with substantially all of the other assets of the Company, in a transaction that will keep the

artifacts together and provide a viable path to resolve the bankruptcy cases in a manner

consistent with RMST's obligations as Trustee under the Covenants and Conditions (as defined

below). Given the numerous objections raised to prior efforts to sell the Company's artifacts

piecemeal in chapter 11 and the Company's deteriorating cash position after being in chapter 11

for an extended term, entry into the APA with the Stalking Horse Purchaser(to serve as a floor

bid for the Debtors' auction process) was a significant achievement. The end result of the APA

keeps the artifact collections together; maintains the existing conservation and curation teams;

and avoids future, extensive litigation costs.

       As with all bankruptcy sales outside the ordinary course of business, the transactions

contemplated by the APA are subject to Bankruptcy Court approval. As further detailed below,

the sale approval process in bankruptcy is a multi-step process. First, the debtor executes an asset

purchase agreement. Then the debtor seeks approval of procedures for competitive bidding on

the assets to be sold (referred to as "bidding procedures"). Upon approval of bidding procedures,

the debtor then commences a marketing period during which it is permitted - pursuant to the
   Case 3:16-bk-02230-PMG                    Doc 1118          Filed 07/18/18           Page 20 of 352

Case 2:93-cv-00902-RBS Document 449 Filed 06/29/18 Page 3 of 16 PageID# 455



terms of the biddingprocedures - to solicit "higher and better" offers for the assets to be sold. In

the eventone or more competing qualified bids are received timely in accordance with the

biddingprocedures, then the debtors will conduct an auction. At the conclusion of the auction,

the debtors will designate the "highest and best" offer, and proceed to seek bankruptcy court

approval of a sale to the qualified biddersubmitting the highest and best offer. If the bankruptcy

court approves a sale, it will then enter a sale order, which will authorize the debtors, subject to

the terms of the asset purchase agreement and the sale order, to consummate the transaction.

        A sale of all of RMST's stock as provided for in the APA does not implicate section VI

of the Covenants and Conditions (set forth below). Nevertheless, in light of this Court's

oversight of RMST, the APA requires this Court's approval of the APA and authorization for the

sale of RMST's stock to the Stalking Horse Purchaser (or such other purchaser submitting a

higher and betterbid as determined by the Bankruptcy Court in a sale order)as a condition to

closing. A hearing to consider approval of the proposed bidding procedures is scheduled with the

Bankruptcy Court on July 25,2018. The proposed bidding procedures contemplate a marketing

period afterapproval of the bidding procedures, and then a bid deadline, auction (if necessary),

and salehearing to occurin August 2018. Likewise, the APA requires this Court's approval to be

obtained by September 7, 2018.

        Accordingly, RMST respectfully requests that this Court schedule a hearing for a date

after the sale hearing inthe Bankruptcy Court,' and before September 7, 2018, toconsider
approval of the APA and authorize the sale of 100% of RMST's stock to the Stalking Horse




' The Bankruptcy Court has scheduled a hearing for July 25,2018, toconsider approval of the proposed bidding
procedures. At that hearing, RMST anticipates that the Bankruptcy Court will then setthe date for the sale hearing in
the Bankruptcy Court. RMST will supplement this motion, as necessary, with additional relevant information as the
sale process proceeds through the Bankruptcy Court.
      Case 3:16-bk-02230-PMG            Doc 1118        Filed 07/18/18        Page 21 of 352

Case 2:93-cv-00902-RBS Document 449 Filed 06/29/18 Page 4 of 16 PageID# 456



Purchaser, or such other prevailing qualified bidder as determined by the Bankruptcy Court at

the sale hearing.

II.     BACKGROUND


        A.      The Revised Covenants and Conditions.


        On April 15,2008, this Court entered an Order directing RMST to submit proposed

restrictive covenants to ensure that, "the artifacts are conserved and curated in an intact

collection that is available to the public and accessible for historical research, educational

purposes, and scientific research, in perpetuity." See, R.M.S. Titanic, Inc. v. Wrecked &

Abandoned Vessel 742 F. Supp. 2d 784,792 (E.D. Va. 2010^. On August 12,2010, this Court

entered an Order granting RMST a salvage award in the amount of one hundred percent (100%)

of the fair market value of the artifacts recovered in the 1993,1994,1996,1998,2000 and 2004

expeditions to the wreck of the RMS TITANIC. Id. The Court reserved the right to determine the

manner in which to pay the award, and attached as Exhibit A to its August 12,2010 Order the

Revised Covenants and Conditions (the "Covenants and Conditions"), approved by the Court

pursuant to its April 15,2008 Order.

         On August 15, 2011, this Court entered an Order granting RMST title to the artifacts

recovered in the 1993, 1994, 1996,1998,2000 and 2004 salvage expeditions conducted by

RMST, subject to the Covenants and Conditions. R.M.S. Titanic, Inc. v. Wrecked & Abandoned

Vessel, 804 F.Supp.2d 508, 509 (E.D. Va. 2011).

         B.     The Bankruptcy.

         On June 14,2016, RMST, together with its parent company. Premier and certain of its

affiliates, filed voluntary petitions for relief under chapter 11 of Title 11,11 U.S.C., §§ 101 et
   Case 3:16-bk-02230-PMG                    Doc 1118          Filed 07/18/18          Page 22 of 352

Case 2:93-cv-00902-RBS Document 449 Filed 06/29/18 Page 5 of 16 PageID# 457



seq. in the Bankruptcy Court in Jacksonville, Florida. The Company remains in bankruptcy, and

continues to operate its businesses.

        Over the last two years, the Company has explored numerous options to successfully exit

the bankruptcy proceedings. At the outset of the bankruptcy cases in June 2016, the Company

filed a motion in the Bankruptcy Court to market and sell certain artifacts recovered by RMST in

the 1987 expedition, which artifacts the Covenants and Conditions define as the "French Titanic

Artifact Collection." On July 22,2016, however, the Bankruptcy Court entered an Order

denying that motion.^

        On September 30, 2016, the Debtors retained GlassRatner Advisory & Capital

Group, LLC ("GlassRatner"), as financial advisor and investment banker to advise them in

connection with their chapter 11 cases and various restructuring alternatives. The Debtors,

with the assistance of GlassRatner and its other professionals, evaluated each of their

various options, and engaged in extensive negotiations with the legal and financial advisors

to the Official Committee of Unsecured Creditors of Premier Exhibitions, Inc. (the

"Creditors Committee"), the Official Committee of Equity Holders of Premier Exhibitions,

Inc. (the "Equity Committee," and together with the Creditors Committee, the

"Committees"), National Oceanic Atmospheric Association ("NOAA"), and other

constituents regarding a consensual resolution to the chapter 11 cases. During this time,

the Company and the Committees considered all potential restructuring and liquidation

options for the Companies' businesses and assets.




^ RMST subsequentlycommenced an adversary proceeding in the Bankruptcy Court seeicing a determination that
the Republic of France and its government agencies have no interest in these artifacts. On September 29,2017, the
Banicruptcy Court entered a default Final Judgment in RMST's favor, granting the requested relief.
   Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18      Page 23 of 352

Case 2:93-cv-00902-RBS Document 449 Filed 06/29/18 Page 6 of 16 PageID# 458



           After extensive negotiations and evaluation, the Debtors and the Committees

determined that a sale of all the Debtors' assets as a going concern, including the sale of

the Titanic Artifacts as a whole collection, was in the best interests of the Debtors and their

estates. Accordingly, in April of 2017, the Debtors and the Committees entered into a Plan

Support Agreement (the "PSA") which was approved by the Bankruptcy Court on July 6,

2017. The PSA contemplated a sale of all of the Debtors' assets as a going concern after a

marketing period to be conducted by the Company and GlassRatner.

           As required by the PSA, the Company, through GlassRatner, marketed the Debtors'

assets to potential purchasers over several months. GlassRatner conducted a far-reaching

marketing campaign, contacting potential buyers and interested parties (as identified through

independent research and Company and Committee contacts) across the globe. In addition,

the Company retained Kekst, a well-known public relations firm, to conduct a national

campaign to uncover and reach other potential buyers. From these efforts, news of the sale

of the artifacts reached a global audience - the sale was featured on the Today Show,

national television nightly news programs, and newspapers worldwide.

           Despite receiving expressions of interest from a number of interested buyers, the

Company failed to execute a definitive agreement with a stalking horse bidder within the

time table originally contemplated by the PSA. The Debtors and Committees initially

determined to proceed toward an auction, and filed a motion to approve a "naked auction"

(i.e., one without a stalking horse purchaser) process for some or all of the Debtors' artifacts

on November 14, 2017. On December 15,2017, RMST filed a Notice of Withdrawal of that

motion, in response to a number of factors, including objections filed by several interested

parties.



                                                  6
   Case 3:16-bk-02230-PMG                 Doc 1118      Filed 07/18/18       Page 24 of 352

Case 2:93-cv-00902-RBS Document 449 Filed 06/29/18 Page 7 of 16 PageID# 459



           Since its withdrawal of the auction motion, the Company, with the help of its

professionals and GlassRatner, continued to engage in discussions with potential buyers and

other potential sources of financing to restructure the Companies' businesses. On February

25 and 26, 2018, the Company and the various interested parties, including NOAA, convened

for a mediation to attempt to reach agreement on the best path forward to exit the chapter 11

cases. The mediation did not yield a formal resolution; however, the parties agreed that

continued pursuit of a sale transaction was in the best interests of the Company and its

estates.


       The administrative costs of the Company's bankruptcy have proven to be significant,

currently exceeding approximately $6 million. On May 18, 2017, the Debtors entered into a post-

petition financing agreement with Bay Point Capital (the "DIP Lender") for up to $5 million (the

"DIP Loan") to fiind the Company's business and the administrative costs of the bankruptcy

during the marketing process. The current balance of the DIP Loan exceeds $4,600,000.00, plus

accrued interest in excess of $100,000.00. On May 29,2018, the Debtors exercised an extension

option extending the maturity date of the DIP Loan for one year to June 29,2019. With its

operating assets dwindling, the Company must now move quickly to exit the chapter 11

proceedings.

           As of February 14, 2018, the Company's exclusive rights to propose its own chapter 11

plan under the Bankruptcy Code expired. See 11 U.S.C. § 1121. As such, any party in interest

can now propose a plan to resolve the Company's bankruptcy cases. Indeed, as has been

previously reported to this Court, on June 1,2016, the Equity Committee filed a chapter 11 plan

for the Company, in which the Equity Committee proposes to separate and auction off the French

Titanic Artifact Collection, market and sell the Subject Titanic Artifact Collection to a Qualified
   Case 3:16-bk-02230-PMG                Doc 1118         Filed 07/18/18        Page 25 of 352

Case 2:93-cv-00902-RBS Document 449 Filed 06/29/18 Page 8 of 16 PageID# 460



Institution (as that term is defined in the Covenant and Conditions), and then liquidate the

Company. As has also previously been reported to this Court, on May 1,2018, Euclid Claim

Recovery LLC ("Euclid") - a claims trader that holds less than $30,000 in claims that it acquired

after the bankruptcy filing - filed a motion in the Bankruptcy Court seeking appointment of a

chapter 11 trustee for the Company to pursue "an auction-house sale of individual French

Artifacts." The Bankruptcy Court held a hearing on Euclid's motion on June 7,2018, and has

taken the matter under advisement.


       C.      The Stalking Horse Purchaser and Asset Purchase Agreement.

       After considering numerous alternatives and extensive arms-length negotiations with

various potential buyers, lenders, and investors, the Company, in consultation with its

professionals and advisers, negotiated the proposed sale of the Transferred Assets (as defined in

the APA, and which includes 100% of the stock of RMST) to the Stalking Horse Purchaser. The

Stalking Horse Purchaser is an entity formed by affiliates of or funds managed by Apollo Global

Management, LLC ("Apollo"), Alta Fundamental Advisers LLC ("Alta"), Pacbridge Capital

Partners (HK) Ltd. ("Pacbridge"), and the Debtors' secured lenders, Haiping Zou, Jihe Zhang,

and Lange Feng (collectively the "Secured Lenders"). Collectively, the Secured Lenders own

2,232,143 shares of Premier's common stock;^ funds managed by Altaown 1,057,624 shares of

Premier's common stock, and funds managed by Apollo own 463,038 shares of Premier's

common stock. Thus, the ultimate equity holders (or affiliates thereof) of the Stalking Horse

Purchaser hold a total of 3,752,805 shares of Premier's common stock, or approximately 40% of

the issued and outstanding shares of Premier's common stock on a fully diluted basis.




^Secured Lender Haiping Zou ownshis sharesof Premier common stock through High Nature Holdings, Ltd.
                                                    8
   Case 3:16-bk-02230-PMG              Doc 1118        Filed 07/18/18        Page 26 of 352

Case 2:93-cv-00902-RBS Document 449 Filed 06/29/18 Page 9 of 16 PageID# 461



       OnJune 14,2018, the Stalking Horse Purchaser and the Company executed theAPA.

See, Exhibit A, attached hereto. The APA results from extensive negotiations involving complex

issues of bankruptcy law, admiralty law, Canadian law and other issues related to the unique

nature of the assets to be transferred, in addition to those issues commonly arising in a more

traditional M&A transaction or bankruptcy Section 363 sale.

       The APA sets forth a strict timeline for a successful closing, as is necessary given the

Debtors' liquidity position. The APA was filed with the Bankruptcy Court in conjunction with

Debtors' Motion for Entry of an Order Approving Competitive Bidding and Sale Procedures.

See, Exhibit B, attached hereto. As it relates to RMST and the artifacts, that motion seeks entry

of an order from the Bankruptcy Court:

       a)      approving the Bidding Procedures establishing the competitive bidding and

               auction procedures in connection with the sale;

       b)      approving the form of the APA;

       c)      scheduling (i) an auction (if one or more competing Qualified Bids (as defined

               in the Bidding Procedures)) are received by the Company in accordance with

               the Bidding Procedures and (ii) a hearing to consider the results of the auction

               (if any), and approval of the Sale;

       d)      approving the form and manner of notice of the Auction and sale hearing; and

       e)      authorizing the sale to the Stalking Horse Purchaser or such other partythat is the

               successful bidder at the auction, free and clear of all liens, interests, claims and

               encumbrances.
   Case 3:16-bk-02230-PMG                   Doc 1118         Filed 07/18/18          Page 27 of 352

Case 2:93-cv-00902-RBS Document 449 Filed 06/29/18 Page 10 of 16 PageID# 462



        The Bidding Procedures set forth the terms and conditions under which qualified
competing bidders may bid on the Transferred Assets, and require the Company toconsider higher
and better offers submitted in accordance with the Bidding Procedures.

        D.       The APA Requires Sale Approval by this Court.

        Under the APA, the Stalking Horse Purchaser will acquire 100% of the stock of RMST,

and RMSTwill be a wholly-owned subsidiary of the Stalking Horse Purchaser.'' The APA

requires that this Court enter an Order on or before September 7,2018, approving the

transactions contemplated by the APA as to RMST.

III.    ARGUMENT


        A.       The Sale of RMST Stock to the Stalking Horse Purchaser Does Not Implicate
                 Section VI of the Covenants and Conditions.

        Section VI of the Covenants and Conditions provides for the Protection of the Subject

Titanic Artifact Collection (the "STAC") in the event of its sale, and sets forth the requirements

for the designation of Subsequent Trustees. Section VI.A states, in relevant part, the STAC,

"may not be sold,transferred, assigned, or otherwise be the subjectof a commercial transaction,

except as approved by the Court." Under the APA, the Stalking Horse Purchaser will acquire

100% of the stock of RMST, and RMST will be a wholly-owned subsidiary of the Stalking

Horse Purchaser. The proposed transaction does not implicate the STAC in a commercial

transaction, as the STAC will not be sold, transferred, or assigned. RMST will continue to own

the STACand be subject to the Covenants and Conditions. Accordingly, the APA does not

implicate Section VI.A of the Covenantsand Conditions.



  Inmost typical bankruptcy cases, a stalking horse purchaser ina sale under Section 363 of the Bankruptcy Code
(11 U.S.C. § 363)would seek to acquire assets - not stock- of a debtor. Giventhe unique nature of RMST's assets,
and in order to ensure RMST remains in compliance with the Covenants and Conditions(as discussed below),the
Stalking Horse Purchaser agreed, subject to theterms of the APA and this Court'sapproval, to purchase 100% of the
stock of RMST, instead of its assets.

                                                       10
   Case 3:16-bk-02230-PMG                   Doc 1118          Filed 07/18/18          Page 28 of 352

Case 2:93-cv-00902-RBS Document 449 Filed 06/29/18 Page 11 of 16 PageID# 463



        Section VI.E.l of the Covenants and Conditions further underscores this point, as the
APA does not require the appointment of a Subsequent Trustee. Section VI.E.l states that

Section VI, "does not apply, however, in situations where the corporate identity of theTrustee is

changed or altered by sale, purchase, merger, acquisition, or similar transaction, the form and

purpose of which does not effectuate a change in the management, conservation and curation of

the STAC. As set forth in Section III.B., infra, the transaction contemplated by the APA willnot

cltanee the manasement. conservation and curation ofthe STAC. Accordingly, the Covenants

and Conditions do not require approval of the transaction by this Court,

        In this respect, and as it relates to the Covenants and Conditions and RMST, the

transactions contemplated by the APA are somewhat analogous to the merger transaction in

November 2015, in which Premier Exhibitions, Inc. merged with DinoKing Tech, Inc.

("DinoKing"). In that merger, new directors and officers assumed management of the Company,

but RMST remained the Trustee of the STAC, and the merger did not change the management,

conservation and curation of the STAC.'

        Similarly, the APA requiresthe Stalking Horse Purchaser to purchase 100%of the stock

of RMST. RMST will remain the Trustee of the STAC and will continue to fulfill the

requirements to serve as Trustee, and no Subsequent Trustee will be designated. Thus, the terms

of the Covenantsand Conditions do not require this Court's approval of the transactions

provided for in the APA. Nevertheless, the Stalking Horse Purchaser has required, as a condition

to closing underthe APA, that this Court approve the transactions contemplated by the APA.




^ Becausethe Covenants and Conditions did not require this Court's approval of that transaction, the Company did
not seek or obtain such approval, but timely apprisedthe Court of it.
                                                       11
   Case 3:16-bk-02230-PMG                 Doc 1118         Filed 07/18/18         Page 29 of 352

Case 2:93-cv-00902-RBS Document 449 Filed 06/29/18 Page 12 of 16 PageID# 464



       B.       The APA Will Not Effectuate a Change in the Management, Conservation
                and Curation of the STAC, and RMST will Continue to Comply with the
                Covenants and Conditions.

       The Stalking Horse Purchaser is an entity formed under the laws of the State of

Delaware. See, Exhibit C, attached hereto Pursuant to the transactions contemplated by the

APA, RMST will continue to be a corporation organized under the laws of Florida, and will

remain subject to the personal jurisdiction of this Court. Insofar as the Stalking Horse Purchaser

will be acquiring its stock, RMST will continue to be the Trustee of the STAC, and this

transaction will not require the designation of a Subsequent Trustee, nor the due diligence or

assurances associated with the designation of a Subsequent Trustee.

       The transaction will not change the corporate structure of RMST as Trustee, nor

effectuate a change in the management, conservation and curation of the STAC. In the event the

transaction closes, RMST will continue to be bound by the Covenants and Conditions.

Consistentwith its obligations thereunder, RMST will continueto: serve as salvor in possession

of the wreck; employ Ms. Alex Klingelhofer and her curation team; storeand treat the artifacts in

its "lab" and warehouse in Atlanta; employ its team of exhibition experts; and exhibit the

artifacts in the Company's permanent and traveling exhibitions. RMST also expects to conduct

future expeditions to the wreck site(perhaps as soon as summer 2019), and intends to continue to

engage Dr. Dave Gallo, a world-renowned oceanographer, to lead its maritime team. In short,

nothing under the APA contemplates any change with regard to RMST's care and use of the

artifacts, and duties as salvor. The only impact the APA has on RMST is that, upon closing,

RMST will have a new parent company.^ As required by the Covenants and Conditions, RMST

will remain subject to the personal jurisdiction of this Court.


*Buteven in that regard, the StalkingHorse Purchaser's ultimate equityowners(or affiliates thereoO already
currently hold approximately 40%of Premier's common stock. Ifthetransactions contemplated by theAPA close,
                                                    12
   Case 3:16-bk-02230-PMG                    Doc 1118          Filed 07/18/18          Page 30 of 352

Case 2:93-cv-00902-RBS Document 449 Filed 06/29/18 Page 13 of 16 PageID# 465



        C.       The Stalking Horse Purchaser Will Provide Stability, Capitalization and
                 Necessary Resources for RMST to Fulfill its Obligations Under the
                 Covenants and Conditions.

        As noted above, the Stalking Horse Purchaser is an acquisition entity formed by

Premier's secured lenders and funds managed by or affiliates of entities that collectively own

approximately 40% of Premier's common stock. The ultimate equity holders of the Stalking

Horse Purchaser are well-capitalized, prominent financial institutions and have the resources

necessary to ensure that RMST can continue to comply with its obligations under the Covenants

and Conditions.


        The Stalking Horse Purchaser intends to retain all the Company's employees, and also

plans to add to the team and implement a succession plan to ensure a seamless transition for the

curation and exhibition teams. The directors of the new ownership entity will be identified and

their biographies provided to the Court after the Bankruptcy Court's approval of the final

transaction.

        D.       The Bidding Procedures Permit a Sale to Another Qualified Bidder
                 Submitting a Higher and Better Offer, Subject to Approval of Both the
                 Bankruptcy Court and this Court.

        As is customary in sales pursuant to Section 363 of the Bankruptcy Code, the APA

requires Bankruptcy Court approval of competitive bidding and auction procedures in connection

with the sale of the Transferred Assets. The requirementsof the proposed Bidding Procedures (a

copy of which is attached hereto as Exhibit D) provide that any competing transaction be on

substantially similar, the same, or better terms as the APA, and that any competingtransaction

propose to buy substantially all of the Transferred Assets (including the stock of RMST).

Accordingly, should Premier accept and the Bankruptcy Court approve a competing bid pursuant


those existing equity owners will then own 100% of theequity of RMST's parent company. The APA andexhibits
thereto also contemplate that upon or shortly after closing, RMST's bankruptcy case will be dismissed.

                                                        13
      Case 3:16-bk-02230-PMG                Doc 1118          Filed 07/18/18          Page 31 of 352

Case 2:93-cv-00902-RBS Document 449 Filed 06/29/18 Page 14 of 16 PageID# 466



to the Bidding Procedures, such competing transaction would likewise be subject to the approval

of this Court.'

         E.       The APA Reflects the Best Option for the Company to Successfully Exit the
                  Chapter 11 Cases.

        After more than two years in bankruptcy, the Company now has a viable path toward

fmancial stability through a sale to the StalkingHorse Purchaser. As previously expressed to and

recognized by this Court, given the Company's financial condition, time is of the essence in

closing a transaction, and a material delay in the above timeline could jeopardize the transaction,

resulting in a potential liquidation.

IV.     CONCLUSION


         For the foregoing reasons, RMST respectfully requests that the Court (a) schedule a

hearing for a date after the sale hearing in the Bankruptcy Court and before September 7, 2018,

to consider approval of the APA and authorize the sale of 100% of RMST's stock to the Stalking

Horse Purchaser, or such other prevailing qualified bidder as determined by the Bankruptcy

Court at the sale hearing; (b) grant its Motion to Approve the Asset Purchase Agreement; (c)

authorize the sale of 100% of RMST's stock to the Stalking Horse Purchaser or such other

prevailing qualified bidder as determined by the Bankruptcy Court at the sale hearing; and (d)

grant such other related relief as the Court deems appropriate.

                                                            Respectfully submitted,

                                                            R.M.S. TITANIC, INC.

                                                            By Counsel




^Given the nature of the competitive bidding process in the BankruptcyCourt, as set forth in the Bidding
Procedures, the Company may supplement this motion after the auction and sale hearing in the Bankruptcy Court, to
provide any additional information that may be relevant to this Court which may arise out of the Bankruptcy Court
sale process.

                                                       14
   Case 3:16-bk-02230-PMG          Doc 1118   Filed 07/18/18   Page 32 of 352

Case 2:93-cv-00902-RBS Document 449 Filed 06/29/18 Page 15 of 16 PageID# 467




Counsel:




Robert W. McFarland (VSB #24021)
McGuireWoods LLP
9000 World Trade Center
Norfolk, VA 23510
Tele: 757/640-3716
Fax: 757/640-3966
Email; rmcfarland@mcguirewoods.com

Brian A. Wainger (VSB #38476)
Kaleo Legal
4456 Corporation Lane, Suite 135
Virginia Beach, VA 23462
Tele: 757/965-6804
Fax: 757/304-6175
Email: bwainger@kaleolegal.com




                                         15
   Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18       Page 33 of 352

Case 2:93-cv-00902-RBS Document 449 Filed 06/29/18 Page 16 of 16 PageID# 468




                                        CERTIFICATION


        I hereby certify that a copy of the foregoing has been delivered to Kent Porter Esq., U.S.
Attorney's Office, 8000 World Trade Center, Norfolk, VA 23510, this J^day ofJune, 2018.


Robert W. McFarland (VSB #>1021)
McGuireWoods LLP
9000 World Trade Center
Norfolk, VA 23510
Tele: 757/640-3716
Fax: 757/640-3966
Email: nncfarIand@mcguirewoods.com




104020898 1




                                                 16
   Case 3:16-bk-02230-PMG      Doc 1118      Filed 07/18/18   Page 34 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 1 of 184 PageID# 469
                                                          EXECUTION VERSION




                        ASSET PURCHASE AGREEMENT



                                 by and between


                         PREMIER EXHIBITIONS, INC.,


                       OTHER SELLERS NAMED HEREIN,


 RMS TITANIC, INC. (SOLELY FOR PURPOSES OF ARTICLE III, ARTICLE V, ARTICLE
                            VII AND ARTICLE VIII)


                                      and



                   • PREMIER ACQUISITION HOLDINGS LLC


                            Dated as of June 14, 2018




                                                                      EXHIBIT



                                                                 E
FTL 111767089V15
    Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18   Page 35 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 2 of 184 PageID# 470




                                     TABLE OF CONTENTS

                                                                                      Page

                                            ARTICLE I


Purchase and Sale of Assets; Assumption of Liabilities                                      2

.1.1.    Purchase and Sale.                                                                 2
.1.2.    Purchase Price                                                                     5
.1.3.    Assignment of Contracts and Rights; Third Party Consents                           5
.1A      .Good Faith Deposit                                                                6
.1.5-    Allocation of Purchase Price                                                       7
.1.6.    .Withholding.                                                                      8
.1.7.    Electioa                                                                           8

                                            ARTICLE II


Closing; Closing Deliveries                                                                 8

2.1.     .Closing.                                                                          9
2.2.     .Closing Deliveries of Sellers and Purchaser.                                      9
2.3.     .Closing Date Payment                                                             10
.2.4.    .Post-Closing Purchase Price Adjustments                                          11

ARTICLE III Representations and Warranties of the Sellers                                  13

3.1.     .Organization, Good Standing and Qualificatioa                                    13
3.2.      Subsidiaries; Capitalization                                                     13
3.3.     .Corporate Authority                                                              14
3.4.     -Governmental Filings and Approvals; No Conflicts                                 15
3.5.     Jinancial Statements                                                              15
3.6.     Absence of Certain Changes                                                        16
3.7.     .Litigatioa                                                                       16
3.8.     .Compliance with Laws; Permits                                                    16
.3.9.    .Undisclosed Liabilities                                                          16
.3.10.   Material Contracts                                                                16
.3.11. Labor and Employee Benefits                                                         18
.3.11 Keal Property.                                                                       20
3.13.    Taxes.                                                                            21
.3.14. .Intellectual Property.                                                             23
3.15. .Sufficiency of Assets.                                                              24
.3.16.   .Title to Transferred Assets                                                      24
3.17.    Jlevised Covenants and Conditions                                                 24
3.18.    .Insurance.                                                                       25
-3.19. -Privacy Policy.                                                                    25
3.20. -Certain Payments; OFAC                                                              26

                                                 -i-
FTL 1117670B9V15
    Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18   Page 36 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 3 of 184 PageID# 471




3.21.    Brokers and Finders.                                                              26

                                          ARTICLE IV


Representations and Warranties of Purchaser.                                               26

.4.1.    -Organization, Good Standing and Qualificatioa                                    26
.4.2.    Authority.                                                                        27
.4.3.    .Governmental Filings and Approvals; No Conflicts                                 27
.4.4.    financing Capability.                                                             28
.4.5.    Adequate Assurance Regarding Executory Contracts                                  28
.4.6.    Brokers.                                                                          28

                                           ARTICLE V


Covenants                                                                                  28

.5.1.    .Interim Operations                                                               28
.5.2.    Efforts                                                                           32
.5.3.    Access and Informatioa                                                            33
5.4.     Publicity.                                                                        34
5.5.     JEmployee Matters                                                                 34
5.6.     .Indemnification, Exculpation and Advancements; Directors' and Officers'
         Insurance.                                                                        36
.5.7.    Bankruptcy and Admiralty Court Matters                                            36
.5.8.    Insurance.                                                                        38
.5.9.    Post-Closing Collectioa                                                           39
.5.10.   Taxes.                                                                            39
i.l I. Name Change                                                                         40
5.\2. .Competing Transactions                                                              40
J.13.    Jlelease                                                                          41
.5.14. .Cooperatioa                                                                        41
.5.15.   further Assurances                                                                42
.5.16. .Title Insurance Policy; Survey                                                     42
.5.17.   PMST Matters                                                                      43
.5.18. X)inoKing Proceedings                                                               43
i.19. DinoKing Liabilities and Tax Matters                                                 43
J.20.    AEG Notice                                                                        44

                                          ARTICLE VI


Conditions to Closing.                                                                     44

.6.1.    .Conditions to Each Party's Obligations                                           44
.6.2.    .Conditions to Sellers' Obligations                                               44
.6.3-    .Conditions to Purchaser's Obligations                                            45


                                                   -n-
FTL 111767089V15
    Case 3:16-bk-02230-PMG               Doc 1118          Filed 07/18/18   Page 37 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 4 of 184 PageID# 472




                                          ARTICLE VII


Terminatioa                                                                                  46

.7.1.    .Termination by Mutual Consent                                                      46
.1.2.    -Termination by Either Purchaser or the Sellers                                     46
.7.3.    .Termination by the Sellers                                                         46
.7.4.    .Termination by Purchaser.                                                          47
.7.5.    Effect of Termination                                                               48

                                          ARTICLE VIII


Miscellaneous and General                                                                    50

.8.1.     Survival                                                                           50
.8.2.    Modification or Amendment                                                           50
.8.3.    .Waiver.                                                                            50
.8.4.    Jslotices.                                                                          50
.8.5.    Definitions                                                                         52
.8.6.    Entire Agreement                                                                    61
.8.7.     Severability.                                                                      61
.8.8.    Assignment                                                                          61
.8.9.    J^o Third Party Beneficiaries                                                       61
.8.10.   .Interpretation; Constructioa                                                       62
.8.11.   .Governing Law and Venue                                                            62
.8.12.   .Waiver of Jury Trial                                                               63
.8.13.   .Expenses                                                                           63
.8.14.   .Specific Performance                                                               63
.8.15.   Jslo Recourse                                                                       64
.8.16. .Counterparts.                                                                        64


Exhibit A Bill of Sale                                                                   A-1
Exhibit B Form of Assignment and Assumption Agreement                                    B-1
Exhibit C Form of Real Property Lease Assignments                                        C-1
Exhibit D Form of Intellectual Property Assignment                                       D-1
Exhibit E Form of Approval Order                                                         E-1
Exhibit F Form of Bidding Procedures Order                                               F-1
Exhibit G Escrow Agreement                                                               G-1




                                                -111-
F7I 111767089V15
   Case 3:16-bk-02230-PMG                Doc 1118      Filed 07/18/18       Page 38 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 5 of 184 PageID# 473




                                ASSET PURCHASE AGREEMENT

               This ASSET PURCHASE AGREEMENT (this "Agreement"), dated as of June
14, 2018 (the "Execution Date"), is made by and among (i) Premier Exhibitions, Inc., a Florida
corporation ("Premier."'), (ii) Arts and Exhibitions International, LLC, a Florida limited liability
company ("A&E"). (iii) Premier Exhibition Management LLC, a Florida limited liability
company ("PEM"), (iv) Premier Exhibitions NYC, Inc., a Nevada corporation ("Premier
NYC"), (v) Premier Merchandising, LLC, a Delaware limited liability company ( Premier
Merch"), (vi) Premier Exhibitions International, LLC, a Delaware limited liability company
("PEI"). (vii) Dinosaurs Unearthed Corp., a Delaware corporation ("DU Corp.") (collectively
with Premier, A&E, PEM, Premier NYC, Premier Merch and PEI, the "Debtor Sellers"): (viii)
DinoKing Tech Inc. d/b/a Dinosaurs Unearthed, a company formed under the laws of British
Columbia ("DinoKing,"). (ix) RMS Titanic, Inc., a Florida corporation ("RMST"). solely for
purposes of Article III, Article V, Article VII and Article VIII, and Premier Acquisition Holdings
LLC, a Delaware limited liability company (the "Purchaser"). The Debtor Sellers and DinoKing
are collectively referred to herein as the "Sellers". Certain capitalized terms used herein are
defined in Section 8.5.

                                            RECITALS

               WHEREAS, Sellers desire to sell, and Purchaser desires to purchase, the business
operated by the Sellers, consisting of the business development and touring of permanent and
traveling exhibitions of historic and educational artifacts (the "Business"):

              WHEREAS, on June 14, 2016 (the "Petition Date"), the Debtor Sellers and
RMST filed voluntary petitions for relief under chapter 11 of title 11 of the United States Code,
11 U.S.C. §§101 et s^. (the "Bankruptcv Code"), in the United States Bankruptcy Court for the
Middle District of Florida (the "Bankruptcv Court"), commencing cases jointly administered
under Case No. 16-02230 (the "Bankruptcv Cases"):

             WHEREAS, upon the terms and subject to the conditions contained in this
Agreement, Purchaser desires to acquire from the Sellers the Transferred Assets and to assume,
discharge and perform the Assumed Liabilities, and Sellers desire to transfer and assign such
Transferred Assets and Assumed Liabilities to Purchaser, in each case as more particularly set
forth in this Agreement;

                   WHEREAS, assets to be purchased and the liabilities to be assumed pursuant to
this Agreement are assets and liabilitiesof the Sellers which are to be sold and assumed pursuant
to the Approval Order approving such sale pursuant to Section 363 of the Bankruptcy Code, free
and clear of all Liens, Claims and Liabilities except Assumed Liabilities, which order will
include the authorization for the assumption and assignment of certain Contracts, Real Property
Leases and liabilities thereunder under Section 365 of the Bankruptcy Code, all in the marmer
and subject to the terms and conditions set forth herein and in accordance with other applicable
provisions of the Bankruptcy Code; and

               WHEREAS, the Sellers and Purchaser desire to make certain representations,
warranties, covenants and agreements in connection with this Agreement.

                                                 -1-
FTL 111767089V15
    Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18        Page 39 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 6 of 184 PageID# 474




                NOW, THEREFORE, in consideration of the premises, representations,
warranties, covenants and agreements contained herein, and subject to the conditions set forth
herein, the Parties agree as follows:

                                               ARTICLE I


                         Purchase and Sale of Assets: Assumption of Liabilities

                   1.1    Purchase and Sale.

                 (a)     Transferred Assets. Upon the terms and subject to the conditions set forth
 in this Agreement, at the Closing, Sellers agree to sell, assign, transfer, convey and deliver to
 Purchaser, and Purchaser agrees that it shall purchase, acquire and accept from Sellers, free and
 clear of all Liens and Claims, all of the right, title and interest of Sellers as of the Closing Date
 in and to the tangible and intangible assets, properties and rights and claims, to the extent used
 or otherwise related to, useful in or necessary for the conduct of, the Business, other than the
 Excluded Assets and any Consent Asset subject to Section 1.3. All of such assets, properties
 and rights (other than the Excluded Assets and Consent Assets subject to Section 1.3) are
 collectively referred to in this Agreement as the "Transferred Assets." Without limitation of the
 foregoing, the Transferred Assets shall include Sellers' rights, title and interest in and to the
 following assets and properties as of the Closing Date, except to the extent that any of the
 following are enumerated in Section 1.1(b) as being Excluded Assets:

                          (i)     all accounts or notes receivable of the Business;

                        (ii)  all Artifacts and Exhibitry (provided, however, for the avoidance
        of doubt, that Purchaser shall obtain title to any Artifacts and Exhibitry owned by RMST
        through Purchaser's acquisition of the RMST Shares);

                          (iii)   all Inventory related to or used in connection with the Business;

                      (iv)    all prepaid expenses, credits, advance payments, security, deposits,
        charges, sums and fees of the Business;

                        (v)    all of Sellers' rights, title and interests in and to the Seller
        Intellectual Property;

                          (vi)    all rights existing under each Contract or arrangement set forth on
        Section l.l(a)(vi) of the Seller Disclosure Letter, which such Section of the Seller
        Disclosure Letter Purchaser has a right to supplement, amend or modify following the
        date hereof and prior to the sale hearing in the Bankruptcy Cases in its sole discretion (the
        "Assumed Contracts"):

                        (vii) all Books and Records, including files, invoices, personnel files for
        Transferred Employees, OSHA exposure and monitoring records, customer and supplier
        lists, sales and promotional literature, manuals and customer correspondence owned by
        the Sellers that are related to the Business and/or the Transferred Assets, to the extent not

                                                   -2-
FTL 111767089V15
    Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18        Page 40 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 7 of 184 PageID# 475




        subject to claims of attorney-client privilege, and which are otherwise permitted to be
        transferred by applicable Law;

                      (viii) all Permits, but only to the extent such Permits may be transferred
        under applicable Law;

                       (ix)     all Equipment and Machinery used in coimection with the
        Business;

                       (x)      the Real Property Leases set forth on Section 1.1(a)(x) of the Seller
        Disclosure Letter, which such Section of the Seller Disclosure Letter Purchaser has a
        right to supplement, amend or modify following the date hereof and prior to the sale
        hearing in the Bankruptcy Cases in its sole discretion (the "Assumed Real Property
        Leases"), including any prepaid rent, security deposits, and options to renew in
        connection therewith;

                       (xi)     all goodwill associated with the Transferred Assets or the
        Business;

                       (xii)    the RMST Shares;

                      (xiii) all rights of any Seller under non-disclosure or confidentiality,
        noncompete, or nonsolicitation agreements with current or former employees, directors,
        independent contractors and agents of any Seller or with third parties for the benefit of
        any Seller, in each case to the extent relating to the Business, the Transferred Assets
        and/or the Assumed Liabilities (or any portion thereof);

                       (xiv) all telephone numbers, fax numbers, e-mail addresses, websites,
        URLs, Internet domain names (including all sub-domain names and extensions thereof
        and thereto), and social media accounts (including related usemames and other social
        identifiers) owned or licensed by any Seller;

                       (xv) the amount of, and all rights to any, insurance proceeds received
        by any Seller in respect of (A) the loss, destruction or condemnation of any Transferred
        Assets occurring prior to, on or after the Closing or (B) any Assumed Liabilities;

                       (xvi) any and all claims, causes of action, defenses, counterclaims, or
        settlement agreements of Sellers arising out of or relating to the Business, the Transferred
        Assets and/or Assumed Liabilities;

                       (xvii) the Owned Real Property, as set forth or described in Section
        3.12(a) of the Seller Disclosure Letter; and

                       (xviii) the assets set forth on Section l.l(a)(xviii) of the Seller Disclosure
        Letter.




                                                 -3-
FTL 111767089V15
   Case 3:16-bk-02230-PMG                    Doc 1118         Filed 07/18/18        Page 41 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 8 of 184 PageID# 476




               (b)    Excluded Assets. Notwithstanding the foregoing, the following assets
 (the "Excluded Assets") are expressly excluded from the purchase and sale contemplated in this
 Agreement and, as such, are not included in the Transferred Assets;

                      (i)    Sellers' rights under or pursuant to this Agreement and the
        documents, instruments and agreements executed in connection herewith and therewith;

                      (ii)    Sellers' general ledgers, accounting records, minute books,
        statutory books, corporate seal and Tax Returns, provided that Sellers shall provide to
        Purchaser copies of the general ledgers, accounting records, minute books and statutory
        books of the Business, including Tax Returns, as such documents exist as of the Closing
        Date;

                         (iii)      any and all Tax refiinds or credits to which the Sellers or their
        AflTiliates are entitled;

                         (iv)       any and all insurance policies for all periods prior to the Closing;

                        (v)     all current and prior director and officer insurance policies of
        Sellers and all rights of any nature with respect thereto, including all insurance recoveries
        thereunder and rights to assert claims with respect to any such insurance recoveries;

                       (vi)  any and all claims, causes of action, defenses, counterclaims, or
        settlement agreements of Sellers arising out of or relating to the Excluded Assets;

                        (vii) any and all avoidance Claims or other Claims or causes of action
        of the Sellers under the Bankruptcy Code, including actions available to the Sellers under
        Chapter 5 of the Bankruptcy Code, of whatever kind or nature, and whether asserted or
        unasserted, except for (A) any claims against (i) High Nature Holdings Limited, (ii) the
        PacBridge Parties, (iii) Alta, (iv) Apollo, or any of their respective Affiliates and (B)
        claims, causes of action, defenses, counterclaims or settlement agreements set forth in
        Section l.l(a)(xvi);

                      (viii) Sellers' personnel records and any other records that Sellers are
        required by law to retain in its possession, provided that Sellers shall provide to
        Purchaser copies of records relating to the Seller Employees;

                         (ix)       subject to Section 1.1(a)(xii), all equity securities of any Seller;

                        (x)     any right to receive mail and other communications addressed to
        Sellers (subject to Sellers' obligations to forward to Purchaser any mail, conmiunications
        or other notices relating to the Business, Transferred Assets or Assumed Liabilities);

                      (xi)   all rights existing under each Contract or Real Property Lease to
        which Sellers are a party or by which their assets are bound other than the Assumed
        Contracts and Assumed Real Property Leases (the "Excluded Contracts'"):



                                                      -4-
FTL 111767089v15
    Case 3:16-bk-02230-PMG                Doc 1118        Filed 07/18/18        Page 42 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 9 of 184 PageID# 477




                      (xii) the sponsorship of and all assets maintained pursuant to or in
        connection with any Benefit Plan;

                       (xiii) the personal property, equipment and furniture, if any, listed on
        Section l.l(b)(xiii) of the Seller Disclosure Letter; and

                         (xiv)   the assets set forth on Section l.l(b)(xiv) of the Seller Disclosure
        Letter.

                  (c)    Assumed Liabilities. Subject to the terms and conditions set forth herein,
 Sellers agree to assign to Purchaser, and Purchaser agrees to assume and agrees to pay, perform
 and discharge when due only the Assumed Liabilities after the Closing. For the avoidance of
 doubt, the Parties agree that the Purchaser shall not assume or otherwise become liable for any
 Liabilities of the Sellers or their respective Affiliates other than the Assumed Liabilities. For the
 purposes of this Agreement, "Assumed Liabilities" shall mean and include only the following:

                         (i)    all liabilities, obligations and duties solely arising after the Closing
        under any and all Assumed Contracts and Assumed Real Property Leases other than any
        liabilities arising out of any breach, default or failure to perform on or prior to the
        Closing Date under any Assumed Contract or Assumed Real Property Lease;

                         (ii)    all Cure Costs;

                         (iii)   all obligations and liabilities of the Sellers and RMST arising after
        the Closing with respect to the Revised Covenants and Conditions other than any
        liabilities arising out of any breach, default or failure to perform thereunder on or prior to
        the Closing Date; and

                       (iv) the liabilities of DinoKing set forth in Section l.l(c)(iv) of the
        Seller Disclosure Letter; provided that accounts payable and accrued liabilities shall not
        exceed CAD$270,000 in the aggregate (the "Assumed DinoKine Liabilities"').

              1.2      Purchase Price. As consideration for the sale of the Transferred Assets,
the Purchaser shall, in addition to assuming the Assumed Liabilities, pay to the Sellers in the
manner described herein, the Purchase Price.

                   1.3   Assignment of Contracts and Rights: Third Partv Consents.

                   (a)    Sellers shall use reasonable best efforts to assign the Assumed Contracts,
 Assumed Real Property Leases and other Transferred Assets to Purchaser, including using
 reasonable best efforts to facilitate any negotiations with the counterparties to such Assumed
 Contracts and Assumed Real Property Leases and to obtain an order (which shall be the
 Approval Order) containing a finding that the proposed assignment to and assumption of the
 Assumed Contracts and Assumed Real Property Leases by Purchaser satisfied all applicable
 requirements of Section 365 of the Bankruptcy Code.




                                                   -5-
FTL 1117670a9v15
    Case 3:16-bk-02230-PMG               Doc 1118      Filed 07/18/18       Page 43 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 10 of 184 PageID# 478




                 (b)     At the Closing, (i) the Sellers shall, pursuant to the Approval Order and
  the Assignment and Assumption Agreement and the Real Property Lease Assignments, as
  applicable, assign to Purchaser (the consideration of which is included in the Purchase Price)
  each of the Assumed Contracts and Assumed Real Property Leases that is capable of being
  assigned and assumed by Purchaser pursuant to the terms of such Assumed Contract and
  Assumed Real Property Leases or the Approval Order and (ii) Purchaser shall pay all known
  Cure Costs in connection with such assumption and assignment.

                  (c)     Notwithstanding anything in this Agreement to the contrary, to the extent
  that any of the Sellers' rights under any Assumed Contract and Assumed Real Property Lease
  may not be assigned to Purchaser without the consent, approval or waiver of another Person
  which consent, approval or waiver has not been obtained prior to Closing (each a "Consent
  Asset"), except as to Assumed Contracts and Assumed Real Property Leases assigned pursuant
  to Section 365 of the Bankruptcy Code or the Approval Order, this Agreement and any
  assignment executed pursuant to this Agreement shall not constitute an assignment of any such
  Consent Asset if an attempted assignment would constitute a breach of an obligation thereunder
  or violate applicable Law, and any such Seller (or any successor thereto under a confirmed
  Chapter 11 plan) shall, for a period of six (6) months following the Closing, use its reasonable
  best efforts to obtain any such required consent(s), approval(s) or waiver(s). If any such
  consent shall not be obtained or such assignment is not attainable pursuant to Section 365 of the
  Bankruptcy Code or the Approval Order, or if any attempted assignment would be ineffective or
  would impair Purchaser's rights under the Consent Asset in question so that Purchaser would
  not in effect acquire the benefit of such rights, such Seller, to the maximum extent permitted by
  Law and the Consent Asset (and subject to any approval of the Bankruptcy Court that may be
  required), shall act after the Closing as Purchaser's agent in order to obtain for it the benefits
  thereunder and shall cooperate, to the maximum extent permitted by Law and the Consent
  Asset, with Purchaser in any other reasonable arrangement designed to provide such benefits to
  Purchaser. Purchaser shall reasonably cooperate with Sellers in order to enable Sellers to
  provide to Purchaser the benefits contemplated by this Section 1.3(c).

                    1.4   Good Faith Deposit.

                (a)     Within three (3) Business Days of the execution of this Agreement, (i)
  Purchaser and Sellers shall execute the Escrow Agreement and (ii) Purchaser shall deposit with
  the Escrow Agent an amount in cash equal to $1,750,000 (the "Good Faith Deposit"'), in
  immediately available fiinds by wire transfer to an account designated by the Escrow Agent, to
  be applied as provided in Section 1.4(b). The Good Faith Deposit shall be held in escrow by the
  Escrow Agent in an interest bearing bank account approved by Purchaser. All costs associated
  with the Escrow Agreement shall be borne by the Sellers. The Escrow Funds shall only
  constitute property of the Sellers' bankruptcy estates in the event and to the extent that the
  Escrow Funds are required to be released to the Sellers in accordance with the terms of this
  Agreement.

                (b)    Contemporaneously with the execution of the Escrow Agreement,
  Purchaser and Sellers shall execute a Joint Written Direction (as defined in the Escrow
  Agreement) irrevocably instructing the Escrow Agent to do the following:

                                                -6-
 FTL 111767089V15
     Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18     Page 44 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 11 of 184 PageID# 479



                       (i)     subject to the occurrence of the Closmg, deliver the Good Faith
         Deposit and interest earned thereon to the Sellers at the Closing as a credit against the
         Purchase Price;

                       (ii)    if this Agreement is terminated pursuant to Section 7.3(b) in
         accordance with Section 7.5(b)(iii) (a "Purchaser Default Termination"), within one (1)
         Business Day after receiving notice of such Purchaser Default Termination, pay the Good
         Faith Deposit and interest earned thereon to the Sellers; and

                        (iii) if this Agreement is terminated prior to Closing for any reason
         other than a Purchaser Default Termination, within one (1) Business Day after receiving
         notice of such other termination, return the Good Faith Deposit (including interest earned
         thereon) to the Purchaser.

                (c)       Upon (i) the occurrence of the Closing, (ii) a Purchaser Default
  Termination or (iii) if this Agreement is terminated prior to Closing for any reason other than a
  Purchaser Default Termination, Purchaser and Sellers shall provide a joint written notice to the
  Escrow Agent instructing the Escrow Agent to take the applicable specified action in the Joint
  Written Direction.

                    1.5   Allocation of Purchase Price.

                 (a)    No later than sixty (60) days after Closing or within a reasonable time
  thereafter as agreed by Sellers and Purchaser, Purchaser shall prepare and deliver to Sellers a
  proposed allocation of the Purchase Price (plus the Assumed Liabilities and any other Liabilities
  deemed assumed by the Purchaser for U.S. federal income Tax purposes) among the
  Transferred Assets which shall be prepared in a manner consistent with Section 1060 of the
  U.S. Internal Revenue Code of 1986, as amended (the "Code"1 (the "Proposed Allocation
  Schedule"). After receipt of the Proposed Allocation Schedule from Purchaser, the Sellers shall
  have fifteen (15) days to review the Proposed Allocation Schedule. The Proposed Allocation
  Schedule will be considered final and binding on the Parties unless Sellers communicate to
  Purchaser objections to the Proposed Allocation Schedule (an "Allocation Dispute Notice").
  Sellers and Purchaser shall, within ten (10) days (or such longer period as Sellers and Purchaser
  may agree in writing) following delivery of an Allocation Dispute Notice (the "Allocation
  Resolution Period"), attempt in good faith to resolve their differences and prepare a final
  allocation schedule that is acceptable to both Sellers and Purchaser. If Sellers and Purchaser are
  unable to completely resolve any such differences within such ten (10) day period, the
  unresolved issues (the "Allocation Dispute") shall be resolved by the Accounting Firm in
  accordance with Section 1.5(b) (once so resolved, the "Final Allocation Schedule"), subject to
  approval by the Bankruptcy Court. Purchaser and Sellers shall file all Tax Returns (including
  amended returns and claims for refund) and information reports in a manner consistent with the
  Final Allocation Schedule and shall not take any position for Tax purposes (including on IRS
  Form 8594 or in any audit or other examination or proceeding relating to Taxes) inconsistent
  with this Section 1.5 unless required to do so by applicable Law.




                                                  -7-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18       Page 45 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 12 of 184 PageID# 480




                  (b)    If Purchaser and Sellers are unable to completely resolve any Allocation
  Dispute within the Allocation Resolution Period, the unresolved issues (and only such
  unresolved issues) (such unresolved issues collectively, the "Dispute"^ shall be promptly
  submitted for resolution to the Accounting Firm. The Accounting Firm shall be instructed to
  resolve any outstanding Dispute; provided, that the Accounting Firm's determination of any
  amount subject to the Dispute shall be no (i) less than the lesser of the amoimts claimed by
  Purchaser and Sellers, respectively, or (ii) greater than the greater of the amounts claimed by
  Purchaser and Sellers, respectively. The Parties shall instruct the Accounting Firm to render its
  determination with respect to the entire Dispute within fourteen (14) days of the referral of the
  Dispute thereto, and the determination of the Accounting Finn shall be final and binding upon
  the Parties for all purposes of this Agreement. The fees and expenses of the Accounting Firm
  shall be borne by the Purchaser, on the one hand, and the Sellers, on the other hand, in the same
  proportion that the dollar amount subject to the Dispute which is not resolved in favor of the
  Purchaser and the Sellers, as applicable, bears to the total dollar amount subject to the Dispute
  resolved by the Accounting Firm.

                1.6     Withholding. Purchaser shall be entitled to deduct and withhold from any
 consideration otherwise payable pursuant to this Agreement such amounts as Purchaser is
 required to deduct and withhold with respect to the making of such payment under the Code, or
 any provision of state, local or non-U.S. Laws. To the extent that such amounts are so deducted
 and withheld by Purchaser, such deducted and withheld amounts will be treated for all purposes
 of this Agreement as having been paid to those recipients in respect of which such deduction and
 withholding was made by Purchaser.

                    1.7   Election.

                (a)    Prior to the Closing, Purchaser shall use commercially reasonable efforts
  to register under the Excise Tax Act (Canada) and obtain a goods and services Tax
  (GST)/harmonized sales Tax (HST) registration nimiber from the Canada Revenue Agency.

                 (b)    If, prior to the Closing, Purchaser is registered under the Excise Tax Act
  (Canada) and provides Sellers with evidence that it has been issued a GST/HST registration
  number from the Canada Revenue Agency, DinoKing and Purchaser will on or before the
  Closing jointly execute an election, in the prescribed form and containing the prescribed
  information, to have subsection 167(1.1) of the Excise Tax Act (Canada) apply to the sale and
  purchase of the Transferred Assets owned by DinoKing so that no Tax is payable in respect of
  such sale and purchase of such assets under Part IX of the Excise Tax Act (Canada).

                 (c)     If, on or prior to the Closing, Purchaser is not registered under the Excise
  Tax Act (Canada) and/or does not provide Sellers with evidence that it has been issued a
  GST/HST registration nimiber from the Canada Revenue Agency, Purchaser shall pay to
  Sellers, and Sellers shall collect from Purchaser and remit to the appropriate taxing authority,
  GST/HST on the Transferred Assets of DinoKing.

                                            ARTICLE II




                                                 -8-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                  Doc 1118        Filed 07/18/18        Page 46 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 13 of 184 PageID# 481



                                        Closing: Closing Deliveries

                2.1     Closing. The closing of the transactions contemplated by this Agreement
 (the "Closing") shall take place at 10:00 a.m. Eastern Time at the offices of Troutman Sanders,
 LLP located at 600 Peachtree St., Suite 3000, Atlanta, GA 30308 on the Business Day after all of
 the conditions to the obligations of the Sellers and Purchaser under Article VL (other than those
 conditions that by their nature are to be satisfied at the Closing, but subject to the satisfaction or
 waiver of those conditions at the Closing) have been satisfied or waived in accordance with this
 Agreement, or at such other time and place as agreed to in writing by the Parties (the "Closing
 Date").


                    2.2   Closing Deliveries of Sellers and Purchaser.

                 (a)     Closing Deliveries of Sellers. At the Closing, Sellers shall deliver or
  cause to be delivered to Purchaser the following:

                          (i)    a duly executed copy of a bill of sale, substantially in the form
           attached hereto as Exhibit A. providing for the transfer of tangible personal property
           included in the Transferred Assets (the "Bill of Sale"):

                           (ii)    a duly executed copy of an assignment and assumption agreement,
           substantially in the form attached hereto as Exhibit B. providing for the assignment of the
           Transferred Assets and the assumption of the Assumed Liabilities by the Purchaser (the
           "Assignment and Assumption Agreement"):

                           (iii)   duly executed assignment and assumption agreements,
           substantially in the form attached hereto as Exhibit C. with respect to each Assumed Real
           Property Lease (collectively, the "Real Propertv Lease Assignments"):

                          (iv)   duly executed instruments of assignment substantially in the form
           of Exhibit D attached hereto for any and all of the Seller Intellectual Property transferred
           or assigned hereby (collectively, the "Intellectual Propertv Assignments"):

                          (v)      duly executed copies of any other Ancillary Agreements;

                          (vi)   a certificate from each Seller establishing that the transfer of any
           Transferred Asset that is a United States real property interest within the meaning of
           Section 897(c) of the Code is exempt from withholding under Section 1445 of the Code,
           in a form reasonably acceptable to Purchaser (the "FIRPTA Certificate"):

                          (vii)    the certificate described in Section 6.3(d);

                          (viii)   a certified copy of the Approval Order;

                          (ix)     a certified copy of the Admiralty Court Order;

                          (x)      duly executed copies of the joint election referred to in Section 1.7;


                                                     -9-
 FTL 1117670B9V15
    Case 3:16-bk-02230-PMG                 Doc 1118        Filed 07/18/18        Page 47 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 14 of 184 PageID# 482



                        (xi) a Joint Written Direction (as defined in the Escrow Agreement)
         instructing the Escrow Agent to release the Good Faith Deposit to the Sellers, duly
         executed by the Sellers;

                          (xii)   stock powers duly executed in blank by Premier effectuating the
         transfer of the RMST Shares, free and clear of all Liens and Claims, to Purchaser;

                          (xiii) counterparts of the Deeds, duly executed by Sellers, RMST or their
         relevant Affiliate;

                          (xiv)   the certificate required by Section 5.19(b); and

                         (xv) such other deeds, bills of sale, assignments and other instruments
         of transfer or conveyance as Purchaser may reasonably request or as may otherwise be
         necessary to evidence and effect the sale, assignment, transfer, conveyance and delivery
         of the Transferred Assets to Purchaser and assumption of Assumed Liabilities by
         Purchaser.

                 (b)     Closing Deliveries of Purchaser. At the Closing, Purchaser shall deliver
  or cause to be delivered to Sellers the following:

                          (i)     payment by wire transfer of immediately available fimds of the
         Cash Payment as described in Section 2.3 to an account or accounts designated by the
         Sellers at least three (3) Business Days prior to the Closing Date;

                      (ii)   a duly executed copy of each of the Bill of Sale, Assignment and
         Assumption Agreement, the Real Property Lease Assignments, Intellectual Property
         Assignments and any other Ancillary Agreements;

                          (iii)   the certificate described in Section 6.2(c);

                        (iv)  a Joint Written Direction (as defined in the Escrow Agreement)
         instructing the Escrow Agent to release the Good Faith Deposit to the Sellers, duly
         executed by the Purchaser;

                          (v)     counterparts of the Deeds, duly executed by Purchaser, if required;
         and

                        (vi)   such other deeds, bills of sale, assignments and other instruments
         of transfer or conveyance as Sellers may reasonably request or as may otherwise be
         necessary to evidence and effect the sale, assignment, transfer, conveyance and delivery
         of the Transferred Assets to Purchaser and assumption of Assumed Liabilities by
         Purchaser.

                    2.3   Closing Date Pavment.




                                                   -10-
 FTL 111767089V1S
    Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18       Page 48 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 15 of 184 PageID# 483



                    (a)   On the terms and subject to the conditions contained herein, the total
  consideration to be paid to Sellers on the Closing Date for the Transferred Assets shall be (x)
  the assumption of the Assumed Liabilities and (y) a cash payment (the "Cash Payment") equal
  to the sum of: (i) $17,500,000 (Seventeen Million Five Hundred Thousand Dollars) plus (ii) the
  amount, if any, by which the Estimated Current Assets exceeds the Target Current Assets minns
  (iii) the amount, if any, by which the Estimated Current Assets is less than the Target Current
  Assets minus (iv) the Good Faith Deposit delivered to Sellers at Closing minus (v) the Escrow
  Amount.

               (b)    At the Closing, Purchaser shall deposit (or cause to be deposited) an
  amountequal to $500,000 (the "Escrow Amount") with the Escrow Agent, pursuant to the terms
  of the Escrow Agreement, which Escrow Amount shall be held by the Escrow Agent as
  available funds to satisfy any Adjustment Shortfall Amoimt in accordance with Section 2.4 (all
  such flmds, the "Escrow Funds"). The Escrow Funds shall only constitute property of the
  Sellers' bankruptcy estates in the event and to the extent that the Escrow Funds are required to
  be released to the Sellers in accordance with the terms of this Agreement and the Escrow
  Agreement.

                  (c)    No later than five (5) Business Days prior to the Closing Date, the Sellers
  shall deliver to Purchaser a statement (the "Estimated Current Asset Statement") setting forth
  the Sellers' good faith estimate of the Closing Date Current Assets (the "Estimated Current
  Assets"). The Estimated Current Asset Statement shall be prepared using commercially
  reasonable accounting methods, policies, categorizations, definitions, principles, practices,
  techniques and procedures that are mutually acceptable to the Parties, but shall not include any
  changes in assets or liabilities as a result of changes arising from or resulting as a consequence
  of the Closing. If Purchaser has any dispute regarding such calculation of Estimated Current
  Assets, Sellers and Purchaser shall in good faith attempt to resolve any such dispute prior to the
  Closing.

                    2.4   Post-Closing Purchase Price Adjustments.

                 (a)     As soon as reasonably practicable after the Closing Date, and in any
  event, within sixty (60) days thereof. Purchaser shall prepare and deliver to the Sellers a
  statement (the "Closing Date Current Asset Statement") setting forth the calculation of the
  Closing Date Current Assets. The Closing Date Current Asset Statement shall be prepared in a
  maimer consistent with the accounting methods, policies, categorizations, definitions,
  principles, practices, techniques and procedures utilized in the preparation of the Estimated
  Current Asset Statement, but shall not include any changes in assets or liabilities as a resuh of
  changes arising from or resulting as a consequence of the Closing. Upon receipt fi-om
  Purchaser, Sellers shall have thirty (30) days to review the Closing Date Current Asset
  Statement (the "Review Period"). At Sellers' request. Purchaser and its employees, accountants
  and representatives (i) shall cooperate and assist Sellers and its representatives in reviewing the
  Closing Date Current Asset Statement and the materials used in its preparation and (ii) shall
  provide Sellers and their representatives with any information reasonably requested by them in
  connection therewith. If Sellers disagree with Purchaser's computation of Closing Date Current
  Assets, Sellers may, on or prior to the last day of the Review Period, deliver a written notice to


                                                 -11-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18        Page 49 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 16 of 184 PageID# 484




  Purchaser (the ''Notice of Objection"), which sets forth in reasonable detail (i) those items or
  amounts with which Sellers disagree and (ii) Sellers' calculation of Closing Date Current Assets
  based on such objections. To the extent not set forth in the Notice of Objection, Sellers shall be
  deemed to have agreed with Purchaser's calculation of all other items and amounts contained in
  the Closing Date Current Asset Statement. Unless Sellers deliver the Notice of Objection to
  Purchaser on or prior to the last day of the Review Period, Sellers shall be deemed to have
  accepted Purchaser's calculation of Closing Date Current Assets and the Closing Date Current
  Asset Statement shall be final, conclusive and binding.

                    (b)   If Sellers deliver the Notice of Objection to Purchaser within the Review
  Period, Purchaser and Sellers shall, during the thirty (30) days following such delivery or any
  mutually agreed extension thereof, use their commercially reasonable efforts to reach agreement
  on the disputed items and amounts in order to determine the amount of Closing Date Current
  Assets. If, at the end of such period or any mutually agreed extension thereof. Purchaser and
  Sellers are unable to resolve their disagreements, they shall jointly retain and refer their
  disagreements to a single neutral arbitrator (the "Arbitrator"). The Purchaser and Sellers shall
  instruct the Arbitrator promptly to review this Section 2.4 and to determine solely with respect
  to the disputed items and amounts so submitted whether and to what extent, if any, the Closing
  Date Current Assets set forth in the Closing Date Current Asset Statement requires adjustment.
  The Arbitrator shall base its determination solely on written submissions by Purchaser and
  Sellers regarding the items in dispute and consistent with the terms of this Agreement and not
  on an independent review. Purchaser and Sellers shall make available to the Arbitrator all
  relevant books and records and other items reasonably requested by the Arbitrator. As promptly
  as practicable, but in no event later than thirty (30) days after its retention, the Arbitrator shall
  deliver to Purchaser and Sellers a report which-sets forth its resolution of the disputed items and
  amounts and its calculation of Closing Date Current Assets; provided that such resolution with
  respect to each disputed item, must be within the range of values established for such item as
  determined by reference to the value assigned to such item by the Sellers in the Notice of
  Objection and by Purchaser in the Closing Date Current Asset Statement. The decision of the
  Arbitrator shall be final, conclusive and binding on Purchaser and Sellers. The costs and
  expenses of the Arbitrator shall be allocated between Purchaser and Sellers based upon the
  percentage which the portion of the contested amounts not awarded to each party bears to the
  amounts actually contested by such party, as determined by the Arbitrator.

                  (c)     For purposes of this Agreement, "Final Current Assets" means the
  Closing Date Current Assets: (i)as shown in the Closing Date Current Asset Statement
  delivered by Purchaser to Sellers pursuant to Section 2.4(a), if no Notice of Objection with
  respect thereto is timely delivered by Sellers to Purchaser pursuant to Section 2.4(a); or (ii) if a
  Notice of Objection is so delivered, (A) as agreed by Purchaser and Sellers pursuant to Section
  2.4(b) or (B)in the absence of such agreement, as shown in the Arbitrator's calculation
  delivered pursuant to Section 2.4(b).

                (d)     If the Final Current Assets are less than the Estimated Current Assets,
  then the amount of such shortfall (the "Adjustment Shortfall Amount") shall be deducted fi-om
  the Purchase Price on a dollar-for-dollar basis, and (A) the Adjustment Shortfall Amount shall
  be deducted fi-om the Escrow Funds and paid to Purchaser and, if the Escrow Fvmds are

                                                 -12-
 FTL 1117670e9v15
    Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18      Page 50 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 17 of 184 PageID# 485




  insufficient to satisfy the Adjustment Shortfall Amount (if any), the amount of such
  insufficiency shall be paid by the Sellers to Purchaser on a joint and several basis by wire
  transfer of immediately available funds, and (B) after making such payment to Purchaser, the
  remaining portion (if any) of the Escrow Fimds shall be paid to the Sellers in accordance with
  the terms of the Escrow Agreement. If the Final Current Assets are greater than the Estimated
  Current Assets, then the amount of such excess (the "Adjustment Excess Amount") shall be
  added to the Purchase Price on a dollar-for-dollar basis and Purchaser shall pay to Sellers the
  Adjustment Excess Amount by wire transfer of immediately available funds. Any payment due
  to Purchaser or Sellers pursuant to the adjustments set forth in this Section 2.4(d) shall be paid
  within three (3) days of the determination of Final Current Assets in accordance with this
  Section 2.4. Purchaser and Sellers shall designate in writing the account(s) to which such
  payment is to be made at least one (1) day before the payment is due. Purchaser and Sellers
  shall deliver a joint written instruction to the Escrow Agent instructing it to disburse to
  Purchaser and the Sellers the applicable portions of the Escrow Funds payable to such Party
  under this Section 2.4(d) by wire transfer of immediately available fiinds.

                                              ARTICLE III


                             Representations and Warranties of the Sellers

                 Except as set forth in corresponding sections or subsections of the disclosure letter
 delivered to Purchaser by the Sellers prior to entering into this Agreement (the "Seller Disclosure
 Letter") (it being agreed that disclosure of any item in any section or subsection of the Seller
 Disclosure Letter shall be deemed disclosure with respect to any other section or subsection to
 which the relevance of such item is reasonably apparent on the face of such disclosure), the
 Sellers and RMST hereby represent and warrant to Purchaser that:

                    3.1   Organization. Good Standing and Qualification.

                 (a)     Each Seller and RMST is a legal entity duly organized, validly existing
  and (to the extent such concept exists in the jurisdiction where such entity is organized) in good
  standing under the Laws of its respective jurisdiction of organization and has all requisite
  corporate or similar power and authority to own, lease and operate its properties, rights and
  assets and to carry on its business as presently conducted. Each Seller and RMST is duly
  authorized to do business and is in good standing as a foreign corporation in each jurisdiction
  where the ownership or operation of the Transferred Assets or the conduct of the Business
  requires such qualification, except for failures to be so authorized or be in such good standing,
  as would not, individually or in the aggregate, have a Seller Material Adverse Effect.

               (b)   The Sellers have made available to Purchaser complete and correct copies
  of the Sellers' and RMST's certificates of incorporation and bylaws or comparable
  organizational documents, each as amended to the date of this Agreement, and each as so made
  available is in effect on the date of this Agreement. The Sellers and RMST are not in violation
  of any provision of their respective organizational documents.

                    3.2   Subsidiaries: Capitalization.



                                                  -13-
 FTL 111767089V15
     Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18        Page 51 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 18 of 184 PageID# 486




                 (a)     Premier has no direct or indirect Subsidiaries except as set forth on
  Section 3.2(a) of the Seller Disclosure Letter, which sets forth the name and jurisdiction of each
  such Subsidiary. No Seller owns any equity interest in any Person other than the Subsidiaries
  set forth on Section 3.2(a) of the Seller Disclosure Letter.

                (b)      Premier owns beneficially and of record 100% of the issued and
  outstanding capital stock of RMST (the "RMST Shares'") free and clear of all Liens (other than
  Liens provided under the DIP Agreement, which shall be released on or prior to the Closing).
  The RMST Shares owned by Premier constitute all of the issued and outstanding equity
  interests of RMST and no other Person owns or has the right to acquire any RMST Shares.
  Upon delivery and payment for the RMST Shares at Closing, Purchaser shall acquire good and
  valid title to all RMST Shares free and clear of all Liens and Claims.

                   (c)     All the outstanding RMST Shares have been duly authorized and validly
  issued, fully paid and are nonassessable. Except as set forth in Section 3.2(c) of the Seller
  Disclosure Letter, there are no outstanding (i) securities of RMST convertible into or
  exercisable or exchangeable for shares of capital stock of RMST; (ii) options, warrants,
  subscriptions or other rights (including any preemptive, exchange, conversion or other rights) or
  agreements, stock appreciation rights or features, anti-dilution rights or features, puts, calls,
  commitments or understandings of any kind to acquire from RMST, or other obligations of
  Sellers or RMST to issue, transfer, settle or sell, any shares of capital stock of RMST or (iii)
  rights of first refusal, rights of first offer, voting trusts, proxies, registration rights agreements,
  equity holder agreements or other similar agreements or understandings with respect to the sale
  or voting (if applicable) of any capital stock of RMST (the items in clauses (i), (ii) and (iii)
  being referred to collectively as the "RMST Securities"). Except as set forth in Section 3.2(c) of
  the Seller Disclosure Letter, there are no outstanding rights or obligations of any Person to
  repurchase, redeem, or otherwise acquire any RMST Securities. There are no outstanding
  bonds, debentures, notes or other indebtedness of RMST having the right to vote (or convertible
  into, or exchangeable for, securities having the right to vote) on any matter for which holders of
  equity securities of RMST may vote.

                    (d)   Except as set forth on Section 3.2(d) of the Seller Disclosure Letter, none
  of (i) 1032403 B.C. Ltd., a company formed under the laws of British Columbia, (ii) DinoKing
  International, Inc., a company formed under the laws of British Columbia, (iii) PRXI
  International Holdings CV, a company formed under the laws of the Netherlands, or (iv)
  Premier Hollywood Pictures LLC, a Nevada limited liability company (collectively, the "Non-
  Seller Subsidiaries"') has any assets, operations or employees and is not a party to or bound by
  any Contract related to the Business.

                3.3    Corporate Authoritv. The Sellers have all requisite corporate or similar
 power and authority and have taken all corporate or similar action necessary in order to execute
 and deliver this Agreement and the Ancillary Agreements and, subject to the entry of the
 Bankruptcy Court Orders (as defined herein) and the Admiralty Court Order, to perform their
 obligations under this Agreement and to consummate the sale of the Business and the other
 transactions contemplated by this Agreement. This Agreement has been duly executed and
 delivered by the Sellers and, upon their execution and delivery in accordance with the terms of

                                                  -14-
 FTL 111767089V1S
     Case 3:16-bk-02230-PMG                Doc 1118       Filed 07/18/18       Page 52 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 19 of 184 PageID# 487




 this Agreement, each of the Ancillary Agreements to which any Seller is a party will have been
 duly and validly executed and delivered by each such Seller, as applicable. Assuming the due
 authorization, execution and delivery hereof and thereof by Purchaser, and subject to the
 Bankruptcy Court's entry of the Bankruptcy Court Orders and the Admiralty Court's entry of the
 Admiralty Court Order, this Agreement constitutes and the Ancillary Agreements will constitute
 a valid and binding agreement of the Sellers enforceable against the Sellers in accordance with
 its terms, subject to bankruptcy, insolvency, fraudulent transfer, reorganization, moratorium and
 similar Laws of general applicability relating to or affecting creditors' rights and to general
 equity principles (the "Bankmptcv and Equity Exception").

                    3.4   Governmental Filings and Approvals: No Conflicts.

                   (a)    The execution and delivery of this Agreement and the Ancillary
  Agreements by the Sellers do not, and the performance by the Sellers and consunmiation of the
  sale of the Business and the other transactions contemplated by this Agreement will not, require
  any consent, approval or authorization of, or filing with or notification to any Governmental
  Entity other than (i) the entry of the Bankruptcy Court Orders and the Bankruptcy Court Orders
  becoming Final Orders, (ii) the entry of the Admiralty Court Order, and no Person having
  appealed the Admiralty Court Order within sixty (60) days of the Admiralty Court Order Entry
  Date, (iii) filings required under, and in compliance with other applicable requirements of any
  Antitrust Laws, and (iv) the consents or notices set forth in Section 3.4(a) of the Seller
  Disclosure Letter.

                  (b)     Assuming that all consents, approvals and authorizations described in
  Section 3.4(a) have been obtained and all filings and notifications described in Section 3.4(a)
  have been made, the execution and delivery of this Agreement and the Ancillary Agreements by
  the Sellers and the performance by the Sellers and consummation of the sale of the Business and
  the other transactions contemplated by this Agreement will not: (i) conflict with or violate the
  certificate of incorporation or bylaws or other equivalent organizational documents of the
  Sellers or RMST, (ii) constitute a violation of any Law binding upon or applicable to the Sellers
  or RMST or any of their respective properties or assets, (iii) except as set forth in Section 3.4(b)
  of the Seller Disclosure Letter, require any consent of or other action by any Person under,
  result in any breach or violation of or constitute a default (or an event that with notice or lapse
  of time or both would become a default) or result in the loss of a benefit under, or give rise to
  any right of termination, cancellation, amendment or acceleration of, or obligation or fee under,
  any material Contract to which any of the Sellers or RMST is a party or by which any of their
  respective properties are bound except for breaches and defaults referred to in Section 365(b)(2)
  of the Bankruptcy Code or (iv) result in the creation of any Lien or Claim on any of the
  properties or assets of the Sellers or RMST.

                    3.5   Financial Statements. Section 3.5 of the Seller Disclosure Letter sets forth
 true, correct and complete copies of the financial statements of Premier and its Subsidiaries as of
 and for the periods ending December 31, 2016 and December 31, 2017 and April 2018
 (collectively, the "Pinancial Statements"), which Financial Statements were relied upon by
 Purchaser in connection with its determination of the Purchase Price. The Financial Statements
 were prepared fi-om the Books and Records of Premier and its Subsidiaries and present fairly, in


                                                  -15-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18       Page 53 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 20 of 184 PageID# 488



 all material respects, the financial position of Premier and its consolidated Subsidiaries as of the
 dates referred to therein and the results of their operations and their cash flows for the periods
 referred to therein.

              3.6 Absence of Certain Changes. Since December 31, 2017, except in
 connection with this Agreement and the transactions contemplated hereby or as set forth on
 Section 3.6 of the Seller Disclosure Letter, (a) the Business has been conducted in the ordinary
 course consistent with past practice and (b) there has been no change, event or development that,
 individually or in the aggregate, has had, or is reasonably likely to have, a Seller Material
 Adverse Effect.

                 3.7    Litigation. Except as set forth in Section 3.7 of the Seller Disclosure
 Letter and the Bankruptcy Cases, there are no material civil, criminal or administrative actions,
 suits, claims, hearings, arbitrations or other proceedings pending or, to the Sellers' Knowledge,
 threatened against any of the Sellers or RMST with respect to the Business or any of the
 Transferred Assets. None of the Sellers or RMST (nor any of their respective properties or
 assets) is party or subject to any judgment, order, writ, injunction, decree or award of any
 Governmental Entity.

                    3.8    Compliance with Laws: Permits.

                 (a)     Except as set forth on Section 3.8(a) of the Seller Disclosure Letter, the
  Sellers and RMST are, and since December 31, 2015 have been, in compliance in all material
  respects with all Laws applicable to the Business. None of the Sellers or RMST are under
  investigation with respect to any violation of any applicable Laws.

                  (b)    The Sellers and RMST have obtained and are, and since December 31,
  2015 have been, in compliance in all material respects with all permits, certifications, approvals,
  registrations, consents, authorizations, franchises, variances, exemptions and orders issued or
  granted by a Governmental Entity necessary for the Sellers and RMST to own, lease and
  operate their respective properties and assets, and to carry on and operate the Business as
  currently conducted (the "Permits"), and all such Permits are in full force and effect. Section
  3.8(b) of the Seller Disclosure Letter sets forth a complete and accurate list of all Permits. No
  suspension or cancellation of any Permits is pending or, to the Sellers' Knowledge, threatened
  in writing and no such suspension or cancellation will result from the transactions contemplated
  by this Agreement.

                 3.9     Undisclosed Liabilities. None of the Sellers has any material Liabilities,
 except for: (i) Liabilities accrued or reserved for in the Financial Statements (including any
 related notes); (ii) Liabilities incurred in the ordinary course of business since May 31, 2018 and
 which would not reasonably be expected to be material to the Business or the Transferred Assets,
 in each case, taken as a whole; and (iii) Liabilities incurred in connection with the transactions
 contemplated by this Agreement or the Bankruptcy Cases.

                    3.10   Material Contracts. Section 3.10 of the Seller Disclosure Letter includes a
 true and complete list of the following Contracts (including any amendment, supplement, or
 modification thereof) to which a Seller or RMST is a party with respect to the Business, the

                                                   -16-
 FTL 1117670B9V15
    Case 3:16-bk-02230-PMG                    Doc 1118       Filed 07/18/18       Page 54 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 21 of 184 PageID# 489



 Transferred Assets or the Assumed Liabilities as of the date hereof (each such Contract, a
 "Material Contract"):

                           (i)       each Contract that involves performance of services or delivery of
                    goods or materials by a Seller or RMST of an amount or value in excess of
                    $50,000;

                           (ii)      each Contract that involves performance of services or delivery of
                    goods or materials to a Seller or RMST of an amount or value in excess of
                    $50,000;

                             (iii)  each lease, rental or occupancy agreement, license, installment and
                    conditional sale agreement, and other Contract affecting the ownership of, leasing
                    of, title to, use of, or any leasehold or other interest in, any real property or
                    material personal property;

                           (iv)      any Contract that is a collective bargaining or other agreement with
                    a labor union;

                            (v)     any licenses of material Intellectual Property to or from any Person
                    (other than licenses for Off-the-Shelf Software);

                           (vi)    any employment Contracts (other than offer letters), and all
                    Contracts as to which an employee is entitled to severance in excess of any
                    severance required by applicable Law and any independent contractor or
                    consulting agreements;

                            (vii) any Contract (A) containing covenants that restrict the business
                    activity of a Seller or RMST (other than non-disclosure agreements entered into
                    in the ordinary course of business) or (B) limiting the freedom of a Seller or
                    RMST to engage in any line of business or to compete with any Person;

                          (viii) any Contracts relating to any (A) Indebtedness for money
                    borrowed and (B) any other material Indebtedness;

                            (ix)    any Contracts that create or govern a partnership, joint venture,
                    strategic alliance or similar arrangement;

                          (x)    any Contracts with any Affiliate, other than Contracts relating to
                    employment; and

                            (xi)   each written warranty, guaranty, and or other similar undertaking
                    with respect to contractual performance extended by a Seller or RMST other than
                    in the ordinary course of business.

                 Except as set forth in Section 3.10 of the Seller Disclosure Letter, each Material
 Contract is valid, binding and enforceable against each such Seller or RMST, as applicable, and,


                                                     -17-
 FTL 111767089V1S
     Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18      Page 55 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 22 of 184 PageID# 490




 to the Sellers' Knowledge, the other parties thereto, in accordance with its terms (subject to the
 Bankruptcy and Equity Exception), and is in full force and eflfect. Except as set forth in Section
 3.10 of the Seller Disclosure Letter and other than as a result of the filing and pendency of the
 Bankruptcy Cases, neither any Seller nor RMST is in material breach of or material default under
 any Material Contract to which it is a party, and, to Sellers' Knowledge, no other Person is in
 material breach of or material default under any Material Contract.

                    3.11   Labor and Employee Benefits.

                 (a)    Premier has made available to Purchaser prior to the date hereof a true,
  correct and complete list of the following information for each Seller Employee, including any
  Seller Employee on leave of absence or layoff as of the date hereof: name; job title; employer;
  work location; date of hire; the current year's base compensation and, separately, any promised
  or targeted bonus compensation; exempt or non-exempt status; visa status if not a United States
  citizen; the amount of vacation pay to which each employee is entitled on the date hereof; and,
  if on leave, date of expected return. Except as set forth in Section 3.11(a) of the Seller
  Disclosure Letter, all Seller Employees are "employees at will," and their employment may be
  terminated at any time. Since December31,2015, RMST has not had any employees.

                  (b)     Except as set forth in Section 3.11(b) of the Seller Disclosure Letter, (i)
  none of the Sellers or RMST is a party to or is otherwise bound by any collective bargaining or
  other Contract with a labor union, and there are no labor imions or other organizations or groups
  representing, purporting to represent or attempting to represent any Seller Employees; (ii) there
  is no pending or, to the Knowledge of Sellers, threatened strike, slowdown, picketing or work
  stoppage by, or lockout of, or other similar labor activity involving, or any organizing campaign
  wiA respect to, any Seller Employees and no such activity has occurred since December 31,
  2015; (iii) the Sellers and RMST are in compliance in all material respects with all applicable
  Laws respecting labor and employment, including without limitation. Laws concerning fair
  employment practices, terms and conditions of employment, collective bargaining, employee
  classification (as exempt or non-exempt, and as employee or independent contractor), wages
  and hours, occupational health and safety, workers' compensation and immigration; and (iv)
  since December 31, 2015, none of the Sellers or RMST has engaged in any "mass layoff or
  "plant closing," as those terms are defined in the Worker Adjustment and Retraining
  Notification Act or any similar state or local legislation (collectively, "WARN"), and none of
  the Sellers has any outstanding WARN Liabilities.

                    (c)    Section 3.11(c) of the Seller Disclosure Letter sets forth an accurate and
  complete list of each Benefit Plan. For purposes of this Agreement, "Benefit Plan" means all
  benefit and compensation plans, Contracts, policies or arrangements (whether or not in writing)
  covering any current or former director, officer, employee or individual independent contractor
  of the Sellers or RMST (each, a "Service Provider") maintained, sponsored or contributed to by
  the Sellers or RMST or under which any of the Sellers or RMST has any Liability (contingent
  or otherwise), including, but not limited to, "employee benefit plans" within the meaning of
  Section 3(3) of the Employee Retirement Income Security Act of 1974, as amended ("ERISA'").
  and deferred compensation, severance, termination, stock option, stock purchase, stock
  appreciation rights, stock-based, incentive, retention, change in control, retirement, profit

                                                  -18-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18        Page 56 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 23 of 184 PageID# 491



  sharing, fringe benefit and welfare plans, Contracts, policies or arrangements. Except as set
  forth in Section 3.11(c) of the Seller Disclosure Letter, since December 31, 2015, RMST has
  not sponsored or maintained any Benefit Plan. True and complete copies of all Benefit Plans
  listed on Section 3.11(c) of the Seller Disclosure Letter, including any amendments thereto,
  have been made available to Purchaser, together with (i) the most recent annual report on Form
  5500 required to have been filed with the IRS for each Benefit Plan, including all schedules
  thereto; (ii) the most recent determination letter, if any, from the IRS for any Benefit Plan that is
  intended to qualify pursuant to Section 401(a) of the Code; (iii) any summary plan descriptions;
  (iv) any related trust agreements, insurance Contracts, insurance policies or other documents of
  any funding arrangements; and (v) any material correspondence to or fi-om any Governmental
  Entity with respect to any such Benefit Plan.

                 (d)     (i) Each of the Benefit Plans has been maintained, operated and
  administered in all material respects in accordance with its terms and all applicable Laws,
  including ERISA and the Code; (ii) no nonexempt "prohibited transaction" (as such term is
  defined in Section 406 of ERISA and Section 4975 of the Code) has occurred with respect to
  any Benefit Plan; (iii) no material Liability under Title IV of ERISA has been incurred by the
  Sellers or RMST that has not been satisfied in full when due, and, to the Sellers' Knowledge, no
  condition exists that could be reasonably expected to result in any material Liability under Title
  IV of ERISA; (iv) no Benefit Plan subject to the minimum flmding requu-ements of Section 302
  of ERISA or any trust established thereunder has failed to meet such minimum funding
  standards (as described in Section 302 of ERISA), whether or not waived, as of the last day of
  the most recent fiscal year of such Benefit Plan ended prior to the date of this Agreement; and
  (v) all contributions required to be made to any Benefit Plan by applicable Law and the terms of
  such Benefit Plan, and all premiums due or payable with respect to insurance policies fimding
  any Benefit Plan, for any period through the Closing, have been timely made or paid in full, or,
  to the extent not required to be made or paid on or before the Closing, have been fully reflected
  in line items on the applicable financial statements of the Sellers or RMST.

                 (e)     Neither any Seller nor RMST maintains, sponsors or contributes to, or
  has within the past six (6) years maintained, sponsored or contributed to, a Benefit Plan that is a
  "defined benefit plan" (as defined in Section 3(35) of ERISA) or otherwise subject to Title IV
  of ERISA or any multiemployer plan (as defined in Section 3(37) of ERISA) and neither any
  Seller nor RMST has incurred or has any reason to believe it has incurred or will incur any
  withdrawal Liability under Title IV of ERISA.

                 (f)     Each Benefit Plan intended to be "qualified" within the meaning of
  Section 401(a) of the Code has received a favorable determination letter or opinion letter from
  the IRS, on which it can currently rely, as to its qualification and, to the Sellers' Knowledge, no
  event has occurred that could reasonably be expected to result in disqualification of such
  Benefit Plan.

              (g)     Except as set forth in Section 3.11(g) of the Seller Disclosure Letter, the
  consummation of the transactions contemplated by this Agreement will not, either alone or in
  combination with another event, (i) entitle any Service Provider to severance pay,
  unemployment compensation or any other payment, (ii) accelerate the time of payment or

                                                  -19-
 FTL 111767089V15
     Case 3:16-bk-02230-PMG                 Doc 1118     Filed 07/18/18        Page 57 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 24 of 184 PageID# 492




  vesting, or increase the amount of compensation due to any employee, director, officer or
  independent contractor, (iii) directly or indirectly cause the Sellers or RMST to transfer or set
  aside any assets to fund any benefits under any Benefit Plan, (iv) otherwise give rise to any
  Liability under any Benefit Plan, or (v) limit or restrict the right to amend, terminate or transfer
  the assets of any Benefit Plan on or following the Closing.

                 (h)     There are no Liabilities, breaches, violations or defaults under any
  Benefit Plan that is sponsored, maintained, contributed to or required to be contributed to by
  Sellers or any of their Affiliates which could subject the Transferred Assets, Purchaser,
  Purchaser's Affiliates or any of Purchaser's or Purchaser's Affiliates' employee benefit plans to
  any Taxes, penalties or other Liabilities, including any "controlled group liability." As used in
  the preceding sentence, the term "controlled group liability" means any and all Liabilities (i)
  under Title IV of ERISA, (ii) under Sections 302, 303, and 4068(a) of ERISA, (iii) under
  Section 412, 430 or 4971 of the Code, and (iv) as a result of the failure to comply with the
  continuation of coverage requirements of Section 601 et seq. of ERISA and Section 4980B of
  the Code.

                    3.12   Real Property.

                    (a)     Each of the Sellers and RMST has (i) good, marketable and indefeasible
  fee title to all real property (including all buildings, improvements, fixtures and other structures
  which constitute real property under the laws of the jurisdiction in which they are located)
  owned by such Seller or RMST related to the ownership or operation of the Business ("Owned
  Real Property") and (ii) a valid leasehold interest in the leases, subleases, licenses or other
  occupancies or use agreements to which each such Seller and RMST is a party as tenant for real
  property related to the ownership or operation of the Business (the "Real Property Leases" ; the
  Real Property Leases, together with the Owned Real Property, collectively, the "Real
  Property"), in each case, fi-ee and clear of all Liens, except for Permitted Liens and mortgages
  set forth on Schedule 3.12(a) of the Seller Disclosure Letter. Schedule 3.12(a) of the Seller
  Disclosure Letter sets forth a complete and correct list, as of the date hereof, of the Real
  Property.

                   (b)     Except in connection with the Bankruptcy Cases, and after giving effect
  to Section 365(c) of the Bankruptcy Code, and except as set forth on Schedule 3.12(b) of the
  Seller Disclosure Letter, (i) each Real Property Lease is valid, binding and in full force and
  effect and (ii) there is not under any Real Property Lease (x) any default by any Seller or RMST
  or, to the Sellers' Knowledge, any other party thereto or (y) to the Sellers' Knowledge, any
  condition or event which, with notice or lapse of time, or both, would constitute a default under
  the provisions of such Real Property Lease, in each case after giving effect to Section 365(c) of
  the Bankruptcy Code.

                    (c)    True and complete copies of all deeds, leases, easement agreements,
  shared facilities agreements, mortgages, deeds of trust, certificates of occupancy, title insurance
 policies, title commitments, surveys and similar documents, and all amendments thereof, with
 respect to the Real Property and in the possession of Sellers or RMST have been made available
 to Purchaser prior to the date hereof


                                                 -20-
 FTL 111767089V15
     Case 3:16-bk-02230-PMG                Doc 1118       Filed 07/18/18       Page 58 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 25 of 184 PageID# 493




                    3.13   Taxes.

                    (a)    Except as set forth in Section 3.13(a) of the Seller Disclosure Letter, the
  Sellers and RMST (i) have prepared and duly and timely filed (taking into account any
  extension of time within which to file) all Tax Returns required to be filed by any of them with
  respect to the Transferred Assets or the Business, and all such filed Tax Returns are complete
  and accurate and have been prepared in compliance with applicable Laws; (ii) have paid all
  Taxes (whether or not shown as due on such filed Tax Returns) required to have been paid with
  respect to the Transferred Assets or the Business; and (iii) have not waived any statute of
  limitations with respect to any amount of Taxes with respect to the Transferred Assets or the
  Business or agreed to any extension of time with respect to any amount of Tax assessment or
  deficiency with respect to the Transferred Assets or the Business, in each case that is still
  outstanding. There are no Liens for Taxes upon the Transferred Assets other than Permitted
  Liens.

                (b)   The Sellers and RMST have withheld and paid over all Taxes required to
  have been withheld and paid over to the appropriate Governmental Entity in connection with
  amounts paid or owing to any Seller Employees, independent contractor, shareholder, creditor,
  or other third party and all Forms W-2 and 1099 (or other informational reports) required with
  respect thereto have been properly completed and timely filed.

                  (c)    No audits (or other similar proceedings initiated by a Governmental
  Entity) in respect of Taxes with respect to the Transferred Assets or the Business or Tax matters
  to which any of the Sellers or RMST is a party are currently pending to the extent involving
  Taxes with respect to the Transferred Assets or the Business. All deficiencies asserted or
  assessments for Taxes made as a result of any audits or examinations by any Governmental
  Entity with respect to the Transferred Assets or the Business have been fully paid.

                (d)     No written claim has ever been made by a Governmental Entity in a
 jurisdiction where the Sellers or RMST do not file Tax Returns that the Sellers or RMST are or
 may be subject to Tax, or required to file Tax Returns, in that jurisdiction.

                 (e)    None of the Sellers or RMST has constituted either a "distributing
  corporation" or a "controlled corporation" in a distribution of stock intended to qualify for tax-
  free treatment pursuant to Section 355 of the Code (or any similar provision of state, local or
  foreign Tax Law) in the past two years.

                 (f)    None of the Sellers or RMST has engaged in a "listed transaction" as set
  forth in Treasury Regulation § 1.6011-4(b)(2).

                (g)   None of the Sellers or RMST is a party to, nor does it have any obligation
  under, any Tax indemnity or Tax-sharing agreement, or similar contract or arrangement. The
  Sellers and RMST (i) have never been a member of an affiliated, consolidated, combined,
  unitary or similar Tax group (other than a group the common parent of which is Premier) and
  (ii) have no liability for any unpaid Taxes of any other Person under Treasury Regulation
  Section 1.1502-6 (or any similar provision of state, local or foreign Law), as a transferee or
  successor, by contract or otherwise

                                                  -21-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG              Doc 1118       Filed 07/18/18       Page 59 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 26 of 184 PageID# 494



                    (h)   The aggregate unpaid Taxes of RMST (a) did not, as of the most recent
  date of the Financial Statements, exceed the reserve for Tax liability of RMST (rather than any
  reserve for deferred Taxes established to. reflect timing differences between book and Tax
  income) set forth on the face of the most recent Financial Statements and (b) do not exceed that
  reserve as adjusted for the passage of time through the end of the Closing Date in accordance
  with the past custom and practice of RMST in accruing for Tax liabilities.

                  (i)     RMST will not be required to include any item of income in, or exclude
 any deduction from. Taxable income for any Taxable period (or portion thereof) ending after the
 Closing Date as a result of any: (i) change in method of accounting, or the use of a cash or an
 improper method of accounting, for a Taxable period ending on or prior to the Closing Date
 (including, for the avoidance of doubt, any adjustment under Section 481 of the Code); (ii)
 "closing agreement" as described in Section 7121 of the Code (or any corresponding or similar
 provision of state, local or foreign Income Tax law) executed on or prior to the Closing Date;
 (iii) intercompany transactions as described in Treasury Regulation Section 1.1502-13 (or any
 corresponding or similar provision of state, local or foreign Income Tax law) or excess loss
 account described in Treasury Regulation Section 1.1502-19 (or any corresponding or similar
 provision of state, local or foreign Income Tax law); (iv) installment sale or open transaction
 disposition made on or prior to the Closing Date; (v) prepaid or deposit amount received on or
 prior to the Closing Date; (vi) income inclusion pursuant to Sections 951 or 951A of the Code
 with respect to any interest held in a "controlled foreign corporation" (as that term is defined in
 Section 957 of the Code) on or before the Closing Date; (vii) election described in Section
 108(i) of the Code (or any corresponding or similar provision of state, local or foreign Tax law)
 made on or prior to the Closing Date; or (viii) debt instrument held on or before the Closing
 Date that was acquired with "original issue discount" as defined in Section 1273(a) of the Code
 or is subject to the rules set forth in Section 1276 of the Code.

                 (j)     Since December 31, 2014, RMST has not made or changed any Tax
  election, adopted, changed or requested permission to change any Tax accounting period or Tax
  method or practice, filed any amended Tax Return, consented to or entered into any closing
  agreement, or similar agreement with any taxing authority, or consented to or settled or
  compromised any Tax claim or assessment.

                   (k)    DinoKing has complied with all registration and reporting requirements
  in respect of any Taxes and has duly and timely collected all amounts on account of Taxes,
  including goods and services Tax (GST)/harmonized sales Tax (HST) and provincial or
  territorial sales Taxes, required by applicable Law to be collected by it and has duly and timely
  remitted to the appropriate Government Entity any such amounts required by applicable Law to
  be remitted by it.

                    (1)   DinoKing is registered under Part IX of the Excise Tax Act (Canada)
  with registration number 83495 5122 RTOOOl.

                 (m)     DinoKing is not a non- resident of Canada or within the meaning of
  section 116 of the Income Tax Act (Canada).



                                               -22-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18      Page 60 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 27 of 184 PageID# 495




                   3.14   Intellectual Property.

                 (a)    Section 3.14(a) of the Seller Disclosure Letter sets forth a list of all (i)
  Patents included in the Seller and RMST Intellectual Property, (ii) Trademarks included in the
  Seller and RMST Intellectual Property, (iii) Copyrights included in the Seller and RMST
  Intellectual Property, in each case, that are the subject of a registration or a pending application
  for registration (collectively, the "Registered Intellectual Property"), and (iv) Domain Names
  and Social Media Accounts included in the Seller and RMST Intellectual Property. Section
  3.14(a) of the Seller Disclosure Letter also identifies (i) the jurisdictions in which each such
  item of the Registered Intellectual Property has been issued or registered or in which any
  application for such issuance and registration has been filed, or in which any other filing or
  recordation has been made, and the relevant application or registration number and (ii) each
  material license agreement or other similar arrangement that relates to the Seller and RMST
  Intellectual Property. The Seller and RMST Intellectual Property is valid, subsisting and
  enforceable, and is not subject to any outstanding order, judgment or decree adversely affecting
  the Sellers' or RMST's use thereof or rights thereto. The Sellers or RMST own the Seller and
  RMST Intellectual Property, free and clear of all Liens other than Permitted Liens. There are no
  filing or other deadlines within ninety (90) days of the Execution Date with respect to any Seller
  and RMST Intellectual Property.

               (b)    Except as set forth on Section 3.14(b) of the Seller Disclosure Letter, to
 the Sellers' Knowledge, since January 1, 2017, (i) the conduct of the Business as presently
 conducted by the Sellers and RMST has not infringed, misappropriated or otherwise violated
 the Intellectual Property rights of any third party, and (ii) no Person is infringing,
 misappropriating, or otherwise violating any Seller and RMST Intellectual Property rights.
 Sellers and RMST have not received any communication regarding possible infnngement by the
 Seller and RMST Intellectual Property of the rights of third parties. Sellers or RMST have not
 made any communication with any third party alleging infringement of any portion of the Seller
 and RMST Intellectual Property.

                (c)    The Sellers and RMST have taken commercially reasonable measures to
 protect the confidentiality of the trade secrets and other material confidential information
 included in the Seller and RMST Intellectual Property and such trade secrets have not been
 disclosed to any Person except pursuant to written non-disclosure agreements.

                 (d)     The Sellers and RMST have not transferred ownership of any Seller and
 RMST Intellectual Property to any Person, or knowingly permitted the Sellers' or RMST's
 rights in any Seller and RMST Intellectual Property to enter the public domain or, with respect
 to any Seller and RMST Intellectual Property for which the Sellers or RMST have submitted an
 application or obtained a registration, lapse (other than through the expiration of registered
 Seller and RMST Intellectual Property at the end of its maximum statutory term). Neither the
 execution and delivery of this Agreement nor the performance of the Sellers' or RMST's
 obligations under this Agreement will cause the forfeiture, abandonment, expiration or
 termination of, or give rise to a right of forfeiture or termination of any Seller and RMST
 Intellectual Property, or impair in any material respect the right of the Purchaser to use, possess,
 sell or license any Seller and RMST Intellectual Property. All Seller and RMST Intellectual


                                                   -23-
 FTL 1117670^v15
    Case 3:16-bk-02230-PMG                 Doc 1118        Filed 07/18/18      Page 61 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 28 of 184 PageID# 496




  Property will be fully transferable, alienable or licensable by Purchaser without restriction and
  without need for payment of any kind to any third party.

                    (e)    The software of the Sellers and RMST that is used or sold in the
  Business, (i) is fully operational, functional and substantially free of material bugs, defects,
  errors, viruses and other contaminants, and (ii) does not use or incorporate and is not derived
  firom any shareware, freeware or software subject to an "open source," "copyleft" or other
  similar license that requires the licensing, offer or provision of source code owned by the Sellers
  or RMST to others if the applicable software is licensed, made available, distributed or
  conveyed to others. Except as set forth on Section 3.14(e) of the Seller Disclosure Letter, there
  are no licenses or Contracts granting any Person exclusive rights to or under any Seller and
  RMST Intellectual Property or granting any Person the right to sublicense any Seller and RMST
  Intellectual Property.

                    3.15   Sufficiency of Assets.   Section 3.15 of the Seller Disclosure Letter sets
 forth a true, correctand complete list of all material tangible and intangible assets, properties and
 rights to the extent used or otherwise related to, useful in or necessary for the conduct of the
 Business, as of the date reflected on each such list of tangible and intangible assets. The
 Transferred Assets to be sold to the Purchaser hereunder are sufficient for the continued conduct
 of the Business from and after the Closing Date in substantially the same manner as the Business
 is currently conducted assuming all Assumed Contracts and Assumed Real Property Leases shall
 have been assigned to the Purchaser without modification, except to the extent that Purchaser's
 ability to operate the Business from and after the Closing Date may be affected as a result of
 actions or orders of the Bankruptcy Court.

                3.16 Title to Transferred Assets. Except as set forth in Section 3.16 of the
 Seller Disclosure Letter, Sellers have good and valid title to, or, in the case of leased assets, have
 good and valid leasehold interests in, the Transferred Assets, free and clear of all Liens (except
 for Permitted Liens). RMST has good and valid title to, or, in the case of leased assets, has good
 and valid leasehold interests in, the RMST Assets, free and clear of all Liens (except for
 Permitted Liens). At the Closing, Sellers will convey, subject to the Approval Order and
 Admiralty Court Order having been entered and still being in effect and not subject to any stay
 pending appeal at the time of Closing, good and valid title to, or valid leasehold interests in, all
 of the Transferred Assets, free and clear of all Liens and Claims, to the fullest extent permissible
 under section 363(f) of the Bankruptcy Code.

                    3.17   Revised Covenants and Conditions.

                (a)    RMST is in compliance in all respects with the Revised Covenants and
  Conditions, including the obligation to fund the reserve accoimt on a quarterly basis in the
  amount of $25,000.

                    (b)    RMST is the Trustee (as defined in the Revised Covenants and
  Conditions) and a Qualified Institution (as defined in the Revised Covenants and Conditions) of
  the Subject Titanic Artifact Collection (as defined in the Revised Covenants and Conditions)



                                                    -24-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18       Page 62 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 29 of 184 PageID# 497



  and has the authority, privilege and right to act as Trustee and a Qualified Institution under the
  Revised Covenants and Conditions.

                  (c)    This Agreement and the consummation of the transactions contemplated
  hereunder will not change, modify, amend or impair RMST's status as Trustee or Qualified
  Institution of the Subject Titanic Artifact Collection and all rights, interests and privileges of
  RMST in the Revised Covenants and Conditions shall remain in full force and effect following
  the Closing.

                    (d)    Except as set forth on Section 3.17(d) of the Seller Disclosure Letter,
  RMST has no Liabilities.

                  (e)     Except as set forth on Section 3.17(e) of the Seller Disclosure Letter and
  except for the rights, benefits and obligations pursuant to the Revised Covenants and Conditions
  and the Artifacts and Exhibitry solely to the extent relating to the RMS Titanic or "Titanic: The
  Artifact Exhibition", RMST does not have any assets, operations or employees and is not a
  party to or boimd by any Contract related to the Business.

               (f)    Section 3.17(f) sets forth any Contract or arrangement to which RMST is
  a party or by which RMST's assets are bound with any Affiliate of the Sellers ("RMST
  Intercomoanv Arrangements").

                    3.18   Insurance. Section 3.18 of the Seller Disclosure Letter contains a true and
 complete list, as of the date hereof, of all Insurance Policies. All of the Insurance Policies are in
 full force and effect and no notice of cancellation or termination has been received by Sellers or
 RMST with respect to any of such Insurance Policies. All premiums due and payable by Sellers
 or their Affiliates (including RMST) under the Insurance Policies prior to the date hereof have
 been duly paid. There is no material claim pending under any of the Insurance Policies, and no
 material claim thereunder made between December 31, 2015 and the date hereof has been
 denied.

                 3.19 Privacv Policv. Sellers and RMST have all complied in all material
 respects, and currently comply in all material respects, with (i) the publicly posted privacy policy
 applicable to the Seller or RMST websites ("Privacv Policies") and (ii) all Laws and contractual
 obligations relating to data privacy, data protection and data security ("Privacv Laws"),
 including Laws related to the collection, storage, transmission, transfer (including, without
 limitation, cross-border transfers), disclosure, destruction and use of Personally Identifiable
 Information. Sellers and RMST have taken commercially reasonable measures to protect
 Personally Identifiable Information in their possession against loss, damage, and unauthorized
 access or use. Since December 31,2015, no actions, suits, claims, hearings, arbitrations, or other
 proceedings have existed or, to Sellers' Knowledge, has been threatened regarding and, to
 Sellers' Knowledge there has not existed any, (x) violation of such Privacy Policies or any
 implementation of the Privacy Policies by a Seller or RMST, or (y) violation of any Privacy
 Laws by a Seller or RMST. To Sellers' Knowledge, neither any Seller nor RMST has been
 served with an information or enforcement notice (including, without limitation, pursuant to
 section 40 of the Data Protection Act 1998) by any data protection regulatory authority.


                                                   -25-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                Doc 1118      Filed 07/18/18       Page 63 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 30 of 184 PageID# 498




                    3.20   Certain Payments: OFAC.

                   (a)   Since December 31, 2015, no director, officer, agent or employee of any
  Seller or RMST or any other Person acting for or on behalf of any Seller or RMST, has directly
  or indirectly, (a) made any contribution, gift, bribe, rebate, payoff, influence payment, kickback,
  or other payment to any Person, private or public, regardless of form, whether in money,
  property, or services (i) to obtain favorable treatment in securing business, (ii) to pay for
  favorable treatment for business secured, (iii) to obtain special concessions or for special
  concessions already obtained, for or in respect of any Seller or RMST, or (iv) in violation of any
  Law, or (b) established or maintained any fund or asset that has not been recorded in the Books
  and Records of any Seller or RMST.

                  (b)    Since December 31, 2015, neither any Seller nor RMST has been a party
  to any Contract with, and has not conducted business or participated in any transaction
  involving, (i) any Person identified on the Office of Foreign Assets Control's ("OFAC") list of
  Specially Designated Nationals and Blocked Persons or targeted by an OFAC Sanctions
  Program; (ii) the government, including any political subdivision, agency, instrumentality, or
  national thereof, of any coimtry with respect to which the United States or any jurisdiction in
  which any Seller or RMST is operating or located administers or imposes economic or trade
  sanctions or embargoes; (iii) any Person acting, directly or indirectly, on behalf of, or an entity
  that is owned or controlled by, a Specially Designated National and Blocked Person or by a
  government or Person identified in clause (ii) above, or (iv) a Person on any other similar export
  control, terrorism, money laundering or drug trafficking related list administered by any
  Governmental Entity either within or outside the United States with whom it is illegal to
  conduct business pursuant to applicable Law in each case, in violation of any applicable Law.

               3.21 Brokers and Finders. No broker, finder or investment banker (other than
 GlassRatner Advisory & Capital Group, LLC) is entitled to any brokerage, finder's or other fee
 or commission in connection with the transactions contemplated by this Agreement for which
 Purchaser or any of its Affiliates could have any Liability. The fees and commissions of
 GlassRatner Advisory & Capital Group, LLC shall be borne solely by the Sellers.

                                            ARTICLE IV


                              Representations and Warranties of Purchaser

                 Except as set forth in the corresponding sections or subsections of the disclosure
 letter delivered to the Sellers by Purchaser prior to entering into this Agreement (the "Purchaser
 Disclosure Letter" and, together with the Seller Disclosure Letter, the "Disclosure Letters") (it
 being agreed that disclosure of any item in any section or subsection of the Purchaser Disclosure
 Letter shall be deemed disclosure with respect to any other section or subsection to which the
 relevance of such item is reasonably apparent). Purchaser hereby represents and warrants to the
 Sellers that;

               4.1     Organization. Good Standing and Oualification. Purchaser is a legal entity
 duly organized, validly existing and in good standing under the Laws of its jurisdiction of


                                                 -26-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18        Page 64 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 31 of 184 PageID# 499




 organization and has all requisite limited liability company or similar power and authority to
 own, lease and operate its properties, rights and assets and to carry on its business as presently
 conducted. Purchaser has made available to the Sellers a complete and correct copy of the
 certificate of incorporation and bylaws of Purchaser or comparable organizational documents,
 each as in effect on the date of this Agreement. Purchaser is not in violation of any provision of
 its organizational documents, except for any violation that would not, individually or in the
 aggregate, prevent, materially delay or impair, or be reasonably likely to prevent, materially
 delay or impair, the ability of Purchaser to consummate the purchase of the Transferred Assets,
 the assumption of the Assumed Liabilities and the other transactions contemplated by this
 Agreement.

                    4.2   Authority.

                (a)      Purchaser has all requisite limited liability company power and authority
  and has taken all limited liability company action necessary in order to execute and deliver this
  Agreement and the Ancillary Agreements, and subject to entry of the Bankruptcy Court Orders
  and the Admiralty Court Order to perform its obligations under this Agreement and to
  consummate the transactions contemplated by this Agreement. This Agreement has been duly
  executed and delivered by Purchaser and, upon their execution and delivery in accordance with
  the terms of this Agreement, each of the Ancillary Agreements to which it is a party will have
  been duly and validly executed and delivered by Purchaser. Assuming the due authorization,
  execution and delivery hereof by the Sellers and, subject to the Bankruptcy Court's entry of the
  Bankruptcy Court Orders and the Admiralty Court's entry of the Admiralty Court Order, this
  Agreement constitutes and the Ancillary Agreements will constitute a valid and binding
  agreement of Purchaser, enforceable against Purchaser in accordance wath its terms, subject to
  the Bankruptcy and Equity Exception.

                    4.3   Governmental Filings and Approvals: No Conflicts.

                  (a)     The execution and delivery of this Agreement and the Ancillary
  Agreements by Purchaser do not, and the performance by Purchaser and consummation of the
  transactions contemplated by this Agreement will not, require any consent, approval or
  authorization of, or filing with or notification to any Governmental Entity other than (i) the
  entry of the Bankruptcy Court Orders and the Bankruptcy Court Orders becoming Final Orders,
  (ii) the entry of the Admiralty Court Order, and no Person having appealed the Admiralty Court
  Order wdthin sixty (60) days of the Admiralty Court Order Entry Date, (iii) filings required
  under, and in compliance witli other applicable requirements of any Antitrust Laws; (iv) the
  consents or notices set forth in Section 4.3(a) of the Purchaser Disclosure Letter, and (v) other
  immaterial consents, approvals, authorizations, filings or notifications.

                 (b)   Assuming that all consents, approvals and authorizations described in
  Section 4.3(a) have been obtained and all filings and notifications described in Section 4.3(a)
  have been made, the execution and delivery of this Agreement and the Ancillary Agreements by
  Purchaser does not, and the performance by Purchaser and consummation of the transactions
  contemplated by this Agreement will not: (i) conflict with or violate the certificate of
  incorporation or bylaws or other equivalent organizational documents of Purchaser, (ii)


                                                -27-
 FTL 11176708SV15
    Case 3:16-bk-02230-PMG                 Doc 1118          Filed 07/18/18   Page 65 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 32 of 184 PageID# 500



 constitute a violation of any Law binding upon or applicable to Purchaser or any of its
 properties or assets; (iii) result in any breach or violation of or constitute a default (or an event
 that with notice or lapse of time or both would become a default) or result in the loss of a
 benefit under, or give rise to any right of termination, cancellation, amendment or acceleration
 of, or obligation or fee under, any material Contract to which Purchaser is a party or by which
 any of its properties are bound or (iv) result in the creation of any Lien (other than Permitted
 Liens) on any of the properties or assets of Purchaser.

                4.4     Financing Capability. As of the date of this Agreement, Purchaser has
 obtained commitments from its equityholders (with Premier, on behalf of the Sellers, being a
 third party beneficiary) to provide sufficient funds to enable the Purchaser to pay, at the Closing,
 the Purchase Price and the DinoKing Insolvency Proceeding Cost. As of the Closing, Purchaser
 will have, cash on hand, or other sources of immediately available fimds, to pay the Purchase
 Price and any other expenses and payments incurred by Purchaser in connection with the
 transactions contemplated by this Agreement and to perform its obligations hereunder.

                    4.5    Adequate Assurance Regarding Executory Contracts. Purchaser as of the
 date of this Agreement and as of the Closing will be capable of satisfying the conditions
 contained in sections 365(b)(1)(C) and 365(f) of the Bankruptcy Code with respect to the
 Assumed Contracts and Assumed Real Property Leases.

                4.6     Brokers. No broker, finder or investment banker is entitled to any
 brokerage, finder's or other fee or commission in connection with the transactions contemplated
 by this Agreement based upon arrangements made by or on behalf of Purchaser or any of its
 Subsidiaries for which the Sellers or any of their Affiliates could have any Liability.

                                                 ARTICLE V


                                                 Covenants

                    5.1    Interim Operations.

                     (a)   The Sellers and RMST agree that, from the date hereof until the earlier of
  the Closing and the date this Agreement is validly terminated (the "Interim Period"), except (i)
  as set forth in Section 5.1(a) of the Seller Disclosure Letter, (ii) as may be required by the
  Bankruptcy Court, (iii) as may be required by applicable Law (including with respect to the
  Bankruptcy Cases) or Governmental Entity, (iv) as may be permitted by this Agreement
  (including pursuant to the Bidding Procedures Order) or (v) as may be approved by Purchaser in
  writing, the Sellers and RMST shall, and shall cause their Affiliates to, conduct the Business in
  the ordinary course of business consistent with past practice (including with respect to ordering
  and purchasing Inventory, maintaining the Artifacts and Exhibitry and making capital, sales and
  marketing expenditures). Without limiting the foregoing, during the Interim Period, Sellers and
  RMST shall, and shall cause their Affiliates to, use commercially reasonable efforts to (i)
  conduct the Business in compliance with all applicable Laws, (ii) preserve their current
  relationships with any Persons having business dealings with the Business (including
  employees, suppliers, vendors, customers, clients, and contractors), (iii) maintain the assets.


                                                    -28-
 FTL 111767089V15
     Case 3:16-bk-02230-PMG              Doc 1118        Filed 07/18/18       Page 66 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 33 of 184 PageID# 501




  properties, business records and facilities relating to the Transferred Assets or the Business in
  their current working order, (iv) perform on a current basis all obligations under the Assumed
  Contracts and Assumed Real Property Leases and (v) pay all Liabilities of DinoKing in the
  ordinary course of business consistent with past practice.

                 (b)     In furtherance of the foregoing, during the Interim Period, except (i) as
  set forth in Section 5.1(b) of the Seller Disclosure Letter, (ii) as may be required by the
  Bankruptcy Court, (iii) as may be required by applicable Law (including with respect to the
  Bankruptcy Cases) or Governmental Entity, (iv) as may be permitted by this Agreement
  (including pursuant to the Bidding Procedures Order) or (v) as may be approved by Purchaser in
  writing, the Sellers and RMST will not, and will cause their Affiliates not to:

                       (i)     amend or otherwise change their certificate of incorporation or
         bylaws or other applicable organizational documents;

                         (ii)   issue, sell or dispose of any equity securities of any Seller or
         RMST or redeem or repurchase any equity securities or equity-based award of any Seller
         or RMST, or securities convertible into, or exchangeable or exercisable for, any such
         equity securities or awards, or any rights of any kind to acquire any such equity securities
         or such convertible or exchangeable securities, other than by a wholly-owned Subsidiary
         of any such Seller to such Seller or another wholly-owned Subsidiary of such Seller;

                       (iii)  with respect to the Business sell, lease, transfer or otherwise
         dispose of (whether by merger, consolidation or acquisition of stock or assets or
         otherwise) any corporation, partnership or other business organization or division thereof
         or any Transferred Assets or RMST Assets, in each case other than dispositions of
         Inventory and other assets in the ordinary course of business or pursuant to existing
         Contracts in an amount not exceeding $50,000 in the aggregate;

                        (iv) with respect to the Business acquire (whether by merger,
         consolidation or acquisition of stock or assets or otherwise) any corporation, partnership
         or other business organization or division thereof or any assets, in each case other than
         purchases of Inventory and other assets in the ordinary course of business or pursuant to
         existing Contracts in an amount not exceeding $50,000 in the aggregate;

                       (v)    incur, assume, refinance or guarantee any Indebtedness for
         borrowed money or issue any debt securities, or assume or guarantee any Indebtedness
         for borrowed money of any Person, except for borrowings and guarantees in the ordinary
         course of business under the DIP Agreement and consistent with the terms of the Cash
         Budget;

                        (vi)   cancel, compromise, waive or release any right with respect to any
         Transferred Asset;

                        (vii) make any loans, advances or capital contributions to, or
         investments in, any other Person (other than to any wholly-owned Subsidiary of any such
         Seller);

                                                -29-
 FTL 111767089V15
     Case 3:16-bk-02230-PMG              Doc 1118        Filed 07/18/18       Page 67 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 34 of 184 PageID# 502




                        (viii) make or authorize any capital expenditures in excess of $50,000 in
         the aggregate for all projects of the Sellers and RMST;

                        (ix)    enter into or amend, modify, supplement, restate or renew in any
         respect or cancel or terminate or waive any rights under or with respect to any Material
         Contract, Real Property Lease or Permit;

                        (x)     increase any payments required to be paid under or pursuant to any
         Assumed Contract or Material Contract, Assumed Real Property Lease or Permit
         (whether or not in connection with obtaining any Consents) by Purchaser after the
         Closing, or increase, or take any action not required by the terms thereof that would result
         in any increase in, any operating expenses of any Assumed Real Property Lease;

                       (xi)   fail to maintain in full force and effect the existing insurance
         policies maintained by the Sellers or RMST with respect to the Business or the
         Transferred Assets ("Insurance Policies") or to replace such Insurance Policies with
         comparable insurance policies covering the Sellers or RMST with respect to the Business
         and Transferred Assets, and the Sellers and RMST and their respective properties, assets
         and businesses;

                         (xii) other than as required pursuant to the terms of any Benefit Plan in
         effect on the date hereof or as required by applicable Law: (A) increase the salaries,
         wages or benefits of Seller Employees, (B) enter into any severance, change-in-control,
         retention, employment or other agreement with any director or independent contractor of
         the Sellers or RMST or any Seller Employee, (C) establish, adopt, terminate or amend
         any Benefit Plan or any plan, program, arrangement, practice or agreement that would be
         a Benefit Plan if it were in existence on the date hereof; (D) take any action to fund the
         payment of compensation or benefits under any Benefit Plan; (E) exercise any discretion
         to accelerate the vesting or payment or any compensation or benefit under any Benefit
         Plan or (F) extend an offer of employment to any natural Person who, if so employed as
         of the date hereof, would be a Seller Employee, other than in the ordinary course of
         business for employees who are not officers;

                          (xiii) settle or compromise any litigation, claim or proceeding for an
         amount that exceeds $50,000 in the aggregate or that imposes any injunction, equitable
         relief, limitation or Lien against the Transferred Assets or RMST Assets or commence
         any litigation, claim or proceeding;

                         (xiv) declare, set aside, make or pay any dividend or other distribution
         of any assets to any Affiliate or other Person holding direct or indirect equity interests in
         any Seller or RMST;

                       (xv) grant, assign, license, let lapse, abandon, cancel, or otherwise
         dispose of any Seller and RMST Intellectual Property, other than Excluded Assets or
         pursuant to non-exclusive licenses of such Intellectual Property granted in the ordinary
         course of business;


                                                 -SO
 FT/. 111767089V15
    Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18       Page 68 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 35 of 184 PageID# 503



                        (xvi) enter into any agreement with any labor union or labor
         organization, including but not limited to any collective bargaining agreement;

                        (xvii) make, change or revoke any election related to Taxes, settle or
         compromise any claim related to Taxes, enter into any agreement related to Taxes,
         consent to any extension or waiver of the limitations period applicable to any Tax claim
         or assessment, or change any taxable period or any Tax accounting method;

                        (xviii) make any change in the reserving or accounting policies, practices
         or principles in effect on the date hereof, other than any change required by applicable
         Law or GAAP;

                         (xix)   permit or allow any Transferred Asset or RMST Asset to become
         subject to a Lien;

                        (xx) change in any respect the cash management practices, policies or
         procedures of Sellers or RMST with respect to collection of accounts receivable,
         establishment of reserves for uncollectible accounts receivable, accrual of accounts
         receivable, payment of accounts payable, purchases, prepayment of expenses or deferral
         of revenue, from Sellers' or RMST's practices, policies and procedures with respect
         thereto as of the date hereof, including taking (or omitting to take) any action that would
         have the effect of delaying or postponing the payment of any accounts payable to post-
         Closing periods that would otherwisebe expected to be paid in pre-Closing periods;

                         (xxi) make any intercompany transfers of fimds or Liabilities including
         any transfers between any of the Sellers and RMST;

                        (xxii) introduce any material change with respect to the operation of the
         Business, including any material change in the types, nature, composition or quality of
         products or services sold in the Business;

                        (xxiii) deviate from past practice in the ordinary course of business with
         respect to ordering or maintenance of Inventory and the Artifacts & Exhibitry;

                        (xxiv) file any motion to pay any pre-Petition Date claims of any Person;

                        (xxv) prepay any expenses unless expressly set forth in the Cash Budget;
         or



                        (xxvi) agree, authorize or commit to do any of the foregoing.

                  (c)     Nothing contained in this Agreement is intended to give Purchaser,
  directly or indirectly, the right to control or direct the Business or the operations of the Sellers
  or RMST prior to the Closing, and nothing contained in this Agreement is intended to give the
  Sellers, directly or indirectly, the right to control or direct Purchaser's or its Subsidiaries'
  operations. Prior to the Closing, each of Purchaser and the Sellers and RMST shall exercise.



                                                 -31-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                Doc 1118        Filed 07/18/18       Page 69 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 36 of 184 PageID# 504



  consistent with the terms and conditions of this Agreement, complete control and supervision
  over its and its Subsidiaries' respective operations.

                    5.2   Efforts.

                    (a)    Subject to the terms and conditions set forth in this Agreement, each
  Party shall use its reasonable best efforts, and shall cause their Affiliates to iise reasonable best
  efforts, to promptly take, or cause to be taken, all actions, and to promptly do, or cause to be
  done, and to assist and cooperate with the other Parties in doing, all things necessary, proper or
  advisable under applicable Laws to consummate the purchase and the sale of the Transferred
  Assets and the other transactions contemplated by this Agreement, including (i) obtaining entry
  of the Bankruptcy Court Orders, (ii) obtaining entry of the Admiralty Court Order, (iii) the
  obtaining of all necessary actions or non-actions, waivers, consents, clearances, approvals, and
  the making of all necessary registrations and filings and the taking of all steps as may be
  necessary to obtain an approval, clearance or waiver from, or to avoid an action or proceeding
  by, any Governmental Entity, (iv) subject to Section 1.3, the obtaining of all necessary consents,
  approvals or waivers from third parties and (v) the execution and delivery of any additional
  instruments necessary to consummate the transactions contemplated by this Agreement.

                  (b)     Subject to the terms and conditions of this Agreement, each of the parties
  shall use its respective, reasonable best efforts to make promptly any required submissions and
  filings under applicable Antitrust Laws with respect to the transactions contemplated by this
  Agreement, promptly ftimish information required in connection with such submissions and
  filing under such Antitrust Laws and, keep the other parties reasonably informed with respect to
  the status of any such submissions and filings under Antitrust Laws, including with respect to:
  (A) the receipt of any non-action, action, clearance, consent, approval or waiver, (B) the
  expiration of any waiting period, (C) the commencement or proposed or threatened
  commencementof any investigation, litigation or administrative or judicial action or proceeding
  under Antitrust Laws and, (D) the nature and status of any objections raised or proposed or
  threatened to be raised under Antitrust Laws with respect to the transactions contemplated by
  this Agreement. In furtherance and not in limitation of the foregoing: (i) the Purchaser, the
  Sellers and RMST agree to (A) make, or cause to be made, appropriate filings pursuant to any
  Antitrust Laws with respect to the transactions contemplated by this Agreement as soon as
  practicable, (B) supply as soon as practicable any additional information and documentary
  material that may be requested pursuant to any Antitrust Law, and (C) use their reasonable best
  efforts to take, or cause to be taken, all other actions consistent wdth this Section 5.2(b)
  necessary to cause the expiration or termination of the applicable waiting periods under any
  Antitrust Law (including any extensions thereof) as soon as practicable and (ii) each party
  agrees to (A) supply as soon as practicable any additional information and documentary
  material that may be required or requested by any Governmental Entity and (B) use its
  reasonable best efforts to take or cause to be taken all other actions consistent with this Section
  5.2(b) as necessary to obtain any necessary approvals, consents, waivers, permits, authorizations
  or other actions or non-actions from each Governmental Entity as soon as practicable. The
  Purchaser shall be responsible for all filing fees under the Antitrust Laws and any other Laws
  applicable to the transaction.



                                                 -32-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18        Page 70 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 37 of 184 PageID# 505




                (c)    Each of Purchaser, RMST and Sellers shall: (i) promptly notify the other
  parties of, and if in writing, furnish the others with copies of (or, in the case of oral
  communications, advise the others of the contents of) any communication to such Person from a
  Governmental Entity and permit the others to review and discuss in advance (and to consider in
  good faith any comments made by the others in relation to) any proposed written
  communication to a Governmental Entity, (ii) keep the others reasonably informed of any
  developments, meetings or discussions with any Govenmiental Entity in respect of any filings,
  investigation, or inquiry concerning the transactions contemplated by this Agreement and (iii)
  not independently participate in any meeting or discussions with a Governmental Entity in
  respect of any filings, investigation or inquiry concerning the transactions contemplated by this
  Agreement without giving the other Party prior notice of such meeting or discussions and,
  unless prohibited by such Governmental Entity, the opportunity to attend or participate;
  provided that, (A) each of the Purchaser and the Sellers and RMST may designate any non-
  public information provided to any Govemmental Entity as restricted to "Outside Antitrust
  Counsel" only and any such information shall not be shared with employees, officers, managers
  or directors or their equivalents of the other party without approval of the party providing the
  non-public information, and (B) materials may be redacted (x) to remove references concerning
  the valuation of the Business, (y) as necessary to comply with contractual arrangements and (z)
  as necessary to address reasonable attorney-client or other privilege or confidentiality concerns.

                 (d)    Notwithstanding anything herein to the contrary and subject to clause (ii)
  of the following sentence, the Parties understand and agree that reasonable best efforts of
  Purchaser hereto shall not be deemed to include: (A) entering into any settlement, undertaking,
  consent decree, stipulation or agreement with any Govemmental Entity in connection with the
  transactions contemplated hereby or defending against or initiating any lawsuit, action or
  proceeding, judicial or administrative, challenging this Agreement or the transactions
  contemplated hereby, or (B) proposing, negotiating, agreeing to or offering to commit to any
  sale, divestiture, license, disposition or separation (including by establishing a trust or
  otherwise) of, or any limitation on any operation or business of, any of its or any Purchaser
  Related Party's businesses, assets or properties. In furtherance, and not in limitation, of the
  foregoing in this Section 5.2(d), (i) Sellers and RMST shall not, and shall cause their Affiliates
  not to, propose, negotiate, agree to or offer to commit to any sale, divestiture, license,
  disposition or separation of any Transferred Asset or RMST Asset, without the prior written
  consent of Purchaser, and (ii) Purchaser shall not be required to agree to any divestiture, sale or
  other disposition of any of the Transferred Assets or RMST Assets or any assets of Purchaser or
  any Purchaser Related Party or agree to any limitation on any operation or business of the
  Purchaser or any Purchaser Related Party.

                    5.3   Access and Information.

                    (a)   Subject to applicable Law, upon reasonable notice, the Sellers and RMST
  shall, and shall cause their Affiliates to, afford Purchaser's officers and other authorized
  Representatives reasonable access, during normal business hours throughout the period prior to
  the Closing, to their employees, properties, books. Contracts and records relating to the
  Business and, during such period, the Sellers and RMST shall, and shall cause their Affiliates
  to, furnish promptly to Purchaser all information concerning their businesses, properties and

                                                -33-
 FTL 111767089V15
     Case 3:16-bk-02230-PMG              Doc 1118       Filed 07/18/18        Page 71 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 38 of 184 PageID# 506




  personnel as may reasonably be requested; provided that nothing herein shall require a Seller or
  RMST to disclose any information to Purchaser if such disclosure would violate applicable Law
  or constitute a waiver of the attorney-client privilege. All requests for access or information
  made pursuant to this Section 5.3 shall be directed to the executive officers of Premier or other
  Person designated by Premier.

                 (b)   Until the later of (x) the closing of the Bankruptcy Cases, and (y) the
  liquidation and winding down of the Sellers' estates (but in no event later than six (6) years
  after the Closing Date, unless a shorter period is otherwise required in connection with the
  Bankruptcy Cases):

                        (i)      Purchaser will preserve and keep any of the business records and
         files (including accounting records) contained in the Transferred Assets or the assets
         otherwise relating to the Business (the "Books and Records").

                          (ii)   The Purchaser shall allow the Sellers and any of their
         Representatives access to all Books and Records of the Transferred Assets and Assumed
         Liabilities and the Transferred Employees during normal business hours and upon
         reasonable notice at the Purchaser's principal place of business or at any location where
         such records are stored and personnel is located to the extent such access is necessary (A)
         for the Sellers to comply with reporting, disclosure, filing, auditing or other requirements
         imposed on the Sellers by a Governmental Entity; (B) in order for the Sellers to effect the
         vending down of their estates, including reconciling and objecting to claims in the
         Bankruptcy Cases; and (C) in preparation for any existing legal, judicial, regulatory,
         administrative or other proceeding involving the Sellers, and the Sellers' Representatives
         shall have the right, at their expense, to make copies of any such records and files;
         provided, however, that any such access or copying shall be had or done in such a manner
         so as not to interfere with the normal conduct of the Purchaser's business or operations
         and any such access is subject to a customary confidentiality agreement.

                5.4    Publicity. All press releases and other public announcements with respect
 to the purchase and sale of the Business and the other transactions contemplated by this
 Agreement must be in a form and substance acceptable to Purchaser. Purchaser acknowledges
 and agrees that Sellers and RMST may, solely in accordance with the Bidding Procedures,
 provide copies of this Agreement to parties in interest in the Bankruptcy Cases and to those
 parties to whom Sellers and RMST determine it is necessary to provide copies in connection
 with soliciting Competing Transactions (as defined in the Bidding Procedures). Sellers and
 RMST shall also be entitled to file copies with the Bankruptcy Court or as otherwise required by
 Law and shall be entitled to publish notice of the transactions contemplated by this Agreement in
 any newspaperselected by Sellers and RMST, in accordance with the Bidding Procedures.

                    5.5   Employee Matters.

                 (a)      As of the Closing Date, Purchaser shall, or shall cause one of
  Purchaser's Affiliates to, offer employment to each Seller Employee identified in Section 5.5(a)
  of the Seller Disclosure Letter, which Purchaser will deliver to Sellers prior to Closing (those


                                                -34-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18       Page 72 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 39 of 184 PageID# 507




  who accept such offer of employment and commence employment with Purchaser or its
  Affiliate, the "Transferred Employees"'), on the terms described in this Section 5.5. Such
  employment offers may be conditioned upon (i) the Closing and (ii) the employment offer
  recipient completing Purchaser's pre-employment screening process to Purchaser's satisfaction
  prior to employment commencement. Sellers shall bear responsibility for all Liabilities arising
  out of, relating to, or with respect to the employment or termination of employment with the
  Sellers and their Affiliates of the Transferred Employees, including any compensation and
  employee benefits relating thereto, arising on or prior to such Transferred Employee's
  commencement of employment with Purchaser or its Affiliate and shall pay such Liabilities in
  the ordinary course of business. Additionally, Sellers shall bear responsibility for all Liabilities
  arising out of, relating to, or with respect to the employment or termination of employmentwith
  the Sellers and their Affiliates of the Seller Employees who are not Transferred Employees,
  including any compensation and employee benefits relating thereto, and shall pay such
  Liabilities in the ordinary course of business. For the avoidance of doubt, (i) Sellers shall bear
  responsibility for any severance liabilities for which any Seller Employee becomes entitled in
  connection with the transactions contemplated under this Agreement, and (ii) Purchaser shall
  bear responsibility for all Liabilities arising out of, relating to, or with respect to the
  employment or termination of employment with Purchaser of each of the Transferred
  Employees, including any compensation and employee benefits relating thereto, on or after such
  Transferred Employee's commencement of employment with Purchaser or its Affiliate.

                  (b)     Sellers and RMST shall, and shall cause their Affiliates to, provide
  reasonable cooperation and information to Purchaser or its relevant Representative as
  reasonably requested by Purchaser or such Representative with respect to its determination of
  appropriate terms and conditions of employment for any Seller Employee, including, a list of all
  Seller Employees, and with respect to each Seller Employee, (A) date of hire, (B) position, (C)
  annual base salary (or wages) (including any portion of his or her annual salary that the Seller
  Employee may have elected with the Seller or RMST to defer in exchange for equity
  compensation of the Sellers or RMST), (D) 2017 annual incentive opportunity (and 2017 annual
  incentive paid), (E) the entity for whom such Seller Employee performs services, (F) the
  location where such Seller Employee performs services for the applicable Seller or RMST, and
  (G) status as full-time or part-time.

                 (c)     Following the date of this Agreement, (i) Sellers and RMST shall, and
  shall cause their Affiliates to, allow Purchaser or any of its Representatives reasonable access
  upon reasonable advance notice to meet with and interview the Seller Employees during normal
  business hours; provided, however, that such access shall not unduly interfere with the
  operation of the Business prior to the Closing; and (ii) Sellers shall not, nor shall any Seller
  authorize or direct or give express permission to any Affiliate, officer, director or employee of
  any Seller or any Affiliate, to (A) interfere with Purchaser's or its Representatives rights under
  Section 5.5 to make offers to Seller Employees, or (B) solicit or encourage any Seller Employee
  who received an offer pursuant to Section 5.5 not to accept, or to reject, any such offer of
  employment.

                (d)     The provisions of this Section 5.5 are solely for the benefit of the Parties
  to this Agreement, and nothing in this Agreement, whether express or implied, is intended to, or

                                                 -35-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18       Page 73 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 40 of 184 PageID# 508



  shall, (i) constitute the establishment or adoption of or an amendment to any employee benefit
  plan for purposes of ERISA or otherwise be treated as an amendment or modification of any
  Benefit Plan or other benefit plan, agreement or arrangement, (ii) limit the right of Purchaser,
  the Sellers or their respective Subsidiaries to amend, terminate or otherwise modify any Benefit
  Plan or other benefit plan, agreement or arrangement following the Closing, (iii) create any
  third-party beneficiary or other right (including, but not limited to, a right to employment) in
  any Person, including any current or former employee of a Seller or RMST, any participant in
  any Benefit Plan or other benefit plan, agreement or arrangement (or any dependent or
  beneficiary thereof) or (iv) guarantee employment for any period of time for, or preclude the
  ability of Purchaser, the Sellers, RMST or any of their respective Subsidiaries to terminate any
  Transferred Employee for any reason.

                    5.6   Indemnification. Exculpation and Advancements: Directors' and Officers'
 Insurance.

                   (a)    Prior to the Closing, Premier shall, effective as of the Closing, obtain and
  fully pay the premium for the non-cancellable, irrevocable extension of (i) the directors' and
  officers' liability coverage of the Sellers' and RMST's existing directors' and officers'
  insurance policies, and (ii) the Sellers' and RMST's existing fiduciary liability insurance
  policies, in each case, for a claims reporting or discovery period of at least six (6) years from
  and after the Closing fi-om one or more insurance carriers with the same or better credit rating as
  the Sellers' and RMST's insurance carriers as of the date hereof with respect to directors' and
  officers' liability insurance and fiduciary liability insurance (collectively, "D&O Insurance''^
  with terms, conditions, retentions and limits of liability that are at least as favorable to the
  insureds as the Sellers' and RMST's existing policies with respect to any actual or alleged error,
  misstatement, misleading statement, act, omission, neglect, breach of duty or any matter
  claimed against a director or officer of any of the Sellers or RMST by reason of him or her
  serving in such capacity at or prior to the Closing (including in connection with this Agreement
  or the sale of the Business and the other transactions or actions contemplated by this
  Agreement).

                  (b)    If following the Closing any of the Sellers or any of their respective
  successors or permitted assigns shall (i) consolidate with or merge into any other corporation or
  entity and shall not be the continuing or surviving corporation or entity of such consolidation or
  merger or (ii) transfer all or substantially all of its properties and assets to any individual,
  corporation or other entity, then, and in each such case, proper provisions shall be made so that
  the successors and permitted assigns of any such Seller shall assume all of the obligations set
  forth in this Section 5.6.

                    5.7   Bankruptcy and Admiralty Court Matters.

                  (a)    Within one (1) Business Day of the Execution Date, the Debtor Sellers
  and RMST shall file with the Bankruptcy Court a motion in form and substance reasonably
  satisfactory to Purchaser (the "Approval Motion") for:




                                                 -36-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                Doc 1118       Filed 07/18/18      Page 74 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 41 of 184 PageID# 509




                          (i)    entry of an order substantially in the form of Exhibit E. as
           amended, modified or supplemented with the prior written consent of Purchaser,
           authorizing and approving, inter alia, the sale of the Transferred Assets to Purchaser on
           the terms and conditions set forth herein, free and clear of all Liens and Claims (to the
           extent set forth therein), and the assignment and assumption by Purchaser of each
           Assumed Contract (the "Approval Order"): and

                           (ii)   entry of an order substantially in the form of Exhibit F. as
           amended, modified or supplemented with the prior written consent of Purchaser (the
           "Bidding Procedures Order", together with the Approval Order, the "Bankruptcy Court
           Orders"), among other things, (A) establishing bidding procedures governing the sale of
           the Transferred Assets, as amended, modified or supplemented wdth the prior written
           consent of Purchaser (the "Bidding Procedures"! (B) approving payment of the Break
           up Fee and the Expense Reimbursement, to the extent payable by the terms of this
           Agreement or the Bidding Procedures Order, and (C) providing that the Break-Up Fee
           and the Expense Reimbursement shall constitute administrative expenses of the Sellers
           and RMST with priority over any and all administrative expenses of the kind specified in
           Section 503(b) of the Bankruptcy Code until paid other than superpriority claims granted
           pursuant to the DIP Financing Order to the DIP Lender who has provided the debtor-in-
           possession financing. The Bankruptcy Court must enter the Bidding Procedures Order by
           not later than July 20,2018.

                    (b)   The Sellers and RMST shall each use their reasonable best efforts, and
  shall cooperate, assist and consult with Purchaser, to secure the entry of the Bankruptcy Court
  Orders, including without limitation in seeking and obtaining findings by the Bankruptcy Court
  in the Approval Order that the Purchaser is a good faith purchaser under Section 363(m) of the
  Bankruptcy Code and that the Purchase Price was not controlled by an agreement among
  potentid bidders at such sale, under Section 363(n) of the Bankruptcy Code.

                 (c)     The Sellers and RMST shall each use their reasonable best efforts, and
  shall cooperate, assist and consult with Purchaser, to secure the entry of the Admiralty Court
  Order.

                 (d)    If the Bankruptcy Court Orders or any other orders of the Bankruptcy
  Court relating to this Agreement or the transactions contemplated hereby or the Admiralty
  Court Order shall be appealed by any Person (or if any petition for certiorari or motion for
  reconsideration, amendment, clarification, modification, vacatur, stay, rehearing or reargument
  shall be filed with respect to the Approval Order, Bidding Procedures Order or other such
  order), and this Agreement has not otherwise been terminated pursuant to Article VII, the
  Sellers and RMST shall use their reasonable best efforts to diligently defend such appeal,
  petition or motion and shall use its reasonable best efforts to obtain an expedited resolution of
  any such appeal, petition or motion.

                (e)    Except to the extent filings must be made on an emergency basis in the
  reasonable judgment of the Sellers and RMST, and to the extent reasonably practicable. Sellers
  and RMST shall provide Purchaser with a draft of any motions, orders or other pleadings that


                                                 -37-
 FTL 1117670B9V1S
    Case 3:16-bk-02230-PMG                Doc 1118      Filed 07/18/18      Page 75 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 42 of 184 PageID# 510



  Sellers or RMST propose to file with the Bankruptcy Court or Admiralty Court relating to this
  Transaction or the Business, including the motion to approve the Approval Order, no later than
  three Business Days prior to the filing thereof with the Bankruptcy Court, and all such motions,
  orders or other pleadings must be in a form mutually acceptable to Purchaser and Sellers and
  RMST.

                    (f)   The Sellers and RMST shall consult with Purchaser regarding pleadings
  that any of them intends to file with the Bankruptcy Court or Admiralty Court in connection
  with the Transaction, or which might reasonably affect the Bankruptcy Court's or Admiralty
  Court'sapproval of the Transaction, the Bidding Procedures and Approval Order and Admiralty
  Court Order, as applicable. Each Seller and RMST shall promptly provide Purchaser and its
  counsel with copies of all notices, filmgs and orders of the Bankruptcy Court and Admiralty
  Court that such Seller or RMST has in its possession (or receives) pertaining to the Transaction,
  the Approval Order, and Admiralty Court Order (as applicable), or any other order related to
  any of the transactions contemplated by this Agreement, but only to the extent such papers are
  not publicly available on the docket of the Bankruptcy Court or Admiralty Court or otherwise
  made available to Purchaser and its counsel. No Seller or RMST shall seek any modification to
  the Bidding Procedures, Approval Order or the Admiralty Court Order by the Bankruptcy Court
  or Admiralty Court (as applicable) or any other Governmental Entity of competent jurisdiction
  to which a decision relating to the Bankruptcy Cases has been appealed, in each case, without
  the prior written consent of Purchaser.

                (g)    Each Seller and RMST shall use its reasonable best efforts to cause the
  Approval Order to provide that Purchaser will have standing in the Bankruptcy Cases to object
  to the amount of any Claim to the extent it would constitute an Assumed Liability and that the
  Bankruptcy Court will retain the right to hear and determine such objections.

                 (h)     Upon and simultaneous with the Closing, in full satisfaction of the
  respective claims of the PacBridge Parties, (x) the Secured Creditors will receive in
  consideration of their Secured Claims, (i) a $1 million cash payment, plus (ii) allowed general
  unsecured claims against the Debtors in the total aggregate amount of $2,000,000, to be
  allocated $666,666.67 to Feng, $666,666.67 to Jhang, and $666,666.66 to Zou, and (y)
  PacBridge will have an allowed general unsecured claim against the Debtors in the amount of
  $1,195,350.39 (the "PacBridge Parties Settlement"). The Approval Motion will include a
  request under Bankruptcy Rule 9019 Bankruptcy Court for approval of the PacBridge Parties
  Settlement, and the Approval Order must include Bankruptcy Court approval of the PacBridge
  Parties Settlement.

                 (i)   Upon and simultaneous with the Closing, all outstanding Liabilities
  pursuant to the DIP Agreement shall be paid and satisfied in full.

                    5.8   Insurance.   From and after the Closing Date, with respect to events or
 circumstances relating to the Business that occurred or existed prior to the Closing Date that are
 covered by third party liability insurance policies and any workers' compensation insurance
 policies and/or comparable workers' compensation self-insurance programs sponsored by the
 Sellers and/or their Affiliates, Purchaser or its Affiliates may make claims under such policies


                                                 -38-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18       Page 76 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 43 of 184 PageID# 511



 and programs and the Sellers and their Affiliates shall use reasonable best efforts to assist
 Purchaser and its Affiliates in those efforts and to the extent required, make claims and collect
 such amounts on Purchaser's or its Affiliates' behalf and remit such amounts upon receipt to
 Purchaser and/or its assignee.

               5.9    Post-Closing Collection. Each Seller agrees to hold any cash receipts or
 proceeds derived from the Busmess or Transferred Assets that come into itspossession or control
 following the Closing in trust for the sole benefit of Purchaser and will, as soon as
 administratively feasible and subject to the Bankruptcy Court Orders, deliver such cash receipts
 or proceeds to Purchaser. Purchaser agrees to hold any cashreceipts or proceeds received by the
 Purchaser or any of its Subsidiaries derived from the Excluded Assets that come into its
 possession or control following the Closing in trust for the sole benefit of Sellers and will, as
 soon as administratively feasible, deliver such cash receipts or proceeds to Premier.

                    5.10   Taxes.

                  (a)    Purchaser shall file or cause to be filed with the appropriate taxing
  authorities the applicable Tax Returns for all Taxes that are required to be filed with respect to
  the Transferred Assets and the Business after the Closing Date.

                (b)     All transfer, documentary, sales, or similar Taxes payable solely as a result
 of the sale and transfer of the Transferred Assets and the assumption of the Assumed Liabilities
 pursuant to this Agreement ("Transfer Taxes") shall (to the extent not subject to an exemption
 under the Bankruptcy Code) be borne by the Sellers when due.

                 (c)   Until the later of (x) the closing of the Bankruptcy Cases, and (y) the
  liquidation and winding down of the Sellers' estates (but in no event later than six (6) years
  after the Closing Date, unless a shorter period is otherwise required in connection with the
  Bankruptcy Cases), Purchaser and the Sellers agree to furnish or cause to be furnished to each
  other, as promptly as practicable and at the requesting Party's expense, such information and
  assistance relating to the Transferred Assets and the Business as is reasonably necessary for the
  preparation and filing of any Tax Return, claim for refund or other required or optional filings
  relating to Tax matters, for the preparation for and proof of facts during any Tax audit, for the
  preparation for any Tax protest, for the prosecution or defense of any suit or other proceeding
  relating to Tax matters and for the answer to any governmental or regulatory inquiry relating to
  Tax matters. The Sellers agrees to retain possession of, and provide Purchaser access to, all
  accounting, business, financial and Tax records and information (i) relating to the Transferred
  Assets and the Business in existence on the Closing Date transferred to Purchaser hereimder and
  (ii) coming into existence after the Closing Date which relate to the Transferred Assets and the
  Business prior to or on the Closing Date, for the period not to exceed the applicable statute of
  limitations for such Taxes. Such access shall include without limitation access to any
  computerized information retrieval systems relating to the Transferred Assets or the Business.

                  (d)     At Purchaser's option, the Sellers and RMST shall join with Purchaser in
  making a timely election under Section 338(h)(10) of the Code (and any corresponding election
  under state, local, and foreign Law) with respect to the purchase and sale of the stock of RMST


                                                -39-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18       Page 77 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 44 of 184 PageID# 512



  hereunder (collectively, a "Section 338fhyiO') Election"! Purchaser and Sellers shall comply
  fully with all filing and other requirements necessary to effectuate the Section 338(h)(10)
  Election on a timely basis and agree to cooperate in good faith with each other in the
  preparation and timely filing of any Tax Returns required to be filed in connection with the
 making of the Section 338(h)(10) Election, including the exchange of information and thejoint
 preparation and filing of IRS Form 8023 and IRS Form 8883 (and all supplements thereto).

                    5.11   Name Change. Neither Sellers nor any of their Affiliates shall use, license
 or permitany third party to use, or file any motion to change the caption of the Bankruptcy Cases
 to, any name, slogan, logo or Trademark which is similar or confusingly or deceptively similar to
 any of the names or Trademarks included in the Seller Intellectual Property or included in the
 Transferred Assets, and within thirty (30) days following the Closing Date, each Seller shall (a)
 change its corporate name to a name which (i) does not use any name, slogan, logo or Trademark
 that is included in the Seller Intellectual Property or included in the Transferred Assets or any
 other name that references or reflects any of the foregoing in any manner whatsoever or is
 similar or confusingly or deceptively similar thereto, (ii) is otherwise substantially dissimilar to
 its present name and (iii) is approved in writing by Purchaser and (b) use its reasonable best
 efforts to change the caption of the Bankruptcy Cases to names that are not similar to any of the
 foregoing names.

                    5.12   Competing Transactions.

                  (a)     Sellers and RMST agree that (i) between the date of this Agreement and
  the date the Biddmg Procedures Order is entered by the Bankruptcy Court and (ii) fi-om and
  after the date that the auction is declared closed by Sellers and RMST, Sellers and RMST will
  not, and will not permit their Affiliates or their respective Representatives to, directly or
  indirectly, (A) mitiate contact with, or solicit or encourage submission of any inquiries,
  proposals or offers by, any Person with respect to a Competing Transaction or otherwise
  facilitate any effort or attempt to make a proposal or offer with respect to a Competing
  Transaction or (B) engage in, continue or otherwise participate in any discussions or
  negotiations regarding, or provide any non-public information or data to any Person relating to,
  any Competing Transaction; provided, however, that with respect to Section 5.12(a)(i) above,
  third parties may continue to conductdue diligence and Sellers and RMST shall be permitted to
  provide access to their online data room and negotiate customary confidentiality agreements
  with other interested buyers for purposes of being competing bidders for the Transferred Assets.
  Until the entry of the Bidding Procedures Order, Sellers and RMST shall promptly (and, in any
  event, within forty-eight (48) hours) notify Purchaser if any written proposals or offers with
  respect to a Competing Transaction, are received by it or any of their Affiliates or its or their
  respective Representatives indicating, in connection with such notice, the material terms and
  conditions of any such proposals or offers but not the name of the offeror (including, if
  applicable, copies of any written requests, proposals or offers, including proposed agreements,
  in each case with the name of such offeror and other identifying details redacted) and thereafter
  shall keep Purchaser informed, on a current basis, of the status and terms of any such proposals
  or offers (including any material amendments thereto).




                                                   -40-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18        Page 78 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 45 of 184 PageID# 513



                    (b)   Other than to the extent expressly permitted by and in accordance with
  the Bidding Procedures, from and after the date the Bidding Procedures Order is entered by the
  Bankruptcy Court until the date thatthe auction is declared closed by Sellers and RMST, Sellers
  and RMST will not, and will not permit their Affiliates or their respective Representatives to,
  directly or indirectly, (i) initiate contact with, or solicit or encourage submission of any
  inquiries, proposals or offers by, any Person with respect to a Competing Transaction or (ii)
  engage in, continue or otherwise participate in any discussions or negotiations regarding, or
  provide any non-public information or data to any Person relating to, any Competing
  Transaction. For the avoidance of doubt, Sellers and RMST will not, and will not permit their
  Affiliates to, pursue or agree to any Competing Transaction otherthan as expressly permitted by
  and in accordance with the Bidding Procedures.

                 5.13 Release Effective upon the Closing, Sellers, on behalf of themselves and
 their respective past, present and fiiture subsidiaries, parents, divisions. Affiliates, agents,
 representatives, attorneys, successors and assigns, all solely in their capacities as such
 (collectively, the "Seller Releasing Parties"), hereby release, remise, acquit and forever
 discharge (i) the Purchaser and its past, present and future subsidiaries, parents, divisions,
 Affiliates, agents, representatives, attorneys, successors and assigns, and each of its and their
 respective directors, managers, officers, employees, shareholders, members, agents,
 representatives, attorneys, contractors, subcontractors, independent contractors, owners and
 partners, all solely in their capacities as such (collectively, the "Purchaser Released Parties"!
 from any and all claims. Contracts, demands, causes of action, disputes, controversies, suits,
 cross-claims, torts, losses, attorneys' fees and expenses, obligations, agreements, covenants,
 damages. Liabilities, costs and expenses arising on or prior to the Closing Date, whether known
 or unknown, whether anticipated or unanticipated, whether claimed or suspected, whether fixed
 or contingent, whether yet accrued or not, whether damage has resulted or not, whether at law or
 in equity, whether arising out of agreement or imposed by statute, common law of any kind,
 nature, or description, including, without limitation as to any of the foregoing, any claim by way
 of indemnity or contribution, which any Seller Releasing Party has, may have had or may
 hereafterassert against any Purchaser Released Party related to the Bankruptcy Cases, the Sellers
 or RMST, the Business or the transactions contemplated hereby and (ii) any claim, right or
 interest of Sellers or RMST (whether known or unknown, whether anticipated or unanticipated,
 whether claimed or suspected, whether fixed or contingent, whether yet accrued or not, whether
 at law or in equity, whether arising out of agreement or imposed by statute, common law of any
 kind, nature, or description) in the Transferred Assets. In addition, if the Debtors file a chapter 11
 plan, such plan shall be consistent with this Agreement in all respects and will include Purchaser
 releases and exculpation provisions in favor of Purchaser, its Affiliates and Representatives, and
 other customary related parties to the maximum extent permitted by law. For the avoidance of
 doubt, nothing in this Section 5.13 shall constitute a release of any of the Purchaser Released
 Parties' obligations under this Agreement or the Ancillary Agreements.

                5.14 Cooperation. Each of the Parties shall cooperate with each other, and shall
 use their reasonable best efforts to cause their respective Representatives to cooperate with each
 other, to provide an orderly transition of the Transferred Assets and Assumed Liabilities from
 Sellers to Purchaser and to minimize tlie disruption to the Business resulting from the
 transactions contemplated hereby. In furtherance and not in limitation of the foregoing, to the

                                                 -41-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                 Doc 1118          Filed 07/18/18   Page 79 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 46 of 184 PageID# 514



 extent requested in writing by Purchaser, the Sellers shall cause the Non-Seller Subsidiaries to
 take all actions to transfer their right, title and interest in any of their tangible and intangible
 assets, properties and rights and claims to the applicable Seller so that such assets, properties and
 right and claims become Transferred Assets.

                    5.15   Further Assurances.

                    (a)    In case at any time from and after the Closing any further action is
  necessary or reasonably required to carry out the purposes of this Agreement, subject to the
  terms and conditions of this Agreement and the terms and conditions of the Approval Order or
  Admiralty Court Order, at any Party's request and sole cost and expense, each Party shall take
  such further action, including the execution and delivery to any other Party of such other
  reasonable instruments of sale, transfer, conveyance, assignment, assumption and confirmation
  and providing materials and information, as another Party may reasonably request as shall be
  necessary to transfer, convey and assign to Purchaser all of the Transferred Assets, RMST
  Assets and Assumed Liabilities and to confirm and effect Sellers' retention of the Excluded
  Assets and Excluded Liabilities.

                 (b)     If any Seller or any of their respective Subsidiaries following the Closing
  shall have in its possession any Transferred Asset or RMST Asset, such party shall promptly
  deliver or cause to be delivered such Transferred Asset or RMST Asset or right to Purchaser. If
  Purchaser or any of its Subsidiaries following the Closing shall have in its possession any
  Excluded Assets, Purchaser shall or shall cause its applicable Subsidiary to promptly deliver
  such Excluded Asset to Sellers.

                  (c)     If any Seller, Purchaser or any of their respective Subsidiaries, from time
  to time, identifies any Assumed Liability that was not transferred to Purchaser, or any Excluded
  Liability that was transferred to Purchaser, Sellers and Purchaser shall use their reasonable best
  efforts to transfer those Liabilities to the correct party as promptly as reasonably practicable
  after Closing.

                    5.16   Title Insurance Policv: Survev.

                  (a)    If, in connection with its purchase of the Transferred Assets (including
  any financing thereof). Purchaser elects to obtain, or its financing sources require, a policy(ies)
  of title insurance covering all or any portion of the Real Property, as well as any endorsements
  thereto that Purchaser may elect or be required to obtain (the "Title Insurance Policv'"). Sellers
  and RMST agree to execute owner's affidavits and, with respect to sites where the Title
  Company has agreed to rely on existing, recent ALTA or equivalent surveys obtained by Seller
  or RMST prior to the date of this Agreement, rather than new ALTA or equivalent surveys
  obtained by Purchaser pursuant to Section 5.160)) below, survey affidavits as may be
  reasonably required by the Title Company and provide such other customary documents or
  information as may be reasonably requested by the Title Company, in each case, to issue the
  Title Insurance Policy.

                (b)    Prior to the Closing Date, Sellers, RMST and their respective Affiliates
  shall cooperate reasonably with Purchaser and its Representatives, including by providing

                                                   -42-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18    Page 80 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 47 of 184 PageID# 515



  reasonable access to the Real Property, in connection with Purchaser's efforts to procure an
  ALTA survey of each parcel of Real Property prepared by a surveyor licensed in thejurisdiction
  in which the relevant Real Property is located.

                    5.17   RMST Matters.

                 (a)   Priorto the Closing, Sellers and theirAffiliates shall, effective upon, and
  subject to, the consummation of the Closing, terminate and cancel all RMST Intercompany
  Arrangements listed on Section 5.17(a) of the Seller Disclosure Letter, which such Section of
  the Seller Disclosure Letter Purchaser has a right to supplement, amend or modify follovdng the
  date hereof and prior to the sale hearing in the Bankruptcy Cases in its sole discretion.

                 (b)    As promptly as practicable after the date hereof and in any event prior to
  the Bidding Procedures hearing, Sellers and RMST will file and prosecute objections to wrong
  debtor claims filed against RMST in the RMST Bankruptcy Case or claims otherwise subject to
  disallowance imder applicable law.

                    5.18   DinoKine Proceedings.

                (a)    Sellers are required to transfer, assign, convey and deliver all Transferred
  Assets of DinoKing free and clear of all Liens and Claims, other than the Assumed DinoKing
  Liabilities.

                 (b)     Sellers shall serve copies of the Sale Notice on all of DinoKing's known
  creditors, regulatory authorities and other parties in interest that could assert Liens or Claims
  against the Transferred Assets, in accordance with Bankruptcy Rules 2002, 6004, and 9014 (as
  if DinoKing were a debtor in the Bankruptcy Cases).

                 (c)    If Sellers are unable to comply with the requirements of Section 5.18(a)
  by July 6, 2018, then Sellers shall, by not later than three Business Days before the Bankruptcy
  Court hearing to consider approval of the Bidding Procedures, commence, or cause DinoKing to
  commence, one or more insolvency proceedings (a "DinoKing Insolvency Proceeding") unless
  Purchaser waives this requirement in writing.

                 (d)     If (x) a DinoKing Insolvency Proceeding is commenced pursuant to
  Section 5.18(c) and (y) (A) this Agreement is terminated or (B) the Closing occurs, then
  Purchaser shall be liable for the actual reasonable, documented legal fees and expenses incurred
  in connection with preparing, filing and administering such DinoKing Insolvency Proceeding,
  up to a maximum of USDS150,000 ("DinoKing Insolvency Proceeding Cost"), which shall be
  paid to Sellers, in the case of a termination in clause (y)(A), one (1) Business Day following
  such termination or, in the case the Closing occurs, at the Closing.

                    5.19   DinoKing Liabilities and Tax Matters.

                  (a)    Sellers shall deliver to Purchaser at least five Business Days prior to
  Closing a true, correct and complete list of the Assumed DinoKing Liabilities.


                                                   -43-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18        Page 81 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 48 of 184 PageID# 516



                (b)     Sellers shall deliver to Purchaser, at least five Business Days in advance
 of Closing, a certificate issued by the Ministry of Finance of British Columbia pursuant to
 section 187 of the Provincial Sales Tax Act (British Columbia) which indicates that DinoKing
 has paid all Taxes collectable or payable under the Provincial Sales Tax Act (British Columbia)
 up to and including the Closing Date or has entered into an arrangement satisfactory to such
  Minister for the payment of such Taxes.

                5.20 AEG Notice. As promptly as reasonably practicable following the date
 hereof and in any event no later than five Business Days after the date hereof, Sellers shall
 provide notice of the Approval Motion to Anschutz Entertainment Group.

                                            ARTICLE VI


                                        Conditions to Closing

                6.1  Conditions to Each Party's Obligations. The respective obligations of
 each Party to consummate the transactions contemplated by this Agreement shall be subject to
 the satisfaction or waiver at or prior to the Closing of the following conditions;

                 (a)  No court or other Governmental Entity of competent jurisdiction shall
 have enacted, issued, promulgated, enforced or entered any Law (whether temporary,
 preliminary or permanent) that is in effect and restrains, enjoins or otherwise prohibits or makes
 illegal the consummation of transactions contemplated hereby.

                (b)    All waiting periods (and any extensions thereof) applicable to the
 transactions contemplated hereby under any Antitrust Law shall have been terminated or shall
 have expired, and all necessary approvals required under any Antitrust Law shall have been
  obtained.

                 6.2     Conditions to Sellers' Obligations. The obligations of Sellers to
 consummate the transactions contemplated by this Agreement shall be subject to the satisfaction
 or waiver at or prior to the Closing of each of the following conditions:

                 (a)    The representations and warranties of the Purchaser set forth in this
  Agreement shall be true and correct in all respects (without giving effect to any materiality or
  material adverse effect qualifications set fortli therein) as of the date hereof and as of the
  Closing Date as though made on and as of the Closing Date (except to the extent that any such
  representation and warranty expressly speaks as of a different date or time, in which case such
  representation and warranty shall have been true and correct as of such different date or time).

                (b)     Purchaser shall have performed in all respects all obligations required to
  be performed by it under this Agreement on or prior to the Closing Date.

                (c)     Purchaser shall have delivered to the Sellers a certificate signed on behalf
  of Purchaser by a senior executive officer of Purchaser and dated as of the Closing Date to the
  effect that the conditions set forth in Section 6.2(a) and Section 6.2(b) have been satisfied.


                                                 -44-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18       Page 82 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 49 of 184 PageID# 517



                    (d)   All of the deliverables required pursuantto Section 2.2(b) shall have been
  satisfied.

                6.3      Conditions to Purchaser's Obligations. The obligations of Purchaser to
 consummate the transactions contemplated by this Agreement shall be subject to the satisfaction
 or waiver at or prior to the Closing of each of the following conditions:

                    (a)   The representations and warranties of the Sellers and RMST set forth in
  this Agreement shall be true and correct in all respects (without giving effect to any materiality
  or SellerMaterial Adverse Effect qualifications set forth therein) as of the date hereof and as of
  the Closing Date as though made on and as of the Closing Date (except to the extent that any
  such representation and warranty expressly speaks as of a different date or time, in which case
  such representation and warranty shall have been true and correct as of such different date or
  time).

                 (b)    The Sellers and RMST shall have performed in all respects all obligations
  required to be performed by them under this Agreement on or prior to the Closing Date.

                 (c)     All consents, approvals and other authorizations of any Governmental
  Entity required to consummate the transactions contemplated by this Agreement shall have been
  obtained.

                    (d)   Each Seller shall have delivered to Purchaser a certificate signed on
  behalf of each such Seller by a senior executive officer of such Seller and dated as of the
  Closing Date to the effect that the conditions set forth in Section 6.3(a), Section 6.3(b) and
  Section 6.3(i) have been satisfied.

                (e)     The terms of the Luxor Lease shall not have been terminated, shall have
  been renegotiated on terms satisfactory to Purchaser (in its sole discretion) and shall be in fiill
  force and effect.

                 (f)    Upon and simultaneously with the Closing, all outstanding Liabilities
  pursuant to the DIP Agreement shall have been paid and satisfied in full.

                  (g)     (i) (A) The Bankruptcy Court shall have entered the Bankruptcy Court
  Orders in form and substance satisfactory to the Purchaser (in its sole discretion) and (B) no
  order staying or reversing or modifying or amending, in a manner which is adverse to the
  Purchaser, the Bankruptcy Court Orders shall be in effect on the Closing Date; and (ii) the
  Bankruptcy Court Orders, as entered by the Bankruptcy Court, shall not modify the terms and
  conditions of this Agreement or the transactions contemplated hereby in such a manner as to
  result in a diminution in the benefits of this Agreement to the Purchaser.

                 (h)     (i) (A) The Admiralty Court shall have entered the Admiralty Court
  Order in form and substance satisfactory to Purchaser (in its sole discretion) and (B) no order
  staying or reversing or modifying or amending, in a manner which is adverse to the Purchaser,
  the Admiralty Court Order shall be in effect on the Closing Date; (ii) the Admiralty Court
  Order, as entered by the Admiralty Court, shall not modify the terms and conditions of this

                                                -45-
 FTL 111767089V15
     Case 3:16-bk-02230-PMG                Doc 1118        Filed 07/18/18        Page 83 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 50 of 184 PageID# 518



  Agreement or the transactions contemplated hereby in such manner as to result in a diminution
  in the benefits of this Agreement to Purchaser and (iii) no Person shall have appealed the
  Admiralty Court Order within sixty (60) days of the Admiralty Court Order Entry Date.

                    (i)   There shall not have occurred a Seller Material Adverse Effect,

                    (j)   All consents, waivers, authorizations and approvals from and all notices
  to, any third Person under the Contracts listed on Section 6.3(1') of the Seller Disclosure Letter
  shall have been obtained or made and shall be in full force and effect.

                    (k)   All of the deliverables required pursuant to Section 2.2(a) shall have been
  satisfied.

                                             ARTICLE VII


                                              Termination

               7.1     Termination bv Mutual Consent. This Agreement may be terminated and
 the purchase and sale of the Transferred Assets and the other transactions contemplated by this
 Agreement may be abandoned at any time prior to the Closing by mutual written consent of the
 Sellers and Purchaser.

                    7.2   Termination bv Either Purchaser or the Sellers. This Agreement may be
 terminated and the purchase and sale of the Transferred Assets and the other transactions
 contemplated by this Agreement may be abandoned at any time prior to the Closing by either
 Purchaser or the Sellers by written notice to the other Party, if any Law permanently restraining,
 enjoining or otherwise prohibiting consummation of the purchase and sale of the Transferred
 Assets (or a material portion thereof) or the other transactions contemplated hereunder shall be in
 effect; provided that the right to terminate this Agreement pursuant to this Section 7.2 shall not
 be available to any Party whose breach of any representation, warranty, covenant or agreement
 under this Agreement shall have resulted in such Law being in effect.

              7.3    Termination bv the Sellers. This Agreement may be terminated and the
 purchase and sale of the Transferred Assets and the other transactions contemplated by this
 Agreement may be abandoned at any time prior to the Closing by the Sellers by written notice to
 Purchaser:

                (a)    if Sellers accept a Qualified Bid as the Prevailing Bid (each as defined in
  the Bidding Procedures) fi-om a Person other than Purchaser, so long as Sellers and RMST have
  complied with the Bidding Procedures and Section 5.12; or

               (b)   if there has been a breach of or inaccuracy in any representation or
  warranty made by Purchaser in this Agreement or Purchaser has failed to perform any of its
  covenants or agreements in this Agreement, which breach, inaccuracy or failure to perform (i)
  gives rise to a failure of the conditions set forth in Section 6.2(a) or 6.2(b) to be satisfied and (ii)
  (A) is not capable of being ciired by the Outside Date or (B) if capable of being cured by the
  Outside Date, is not cured by the earlier of the Outside Date and fifteen (15) calendar days

                                                   -46-
 FTL 111767089V15
     Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18        Page 84 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 51 of 184 PageID# 519




  following delivery by any of the Sellers of written notice to Purchaser of such breach; provided
  that the Sellers shall not have the right to terminate this Agreement pursuant to this Section
  7.3(b) if any of the Sellers or RMST is then in breach of this Agreement so as to cause any of
  the conditions set forth in Article VI not to be capable of being satisfied.

              7.4    Termination bv Purchaser. This Agreement may be terminated and the
 purchase and sale of the Transferred Assets and the other transactions contemplated by this
 Agreement may be abandoned at any time prior to the Closing by Purchaser by written notice to
 Sellers if:

                  (a)      there has been a breach of or inaccuracy in any representation or warranty
  made by the Sellers or RMST in this Agreement or any of the Sellers or RMST has failed to
  perform any of its covenants or agreements in this Agreement, which breach, inaccuracy or
  failure to perform (i) gives rise to a failure of the conditions set forth in Section 6.3(a) or 6.3(b)
  to be satisfied and (ii) (A) is not capable of being cured by the Outside Date or (B) if capable of
  being cured by the Outside Date, is not cured by the earlier of the Outside Date and fifteen (15)
  calendar days following Purchaser's delivery of written notice to the Sellers of such breach;
  provided that Purchaser shall not have the right to terminate this Agreement pursuant to this
  Section 7.4(a) if Purchaser is then in breach of this Agreement so as to cause any of the
  conditions set forth in Article VI not to be capable of being satisfied;

                 (b)    (i) the Approval Motion has not been filed with the Bankruptcy Court
  prior to 9:00 p.m. (Eastern Time) on the Business Day following the Execution Date, (ii) the
  Bankruptcy Court has not approved and entered the Bidding Procedures Order prior to 9:00
  p.m. (Eastern Time) on July 20, 2018, (iii) the Bankruptcy Court has not approved and entered
  the Approval Order prior to 9:00 p.m. (Eastern Time) on August 15, 2018, (iv) the Admiralty
  Court has not approved and entered the Admiralty Court Order prior to 9:00 p.m. (Eastern
  Time) on September 7, 2018, (v) following entry of the Approval Order, the Admiralty Court
  Order or the Bidding Procedures Order, any of the Approval Order, Admiralty Court Order or
  the Bidding Procedures Order is stayed, reversed, modified, vacated or amended in any material
  respect without the prior written consent of Purchaser (such consent not to be unreasonably
  withheld), and such stay, reversal, modification, vacation or amendment is not eliminated within
  fourteen (14) days of any such stay, reversal, modification, vacation or amendment; or (vi) a
  Person shall have appealed the Admiralty Court Order within sixty (60) days of the Admiralty
  Court Order Entry Date;

                  (c)   (i) the Sellers accept a Qualified Bid as the Prevailing Bid (each as
  defined in the Bidding Procedures) from a Person other than Purchaser or (ii) the Sellers enter
  into a definitive agreement relating to a Competing Transaction (as defined in the Bidding
  Procedures) with another Person (other than Purchaser) and the Bankruptcy Court enters an
  order approving such definitive agreement;

                (d)     one or more of the Bankruptcy Cases are dismissed by the Bankruptcy
  Court or converted into a case under Chapter 7 of the Bankruptcy Code;




                                                 -47-
 FTL 111767089V15
     Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18      Page 85 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 52 of 184 PageID# 520




             (e)      a Chapter 11 trustee or examiner imder the Bankruptcy Code with
 expanded powers is appointed for one or more of the Debtor Sellers or RMST;
                    (f)   the Bankruptcy Court approves a disclosure statement with respect to a
  Chapter 11 planfiled by any Person other than the Debtor Sellers or RMST, provided, however,
  that if the Bankruptcy Court sua sponte issues an order conditionally approving any such
  disclosure statement (a "Conditional Approval Order"! Purchaser will not have the right to
  terminate this Agreement under this section 7.4(f) as long as (a) the Debtors move, within one
  Business Day of the entry of a Conditional Approval Order, to vacate such Conditional
  Approval Order, and (b) the Bankruptcy Courtvacates such Conditional Approval Order within
  14 days of its entry;

                    (g)   any of the Sellers or RMST file a Chapter 11 plan without the consent of
  the Purchaser;

                (h)   the DIP Agreement matures or is in default unless otherwise extended or
  waived by the DIP Lender;

                    (i)   the Luxor Lease is terminated or expires or is modified or amended
  without Purchaser's consent;

                   (j)    the Closing shall not have occurred on or prior to the date that is seventy
  (70) calendar days after the Admiralty Court Order Entry Date (the "Outside Date"): provided
  that the right to terminate this Agreement pursuant to this Section 7.4(j) shall not be available to
  Purchaser if Purchaser's breach of any representation, warranty, covenant or agreement under
  this Agreement shall have caused the failure of the Closing to have occurred by the Outside
  Date; or

                    (k)   Sellers fail to comply with Section 5.18 in any respect.

                    7.5   Effect of Termination.

                (a)    In the event of the termination of this Agreement by either the Sellers or
  Purchaser pursuant to this Article VII, this Agreement shall become null and void and there
  shall be no Liability to any Person on the part of any Party (or any Seller Related Party or
  Purchaser Related Party), except (i) this Section 7.5 and Article VIII shall survive such
  termination in accordance with their terms and conditions, and (ii) no such termination shall
  relieve Sellers or RMST from Liability for damages to Purchaser resulting from any Seller's or
  RMST's willfiil and material breach of any of its covenants or agreements set forth in this
  Agreement. For purposes of this Section 7.5, "willful and material breach" means a material
  breach of (or material failure to perform under) this Agreement that is the consequence of an act
  or omission by a Seller or RMST with the actual knowledge that the taking of such act or failure
  to take such act would cause a breach of this Agreement.

                    (b)   In the event that this Agreement is terminated:




                                                   -48-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18       Page 86 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 53 of 184 PageID# 521



                         (i)     by (A) Purchaser pursuant to Section 7.4(a), Section 7.4(b),
         Section 7.4(d), Section 7.4(e), Section 7.4(f), Section 7.4(g), Section 7.4(h), Section
         7.4(i), Section 7.4(j) or Section 7.4(k), then in any such case the Expense Reimbursement
         shall immediately become earned and due from Sellers and RMST to Purchaser and the
         Expense Reimbursement together with the Good Faith Deposit and interest thereon shall
         be paid by wire transfer of immediately available funds to an account designated by
         Purchaser within one (1) Business Day of any such termination.

                        (ii)   by (A) Sellers pursuant to Section 7.3(a) or (B) Purchaser pursuant
         to Section 7.4(c), then in either of such cases, (y) an amount equal to the greater of
         $500,000 or tlvee percent (3%) of the Purchase Price (the "Break-Up Fee") and the
         Expense Reimbursement shall become earned and due from Sellers and RMST to
         Purchaser, which such Break-Up Fee and Expense Reimbursement may be paid from the
         proceeds of such Competing Transaction, provided, however, that the total amount of the
         Break-Up Fee and Expense Reimbursement shall be limited to $1,000,000, and (z) the
         Good Faith Deposit and interest thereon shall be paid by wire transfer of immediately
         available funds to an account designated by Purchaser within one (1) Business Day of
         any such termination; and

                       (iii)   by the Sellers pursuant to Section 7.3(b), then the Good Faith
         Deposit and interest earned thereon shall be retained by the Sellers and RMST for their
         own account as their sole and exclusive remedy against the Purchaser.

                  (c)    In the event that the Break-Up Fee and Expense Reimbursement are
  earned by Purchaser pursuant to Section 7.5(b)(ii), the Prevailing Bidder (as defined in the
  Bidding Procedures) shall pay the Break-Up Fee and Expense Reimbursement directly to
  Purchaser by wire transfer of immediately available funds to an account specified by Purchaser
  at the closing of such Competing Transaction. If for any reason such Prevailing Bidder fails to
  pay the Break-Up Fee and Expense Reimbursement directly to Purchaser, Sellers and RMST are
  authorized and directed to pay the Break-Up Fee and Expense Reimbursement to Purchaser
  from the gross cash proceeds of such Competing Transaction without further order of the
  Bankruptcy Court. In the event the definitive agreement for any such Competing Transaction is
  terminated, the Break-Up Fee and Expense Reimbursement shall be paid by Sellers and RMST
  to Purchaser by wire transfer of immediately available funds to an account designated by
  Purchaser within one (1) Business Day of any such termination.

                  (d)    The Parties acknowledge and agree that the agreements contained in this
  Section 7.5 are an integral part of the transactions contemplated by this Agreement, and that,
  without these agreements, the Parties would not enter into this Agreement. Accordingly, in the
  event that the Purchaser or any Seller, as the case may be, is required to commence litigation to
  seek all or a portion of the amounts payable to such Party under this Section 7,5, and it prevails
  in such litigation, it shall be entitled to receive, in addition to all amounts that it is otherwise
  entitled to receive under this Section 7.5, all reasonable expenses (including attorneys' fees)
  which it has incurred in enforcing its rights hereunder, together with interest on such amount or
  portion thereof at the prime rate set forth in the Wall Street Journal in effect on the date such
  payment was required to be made through the payment was actually received.


                                                 -49-
 FTL 111767089V15
     Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18      Page 87 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 54 of 184 PageID# 522



                    (e)     Notwithstanding anything to the contrary in this Agreement, if Purchaser
  shall default under or breach any of its obligations in this Agreement, the Good Faith Deposit
 (together with interest earned thereon) shall constitute the Sellers' and RMST's full and
 complete liquidated damages and sole and exclusive remedy available to Sellers and RMST and
 their Affiliates against Purchaser and its Affiliates with respect to this Agreement and the
 termination hereof and the transactions contemplated hereunder.

                                             ARTICLE VIII


                                       Miscellaneous and General

               8.1     Survival.    None of the representations, warranties, covenants and
 agreements contained in this Agreement or in any instrument delivered pursuant to this
 Agreement, including any rights arising out of any breach of such representations, warranties,
 covenants and agreements, shall survive the Closing, except for any covenant or agreement
 contained herein to the extent its terms apply or are to be performed after the Closing, which
 covenants and agreements shall survive the Closing in accordance with their respective terms
 and conditions.

                8.2      Modification or Amendment. Subject to the provisions of applicable Law,
 at any time prior to the Closing, the Sellers and Purchaser may modify or amend this Agreement,
 solely by a written agreement executed and delivered by duly authorized officers of the
 respective Parties.

                 8.3     Waiver. At any time prior to the Closing, the Sellers or Purchaser may,
 subject to applicable Law: (a) waive any inaccuracies in the representations and warranties of
 any other Party; (b) extend the time for the performance of any of the obligations or acts of any
 other Party; or (c) to the extent permitted by applicable Law, waive compliance by the other
 party with any of the agreements contained in this Agreement or, except as otherwise provided in
 the Agreement, waive any of such Party's conditions. Notwithstanding the foregoing, no failure
 or delay by the Sellers or Purchaser in exercising any right hereunder shall operate as a waiver of
 rights, nor shall any single or partial exercise of such rights preclude any other or further exercise
 of such rights or the exercise of any other right hereunder. Any agreement on the part of a Party
 hereto to any such extension or waiver shall be valid only if set forth in an instrument in writing
 signed on behalf of such Party.

                    8.4    Notices. All notices, requests, instructions or other documents to be given
 hereunder by any Party to the others shall be in writing and delivered personally or sent by
 registered or certified mail, postage prepaid, email or overnight courier:

                    If to Purchaser:

                    Premier Acquisition Holdings LLC

                    777 Third Avenue Suite 19A
                    New York, NY 10017



                                                   -50-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                   Doc 1118        Filed 07/18/18   Page 88 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 55 of 184 PageID# 523



                    Attention: Gilbert Li
                    Email: gli@altaflindaniental.com
                    Fax:212-319-1778

                    Unit 1401,14"' Floor, The Chinese Bank Building,
                    61-65 Des Voeux Road, Central Hong Kong
                    Attention: Giovanni Wong
                    Email: wongg@pacbridgepartners.com

                    9 West 57'^. Street, 37'^ Floor
                    NY, NY 10019
                    Attention: Joe Glatt

                    with a copy to:

                    Greenberg Traurig, P.A.
                    401 East Las Olas Blvd., Suite 2000
                    Fort Lauderdale, Florida 33301
                    Attention: Scott M. Grossman, Esq.
                    Email: grossmansm@gtlaw.com
                    Fax: 954-765-1477


                    and a copy to:

                    Bracewell LLP
                    1251 Avenue of the Americas, 49."'. Floor
                    New York, New York 10020
                    Attention: Jermifer Feldsher, Esq.
                                Elena Rubinov, Esq.
                    Email: jermifer.feldsher@bracewell.com
                            elena.rubinov@bracewell.com
                    Fax: 212-938-3837


                    •If to the Sellers.:


                    Premier Exhibitions, Inc.
                    3045 Kingston Court, Suite I
                    Peachtree Comers, Georgia 30071
                    Attention: Daoping Bao
                    Email: daoping@prxi.com

                    with a copy to:

                    Troutman Sanders, LLP
                    600 Peachtree Street, NE Suite 3000
                    Atlanta, Georgia 30308


                                                      -51-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18      Page 89 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 56 of 184 PageID# 524



                    Attention: Harris B. Winsberg, Esq.
                    Email: harris.winsberg@troutmansanders.com
                    Fax: 404-885-3900


 or to such otherpersons or addresses as may be designated in writing by the Partyto receive such
 notice as provided above. Any notice, request, instruction or other document given as provided
 above shall be deemed given to the receiving Party upon actual receipt, if delivered personally;
 three (3) Business Days after deposit in the mail, if sent by registered or certified mail; upon
 confirmation of successful transmission, if sent by email (provided that if given by email such
 notice, request, instruction or other document shall be followed up within one (1) Business Day
 by dispatch pursuant to one of the other methods described herein); or on the next Business Day
 after deposit with an overnight courier, if sent by an overnight courier.

                8.5   Definitions. For purposes of this Agreement the following terms shall
 have the following meanings:

                    "Admiralty Court" means the United States District Court for the Eastern District
 of Virginia, in Case No. 2:93-cv-902.

                "Admiralty Court Order." means an Order entered by the Admiralty Court
 approving the transactions contemplated by this Agreement.

                "Admiralty Court Order Entrv Date" means the date on which the Admiralty
 Court enters the Admiralty Court Order.

                "Affiliate" means, with respect to any Person, any other Person that, directly or
 indirectly, controls, is controlled by, or is under common control with, such Person. For
 purposes of this definition, the term "control" (including the correlative terms "controlled by"
 and "under common control with") means the possession, directly or indirectly, of the power to
 direct or cause the direction of the management and policies of a Person, whether through the
 ownership of voting securities, by Contract or otherwise;
                "Aha" means Alta Fundamental Advisers LLC and any of its Affiliates.

                "Antitrust Laws" means the Sherman Act, the Clayton Act, the HSR Act, the
 Federal Trade Commission Act and all other applicable Laws issued by a Governmental Entity
 that are designed or intended to prohibit, restrict or regulate actions having the purpose or effect
 of monopolization or restraint of trade or lessening of competition through merger or acquisition.

                    "Apollo" means Apollo Global Management, LLC.

                 "Ancillary Agreements" means the Deeds, Bill of Sale, the Assignment and
 Assumption Agreement, the stock power(s) transferring the RMST Shares, the Intellectual
 Property Assignment Agreement, the Real Property Lease Assignment, the Escrow Agreement,
 the FIRPTA Certificate and any other instrument, certificate, document or agreement necessary
 or required to transfer the Transferred Assets pursuant to this Agreement.


                                                   -52-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18       Page 90 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 57 of 184 PageID# 525



                    "Artifacts and Exhibitrv." means (i) the artifacts recovered from the RMS Titanic,
 along with the photos, videos, digital archives, sonar maps and other tangible and intangible
 property related thereto together with the exclusive salvage rights to recover additional artifacts
 from the RMS Titanic, and (ii) furniture, exhibitry, artifacts, specimens, skeletons, costumes,
 displays, models, and any fixtures and improvements thereof, including all tangible and
 intangible property related to, useful or necessary for "Titanic: The Artifact Exhibition ",
 "Bodies: The Exhibition & Bodies Revealed", "Dinosaurs Unearthed, Extreme Dinosaurs &
 Dmosaurs Alive", "The Discovery of King Tut", "SNL (Saturday Night Live): The Exhibition",
 "Xtreme Bugs!", and "Creatures of the Deep".

              "Business Dav" means any day other than Saturday or Sunday or a day on which
 commercial banks are authorized or required by Law or executive order to be closed in New
 York City.

                    "Cash Budget" means the "Budget" as defined in and under the DIP Financing, a
 copy of which initial Budget is attached to the DIP Order.

                    "Claim" means a claim as defined in Section 101 of the Bankruptcy Code.

                    "Closing Date Current Assets." means the Current Assets calculated as of 12:01
  a.m. on the Closing Date.

                "Contract" means any binding lease, commitment, note, bond, mortgage,
  indenture, loan, contract or other agreement.

               "Cure Costs." means the Liabilities and obligations of the Sellers that must be
  paid or otherwise satisfied to cure all of the Sellers' defaults, if any, under the Assumed
  Contracts and Assumed Real Property Leases necessary for the assumption thereof and
  assignment to Purchaser as provided herein and in the Approval Order.

                 "Current Assets." means (i) trade accounts or notes receivable, (ii) unbilled
  revenue receivables, (iii) accrued receivables, (iv) credit card receivables, (v) travel and other
  advances receivables, (vi) deferred contract costs and install costs in progress, (vii) prepaid
  insurance, excluding director and officer insurance, (viii) prepaid license fees, (ix) prepaid
  expenses - G&A, (x) prepaid expenses - other, and (xi) security and other deposits, of Sellers
  and RMST of a particular date; provided that Current Assets shall not include any of the
  foregoing or any cash deposits received by Sellers or RMST to the extent arising out of or
  resulting from any Contract entered into or amendment or renewal of any existing Contract by
  Sellers, RMST or any of their Affiliates after the date hereof if the Sellers, RMST or any of
  their Affiliates have not commenced performance of such Contract prior to the Closing Date;
  and provided further that Current Assets shall exclude the $375,000 account receivable of
  Sellers as it relates to the third city under the Exhibition Agreement between PEM and JVS
  Group dated October 28, 2016.

               "Deed." means, with respect to each parcel of Owned Real Property, the
  instrument of conveyance customary to the applicable jurisdiction to be executed by the

                                                   -53-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18      Page 91 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 58 of 184 PageID# 526



  appropriate Sellers, RMST or their relevant Affiliate at the Closing in order to convey to
  Purchaser such entity's interest in such parcel of Owned Real Property, free and clear of all
  Liens other than Permitted Liens, in form sufficient for recording in the appropriate real
  property records and substantially in the form to be mutually agreed by the Parties.

                    "DIP Agreement" means that certain Senior Secured Debtor-In-Possession Loan
 Agreement dated as of May 18, 2017, (including all exhibits and schedules attached thereto
 (including any budget)) entered into between the Debtor Sellers, RMST and the DIP Lender.

                    "DIP Financing Order" means the final order entered by the Bankruptcy Court on
 July 12,2017 approving the DIP Agreement.

                    "DIP Lender" means Bay Point Capital Partners, LP.

               "Equipment and Machinery" means (i) all items of tangible property, including
 equipment, machinery, furniture, computers, fixtures and improvements, spare parts, supplies
 and vehicles (other than Artifacts and Exhibitry) owned or leased by the Sellers, and (ii) any
 rights of the Sellers to the warranties (to the extent assignable) and licenses received from
 manufacturers and the sellers of the aforesaid items.

                    "Escrow Agent" means SunTrust Bank.


                "Escrow Agreement" means the Escrow Agreement by and among the Escrow
 Agent, the Sellers, RMST and the Purchaser, substantially in the form attached hereto as Exhibit
 G, to be executed within three (3) Business Days of the execution of this Agreement.

                    "Excluded Liabilities" means all Liabilities of the Sellers and their Affiliates
 other than the Assumed Liabilities.

                "Expense Reimbursement" means the amount equal to the aggregate documented,
 actual, out-of-pocket costs and expenses (including, without limitation, expenses of outside legal
 counsel and other outside consultants and legal expenses related to the transactions contemplated
 hereby, preparing and negotiating this Agreement and documents related hereto, and
 investigating Sellers, RMST or the Transferred Assets) incurred by Purchaser in connection with
 its due diligence investigation of Sellers and RMST and the negotiation and execution of this
 Agreement and the transactions contemplated hereby.

                    "Feng" means Lange Feng.

                "Pinal Order" means an order entered by the Bankruptcy Court or the Admiralty
 Court, the implementation, operation, or effect of which has not been stayed and as to which
 order (or any revision, modification, or amendment thereof) the time to appeal or seek review or
 rehearing or writ of certiorari has expired and as to which no appeal or petition for review or
 rehearing or certiorari has been taken and is pending; provided that the possibility that a motion
 under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the


                                                  -54-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                Doc 1118        Filed 07/18/18      Page 92 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 59 of 184 PageID# 527



 Bankruptcy Rules, may be filed relating to such order, shall not cause such order not to be a
 Final Order.
                    "GAAP" shall mean United States generally accepted accounting principles as in
 effect from time to time, consistently applied.

                "Governmental Entity" means any domestic or foreign governmental or
 regulatory authority, agency, commission, body, court or other legislative, executive or judicial
 governmental entity.

                 "Indebtedness" means with respect to any Person, all Liabilities, indebtedness, or
 obligations of any kind or nature, contingent or otherwise, related to (i) indebtedness for
 borrowed money or for the deferred purchase price of property or services; (ii) any other
 indebtedness that is evidenced by a note, bond, debenture, letter of credit or similar instrument or
 facility; (iii) obligations under financing and operating leases or capital leases; (iv) all
 conditional sale obligations and all obligations under any title retention agreement; (v) all
 obligations under any currency, interest rate or other hedge agreement or any other hedging
 arrangement; (vi) all indebtedness referred to in clauses (i) through (v) above secured by (or for
 which the holder of such indebtedness has an existing right, contingent or otherwise, to be
 secured by) any Lien on property (including, without limitation, accounts and Contract rights)
 owned by such Person, even though such Person has not assumed or become liable for the
 payment of such indebtedness; (vii) all accrued interest, prepayment premiums, penalties and
 other amounts related to any of the foregoing; and (viii) all accrued and unpaid Taxes.

                 "Intellectual Propertv" means all (A) trademarks, service marks, trade names,
 trade dress, and other indicia of source or origin (including common law trademarks), any
 applications and registrations for the foregoing and the renewals thereof, and all goodwill
 associated therewith and symbolized thereby (collectively, "Trademarks"1: (B) patents
 (including utility and design patents) and the applications for the same, including any divisions,
 revisions, supplementary protection certificates, continuations, continuations-in-part, reissues, re-
 examinations, substitutions and extensions thereof (collectively, "Patents"): (C) trade secrets,
 know-how, inventions and other proprietary confidential information; (D) copyrights, including
 copyrights in all published and unpublished works of authorship, rights in software and any
 registrations and applications, and renewals, extensions, restorations and reversions thereof
 together with all translations, adaptations, derivations, and combinations thereof, and any such
 material assigned fi:om any third party ("Copyrights"): and (E) Internet domain names (including
 all sub-domain names and extensions thereof and thereto) and social media accounts (including
 related usemames and other social identifiers) (collectively, "Domain Names and Social Media
 Accounts").


                "Inventory" means all inventory (including raw materials, products-in-process,
 and finished products) owned by any of the Sellers, whether in transit to or from the Sellers, and
 whether in the Sellers' warehouse and distribution facilities or held by a third party.

                "Laws" means any federal, state, provincial, territorial, local or foreign law,
 statute or ordinance, common law, or any rule, regulation, standard, judgment, order, writ.


                                                   -55-
 FTL 111767089v15
    Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18        Page 93 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 60 of 184 PageID# 528



 injunction, decree, arbitration award, agency requirement, license or permit of any Governmental
 Entity.

                    "Ijen" means any mortgage, deed of trust, hypothecation, contractual restriction,
 pledge, lien, encumbrance, interest, charge, security interest, put, call, other option, right of first
 refusal, right of first offer, servitude, right of way, easement, conditional sale or installment
 Contract, finance lease involving substantially the same effect, security agreement or other
 encumbrance or restriction on the use, transfer or ownership of any property of any type,
 including real property, tangible property and intangible property and including any "Lien" as
 defined in the Bankruptcy Code.

                "Liability" means any liability, debt, claim, demand, loss, commitment, damage,
 deficiency. Tax, obligation or action of any kind, character or description, whether asserted or
 notasserted, disputed or undisputed, known or unknown, joint or several, fixed or unfixed,
 liquidated or unliquidated, secured or unsecured, accrued or unaccrued, absolute, contingent,
 determined, determinable or otherwise, whenever or however arising (including, whether arising
 out of any Contract or tort based on negligence or strict liability) and whether or not the same
 would be required by GAAP to be reflected in financial statements or disclosed in the notes
 thereto, including all costs and expenses related thereto.

             "Luxor Lease" means the lease at the Luxor Hotel in Las Vegas, Nevada, by and
 between Ramparts, LLC and Premier, dated as of March 12,2008, as amended.

                    "PacBridee" means PacBridge Capital Partners (HK) Ltd.

                    "PacBridee Parties" means PacBridge together with the Secured Creditors.

                    "Party" means Purchaser, Sellers and RMST.

                  "Permitted Liens" means (i) statutory Liens for Taxes, special assessments or
  other governmental or quasi-governmental charges not yet due and payable, (ii) landlords',
  warehousemens', mechanics', materialmens', repairmans', carriers' or similar Liens that relate
  to obligations not due and payable and arise in the ordinary course of business and which are
  not material, (iii) Liens incurred or deposits or pledges made in connection with, or to secure
  payment of, workers' compensation, unemployment insurance, old age pension programs
  mandated under applicable Laws or other social security regulations, (iv) zoning, building,
  entitlement and other land use regulations promulgated by Governmental Entities that do not
  interfere v/ith the use of real property, and (v) easements, rights of way and other imperfections
  of title or encumbrances that do not interfere with the present use of, or detract from the value
  of, the property related thereto.

                    "Person" means any individual, corporation (including not-for-profit), general or
 limited partnership, limited liability company, joint venture, estate, trust, association,
 organization, Governmental Entity or other entity of any kind or nature.



                                                   -56-
 FTL 111767089V1S
    Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18      Page 94 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 61 of 184 PageID# 529



                    "Personally Identifiable Information." means information that alone or in
 combination with other information held by any Seller or their respective Subsidiaries can be
 used to specifically identify an individual Person and any individually identifiable health
 information, including any of the following information that specifically identifies any
 employee, independent contractor, individual consumer or other third party who has provided
 such information to a Seller or RMST in connection with the conduct of the Business: (a)
 addresses, telephone numbers, health information, drivers' license numbers, and government
 issued identification; and (b) any nonpublic personally identifiable financial information, such as
 information relating to a relationship between an individual Person and a financial institution,
 and/or related to a Itoancial transaction by such individual Person with a financial institution.

                    "Petition Date" means June 14, 2016, the date on which the Debtors commenced
 the Bankruptcy Case.

                 "Purchase Price" means $17,500,000, as adjusted pursuant to Section 2.3(a)(ii) or
 2.3(a)(iii) and Section 2.4.

                 "Purchaser Related Partv" means Purchaser and any of its former, current and
 future Affiliates, officers, directors, managers, employees, shareholders, equityholders, members,
 managers, partners, agents, representatives, successors or assigns or any former, current and
 future Affiliate, officer, director, manager, employee, shareholder, equityholder, member,
 manager, partner, agent, representative, successor or assign of any of the foregoing.

               "Representatives" means, with respect to any Person, such Person's directors,
 officers, employees, investment bankers, attorneys, accountants and other advisors or
 representatives.

                    "Revised Covenants and Conditions" means the Revised Covenants and
 Conditions set forth in Exhibit A to the August 12,2010 Opinion of the Admiralty Court.

                    "RMST Assets." means the tangible and intangible assets, properties, rights and
 claims of RMST.


                    "RMST Bankruptcv Case." means In re RMS Titanic, Inc., Case No. 3:16-bk-
 2230-PMG (Bankr. M.D. Fla.) chapter 11 case.

                    "Secured Creditors." means collectively, Zou, Zhang and Feng.

                    " Seller Emplovee" means any officer or employee of any Seller or RMST.

                 "Seller Intellectual Propertv." means all Intellectual Property (a) owned by or
 licensed to the Sellers or (b) included in the Transferred Assets.

                    "Seller and RMST Intellectual Property" means all Intellectual Property (a)
 owned by or licensed to the Sellers or RMST or (b) included in the Transferred Assets.


                                                  -57-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                Doc 1118        Filed 07/18/18        Page 95 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 62 of 184 PageID# 530



                "Seller Material Adverse Effect" means any change, event, state of facts or
 development that has had or would reasonably be expected to have a material adverse effect on
 (i) the financial condition, assets or continuing results of operations of the Business or
 Transferred Assets or (ii) the ability of the Sellers to consummate the transactions contemplated
 by this Agreement; provided, however., that no change, event, state of facts or development
 resuhing from any of the following shall be deemed to be or taken into account in determining
 whether there has been or will be, a "Seller Material Adverse Effect": (a) the entry into or the
 armoimcement of this Agreement or the transactions contemplated hereby solely to the extent
 resulting from the identity of Purchaser, (b) any change, event or development in or affecting
 financial, economic, social or political conditions generally or the securities, credit or financial
 markets in general, including interest rates or exchange rates, or any changes therein, in the
 United States or other countries in which the Sellers and RMST conduct operations or any
 change, event or development generally affecting the industries in which the Sellers and RMST
 operate, (c) the suspension of trading in securities generally on any securities exchanges, (d) any
 change in any applicable Law or GAAP, (e) the failure of the Sellers and RMST to meet any
 intemal or public projections, budgets, forecasts or estimates of revenues, earnings or other
 financial results (.provided., however^ that the exception in this clause (e) shall not prevent the
 underlying facts giving rise or contributing to such failure firom being taken into account in
 determining whether a Seller Material Adverse Effect has occurred); (f) the commencement,
 occurrence, continuation or escalation of any war, armed hostilities or acts of terrorism, (g) the
 existence, occurrence or continuation of any force majeure events, including any earthquakes,
 floods, hurricanes, tropical storms, fires or other natural disasters or any national, international or
 regional calamity or (h) the filing of the Bankruptcy Case, including its effect on Sellers' and
 RMST's relationships with its customers, suppliers and employees; provided., that with respect
 to clauses (b), (c), (d), (f), and (g), such changes, events, state of facts or developments shall be
 taken into account to the extent they disproportionately adversely affect the Sellers and RMST,
 taken as a whole, or the Business compared to other companies operatmg in the same industries
 in which the Sellers and RMST operate. A "Seller Material Adverse Effect" shall be deemed to
 have occurred if the Luxor Lease is terminated or the Luxor Lease is not renewed on terms and
 conditions satisfactory to Purchaser in its sole discretion.

                "Seller Related Party" means the Sellers and any of their respective former,
 current and future Affiliates, officers, directors, managers, employees, shareholders,
 equityholders, members, managers, partners, agents, representatives, successors or assigns or any
 former, current and future Affiliate, officer, director, manager, employee, shareholder,
 equityholder, member, manager, partner, agent, representative, successor or assign of any of the
 foregoing.

                "Sellers' Knowledge" means the actual or constructive knowledge (after due
 inquiry) of those persons set forth in Section 8.5(b) of the Seller Disclosure Letter.

                 " Subsidiary " of any Person means another Person at least 50% of the securities or
 ownership interests having by their terms ordinary voting power to elect a majority of the board
 of directors or other persons performing similar functions is owned or controlled directly or
 indirectly by such first Person and/or by one or more of the Subsidiaries of such first Person or of
 which such first Person and/or one of Subsidiaries of such first Person serves as a general partner

                                                  -58-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                Doc 1118      Filed 07/18/18      Page 96 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 63 of 184 PageID# 531




 (in the case of a partnership) or a manager or managing member (in the case of a limited liability
 entity) or similar function.

                    "Target Current Assets" means US$2,461,000.

                 "T^" means (i) any federal, state, provincial, local or foreign tax, assessment,
 fee, levy or other charge of any kind whatsoever whether or not disputed (including, without
 limitation, any income, franchise, branch profits, gross receipts, license, employment, excise,
 severance, stamp, occupation, premium, windfall profits, environmental, customs duty, capital
 stock, profits, unemployment, disability, registration, value added, alternative or add-on
 minimum, estimated, capital, capital gains, value-added, sales, goods and services, harmonized
 sales, use, real property, personal property transfer, payroll, contributions, social security (or
 similar, including PICA), unclaimed property, escheat or withholding tax), (ii) any fine, penalty,
 interest, or addition to any items described in clause (i), whether or not disputed and (iii) any
 Liability in respect of any items described in clauses (i) or (ii) payable by reason of contract,
 assumption, transferee or successor Liability, operation of Law or otherwise, whether or not
 disputed.

                    "Tax Return" means all returns and reports (including elections, statements,
 declarations, disclosures, schedules, estimates and information returns) required to be supplied to
 a Tax authority relating to Taxes (including amendments or attachments thereto).

               "Title Company" means First American Title Insurance Company (Attn: Larry
 Cantor and Jeff Carusone) or such other title insurance company selected by Purchaser.

                    "Zhang." means Jihe Zhang.

                    "Zou" means Haiping Zou.

 Terms Defined Elsewhere. The following terms are defined elsewhere in this Agreement, as
 indicated below:

 Term                                                                                     Section
 Adjustment Excess Amount                                                                  2.4(d)
 Adjustment Shortfall Amount                                                               2.4(d)
 Agreement                                                                              Preamble
 Allocation Dispute                                                                          1.5(a)
 Allocation Dispute Notice                                                                   1.5(a)
 Allocation Resolution Period                                                                1.5(a)
 Approval Motion                                                                             5.7(a)
 Approval Order                                                                          5.7(a)(i)
 Arbitrator                                                                                 2.4(b)
 Assignment and Assumption Agreement                                                         1.3(b)
 Assumed Contracts                                                                      1.1(a)(vi)
 Assumed Liabilities                                                                         1•1(c)
 Assumed Real Property Leases                                                            1.1 (a)(x)

                                                 -59-
 FTL 1117670a9v15
     Case 3:16-bk-02230-PMG            Doc 1118     Filed 07/18/18   Page 97 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 64 of 184 PageID# 532




 Bankruptcy and Equity Exception                                                       3.3
 Bankruptcy Cases                                                                 Recitals
 Bankruptcy Code                                                                  Recitals
 Bankruptcy Court                                                                 Recitals
 Bankruptcy Court Orders                                                         5.7(a)(ii)
 Benefit Plan                                                                        3.111
 Bidding Procedures                                                             5.7(a)(ii)
 Bidding Procedures Order                                                       5.7(a)(ii)
 Bill of Sale                                                                    2.2(a)(i)
 Books and Records                                                               5.3(b)(i)
 Break-Up Fee                                                                   7.5(b)(ii)
 Business                                                                         Recitals
 Closing                                                                               2.1
 Closing Date                                                                          2.1
 Code                                                                                1.5(a)
 Consent Asset                                                                       1.3(c)
 Conditional Approval Order                                                          7.4(f)
 D&O Insurance                                                                      5.6(a)
 DinoKing Assmned Liabilities                                                   l.l(c)(iv)
 DinoKing Insolvency Proceeding Cost                                               5.18(d)
 DinoKing Proceeding                                                                  5.18
 Disclosure Letters                                             Introduction to Article IV
 Dispute                                                                            1.5(b)
 Escrow Amount                                                                      2.3(b)
 Escrow Fimds                                                                       2.3(b)
 Estimated Current Assets                                                           2.3(b)
 Estimated Current Asset Statement                                                  2.3(b)
 ERISA                                                                             3.11(c)
 Excluded Assets                                                                    1.1(b)
 Excluded Contracts                                                               Recitals
 Final Allocation Schedule                                                          1.5(a)
 Final Current Assets                                                               2.4(c)
 Financial Statements                                                               3.5(a)
 Good Faith Deposit                                                                 1.4(a)
 Insurance Policies                                                             5.1(b)(xi)
 Interim Period                                                                     5.1(a)
 Material Contract                                                                    3.10
 Notice of Objection                                                                2.4(a)
 Owned Real Property                                                               3.12(a)
 Outside Date                                                                        7.4G)
 PacBridge Parties Settlement                                                       5.7(h)
 Permits                                                                            3.8(b)
 Proposed Allocation Schedule                                                       1.5(a)
 Purchaser                                                                      Preamble
 Purchaser Default Termination                                                   1.4(b)(ii)
 Purchaser Disclosure Letter                                    Introduction to Article IV


                                         .   -60-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                Doc 1118        Filed 07/18/18        Page 98 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 65 of 184 PageID# 533



 Real Property                                                                               3.12(a)
 Real Property Lease Assignments                                                           2.2(a)(iii)
 Real Property Leases                                                                        3.12(a)
 Registered Intellectual Property                                                            3.14(a)
 Review Period                                                                                 2.4(a)
 RMST Shares                                                                                   3.2(b)
 RMST Securities                                                                               3.2(c)
 Section 338(h)(10) Election                                                                 5.10(d)
 Seller Disclosure Letter                                                 Introduction to Article III
 Seller Employees                                                                              5.5(b)
 Sellers                                                                                   Preamble
 Service Provider                                                                             3.11(c)
 Title Insurance Policy                                                                       5.16(a)
 Transferred Employees                                                                         5.5(a)

               8.6    Entire Agreement. This Agreement (including the Exhibits hereto, the
 Disclosure Letters and the other documents delivered pursuant hereto) constitutes the entire
 agreement among the Parties with respect to the subject matter hereof and supersede and cancel
 all contemporaneous and prior agreements and undertakings, both written and oral, among the
 Parties, or any of them, with respect to the subject matter hereof and thereof

                 8.7    Severabilitv. If any term, condition or other provision of this Agreement
 is determined by a court of competent jurisdiction to be invalid, illegal or incapable of being
 enforced by any rule of Law or public policy, all other terms, provisions and conditions of this
 Agreement shall nevertheless remain in fiill force and effect. If any provision of this Agreement
 is so broad as to be unenforceable, such provision shall be interpreted to be only so broad as is
 enforceable. Upon such determination that any term, condition or other provision is invalid,
 illegal or incapable of being enforced, the parties hereto shall negotiate in good faith to modify
 this Agreement so as to effect the original intent of the parties as closely as possible to the fullest
 extent permitted by applicable Law.

               8.8    Assignment. This Agreement shall not be assigned by operation of law or
 otherwise without the prior written consent of each of the other Parties, and any assignment
 without such consent shall be null and void; provided, however, that Purchaser shall be
 permitted to assign any of its rights hereunder to one or more of its Affiliates (which, for the
 avoidance of doubt, shall include the right to establish one or more entities which will purchase,
 acquire and accept the Transferred Assets, assimie the Assumed Liabilities and otherwise effect
 the transactions contemplated hereby) or to any funds or accounts managed by any of its
 Affiliates, as designated by Purchaser in writmg to Sellers; and provided, further. Purchaser
 shall remain liable for all of its obligations imder this Agreement after any such assignment.

                 8.9    No Third Party Beneficiaries. This Agreement shall be binding upon and
 inure solely to the benefit of each Party hereto, and nothing in this Agreement, express or
 implied, is intended to or shall confer upon any other Person any rights, benefits or remedies of
 any nature whatsoever under or by reason of this Agreement.



                                                  -61-
 FTL 111767089V15
     Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18       Page 99 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 66 of 184 PageID# 534




                 8.10 Interpretation: Construction. The Parties have participated jointly in
 negotiating and drafting this Agreement. In the event that an ambiguity or a question of intent or
 interpretation arises, this Agreement shall be construed as if drafted jointly by the Parties, and no
 presumption or burden of proof shall arise favoring or disfavoring any Party by virtue of the
 authorship of any provision of this Agreement. The table of contents and headings herein are for
 convenience of reference only, do not constitute part of this Agreement and shall not be deemed
 to limit or otherwise affect any of the provisions hereof. Where a reference in this Agreement is
 made to a Section or Exhibit, such reference shall be to a Section of or Exhibit to this Agreement
 imless otherwise indicated. Whenever the words "include," "includes" or "including" are used in
 this Agreement, they shall be deemed to be followed by the words "without limitation." The
 words "hereof," "herein" and "hereunder" and words of similar import, when used in this
 Agreement, shall refer to this Agreement as a whole and not to any particular provision of this
 Agreement. General words introduced by the word "other" shall not be given a restrictive
 meaning by reason of the fact that they are preceded by words indicating a particular class of
 acts, matters or things.

                    8.11    Governing Law and Venue.

                 (a)     This Agreement shall be governed by and construed in accordance with
  the Laws of the State of New York (without giving effect to any choice or conflict of law
  provision or rule (whether of the State of New York or any other jurisdiction) that would cause
  the application of the Laws of any jurisdiction other than the State of New York), except to the
  extent that the Laws of such State are superseded by the Bankruptcy Code or other applicable
  federal Law.

                  (b)     To the fullest extent permitted by applicable Law, each of the Parties
  irrevocably agrees that any action, suit or proceeding arising out of or relating to this Agreement
  or the purchase and sale of the Business or the other transactions contemplated by this
  Agreement brought by any other Party or its successors or permitted assigns shall be brought
  and determined exclusively in (i) for so long as Sellers and RMST are subject to the jurisdiction
  of the Bankruptcy Court, the Bankruptcy Court, and (ii) after Sellers and RMST are no longer
  subject to the jurisdiction of the Bankruptcy Court, the courts of the State of New York and the
  federal courts of the United States of America located in the State, City and County of New
  York. Each of the Parties hereby irrevocably submits to the exclusive jurisdiction of the
  aforesaid courts for itself and with respect to its property, generally and unconditionally, with
  regard to any such action, suit or proceeding arising out of or relating to this Agreement or the
  purchase and sale of the Business or the other transactions contemplated by this Agreement.

                (c)   To the fullest extent permitted by applicable Law, each of the Parties
 agrees not to commence any action, suit or proceeding arising out of or relating to this
 Agreement or the purchase and sale of the Business or the other transactions contemplated by
 this Agreement except in the courts described in Section 8.11(b)(i) and (ii) (as applicable), other
 than an action, suit or proceeding in any court of competent jurisdiction to enforce any
 judgment, decree or award rendered by any such court as described herein. To the fullest extent
 permitted by applicable Law, each of the Parties further irrevocably consents to service of
 process in the manner provided for notices in Section 8.4 and agrees that service made in such


                                                -62-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG              Doc 1118       Filed 07/18/18        Page 100 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 67 of 184 PageID# 535




  manner shall have the same force and effect as if served on such Party personally in New York
  or pursuant to the Bankruptcy Code or the Federal Rules of Bankruptcy Procedure and further
  irrevocably waives any argument that such service is insufficient. Nothing in this Agreement
  shall affect the right of any Party to serve process in any other manner permitted by Law. To
  the fullest extent permitted by applicable Law, each of the Parties hereby irrevocably and
  unconditionally waives, and agrees not to assert, by way of motion or as a defense, counterclaim
  or otherwise, in any action, suit or proceeding arising out of or relating to this Agreement or the
  purchase and sale of the Business or the other transactions contemplated hereby, (i) any claim
  that it is not personally subject to the jurisdiction of the courts in New York as described herein
  for any reason other than the failure to serve in accordance with Section 8.4, (ii) that it or its
  property is exempt or immune from jurisdiction of any such court or from any legal process
  conmienced in such courts (whether through service of notice, attachment prior to judgment,
  attachment in aid of execution ofjudgment, execution ofjudgment or otherwise) or (iii) that (x)
  the action, suit or proceeding in any such court is brought in an inconvenient forum, (y) the
  venue of such action, suit or proceeding is improper or (z) this Agreement, the subject matter
  hereof or the purchase and sale of the Business and the other transactions contemplated by this
  Agreement, may not be enforced in or by such courts.

           8.12 Waiver of Jurv Trial. EACH PARTY ACKNOWLEDGES AND
 AGREES THAT ANY CONTROVERSY WHICH MAY ARISE UNDER THIS AGREEMENT
 IS LIKELY TO INVOLVE COMPLICATED AND DIFFICULT ISSUES, AND THEREFORE
 EACH SUCH PARTY HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVES,
 TO THE FULLEST EXTENT PERMITTED BY LAW, ANY RIGHT SUCH PARTY MAY
 HAVE TO A TRIAL BY JURY IN RESPECT OF ANY ACTION, SUIT OR PROCEEDING
 DIRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT
 OR THE PURCHASE AND SALE OF THE BUSINESS OR THE OTHER TRANSACTIONS
 CONTEMPLATED BY THIS AGREEMENT. EACH PARTY HEREBY CERTIFIES AND
 ACKNOWLEDGES THAT (i)NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY
 OTHER PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH
 OTHER PARTY WOULD NOT, IN THE EVENT OF ANY ACTION OR PROCEEDING,
 SEEK TO ENFORCE THE FOREGOING WAIVER, (ii) EACH PARTY UNDERSTANDS
 AND HAS CONSIDERED THE IMPLICATIONS OF THIS WAIVER, (iii) EACH PARTY
 MAKES THIS WAIVER VOLUNTARILY AND (iv) EACH PARTY HAS BEEN INDUCED
 TO ENTER INTO THIS AGREEMENT AND CONSUMMATE THE TRANSACTIONS
 CONTEMPLATED BY THIS AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL
 WAIVERS AND CERTIFICATIONS CONTAINED IN THIS SECTION 8.12.

              8.13 Expenses. Except as otherwise provided in this Agreement, all costs and
 expenses mcurred in connection with this Agreement and the transactions contemplated by this
 Agreement shall be paid by the Party incurring such expense.

                8.14 Specific Performance. The Parties agree that irreparable damage would
 occur in the event that any of the provisions of this Agreement were not performed, or were
 threatened to be not performed, by the Sellers or RMST in accordance with their specific terms
 or were otherwise breached, for which no adequate remedy at Law would exist and damages
 would be difficult to determine. Accordingly, the Parties acknowledge and agree that the

                                                -63-
 FTL 111767089V15
    Case 3:16-bk-02230-PMG              Doc 1118        Filed 07/18/18       Page 101 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 68 of 184 PageID# 536



 Purchaser shall be entitled to an injunction, specific performance and other equitable relief to
 prevent breaches or threatened breaches of this Agreement by the Sellers and RMST and to
 enforce specifically the terms and provisions hereof, this being in addition to any other remedy to
 which the Purchaser is entitled at law or in equity. The Sellers and RMST agree that they will
 not oppose the granting of an injunction, specific performance and other equitable relief on the
 basis Aat the Purchaser has an adequate remedy at law or that any award of an injunction,
 specific performance or other equitable relief is not an appropriate remedy for any reason at law
 or in equity, such defense being expressly waived by the Sellers and RMST. The Purchaser, in
 seeking an injunction or other equitable relief to prevent breaches of this Agreement or to
 enforce specifically the terms and provisions of this Agreement, shall not be required to provide
 any bond or other security in connection with any such order or injunction, the requirement
 therefor being expressly waived by the Sellers and RMST.

                  8.15 No Recourse. Each Seller and RMST agrees, on behalf of itself and the
  Seller Related Parties, and Purchaser agrees, on behalf of itself and the Purchaser Related
  Parties, that all actions, claims. Liabilities or causes of action (whether such remedies are sought
  in equity or at law, in contract, in tort or otherwise) arising out of or related to this Agreement
  (or any breach of any representation, warranty, covenant, agreement or obligation contained
  herein), or the purchase and sale of the Business and the other transactions contemplated by this
  Agreement (or any failure of such transactions to be consummated), in each case, may be made
  only against the Persons that are expressly identified as the Parties to this Agreement and, in
  accordance with, and subject to the terms and conditions of this Agreement.

                8.16 Counterparts. This Agreement may be executed (including by facsimile
 transmission, ".pdf," or other electronic transmission) in one or more counterparts, and by the
 different Parties in separate counterparts, each of which when executed shall be deemed to be an
 original, but all of which taken together shall constitute one and the same agreement, and shall
 become effective when one or more counterparts have been signed by each of the Parties and
 delivered (including by facsimile transmission, ".pdf or other electronic transmission) to the
 other Parties.

                             [Remainder ofpage intentionally left blank\




                                                 -64-
 FTL 111767089V1S
    Case 3:16-bk-02230-PMG                Doc 1118       Filed 07/18/18         Page 102 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 69 of 184 PageID# 537




                IN WITNESS WHEREOF, Ihis Agreemcnl 1ms been duly cxccutcd and delivered
 by Ihc duly authorized officers of the Parties as of the date first \\Titten above.


 SELLERS:

 PREMIER EXHIBITIONS, INC.                     PREMIER EXHIBITION MANAGEMENT, LLC,
                                               by Premier ExhilSitfens, Inc., its Managing Member


                                               ^y-—
 Namci'fJaoping 1                              Name: Id^ping Bao
 Title: President & CGO                         Title: President & CE


 ARTS AND EXHIBITIONS                          PREMIER EXHIBITIONS INTERNATIONAL,
 INTERNATIONAL, LLC                            LLC, by Premier Exhibitions, Inc., its Sole
                                               Member
 By:     Premier Exhibition Management,
         LLC, its Managing Member

 By:     Premier ESi^bitions, Inc., its        Name:"Baoping Bao'
         Manages Member                        Title: President & C


 By:.
 Name: Dating Bao
 Title: President & C


 PREMIER EXIilEilTIONS NYC, INC.               PREMIER MER              NOISING, LLC, by Premier
             «

                 N
                                               Exhibhions^I                  mber


                                               By:
 Name:'0aoping Bao                             Name: Da($ping Bao
 Title: President                              Title: President & CEO


 DINOKINGT                                     DINOSAURS LW5ARTHED CORP.
         \                                               \



 NameKJaoping Bao                              Name: Sloping Bao
 Tide: President                                Title: President


 RMST:


 RMS TITANIC, INC., solely for purposes
 of Article HI, Aijis^e V, Article VII and
 Article VUI


 Name: Oac^^ng Bao
 Title: President


                             \SignaHire Fuge to Asset Purchase Agreement]
   Case 3:16-bk-02230-PMG                Doc 1118       Filed 07/18/18     Page 103 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 70 of 184 PageID# 538




IN WITNESS WHEREOF, this Agreement has been duly executed and deliveredby the duly
authorized officers of the Parties as ofthe date first written above.

Purchaser:


PREMIER ACQUISITION HOLDINGS LLC




By;_
Name: Gill
Title*. Autlwrizi^d Person




                             [Signature Page to AssetPurchase Agreement}
    Case 3:16-bk-02230-PMG     Doc 1118       Filed 07/18/18   Page 104 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 71 of 184 PageID# 539




                                  EXHIBIT A

                                BILL OF SALE




                                    Ex. A-1
 FTL 111767089V1S
    Case 3:16-bk-02230-PMG                 Doc 1118          Filed 07/18/18        Page 105 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 72 of 184 PageID#
                                                                     hXMim540
                                                                            i A




                                              BILL OF SALE


               This Bill of Sale, dated as of [•], 2018 (this "Bill of Sale"! is made and
 entered into by and among (i) Premier Exhibitions, Inc., a Florida corporation ("Premier"), (ii)
 Arts and Exhibitions International, LLC, a Florida limited liability company ("A&E"), (iii)
 Premier Exhibition Management LLC, a Florida limited liability company ("PEM")» (iv) Premier
 Exhibitions NYC, Inc., a Nevada corporation ("Premier NYC"'), (v) Premier Merchandising,
 LLC, a Delaware limited liiability company ("Premier Merch"). (vi) Premier Exhibitions
 International, LLC, a Delaware limited liability company ("PEI"), (vii) Dinosaurs Unearthed
 Corp., a Delaware corporation ("DU CorD."1. (collectively with Premier, A&E, PEM, Premier
 NYC, Premier Merch, PEI, and DU Corp, the "Debtor Sellers"1: (viii) DinoKing Tech Inc. d^/a
 Dinosaurs Unearthed, a company formed under the laws of British Columbia ("DinoKing"'). and
 Premier Acquisition Holdings LLC, a Delaware limited liability company (the "Purchaser"').
 The Debtor Sellers and DinoKing are collectively referred to herein as the "Sellers". Capitalized
 terms used but not defined herein shall have the meaning ascribed to such terms in the Asset
 Purchase Agreement, dated as of June 14, 2018 (the "Asset Purchase Agreement"! by and
 among Purchaser, Sellers and RMS Titanic, Inc., a Florida corporation (solely for purposes of
 Article III, Article V, Article 'VII and Article 'VIII).

                WHEREAS, pursuant to sections 105, 363 and 365 of the Bankruptcy Code and
 the Asset Purchase Agreement, Sellers have, among other things, agreed to sell, assign, transfer,
 convey and deliver to Purchaser, and Purchaser agreed to purchase, acquire and accept from
 Sellers, upon the terms and conditions set forth in the Asset Purchase Agreement, all of the
 right, title and interest of Sellers in and to the Transferred Assets, free and clear of all
 Liens;

                  WHEREAS, the execution and delivery of this Bill of Sale is required by Section
 2.2(a)(i) of the Asset Purchase Agreement; and

                  WHEREAS, Sellers desire to deliver to Purchaser such instruments of sale,
 transfer assignment, conveyance and delivery as are required to vest in Purchaser all of
 Sellers' right, title and interest in and to the Transferred Assets.

                  NOW, THEREFORE, in consideration of the premises and the mutual covenants
 and agreements contained herein, and for other good and valuable consideration, the receipt and
 sufficiency of which is hereby acknowledged, and pursuant to the Asset Purchase Agreement,
 the parties hereto, intending to be legally bound, hereby agree as follows:

                  1.     Each Seller hereby sells, transfers, assigns, conveys and delivers to
 Purchaser, and Purchaser hereby purchases, acquires and accepts, all of such Seller's right, title
 and interest in and to the Transferred Assets (except for any Transferred Assets that are
 specifically being sold, transferred, assigned, conveyed or delivered pursuant to another
 instrument of transfer delivered to Purchaser in connection with the Asset Purchase Agreement),
 free and clear of all Liens.


                  2.     From    time    to   time   after    the   date hereof,    and without further
FTL 1117699S1V6
    Case 3:16-bk-02230-PMG              Doc 1118        Filed 07/18/18        Page 106 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 73 of 184 PageID# 541



 consideration, each party shall, upon the reasonable request of the other, execute and deliver
 or cause to be executed and delivered such further instruments of sale, conveyance,
 assignment, transfer and assumption, and take such further action, as may reasonably be
 requested in order to more effectively carry out the purposes and intent of the Asset Purchase
 Agreement and this Bill of Sale and to fully vest in Purchaser the Transferred Assets in
 accordance with the foregoing, and Sellers shall lend all reasonable assistance to Purchaser in the
 collection and reduction to possession of the Transferred Assets, in the exercise of the rights with
 respect thereto and otherwise in the carrying out of the intentions and purposes of the Asset
 Purchase Agreement and this Bill of Sale.

                3.     This Bill of Sale is being executed by Sellers and Purchaser and shall
 be binding upon each of Sellers and Purchaser, their respective successors and assigns, for the
 respective uses and purposes herein set forth and referred to, and shall be effective as of the date
 hereof

                  4.   No provision of this Bill of Sale, express or implied, is intended or shall be
 construed to confer upon or give to any Person, other than the parties hereto and their respective
 successors and permitted assigns, any remedy or claim imder or by reason of this Bill of Sale or
 any term, covenant or condition hereof, and all of the terms, covenants, conditions, promises and
 agreements contained in this Bill of Sale shall be for the sole and exclusive benefit of each of
 Sellers and Purchaser, their respective successorsand permitted assigns.

                  5.   None of the provisions of this Bill of Sale may be amended or waived
 except if such amendment or waiver is in writing and is signed, in the case of an amendment, by
 Sellers and Purchaser, or in the case of a waiver, by the party(ies) against whom the waiver is to
 be effective.

                  6.    This Bill of Sale is subject in all respects to the terms and conditions of the
 Asset Purchase Agreement. Nothing contained in this Bill of Sale shall be deemed to supersede,
 enlarge or modify any of the representations, warranties, covenants or other agreements
 contained in the Asset Purchase Agreement, all of which survive the execution and delivery of
 this Bill of Sale as provided by, and subject to the limitations set forth in, the Asset Purchase
 Agreement. To the extent any provision of this Bill of Sale is inconsistent with the Asset
 Purchase Agreement, the provisions of theAsset Purchase Agreement shall govern and control.

                 7.    This Bill of Sale shall in all aspects be governed by and construed in
 accordance with the internal Laws of the State of New York without giving effectto any choice
 or conflict of law provision or rule (whether of the State of New York or any other jurisdiction)
 that would cause the application of the Laws of any jurisdiction other than the State of New
 York, except to the extent that the Laws of such State are superseded by the Bankruptcy Code or
 other applicable Federal Law.

               8.      This Bill of Sale may be executed in one or more counterparts, each of
 which shall be deemed an original but all of which together shall constitute one and the same
 instrument. This Bill of Sale or any counterpart may be executed"and delivered by facsimile or


FTL 111769951V6

                                                 -3-
    Case 3:16-bk-02230-PMG           Doc 1118      Filed 07/18/18     Page 107 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 74 of 184 PageID# 542



 emailwith scan attachment copies,each of whichshall be deemedan original.

                                  [Signature Page Follows]




FTL 111769951V6

                                            -4-
   Case 3:16-bk-02230-PMG                      Doc 1118            Filed 07/18/18   Page 108 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 75 of 184 PageID# 543




            IN WITNESS WHEEIEOF, the parties have caused this Bill of Sale to be duly executed by
   their respective authorized officers as ofthe date first above written.
   Sellers;


   PREMIER EXHIBITIONS, INC.                              PREMIER EXHIBITION MANAGEMENT, LLC, by
                                                          Premier Exhibitions, Inc., its Managing Member



                                                          By:
   By:                                                    Name: Daoping Bao
   Name: Daoping Bao                                      Title: President
   Title: President


   ARTS AND EXHIBITIONS INTERNATIONAL, LLC                PREMIER EXHIBITIONS INTERNATIONAL, LLC,
                                                          by PremierExhibitions, Inc., its Managing Member
   By PremierExhibitionManagement, LLC, its Managing
   Member


   By Premier Exhibitions, Inc., its Managing Member



   By:                                                    By:
   Name: Daoping Bao                                      Name: Daoping Bao
   Title: President                                       Title: President

   PREMIER EXHIBITIONS NYC, INC.                          PREMIER MERCHANDISING, LLC, by Premier
                                                          Exhibitions, Inc., its Managing Member



                                                          By:
   By:                                                    Name: Daoping Bao
   Name: Daoping Bao                                      Title: President
   Title: President

   DINOKING TECH, INC.                                    DINOSAURS UNEARTHED CORP.




  By:                                                     By:
  Name: Daoping Bao                                       Name: Daoping Bao
   Title: President                                       Title: President



                                                          PURCHASER;


                                                          PREMIER ACQUISITION HOLDINGS LLC




                                                          By:_
                                                          Name:
                                                          Title:




                                            [Signature Page to Bill ofSale]



  FTL 111769951V6
   Case 3:16-bk-02230-PMG      Doc 1118       Filed 07/18/18   Page 109 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 76 of 184 PageID# 544




                                  EXfflBITB


                FORM OF ASSIGNMENT AND ASSUMPTION AGREEMENT




                                    Ex. B-1
 FTL 1117670B9V1S
    Case 3:16-bk-02230-PMG                 Doc 1118         Filed 07/18/18         Page 110 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 77 of 184 PageID# 545

                                                                                               EXHIBITS



                        ASSTGNMFNT AND ASSUMPTION AGRKKIVTRNT


                   This Assignment and Assumption Agreement, dated as of [•], 2018 (this
  "Agreement"), is made and entered into by and among (i) Premier Exhibitions, Inc., a Florida
  corporation ("Premier"), (ii) Arts and Exhibitions International, LLC, a Florida limited liability
  company ("A&E"), (iii) Premier Exhibition Management LLC, a Florida limited liability company
  ("PEM"), (iv) Premier Exhibitions NYC, Inc., a Nevada corporation ("Premier NYC"), (v) Premier
  Merchandising, LLC, a Delaware limited liability company ("Premier Merch"), (vi) Premier Exhibitions
  International, LLC, a Delaware limited liability company ("PEI"), (vii) Dinosaurs Unearthed Corp., a
  Delaware corporation ("DU Corp."), (collectively with Premier, A&E, PEM, Premier NYC, Premier
  Merch, PEI, and DU Corp, the "Debtor Sellers"); (viii) DinoKing Tech Inc. d^/a Dinosaurs Unearthed,
  a company formed under the laws of British Columbia ("DinoKing"), and Premier Acquisition Holdings
  LLC, a Delaware limited liability company (the "Purchaser"). The Debtor Sellers and DinoKing are
  collectively referred to herein as the "Sellers". Capitalized terms used but not defined herein shall have
  the meaning ascribed to such terms in the Asset Purchase Agreement, dated as of June 14, 2018 (the
  "Asset Purchase Agreement"), by and among Purchaser, Sellers and RMS Titanic, Inc., a Florida
  corporation (solely for purposes ofArticle III, Article V, Article VII and Article VIII).

                  WHEREAS, pursuant to sections 105, 363 and 365 of the Bankruptcy Code and the
  Asset Purchase Agreement, Sellers have, among otlier things, agreed to sell, assign, transfer, convey
  and deliver to Purchaser, and Purchaser agreed to purchase, acquire and accept from Sellers, upon the
  terms and conditions set forth in the Asset Purchase Agreement, all of the right, title and interest
  of Sellers in and to the Transferred Assets, free and clear of all Liens; and

                 WHEREAS, pursuant to Section 1.1(c) of the Asset Purchase Agreement, Purchaser
  has agreed to assume, effective as of the Closing, the Assumed Liabilities.

                    NOW, THEREFORE, in consideration of the premises and the mutual covenants and
  agreements contained herein, and for other good and valuable consideration, tlie receipt and
  sufficiency of which is hereby acknowledged, and pursuant to the Asset Purchase Agreement, the
  parties hereto, intending to be legally bound, hereby agree as follows:

                   1.      In accordance with and subject to the terms of the Asset Purchase Agreement,
  each Seller hereby assigns all of its rights under the Assumed Contracts and tlie Assumed Liabilities
  to Purchaser, and Purchaser hereby accepts assignment of the Assumed Contracts and assumes and
  agrees to pay, perform and discharge when due die Assumed Liabilities as set fortli in the Asset
  Purchase Agreement. Notwitlistanding anything to the contrary in diis Agreement or in the Asset
  Purchase Agreement, Purchaser does not assume and is not liable for any of the Excluded
  Liabilities and the parties agree that all such Excluded Liabilities remain the responsibility of
  Sellers.

                2.      From time to time after the date hereof, and without further consideration,
  each party shall, upon the reasonable request of the other, execute and deliver or cause to be
  executed and delivered such further instruments of sale, conveyance, assignment, transfer and
  assumption, and take such furtheraction, as may reasonably be requested in order to more effectively
  carry out the purposes and intent of the Asset Purchase Agreement and this Agreement.

                  3.     This Agreement is being executed by Sellers and Purchaser and shall
  be binding upon each of Sellers and Purchaser, their respective successors and assigns, for tlie
  respective uses and purposes herein set fordi and referred to, and shall be effective as of the date


 FTL 111770139V6
    Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18         Page 111 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 78 of 184 PageID# 546




  hereof.

                  4.       No provision of this Agreement, express or implied, is intended or shall be
  construed to confer upon or give to any Person, other than die parties hereto and their respective
  successors and permitted assigns, any remedy or claim under or by reason of this Agreement or any
  term, covenant or condition hereof, and all of the terms, covenants, conditions, promises and
  agreements contained in this Agreement shall be for die sole and exclusive benefit of each of
  Sellers and Purchaser, their respectivesuccessorsand permitted assigns.

                 5.    None of the provisions of this Agreement may be amended or waived
  except if such amendment or waiver is in writing and is signed, in the case of an amendment, by
  Sellers and Purchaser, or in the case of a waiver, by the party(ies) against whom die waiver is to be
  effective.

                   6.      This Agreement is subject in all respects to the terms and conditions of the
  Asset Purchase Agreement. Nothing contained in this Agreement shall be deemed to supersede,
  enlarge or modify any of tlie representations, warranties, covenants or other agreements contained
  in the Asset Purchase Agreement, all of which survive the execution and delivery of this Agreement
  as provided and subject to the limitations set fortli in the Asset Purchase Agreement. To the extent
  any provision of this Agreement is inconsistent with tlie Asset Purchase Agreement, the
  provisions of the Asset Purchase Agreement shall govern and control.

                  7.      This Agreement shall in all aspects be governed by and construed in
  accordance with the internal Laws of the State of New York witliout giving effect to any choice or
  conflict of law provision or rule (whether of the State of New York or any other jurisdiction) that
  would cause the application of the Laws of any jurisdiction other than the State of NewYork, except to
  the extent that the Laws of such State are superseded by the Bankruptcy Code or other applicable
  Federal Law.

                   8.    This Agreement may be executed in one or more counterparts, each of
  which shall be deemed an original but all of which together shall constitute one and the same
  instrument. This Agreement or any counterpart may be executed and delivered by facsimile or email
  with scan attachment copies, each of which shall be deemed an original.

                                        (Signature pagefollows]




 FTL 111770139v6
    Case 3:16-bk-02230-PMG                       Doc 1118         Filed 07/18/18          Page 112 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 79 of 184 PageID# 547



                  IN WITNESS WHEREOF, the parties have caused this Agreement to be duly executed
  by their respective authorized officers as of the date first above written.

 Sellers;


 PREMIER EXHIBITIONS, INC.                               PREMIER EXHIBITION MANAGEMENT, LLC, by
                                                         Premier Exhibitions, Inc., its Managing Member



                                                         By:
 By:                                                     Name: Daoping Bao
 Name: Daoping Bao                                       Title: President
 Title: President


 ARTS AND EXHIBITIONS INTERNATIONAL, LLC                 PREMIER EXHIBITIONS INTERNATIONAL, LLC,
                                                         by Premier Exhibitions, Inc., its Managing Member
 By Premier Exhibition Management, LLC, its Managing
 Member


 By Premier Exhibitions, Inc., its Managing Member



 By:
 Name: Daoping Bao                                       By:
 Title: President                                        Name: Daoping Bao
                                                         Title: President


 PREMIER EXHIBITIONS NYC, INC.                           PREMIER MERCHANDISING, LLC, by Premier
                                                         Exhibitions, Inc., its Managing Member



                                                         By:
 By:                                                     Name: Daoping Bao
 Name: Daoping Bao                                       Title: President
 Title: President


 DINOKING TECH, INC.                                     DINOSAURS UNEARTHED CORP.




 By:                                                     By:
 Name: Daoping Bao                                       Name: Daoping Bao
 Title: President                                        Title: President



                                                         PURCHASER;


                                                         PREMIER ACQUISITION HOLDINGS LLC




                                                         By:
                                                         Name:
                                                         Title:



                                [Signature Page to Assignment andAssumption Agreement]



 FTL 111770139V6
   Case 3:16-bk-02230-PMG        Doc 1118      Filed 07/18/18   Page 113 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 80 of 184 PageID# 548




                                   EXfflBITC


                    FORM OF REAL PROPERTY LEASE ASSIGNMENTS




                                     Ex. C-1
 FTL 1117B7089V15
     Case 3:16-bk-02230-PMG                Doc 1118         Filed 07/18/18           Page 114 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 81 of 184 PageID# 549

                                                                                               EXHIBIT C



                     ASSIGNMENT AND ASSUMPTION OF LEASE AGREEMENT
                            AND LANDLORD ESTOPPEL CERTIFICATION


         TfflS ASSIGNMENT AND ASSUMPTION OF LEASE AGREEMENT AND LANDLORD
 ESTOPPEL            CERTIFICATION         (this     "Agreement"),      is    made      by    and     among
 [                                             ]                      (the                      "Assignor"),
 [                                             ]            (the         "Assignee"),                   and
 [                                                   ] (the "Landlord") as of the                    day of
                   ,2018.
                                                   RECITALS:


         WHEREAS, Landlord, as landlord, and Assignor, as tenant, entered into that certain Lease
 Agreement dated [                                     ] (the "Lease") with respect to the property
 located at [                                    ] (the "Premises") as more particularly described
 in the Lease; and

         WHEREAS, Assignor, as Seller, and Assignee, as Purchaser, are parties to that certain Asset
 Purchase Agreement, dated as of June 14, 2018, by and among Purchaser, Sellers and RMS Titanic, Inc.,
 a Florida corporation (solely for purposes of Article III, Article V, Article VIl and Article VIII).(the
 "Purchase Agreemenf), pursuant to which Assignor has agreed to sell and Assignee has agreed to
 purchase certain assets of Assignor, including Assignor's interest in the Lease; and

         WHEREAS, Assignee desires to acquire all of Assignor's right, title and interest in and to the
 Lease, and Assignor desires to assign all of Assignor's right, title and interest in and to the Lease to
 Assignee pursuant to the terms and conditions hereinafter set forth, subject to the terms and conditions of
 the Purchase Agreement:

         NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of which
 is hereby acknowledged, the parties hereto agree as follows:

           1.        Incorporation of Recitals. The foregoing Recitals are incorporated herein by reference
 as if fully set forth herein.

         2.        Capitalized Terms. Capitalized terms used but not defined herein shall have the meaning
 ascribed to such terms in the Purchase Agreement.

          3.       Assignment and Assumption of Lease. Assignor does, as of the date hereof, transfer,
 assign and convey to Assignee, its successors and assigns, all of Assignor's right, title and interest in and
 to tlie Lease, including Assignor's interest in any fixtures, equipment, improvements, security deposits,
 prepaid rents, improvement allowances, rental credits and other money due tenant under the Lease.
 Assignee does hereby for itself and its successors and assigns accept the assignment set forth herein and
 expressly assumes the Assumed Liabilities under the Lease. Assignee shall have no liability or obligations
 under the Lease except for such Assumed Liabilities.

          4.        Representations. Assignor hereby represents and warrants to Assignee that, as of the
 date hereof: (A) there is no assignment, hypothecation or other disposition of Assignor's right, title or
 interest in, to or under the Lease; (B) there exists no default or claim against Landlord or Assignor for
 default, breach, or set-off, or any event or condition which with the giving of notice or passage of time, or
 both, could resuh in a claim against Landlord or Assignor for default, breach or set-off, pursuant to the
 terms of the Lease; (C) the Premises is in compliance with all applicable building, zoning, healtli and
 safety laws and regulations, and all insurance requirements affecting the Premises, and the current use or
                                                       1
 FTL 111770849V5
    Case 3:16-bk-02230-PMG                  Doc 1118         Filed 07/18/18          Page 115 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 82 of 184 PageID# 550




 occupancy of tlie Premises does not violate, in any material respect, any applicable laws; (D) all
 buildings, structures, fixtures, improvements, building systems and equipment, and all components
 thereof located on, affixed to, or which constitute a portion of, the Premises are in operating condition and
 repair and sufficient for the operation of the business of Assignee; (E) the Lease is in full force and effect,
 is valid and binding on the Assignor and a true and correct copy of the Lease is attached hereto and made
 a part hereof as Exhibit "A"; (F) Assignor has not given, or received, any notice of termination to or
 from Landlord under the Lease; (G) Rent (as hereinafter defined) has been paid through the period ending
                             ; and (H) there exists no unperformed obligations required to be performed nor
 unpaid amounts required to be paid under the Lease by eitlier Landlord or Assignor. The representations
 and warranties contained herein shall survive Closing.

          5.      Indemnification. Assignor will indemnify, defend, and hold harmless Assignee from
 and against any claims, losses, liabilities, costs, judgments and damages arising out of or resulting from
 obligations of the Assignor under the Lease arising, accruing or being incurred on or prior to the date
 hereof.


           6.       Lease Terms Unchanged. Except as expressly provided herein, all of the terms and
 conditions of the Lease will remain unmodified and in flill force and effect.

         7.       Notices. After receiving notice of the Closing, Landlord agrees to send any future
 notices required to be sent to the "Tenant" or "Lessee" under the Lease to the following address:
 [                                                ], or such other address as Assignee may designate by
 notice to Landlord in accordance with the terms of die Lease.

        8.       Landlord's Estoppel Certification. The Landlord signs this instrument for the sole
 purpose of acknowledging the assignment pursuant to this Agreement and certifying the following to
 Assignee:

                   (A)    Landlord consents to the assignment contained herein;

                (B)      Landlord acknowledges and agrees that all rights and benefits of Assignor under
 the Lease (whetlier personal or otherwise) are hereby assigned to the Assignee and remain in full force
 and effect;

                   (C)    Landlord is the current fee owner of the Premises and holds all right, title and
 interest of the "Landlord" or "Lessor" under tlie Lease;

                  (D)     The Lease is in full force and effect, is valid and binding on the Landlord and a
 true and correct copy of the Lease is attached hereto and made a part hereof as Exhibit "A";

                   (E)    Landlord has not given, or received, any notice of termination under the Lease;

                (F)      L^dlord has no knowledge of any event of default or claim against Assignor or
 Landlord for default, breach, or set-off, or any event or condition which with the giving of notice or
 passage of time, or both, could result in a claim against Assignor or Landlord for de^ult, breach or set-
 off, pursuant to the terms of the Lease;

                   (G)    [Minimum Rent] in the amount of [$                                     ] is payable
 monthly in advance under the Lease. In addition. Assignor is currently paying $                  per
 month as additional rent for the payment of any taxes, and insurance and other charges to be paid by


 FTL 111770849V5
    Case 3:16-bk-02230-PMG                  Doc 1118         Filed 07/18/18         Page 116 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 83 of 184 PageID# 551




 Assignor under the Lease (together with the [Minimum Rent], herein called "Rent"). Rent has been paid
 through the period ending                         ; and

                (H)      There exist no unperformed obligations required to be performed nor unpaid
 amounts required to be paid under the Lease by eitlier Landlord or Assignor.

         9.       Successors and Assigns. This Assignment shall inure to the benefit of and shall be
 binding upon the parties hereto and their respective successors and assigns.

         10.      Governing Law. This Assignment shall be governed by, interpreted under, and
 construed and enforceable with, the laws of tlie State of [                   ]. All actions or causes
 arising out of this Agreement shall be brought in state court in the county in which the Premises is
 located.


          11.      Counterparts. This Assignment may be executed in multiple counterparts all of which,
 when combined, shall constitute a single document. The parties hereto expressly agree that signatures that
 are transmitted by fax or electronically shall, for all purposes of this Assignment, be deemed to be
 original signatures.


            12.    Terms of Purchase Agreement Control. To the extent there is a conflict between
 this Agreement and tlie Purchase Agreement, the terms of the Purchase Agreement will control.


         13.       Further Actions. The parties each agree to use commercially reasonable efforts to take,
 or cause to be taken, all actions and to do, or cause to be done, all things necessary, proper or advisable to
 consummate and make effective the transactions contemplated by this Agreement in the most expeditious
 manner practicable.

                        [Remainder of Page Intentionally Blank - Signatures Follow]




 FTL 111770849V5
    Case 3:16-bk-02230-PMG                  Doc 1118         Filed 07/18/18    Page 117 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 84 of 184 PageID# 552
                                                                                      EXHIBIT C


 The parties are signing this Agreement as of tlie date first above written.

         "Assignor"

         [                                        ]

         By:
         Name:
         Its:

         "Assignee"

         [


         By:
         Name:_
         Its:

         "Landlord"


         [


         By:_
         Name:.
         Its:




 FTL 111770849V5
    Case 3:16-bk-02230-PMG     Doc 1118     Filed 07/18/18   Page 118 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 85 of 184 PageID# 553

                                                                    EXHIBIT C


                                  EXHIBIT A


                                    LEASE


                                [SEE ATTACHED]




 FTL 111770849V5
   Case 3:16-bk-02230-PMG        Doc 1118      Filed 07/18/18   Page 119 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 86 of 184 PageID# 554




                                   EXHIBIT D


                    FORM OF INTELLECTUAL PROPERTY ASSIGNMENT




                                     Ex. D-1
 FTL 111767089v1S
   Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18        Page 120 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 87 of 184 PageID# 555D
                                                                       EXHIBIT




                     TNTKf J FrTIJAT PROPFRTV ASSIGNMENT AGRF.KMF.NT


                     This Intellectual Property Assignment Agreement ("Assignment"), dated as of
    [•], 2018, is made and entered into by and among (i) Premier Exhibitions, Inc., a Florida
    corporation ("Premier"), (ii) Arts and Exhibitions International, LLC, a Florida limited liability
    company ("A&E"). (iii) Premier Exhibition Management LLC, a Florida limited liability
    company ("PEM"), (iv) Premier Exhibitions NYC, Inc., a Nevada corporation ("Premier
    NYC"), (v) Premier Merchandising, LLC, a Delaware limited liability company ("Premier
    Merch"). (vi) Premier Exhibitions International, LLC, a Delaware limited liability company
    ("PEI"). (vii) Dinosaurs Unearthed Corp., a Delaware corporation ("DU Corp.") (collectively
    with Premier, A&E, PEM, Premier NYC, Premier Merch, PEI, and DU Corp, the "Debtor
    Sellers"): (viii) DinoKing Tech Inc. d^/a Dinosaurs Unearthed, a company formed under the
    laws of British Columbia ("DinoKing"). and Premier Acquisition Holdings LLC, a Delaware
    limited liability company (the "Purchaser"). The Debtor Sellers and DinoKing are collectively
    referred to herein as the "Sellers". Capitalized terms used but not defined herein shall have
    the meaning ascribed to such terms in the Asset Purchase Agreement, dated as of June 14,
    2018 (the "Asset Purchase Agreement"), by and among Purchaser, Sellers and RMS Titanic,
    Inc., a Florida corporation (solely for purposes of Article III, Article V, Article VII and Article
    VIII).

                    WHEREAS, pursuant to sections 105,363 and 365 of the Bankruptcy Code and the
    Asset Purchase Agreement, Sellers have, among other things, agreed to sell, assign, transfer,
    convey and deliver to Purchaser, and Purchaser agreed to purchase, acquire and accept from
    Sellers, upon the terms and conditions set forth in the Asset Purchase Agreement, all of the right,
    title and interest of Sellers in and to the Transferred Assets including, without limitation. Sellers
    rights, title and interest in and to (i) all trademarks, service marks, trade names (including
    common law trademarks) and any applications or registrations of the foregoing (including all
    associated goodwill with respect to the foregoing) identified on Schedule A hereto (the "Assigned
    Trademarks"): (ii) all domain names (including all sub-domain names and extensions thereof and
    thereto) and social media accounts (including related usemames and other social identifiers)
    identified on Schedule B hereto (the "Assigned Domain Names and Social Media Accounts"),
    and (iii) all copyrights and any registrations or applications of the foregoing identified on
    Schedule C hereto (the "Assigned Copyrights" and together with the Assigned Trademarks and
    the Assigned Domain Names and Social Media Accounts, the "Assigned IP"), firee and clear of
    all Liens; and

                     WHEREAS, Sellers desire to deliver to Purchaser such instruments of sale,
    transfer assignment, conveyance and delivery as are required to vest in Purchaser all of
    Sellers' right, title and interest in and to the Assigned IP.

                  NOW, THEREFORE, in consideration of the premises and the mutual
    covenants and agreements contained herein, and for other good and valuable consideration,
    the receipt and sufficiency of which is hereby acknowledged, and pursuant to the Asset
    Purchase Agreement, the parties hereto, intending to be legally bound, hereby agree as follows:

   FTL 111770651V6


   FTL 111770651V7
   Case 3:16-bk-02230-PMG              Doc 1118        Filed 07/18/18       Page 121 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 88 of 184 PageID# 556D
                                                                       EXHIBIT




                    1.    Each Seller hereby sells, transfers, assigns, conveys and delivers to
    Purchaser, and Purchaser hereby purchases, acquires and accepts, all of such Seller's right, title
    and interest in, to and under: (a) the Assigned IP for the United States and for all foreign
    countries, including any and all related applications, renewals and extensions and all rights of
    reversion and termination thereof and goodwill connected with the use thereof and symbolized
    thereby (as applicable), and (b) any and all rights whatsoever of each Seller accruing under any
    of the foregoing provided by applicable law of any jurisdiction, including, without limitation (i)
    the right to sue for and to recover damages and other remedies in respect of any past, present or
    future infringement or other unauthorized use or violation of the Assigned IP in the United
    States and all foreign countries free and clear of all Liens; and (ii) the right to any and all
    royalties, fees, income, payments, and other proceeds previously, now or hereafter due or
    payable with respect to any and all of the foregoing.

                 2.    Each Seller hereby instructs, authorizes and directs the United States Patent
    and Trademark Office, the United States Copyright Office and the correspondmg entity or
    agency in any applicable foreign country, to record Purchaser as assignee and owner of the
    Assigned IP.

                     3.      From   time to   time after the     date hereof, and without further
    consideration, each party shall, upon the reasonable request of the other, execute and
    deliver or cause to be executed and delivered such further instruments of sale, conveyance,
    assignment, transfer and assumption, and take such fiirther action, as may reasonably be
    requested in order to more effectively carry out the purposes and intent of the Asset Purchase
    Agreement and this Assignment.

                    4.    Sellers hereby authorize and request the Commissioner of Patents and
    Trademarks and Register of Copyrights of the United States and any official of any foreign
    country whose duty it is to issue registrations or other associated intellectual property rights, to
    issue all trademark and copyright (as applicable) registrations and associated rights as to all
    Assigned IP applications to Purchaser, its successors and assigns in accordance with the terms of
    this Assignment. Sellers hereby request the Commissioner of Patents and Trademarks and
    Register of Copyrights, and the corresponding entities or agencies in any applicable foreign
    jurisdiction, to record Purchaser as the assignee and sole owner of the entire right, title and
    interest in the applicable Assigned IP and to issue to Purchaser, and to record Purchaser as
    assignee and owner of, all registrations which may issue with respect to any applications for
    registration or recordation of such Assigned IP. Purchaser shall have the right to record this
    Assignment with all applicable government authorities and registrars so as to perfect its
    ownership of the Assigned IP.

                     5.      This Assignment is being executed by Sellers and Purchaser, and
    shall be binding upon each of Sellers and Purchaser, their respective successors and assigns,
    for the respective uses and purposes herein set forth and referred to, and shall be effective
    as of the date hereof.



   FTL 111770651V6


   FTL 111770651V7
   Case 3:16-bk-02230-PMG              Doc 1118       Filed 07/18/18       Page 122 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 89 of 184 PageID# 557D
                                                                       EXHIBIT




                  6.      No provision of this Assignment, express or implied, is intended or
    shall be construed to confer upon or give to any Person, other than the parties hereto
    and their respective successors and permitted assigns, any remedy or claim under or by
    reason of this Assignment or any term, covenant or condition hereof, and all of the terms,
    covenants, conditions, promises and agreements contained in this Assignment shall be for
    the sole and exclusive benefit of each of Sellers and Purchaser, their respective successors
    and permitted assigns.

                7.      None of the provisions of this Assignment may be amended or
    waived except if such amendment or waiver is in writing and is signed, in the case of an
    amendment, by Sellers and Purchaser, or in the case of a waiver, by the party(ies) against
    whom the waiver is to be effective.


                  8.     This Assignment is subject in all respects to the terms and conditions
    of the Asset Purchase Agreement. Nothing contained in this Assignment shall be deemed
    to supersede, enlarge or modify any of the representations, warranties, covenants or other
    agreements contained in the Asset Purchase Agreement, all of which survive the execution
    and delivery of this Assignment as provided by, and subject to the limitations set forth in,
    the Asset Purchase Agreement. To the extent any provision of this Assignment is
    inconsistent with the Asset Purchase Agreement, the provisions of the Asset Purchase
    Agreement shall govern and control.

                   9.      This Assignment shall in all aspects be governed by and construed in
    accordance with the internal Laws of the State of New York, and applicable federal law,
    without giving effect to any choice or conflict of law provision or rule (whether of the State of
    New York or any other jurisdiction) that would cause the application of the Laws of any
    jurisdiction other than the State of New York (or, where applicable, federal law), except to
    the extent that the Laws of such State are superseded by the Bankruptcy Code or other
    applicable Federal Law.

                  10.     This Assignment may be executed in one or more counterparts, each
    of which shall be deemed an original but all of which together shall constitute one and the
    same instrument. This Assignment or any counterpart may be executed and delivered by
    facsimile or email with scan attachment copies, each of which shall be deemed an original.

                                       [Signature Page Follows]




   FTL 111770651V6


   FTL 111770651V7
   Case 3:16-bk-02230-PMG                       Doc 1118     Filed 07/18/18            Page 123 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 90 of 184 PageID# 558D
                                                                       EXHIBIT




                       IN WITNESS WHEREOF, the parties have caused this Assignment to be duly
    executed by their respective authorized officers as of the date first above written.

   Sellers:

   PREMIER EXHIBITIONS, INC.                             PREMIER EXHIBITION MANAGEMENT, LLC, by
                                                         Premier Exhibitions, Inc.,its Managing Member



   By:                                                   By:
   Name: Daoping Bao                                     Name: Daoping Bao
   Title: President                                      Title: President


   ARTS AND EXHIBITIONS INTERNATIONAL, LLC               PREMIER EXHIBITIONS INTERNATIONAL, LLC,
                                                         by Premier Exhibitions, Inc., its Managing Member
   By Premier Exhibition Management, LLC, its Managing
   Member

   By Premier Exhibitions, Inc., its Managing Member



   By:                                                   By:
   Name: Daoping Bao                                     Name: Daoping Bao
   Title: President                                      Title: President


   PREMIER EXHIBITIONS NYC, INC.                         PREMIER MERCHANDISING, LLC, by Premier
                                                         Exhibitions. Inc., its Managing Member



                                                         By:
   By:                                                   Name: Daoping Bao
   Name: Daoping Bao                                     Title: President
   Title: President

   DINOKING TECH, INC.                                   DINOSAURS UNEARTHED CORP.




   By:                                                   By:
   Name: Daoping Bao                                     Name: Daoping Bao
   Title: President                                      Title: President



                                                         PURCHASER;


                                                         PREMIER ACQUISITION HOLDINGS LLC




                                                         By:_
                                                         Name:
                                                         Title:



                         [Signature Page to Intellectual Property Assignment Agreement]

   FTL 111770651V6


   FTL 111770651V7
   Case 3:16-bk-02230-PMG      Doc 1118       Filed 07/18/18   Page 124 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 91 of 184 PageID# 559



                                  EXHIBIT E

                         FORM OF APPROVAL ORDER




                                    Ex. E-1
 FTL 111767QB9V1S
    Case 3:16-bk-02230-PMG                   Doc 1118          Filed 07/18/18          Page 125 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 92 of 184 PageID# 560
                                                                                                   EXHIBIT E




                              UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                       JACKSONVILLE DIVISION


 In re;
                                                                      Case No. 3:16-bk-02230-PMG
 RMS TITANIC, INC., et a l . c h a p t e r 11

           Debtors.                                                   (Jointly Administered)
                                                     /


   ORDER (A) APPROVING ASSET PURCHASE AGREEMENT; (B) AUTHORIZING
            SALE OF THE TRANSFERRED ASSETS FREE AND CLEAR OF ALL
    LIENS, CLAIMS, ENCUMBRANCES AND INTERESTS; (C) AUTHORIZING THE
  ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND
          LEASES IN CONNECTION THEREWITH; (D) APPROVING SETTLEMENT
      WITH THE PACBRIDGE PARTIES: AND fE> GRANTING RELATED RELIEF




 ' The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
 number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibition Management, LLC
 (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075); Premier
 Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867), and Dinosaurs Unearthed Corp. (7309). The
 Debtors' service address is 3045 Kingston Court, Suite I, PeachtreeComers, Georgia 30071.


 FTL 111766962v9
    Case 3:16-bk-02230-PMG                   Doc 1118          Filed 07/18/18          Page 126 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 93 of 184 PageID# 561

                                                                                                   EXHIBIT E


         THIS CAUSE came before the Court for hearing on July [•], 2018, [•                      .m.] (the "Sale

 Hearing") in Jacksonville, Florida upon the Motion for Entry of Order (A) Approving

 Competitive Bidding and Sale Procedures; (B) Approving Form and Manner of Notices;

 (C) Approving Form ofAsset Purchase Agreement; (D) Approving Break-Up Fee and Expense

 Reimbursement; (E) Scheduling Auction and Hearing to Consider Final Approval of Sale,

 Including Rejection or Assumption and Assignment of Related Executory Contracts and

 Unexpired Leases; (F) Authorizing Sale of the Transferred Assets Free and Clear ofAll Liens,

 Claims, Encumbrances and Interests; (G) Approving Settlement with the PacBridge Parties; and

 (H) Granting Related Relief (the "Motion").^ (ECF No.                   ) filed by debtors and debtors-in-
 possession RMS Titanic, Inc.; Premier Exhibitions, Inc.; Premier Exhibitions Management,

 LLC; Arts and Exhibitions International, LLC; Premier Exhibitions International, LLC; Premier

 Exhibitions NYC, Inc.; Premier Merchandising, LLC; and Dinosaurs Unearthed Corp.

 (collectively, the "Debtors" and together with Premier's indirect wholly-owned subsidiary

 DmoKing, the "Sellers"),.^, seeking, among other things, entry of an order (this "Sale Order"),

 pursuant to sections 105, 363 and 365 of the United States Bankruptcy Code, 11 U.S.C. §§ 101,

 et seq. (the "Bankruptcy Code") and Rules 2002, 6004, 6006, 9007, 9014, and 9019 of the

 Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules"), authorizing and approving

 the sale of the Transferred Assets free and clear of Claims to the maximum extent permitted by


 ^Capitalized terms used but not defined herein shall have the meanings set forth in the motion to approve these
 Bidding Procedures or the Asset Purchase Agreement dated as of June [•], 2018 by and among (i) Premier,
 (ii) A&E, (iii) PEM, (iv) Premier NYC, (v) Premier Merch, (vi) PEI, (vii) DU Corp.) (collectively with Premier,
 A&E, PEM, Premier NYC, Premier Merch and PEI, the "Debtor Sellers"); (viii) DinoKing Tech Inc. dA/a
 Dinosaurs Unearthed, a company formed under the laws of British Columbia ("DinoKing"), (ix) RMST, solely for
 purposes of Article III, Article V, Article VI! and Article VIII, and Premier Acquisition Holdings LLC, a Delaware
 limited liability company (the "Purchaser") (as amended, modified or supplemented, the "Asset Purchase
 Agreement"), as applicable.
 ^In the event that DinoKing becomes a debtor, all references to the Debtors herein shall refer to the Debtors
 including DinoKing.


 FTL 111766962V9
   Case 3:16-bk-02230-PMG              Doc 1118       Filed 07/18/18       Page 127 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 94 of 184 PageID# 562



 applicable law, the assumption and assignment of certain executory contracts and unexpired

 leases of the Debtors, and a settlement of certain claims and claim objections in connection

 therewith.


         On July [•], 2018, the Court entered its Bidding Procedures Order, approving

 competitive bidding procedures for the sale of the Transferred Assets (the "Bidding

 Procedures") and granting certain related relief In accordance with the Bidding Procedures and

 the Bidding Procedures Order, and pursuant to the Bidding Procedures, the Debtors have

 determined that [•] (the "Purchaser") submitted the highest and best bid for the Transferred

 Assets, as reflected in the Asset Purchase Agreement, a copy of which is attached hereto as

 Exhibit A.


        The Court has considered (i) the Sale Motion and the exhibits thereto, (ii) the Asset

 Purchase Agreement, whereby the Sellers have agreed, among other things, to sell the

 Transferred Assets to the Purchaser, including the Assimied Contracts and Assumed Real

 Property Leases that will be assumed and assigned to the Purchaser, on the terms and conditions

 set forth in the Asset Purchase Agreement (collectively, the "Sale Transaction"); (iii) the

 Bidding Procedures Order and the record of tlie hearing before the Court on July [•], 2018, at

 which the Bidding Procedures Order was approved; (iv) the [Objections] by [Objecting Parties]

 (collectively, the "Objections"); (v) the written response[s] thereto; (vi) the evidence presented

 by the Debtors and admitted by the Court without objection in support of the relief sought in the

 Sale Motion, including [declarations by] [proffers of testimony on behalf of] [live testimony

 of] [•]; and (vii) the arguments and representations of counsel made, and any other evidence

 profferedand adduced, at the Sale Hearing. All interested parties were afforded an opportunityto

 appear and be heard with respect to the Sale Motion. All responses and objections to the Sale


                                                 3
 FTL 111766962V9
    Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18        Page 128 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 95 of 184 PageID# 563



 Motion have been duly noted in the record. Due notice of the Sale Motion, the Asset Purchase

 Agreement, the Bidding Procedures Order, and the form of this order (the "Proposed Sale

 Order") has been provided in accordance with the Bidding Procedures Order. All Objections

 have been withdrawn, were resolved or are overruled as provided in this Order.

         Upon consideration of the foregoing, along with the record of the Sale Hearing and the

 record in these chapter 11 cases, the Court determines that the relief requested in the Sale Motion

 and granted herein is in the best interests of the Sellers, the Debtors' estates, creditors,

 stakeholders, and all other parties in interest in these chapter 11 cases. Accordingly,

        IT IS HEREBY FOUND AND DETERMINED THAT:

        A.         Fed. R. Bankr. P. 7052. The findings and conclusions set forth herein constitute

 the Court's findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052 made

 applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent any of the

 following findings of fact constitute conclusions of law, they are adopted as such. To the extent

 any of the following conclusions of law constitute findings of fact, they are adopted as such. The

 Court's findings shall also include any oral findings of fact and conclusions of law made by the

 Court during or at the conclusion of the Sale Hearing.

         B.        Jurisdiction and Venue. This Court has jurisdiction to decide the Sale Motion

 and over the Sale Transaction and the property of the Debtors' estates, including the Transferred

 Assets, pursuant to 28 U.S.C. §§ 157(a)-(b) and 1334(b). This matter is a core proceeding

 pursuant to 28 U. S.C. § 157(b)(2). Venue of these chapter 11 cases and the Sale Motion in this

 District is proper under 28 U.S.C. §§ 1408 and 1409.




 FTL 111766962V9
   Case 3:16-bk-02230-PMG                Doc 1118      Filed 07/18/18       Page 129 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 96 of 184 PageID# 564



         C.        Statutory and Rule Predicates. The statutory and other legal predicates for the

 relief sought in the Sale Motion are sections 105(a), 363 and 365 of the Bankruptcy Code and

 Bankruptcy Rules 2002,6004, 6006,9007,9014, and 9019.

        D.         Notice and Opportunity to Object. Actual written notice of, and a fair and

 reasonable opportunity to object to and to be heard with respect to the Sale Motion, the Sale

 Transaction, the sale of the Transferred Assets free and clear of any Claims (as defined below),

 the assumption and assignment of the Assumed Contracts and Assumed Real Property Leases,

 the Auction, the Bidding Procedures and the relief requested in the Sale Motion, has been given,

 as required by the Bankruptcy Code and the Bankruptcy Rules, to all Persons entitled to notice,

 including, but not limited to, the following: (a) all creditors or their counsel known by the

 Debtors to assert a lien (including any security interest), claim, right, interest or encumbrance of

 record against all or any portion of the Transferred Assets; (b) the Office of the United States

 Trustee; (c) the Securities and Exchange Commission; (d) all applicable federal, state and local

 taxing and regulatory authorities of the Debtors or recording offices or any other governmental

 authorities that, as a result of the sale of the Transferred Assets, may have claims, contingent or

 otherwise, in cormection with the Debtors' ownership of the Transferred Assets or have any

 known interest in the relief requested by the Motion; (e) the state and local environmental

 agencies in the jurisdictions where the Debtors own or lease real property; (f) the United States

 Attorney's office for the Middle District of Florida; (g) the National Oceanic and Atmospheric

 Administration; (h) all parties in interest who have requested notice pursuant to Bankruptcy Rule

 2002 as of the date of entry of this Bidding Procedures Order; (i) counsel to the Official

 Committee of Unsecured Creditors; (j) counsel to the Official Committee of Equity Security

 Holders; (k) all parties to any litigation involving the Debtors; (1) all counterparties to any



 FTL 111766962v9
   Case 3:16-bk-02230-PMG                Doc 1118       Filed 07/18/18       Page 130 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 97 of 184 PageID# 565



 executory contract or unexpired lease of the Debtors; (m) all of DinoKing's known creditors,

 regulatory authorities, and other parties in interest that could assert Claims against the

 Transferred Assets; and (n) all other known creditors and interest holders of the Debtors.

         E.        Final Order. This Sale Order constitutes a final order within the meaning of 28

 U.S.C. § 158(a).

         F.        Sound Business Purpose. The Debtors have demonstrated good, sufficient, and

 sound business purposes and justifications for approval of the Sale Motion, the Asset Purchase

 Agreement, and the Sale Transaction, and in entering into the Asset Purchase Agreement and the

 related Bill of Sale, Assigtmient and Assumption Agreement, Real Property Lease Assignments,

 Intellectual Property Assignments and Escrow Agreement (the "Related Agreements"). The

 Debtors' entry into and performance under the Asset Purchase Agreement and Related

 Agreements (i) is a result of due deliberation by the Debtors and constitutes a sound and

 reasonable exercise of the Debtors' business judgment consistent with their fiduciary duties,

 (ii) provides value to and is beneficial to the Debtors' estates, and is in the best interests of the

 Debtors and their stakeholders, and (iii) is reasonable and appropriate under the circumstances.

 Business justifications for the Sale Transaction include, but are not limited to, the following:

 (i)the Asset Purchase Agreement constitutes the highest and best offer received for the

 Transferred Assets; (ii) the Asset Purchase Agreement presents the best opportunity to maximize

 the value of the Transferred Assets on a going concern basis and avoid decline and devaluation

 of the Transferred Assets; (iii) unless the Sale Transaction and all of the other transactions

 contemplated by the Asset Purchase Agreement are concluded expeditiously, as provided for

 pursuant to the Asset Purchase Agreement, recoveries to creditors may be materially diminished;

 (iv) the value of the Debtors' estates will be maximized through the sale of the Transferred


                                                  6
 FTL 111766962v9
   Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18        Page 131 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 98 of 184 PageID# 566



 Assets pursuant to the Asset Purchase Agreement; and (v) the Purchaser will have sufficient

 capitalization to adequately provide for the present and future disposition, care, conservation,

 and management of the Subject Titanic Artifact Collection (as defined in the Revised Covenants

 and Conditions) and ensure that RMST remains a Qualified Institution (as defined in the Revised

 Covenants and Conditions) as Trustee of the Subject Titanic Artifact Collection.

         G.        Compliance with Bidding Procedures. The Bidding Procedures were

 substantively and procedurally fair to all parties and were the result of arms' length negotiations.

 The Sellers, the Purchaser, and their respective counsel and other advisors have complied with

 the Bidding Procedures and Bidding Procedures Order in all respects. The Purchaser was the

 Prevailing Bidder for the Transferred Assets in accordance with the Bidding Procedures and

 Bidding Procedures Order.

         H.        Highest and Best Value, (i) The Debtors and their advisors, including

 GlassRatner Advisory & Capital Group LLC, engaged in a robust and extensive marketing and

 sale process over a period of over approximately one year, both prior to and pursuant to the

 Bidding Procedures Order and the Bidding Procedures, (ii) the Debtors conducted a fair and

 open sale process, (iii) the sale process, the Bidding Procedures and the Auction were non-

 collusive, duly noticed and provided a full, fair and reasonable opportunity for any entity to

 make an offer to purchase the Transferred Assets, and (iv) the process conducted by the Debtors

 pursuant to the Bidding Procedures obtained the highest and best value for the Transferred

 Assets for the Debtors and their estates, and any other transaction would not have yielded as

 favorable an economic result.


         I.        Reasonably Equivalent Value. The consideration to be paid by the Purchaser

 under the Asset Purchase Agreement (i) constitutes fair and reasonable consideration for the


                                                  7
 FTL 111766962v9
   Case 3:16-bk-02230-PMG                  Doc 1118      Filed 07/18/18        Page 132 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 99 of 184 PageID# 567




 Transferred Assets, (ii) is the highest and best offer for the Transferred Assets, (iii) will provide a

 greater recovery for the Debtors' estates, creditors and stakeholders than would be provided by

 any other practically available alternative, and (iv) constitutes reasonably equivalent value and

 fair consideration under the Bankruptcy Code and other laws of the United States, any state,

 territory, possession or District of Columbia or any other applicable jurisdiction with laws

 substantially similar to the foregoing.

         J.        No Successor or Other Derivative Liability. The sale and transfer of the

 Transferred Assets to the Purchaser, including the assumption by the Debtors and assignment,

 transfer or sale to the Purchaser of the Assumed Contracts and Assumed Real Property Leases,

 will not subject the Purchaser to any liability (including any successor liability) with respect to

 the operation of the Sellers' business on or prior to the Closing or by reason of such transfer,

 except that, followmg the Closing, the Purchaser shall become liable solely for the Assumed

 Liabilities. The Purchaser (i) is not, and shall not be considered a successor to the Sellers; (ii) has

 not, de facto or otherwise, merged with or into the Sellers; (iii) is not a continuation or

 substantial continuation, and is not holding itself out as a mere continuation, of the Sellers or the

 Debtors' estates, businesses or operations, or any enterprise of the Sellers, and (iv) does not have

 a common identity of incorporators, directors or controlling shareholders with the Sellers.

         K.        Good Faith; No Collusion. The Sellers and the Purchaser, and their respective

 counsel and advisors, have negotiated, proposed and entered into the Asset Purchase Agreement

 and each of the transactions contemplated in good faith, without collusion and from arm's-length

 bargaining positions. The Purchaser is a "good faith purchaser" and is acting in good faith within

 the meaning of section 363(m) of the Bankruptcy Code and, as such, is entitled to all the

 protections afforded thereby. The Purchaser has proceeded in good faith in all respects in that.


                                                   8
 FTL 111766962v9
    Case 3:16-bk-02230-PMG                Doc 1118       Filed 07/18/18       Page 133 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 100 of 184 PageID# 568




 among other things, (i) the Purchaser recognized that the Sellers were free to deal with any other

 party interested in acquiring the Transferred Assets, (ii) the Purchaser complied with the

 provisions of the Bidding Procedures Order, (iii) the Purchaser's bid was subjected to an open

 marketing process and competitive Bidding Procedures as set forth in the Bidding Procedures

 Order, and (iv) all payments to be made by the Purchaser and all other material agreements or

 arrangements entered into by the Purchaser and the Sellers in connection vwth the Sale

 Transaction have been disclosed and are appropriate. The sale price in respect of the Transferred

 Assets was not controlled by any agreement among potential bidders and neither the Sellers nor

 the Purchaser has engaged in collusion or any conduct that would cause or permit the Asset

 Purchase Agreement to be avoided or costs and damages to be imposed under section 363(n) of

 the Bankruptcy Code. Accordingly, neither the Asset Purchase Agreement nor the Sale

 Transaction may be avoided and no party shall be entitled to damages or other recovery pursuant

 to section 363(n) of the Bankruptcy Code. Although the ultimate equity holders (or affiliates

 thereof) of the Purchaser hold a total of 3,752,805 shares of Premier's common stock

 (representing collectively approximately 40% of the issued and outstanding shares of Premier on

 a fully diluted basis), neither the Purchaser nor any of the ultimate equity holders of the

 Purchaser, is an "insider" or "affiliate" of the Sellers, as those terms are defined in section 101 of

 the Bankruptcy Code, and no common identity of incorporators, directors, or controlling

 stockholders exists between the Purchaser and the Sellers.

         L.        Notice. As evidenced by the certificates of service filed with the Court: (i) due,

 proper, timely, adequate and sufficient notice of the Sale Motion, the Bidding Procedures

 (including the bidding process and the deadline for submitting bids and the Auction), the Sale

 Hearing, the Sale Transaction, the Proposed Sale Order and the other relief requested in the Sale


                                                    9
 FTL 111766962V9
    Case 3:16-bk-02230-PMG                Doc 1118       Filed 07/18/18      Page 134 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 101 of 184 PageID# 569




 Motion was provided by the Debtors; (ii) such notice was good, sufficient and appropriate under

 the particular circumstances and complied with the Bidding Procedures Order; and (iii) no other

 or further notice of the Sale Motion, the Sale Transaction, the Bidding Procedures, the Sale

 Hearing, the Proposed Sale Order or any of the relief requested in the Sale Motion is required.

         M.        Cure Notice. As evidenced by the certificates of service filed with the Court, and

 in accordance with the provisions of the Bidding Procedures Order, the Debtors have served the

 Cure Notice, which provided notice of the Debtors' intent to assume and assign the Assumed

 Contracts and Assumed Real Property Leases and the related proposed Cure Amounts upon each

 non-debtor counterparty to the Assumed Contracts and Assumed Real Property Leases. The

 service of the Cure Notice was good, sufficient and appropriate under the circumstances and no

 further notice need be given with respect to the Cure Amounts for the assumption and

 assignment of the Assumed Contracts and Assumed Real Property Leases. All non-debtor parties

 to the Assumed Contracts and Assumed Real Property Leases have had a reasonable opportunity

 to object to the Cure Amounts listed on the Cure Notice, the Purchaser's proposed adequate

 assurance of future performance under the Assumed Contracts and Assumed Real Property

 Leases, and to the assumption and assignment of the Assumed Contracts and Assumed Real

 Property Leases to the Purchaser. No defaults exist in the Debtors' performance under the

 Assumed Contracts and Assumed Real Property Leases as of the date of this Sale Order other

 than the failure to pay the Cure Amounts or defaults that are not required to be cured.

         N.        Satisfaction of Section 363ff> Standards. The Debtors may sell the Debtors'

 interests in the Transferred Assets free and. clear of all liens, claims (including those that

 constitute a "claim" as defined in section 101(5) of the Bankruptcy Code), rights, liabilities,

 encumbrances and other interests of any kind or nature whatsoever against the Debtors or the


                                                   10
 FTL 111766962V9
    Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18        Page 135 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 102 of 184 PageID# 570




 Transferred Assets, including, without limitation, any debts arising imder or out of, in connection

 with, or in any way relating to, any acts or omissions, obligations, demands, guaranties, rights,

 contractual commitments, restrictions, product liability claims, environmental liabilities, antitrust

 liabilities, employee pension or benefit plan claims, multiemployer benefit plan claims, retiree

 healthcare or life insurance claims or claims for Taxes of or against the Debtors, and any

 derivative, vicarious, transferee or successor liability claims, rights or causes of action (whether

 in law or in equity, under any law, statute, rule or regulation), whether arising prior to or

 subsequent to the commencement of these chapter 11 cases, whether known or unknown, and

 whether imposed by agreement, understanding, law, equity or otherwise arising under or out of,

 in connection with, or in any way related to the Debtors, the Transferred Assets, the operation of

 the Debtors' businesses on or prior to the Closing pursuant to the Asset Purchase Agreement, or

 the transfer of the Transferred Assets to the Purchaser, and all Excluded Liabilities (collectively,

 excluding any Assumed Liabilities, the "Claims"), because, in each case, one or more of the

 standards set forth in section 363(f)(l)-(5) of the Bankruptcy Code have been satisfied; provided,

 however, that, nothing herein shall be deemed, or construed as, a ruling or determination by this

 Court that the Assumed Liabilities encumber the Transferred Assets. Without limiting the

 generality of the foregoing, "Claims" shall include any and all liabilities or obligations

 whatsoever arising under or out of, in connection with, or in any way relating to: (1) any of the

 employee benefit plans, including any Claims related to unpaid contributions or current or

 potential withdrawal or termination liability; (2) any of the Debtors' collective bargaining

 agreements; (3) the Worker Adjustment and Retraining Notification Act of 1988; or (4) any of

 the Debtors' current and former employees. Those holders of Claims who did not object (or who

 ultimately withdrew their objections, if any) to the Sale Transaction or the Sale Motion are


                                                  11
 FTL 111766962v9
    Case 3:16-bk-02230-PMG              Doc 1118       Filed 07/18/18       Page 136 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 103 of 184 PageID# 571




 deemed to have consented pursuant to section 363(f)(2) of the Bankruptcy Code. Those holders

 of Claims who did object that have an interest in the Transferred Assets could be compelled in a

 legal or equitable proceeding to accept money satisfaction of such Claim pursuant to section

 363(f)(5) or fall within one or more of the other subsections of section 363(f) of the Bankruptcy

 Code and are therefore adequately protected by having their Claims that constitute interests in

 the Transferred Assets, if any, attach solely to the proceeds of the Sale Transaction ultimately

 attributable to the property in which they have an interest, in the same order of priority and with

 the same validity, force and effect that such holders had prior to the Sale Transaction, subject to

 any defenses of the Debtors. All Persons having Claims of any kind or nature whatsoever against

 the Debtors or the Transferred Assets shall be forever barred, estopped and permanently enjoined

 from pursuing or asserting such Claims against the Purchaser or any of its assets, property,

 Purchaser Related Parties, successors, assigns, or the Transferred Assets. For the avoidance of

 doubt, in the event DinoKing does not become a Debtor, the assets of DinoKing shall only be

 transferred free and clear of Claims to the maximum extent permitted by applicable law.

         0.        The Purchaser would not have entered into the Asset Purchase Agreement and

 would not consunmiate the transactions contemplated thereby if the sale of the Transferred

 Assets was not free and clear of all Claims, or if the Purchaser would, or in the future could, be

 liable for any such Claims, including, as applicable, liabilities related to the Business that are

 Excluded Liabilities, as described in the Asset Purchase Agreement. A sale of the Transferred

 Assets other than one free and clear of all Claims would adversely impact the Sellers, the

 Debtors' estates and creditors, and would yield substantially less value for the Debtors' estates,

 with less certainty than the Sale Transaction.




                                                  12
 FTL 111766962v9
    Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18        Page 137 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 104 of 184 PageID# 572




         p.        The total consideration to be provided under the Asset Purchase Agreement

 reflects the Purchaser's reliance on this Order to provide it, pursuant to sections 105(a) and

 363(f) of the Bankruptcy Code and, with respect to DinoKing, to the maximum extent permitted

 by law, with title to and possession of the Transferred Assets free and clear of all Claims

 (including, without limitation, any potential derivative, vicarious, transferee or successor liability

 claims).

         Q.        Assumption and Assignment of Assumed Contracts and Assumed Real

 Property Leases. The assumption and assignment of the Assumed Contracts and Assumed Real

 Property Leases are integral to the Asset Purchase Agreement, are in the best interests of the

 Debtors and their estates, and represent the valid and reasonable exercise of the Debtors' sound

 business judgment. Specifically, the assumption and assignment of the Assumed Contracts and

 Assumed Real Property Leases (i) is necessary to sell the Transferred Assets to the Purchaser,

 (ii) allows the Sellers to sell their business to the Purchaser as a going concern, (iii) limits the

 losses suffered by counterparties to the Assumed Contracts and Asstmied Real Property Leases,

 and (iv) maximizes the recoveries to other creditors of the Debtors by limiting the amount of

 claims against the Debtors' estates by avoiding the rejection of the Assumed Contracts and

 Assumed Real Property Leases.

         R.        The Debtors and Purchaser have, to the extent necessary, satisfied the

 requirements of section 365(b) of the Bankruptcy Code, including sections 365(b)(1)(A), (B),

 and (f) in connection with the sale and assumption and assignment of the Assumed Contracts and

 Assumed Real Property Leases. Accordingly, the Assumed Contracts and Assumed Real

 Property Leases may be assumed by the Debtors and assigned to the Purchaser as provided for in

 the Asset Purchase Agreement. The assumption and assignment of each Assumed Contract and


                                                  13
 FTL 111766962V9
    Case 3:16-bk-02230-PMG              Doc 1118       Filed 07/18/18        Page 138 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 105 of 184 PageID# 573




 Assumed Real Property Lease is approved notwithstanding any provision in such Assumed

 Contract or Assumed Real Property Lease or other restrictions prohibiting its assignment or

 transfer. The Purchaser shall have the sole responsibility for paying all Cure Costs required to

 assume and assign the Assumed Contracts and Assumed Real Property Leases. The Cure Notice

 provided by the Debtors was sufficient to advise the non-debtor coimterparties to the Assumed

 Contracts and Assumed Real Property Leases that, pursuant to the Asset Purchase Agreement,

 the Purchaser's decision on which executory contracts and unexpired leases will be assumed and

 assigned may not be made until immediately prior to the Sale Hearing.

         S.        Validity of the Transfer. As of the Closing, the transfer of the Transferred

 Assets to the Purchaser will be a legal, valid and effective transfer of the Transferred Assets, and

 will vest the Purchaser with all right, title and mterest of the Debtors in and to the Transferred

 Assets, free and clear of all Claims to the maximum extent permitted by law. The consununation

 of the Sale Transaction is legal, valid and properly authorized under all applicable provisions of

 the Bankruptcy Code, including, without limitation, sections 105(a), 363(b), 363(0, 363(m),

 365(b) and 365(f) of the Bankruptcy Code and all of the applicable requirements of such sections

 have been complied with in respect of the Sale Transaction.

         T.        The Sellers (i) have full corporate power and authority to execute the Asset

 Purchase Agreement and all other documents contemplated thereby, and the Sale Transaction has

 been duly and validly authorized by all necessary corporate action of the Sellers, (ii) have all of

 the corporate power and authority necessary to consummate the transactions contemplated by the

 Asset Purchase Agreement, and (iii) upon entry of this Sale Order, other than (a) Admiralty

 Court approval and (b) any consents identified in the Asset Purchase Agreement, need no

 consent or approval from any other Person to consummate the Sale Transaction.


                                                 14
 FTL 111766962v9
    Case 3:16-bk-02230-PMG                Doc 1118       Filed 07/18/18       Page 139 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 106 of 184 PageID# 574



          U.        The Transferred Debtor Assets constitute property of the Debtors' estates and

 good title is vested in the Debtors' estates within the meaning of section 541(a) of the

 Bankruptcy Code. The Sellers are the sole and rightful owner of the Transferred Assets with all

 right, title and interest to transfer and convey the Transferred Assets to the Purchaser, and no

 other Person has any ownership right, title, or interests therein.

          V.        The Asset Purchase Agreement is a valid and binding contract between the Sellers

 and the Purchaser and shall be enforceable pursuant to its terms. The Asset Purchase Agreement

 was not entered into for the purpose of hindering, delaying or defrauding creditors under the

 Bankruptcy Code or under any other laws of the United States, any state, territory, possession or

 the District of Columbia, or any other applicable foreign jurisdiction. The Asset Purchase

 Agreement and the Sale Transaction itself, and the consummation thereof shall be specifically

 enforceable against and binding upon (without posting any bond) the Sellers, any chapter 7 or

 chapter 11 trustee appointed in these chapter 11 cases, and shall not be subject to rejection or

 avoidance by the foregoing parties or any other Person.

          W.        Other than the claims arising under the Asset Purchase Agreement, the Sellers and

 the Debtors' estates agree and acknowledge that they have no claims against the Purchaser.

          X.        The Sale Transaction does not constitute a de facto plan of reorganization or

  liquidation as it does not propose to (i) impair or restructure existing debt of, or equity interests

  in, the Debtors, (ii) impair or circumvent voting rights with respect to any plan proposed by the

  Debtors, (iii) circumvent chapter 11 safeguards, such as those set forth in sections 1125 and 1129

  of the Bankruptcy Code, or (iv) classify claims or equity interests or extend debt maturities.




                                                    15
  FTL 111766962V9
    Case 3:16-bk-02230-PMG                  Doc 1118         Filed 07/18/18          Page 140 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 107 of 184 PageID# 575



         Y.        [DinoKing..'* Non-debtor Seller DinoKing is an indirect wholly-owned subsidiary
 of Premier. Premier's use and voting of its equity interests in DinoKing to cause its entry into

 and performance under the Asset Purchase Agreement and Related Agreements is a sound and

 reasonable exercise of Premier's business judgment consistent with its fiduciary duties.]

         Z.        RMST. The Transferred Assets include 100% of the stock of RMST. Upon the

 Closing, and subject to the conditions set forth in the Asset Purchase Agreement, cause will exist

 for dismissal of the In re RMS Titanic, Inc., Case No. 3:16-bk-2230-PMG (Bankr. M.D. Fla.)

 chapter 11 case. For the avoidance of doubt, the jointly administered cases of Premier

 Exhibitions, Inc.; Premier Exhibition Management, LLC; Arts and Exhibitions International,

 LLC; Premier Exhibitions International, LLC; Premier Exhibitions NYC, Inc.; Premier

 Merchandising, LLC;, and Dinosaurs Unearthed Corp. will not be dismissed upon the Closing.

         AA.       Approval of the FacBridee Parties Settlement. Approval of the PacBridge

 Parties Settlement is in the best interests of the Debtors, their estates, and creditors, and will

 avoid costly and protracted litigation between the Debtors' estates and each of the PacBridge

 Parties with respect to their claims and significantly reduce the amounts claimed as due and

 owing by the Debtors under the claims filed by each of the PacBridge Parties, including

 significant post-petition interest and attorneys' fees claims on the Secured Creditors' claims.

 Approval of the PacBridge Parties Settlement is required under the Asset Purchase Agreement, is

 an integral component of the Sale Transaction, and will facilitate the Closing. Although ability to

 collect is not relevant, the probability of the Debtors' estates' success in litigating potential

 avoidance of certain secured claims based on timing of perfection thereof and on the allowance

 of certain claims against the Debtors (as opposed to certain non-debtor subsidiaries) is uncertain,


  Applicable in the event DinoKing does not become a Debtor in these Bankruptcy Cases.

                                                       16
 FTL 111766962V9
    Case 3:16-bk-02230-PMG                Doc 1118        Filed 07/18/18     Page 141 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 108 of 184 PageID# 576



 and theexpense, inconvenience, and delay necessarily of resolving those issues through litigation

 is outweighed by the benefits of the settlement. Accordingly, the PacBridge Parties Settlement is

 in the best interests of the Debtors' estates and theircreditors and should therefore be approved.

          BB.       Waiver of Bankruptcy Rules 6004fh) and 6006fdV The sale of the Transferred

 Assets must be approved and consummated promptly in order to preserve the value of the

 Transferred Assets. Therefore, time is of the essence in consummating the Sale Transaction, and

 the Sellers and the Purchaser intend to close the Sale Transaction as soon as reasonably

 practicable. The Debtors have demonstrated compelling circumstances and a good, sufficient,

 and sound business purpose and justification for the immediate approval and consummation of

 the Sale Transaction as contemplated by the Asset Purchase Agreement. Accordingly, there is

 sufficient cause to lift the stay contemplated by Bankruptcy Rules 6004(h) and 6006(d) with

 regards to the transactions contemplated by this Sale Order.

          CC.       Personallv Identifiable Information. As contemplated in the Asset Purchase

 Agreement, and subject to the terms of this Order, the sale to the Purchaser under the Asset

 Purchase Agreement of any personally identifiable information (as such term is defined in

  section 101 (41A) of the Bankruptcy Code) and private health information about individuals is

  consistent with the privacy policy of the Debtors in effect on the date of conmiencement of these

  chapter 11 cases and satisfies the requirements of section 363(b)(1)(A) of the Bankruptcy Code.

          DD.       Legal and Factual Bases. The legal and factual bases set forth in the Motion and

  at the Sale Hearing establish just cause for the relief granted herein.

          EE.       At and effective as of the Closing, the Purchaser shall assume sole

  responsibility for paying and satisfying the Assumed Liabilities as provided in the Asset

  Purchase Agreement. For the avoidance of doubt, nothing in this Order (including, without


                                                    17
  FTL 111766962v9
    Case 3:16-bk-02230-PMG                Doc 1118       Filed 07/18/18       Page 142 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 109 of 184 PageID# 577



 limitation, any provisions in this Order regarding the sale, transfer or conveyance of the

 Transferred Assets free and clear of Claims upon payment of the Purchase Price and

 effectuation of other consideration provided by the Purchaser under the Asset Purchase

 Agreement) nor in the Asset Purchase Agreement shall be construed to mean that the

 Purchaser is not assuming from the Debtors and thereafter becoming solely responsible for the

 payment, performance and discharge of the Assumed Liabilities as provided in the Asset

 Purchase Agreement. After the Closing, the Debtors shall have no liability whatsoever with

 respect to the Assumed Liabilities. The Purchaser shall have no obligations or responsibility

 whatsoever with respect to any Liabilities of the Debtors other than the Assumed Liabilities.

          IT IS THEREFORE ORDERED THAT:

          1.        Motion is Granted. The Sale Motion and the relief requested therein (to the

 extent not previously granted by this Court pursuant to the Bidding Procedures Order or

 otherwise) is granted and approved as set forth herein.

          2.        Objections Overruled. All objections, if any, to the Sale Motion or the relief

 requested therein that have not been withdrawn with prejudice, waived or settled as announced to

 the Court at the Sale Hearing or by stipulation filed with the Comi, and all reservations of rights

 included therein, are hereby overruled on the merits and with prejudice.

          3.        Notice. Notice of the Sale Hearing was fair and equitable under the circumstances

 and complied in all respects with section 102(1) of the Bankruptcy Code and Bankruptcy Rules

  2002, 6004 and 6006.

          4.        Fair Purchase Price. The consideration provided by the Purchaser under the

  Asset Purchase Agreement is fair and reasonable and constitutes (i) reasonably equivalent value

  under the Bankruptcy Code, the Uniform Fraudulent Transfer Act, and the Uniform Voidable


                                                    18
  FTL 111766962v9
    Case 3:16-bk-02230-PMG               Doc 1118     Filed 07/18/18       Page 143 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 110 of 184 PageID# 578



 Transactions Act, (ii) fair consideration under the Uniform Fraudulent Conveyance Act, and

 (iii) reasonably equivalent value, fair consideration and fair value under any other applicable

 laws of the United States, any state, territory or possession or the District of Columbia, and any

 applicable foreign jurisdiction.

         5.         Approval of the Asset Purchase Agreement. The Asset Purchase Agreement,

 the Related Agreements, all transactions contemplated therein (including, but not limited to, all

 ancillary agreements contemplated thereby) and all of the terms and conditions thereof are

 hereby approved. The failure specifically to include any particular provision of the Asset

 Purchase Agreement in this Sale Order shall not diminish or impair the effectiveness of such

 provision, it being the intent of the Court that the Asset Purchase Agreement (including, but not

 limited to, all ancillary agreements contemplated thereby) be authorized and approved in its

 entirety.

         6.         Consummatioii of Sale Transaction. Pursuant to sections 105, 363 and 365 of

 the Bankruptcy Code, the Debtors, along with their officers, employees and agents, are

 authorized to execute, deliver and perform their obligations under and comply with the terms of

 the Asset Purchase Agreement and the Related Agreements and to close and consummate the

  Sale Transaction, pursuant to and in accordance with the terms and conditions of the Asset

  Purchase Agreement, the Related Agreements and this Sale Order. The Debtors are further

  authorized to exercise their voting rights in the Non-Debtor Subsidiaries to cause the Non-Debtor

  subsidiaries to execute, deliver and perform their obligations under and comply with the terms of

  the Asset Purchase Agreement and the Related Agreements and to close and consummate the

  Sale Transaction, pursuant to and in accordance with the terms and conditions of the Asset

  Purchase Agreement, the Related Agreements and this Sale Order.


                                                 19
  FTL 111766962v9
    Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18       Page 144 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 111 of 184 PageID# 579



          7.        The Sellers, their Affiliates and their respective officers, employees and agents,

 are authorized to execute and deliver, and authorized to perform under, consummate and

 implement all additional instruments and documents that may be reasonably necessary or

 desirable to implement the Asset Purchase Agreement and to take all further actions as may be

 (a) reasonably requested by the Purchaser for the purpose of assigning, transferring, granting,

 conveying and conferring to the Purchaser, or reducing to the Purchaser's possession, the

 Transferred Assets or (b) necessary or appropriate to the performance of the obligations

 contemplated by the Asset Purchase Agreement or to implement the Sale Transaction, all without

 further order of the Court.


          8.        All Persons that are currently in possession of some or all of the Transferred

 Assets are hereby directed to surrender possession of such Transferred Assets to the Purchaser as

 of the Closing. To the extent required by the Asset Purchase Agreement, the Sellers agree to

 exercise commercially reasonable efforts to assist the Purchaser in assuring that all Persons that

 are presently, or on the Closing Date may be, in possession of some or all of the Transferred

 Assets will surrender possession of the Transferred Assets to either (i) the Sellers before the

  Closing Date or (ii) the Purchaser on or after the Closing Date.

          9.        All Persons are prohibited fi-om taking any action to adversely affect or interfere

  with the ability of the Sellers to transfer the Transferred Assets to the Purchaser in accordance

  with the Asset Purchase Agreement and this Order; provided that the foregoing restriction shall

  not prevent any party from appealing this Order in accordance with applicable law or opposing

  any appeal of this Order.

          10.       Each and every any federal, state, local, or foreign government or governmental

  or regulatory authority, agency, board, bureau, commission, court, department, or other


                                                    20
  FTL 111766962V9
    Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18       Page 145 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 112 of 184 PageID# 580



 governmental entity is hereby directed to accept any and all documents and mstruments

 necessary and appropriate to consummate the transactions contemplated by the Asset Purchase

 Agreement.

         11.       Transfer of Transferred Assets Free and Clear. Pursuant to sections 105(a),

 363(b), 363(f) and 365 of the Bankruptcy Code, the Debtors are authorized to transfer the

 Transferred Assets in accordance with the terms of the Asset Purchase Agreement. The

 Transferred Assets shall be transferred to the Purchaser, and, upon the Closing, such transfer

 shall: (a) be valid, legal, binding and effective; (b) vest the Purchaser with all right, title and

 interest of the Sellers in the Transferred Assets; and (c) be free and clear of all Claims (including

 Claims of any Governmental Authority) in accordance with section 363(f) of the Bankruptcy

 Code and to the maximum extent permitted under applicable foreign law, with all Claims that

 represent interests in property to attach to the net proceeds of the Sale Transaction, in the same

 amount and order of their priority, with the same validity, force and effect which they have

 against the Transferred Assets, and subject to any claims and defenses the Debtors may possess

 with respect thereto m each case immediately the Closing.

         12.       At Closing of the transactions contemplated by the Asset Purchase Agreement,

 the obligations of the Debtors owing to the DIP Lender under the DIP Agreement shall be paid in

 full in cash by the Debtors.

         13.       Except to as otherwise expressly provided in the Asset Purchase Agreement, all

 Persons (and their respective successors and assigns) including, without limitation, the Sellers,

 the Debtors' estates, all debt security holders, equity security holders, governmental, tax and

 regulatory authorities, governmental units, lenders, employees, former employees, pension plans,

 multiemployer pension plans, trade creditors and any other creditors holding Claims against the


                                                  21
 FTL 111766962V9
    Case 3:16-bk-02230-PMG                  Doc 1118       Filed 07/18/18        Page 146 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 113 of 184 PageID# 581



 Debtors, the Transferred Assets or the Debtors' businesses (whether legal or equitable, secured

 or unsecured, matured or unmatured, contingent or non-contingent, senior or subordinated),

 arising under or out of, in connection with, or in any way relating to the Debtors, the Transferred

 Assets or the Debtors' businesses prior to the Closing Date or the transfer of the Transferred

 Assets to the Purchaser, are hereby forever barred, estopped and permanently enjoined from

 asserting or pursuing such Claims against the Purchaser, its Purchaser Related Parties, successors

 or assigns, its property or the Transferred Assets, including, without limitation, taking any of the

 following actions with respect to or based on a Claim (other than an Assumed Liability): (a)

 commencing or continuing in any manner any action or other proceeding against the Purchaser,

 its Purchaser Related Parties, successors or assigns, assets or properties; (b) enforcing, attaching,

 collecting or recovering in any manner any judgment, award, decree, or order against the

 Purchaser, its Purchaser Related Parties, successors or assigns, assets, or properties; (c) creating,

 perfecting, or enforcing any Claims against the Purchaser, its Purchaser Related Parties,

 successors or assigns, assets or properties; (d) asserting a Claim as a setoff, right of subrogation

 or recoupment of any kind against any obligation due the Purchaser or its Purchaser Related

  Parties, successors or assigns; or (e) commencing or continuing any action in any manner or

 place that does not comply, or is inconsistent, with the provisions of this Sale Order or the

  agreements or actions contemplated or taken in respect thereof. No such Persons shall assert or

  pursue against the Purchaser or its Purchaser Related Parties, successors or assigns, any such

  Claim.


           14.      This Sale Order (a) shall be effective as a determination that, as of the Closing, all

  Claims, have been unconditionally released, discharged and terminated as to the Purchaser and

  the Transferred Assets, and that the conveyances and transfers described herein have been


                                                     22
  FTL 111766962V9
    Case 3:16-bk-02230-PMG                Doc 1118        Filed 07/18/18        Page 147 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 114 of 184 PageID# 582



 effected, and (b) is and shall be binding upon and govern the acts of all Persons, including all

 filing agents, filing officers, title agents, title companies, recorders of mortgages, recorders of

 deeds, registrars of deeds, administrative agencies, governmental departments, secretaries of

 state, federal, state, county and local officials and all other Persons who may be required by

 operation of law, the duties of their office, or contract, to accept, file, register or otherwise record

 or release any documents or instruments that reflect that the Purchaser is the assignee and owner

 of the Transferred Assets free and clear of all Claims, or who may be required to report or insure

 any title or state of title in or to any lease (all such entities being referred to as "Recording

 Officers"), All Recording Officers are authorized and specifically directed to strike recorded

 encumbrances, claims, liens and other interests against the Transferred Assets recorded prior to

 the date of this Sale Order. A certified copy of this Sale Order may be filed with the appropriate

 Recording Officers to evidence cancellation of any recorded encumbrances, claims, liens and

 other interests against the Transferred Assets recorded prior to the date of this Sale Order. All

 Recording Officers are hereby directed to accept for filing any and all of the documents and

 instruments necessary and appropriate to consummate the transactions contemplated by the Asset

 Purchase Agreement.

         15.       Following the Closing, no holder of any Claim shall interfere with the Purchaser's

 title to or use and enjoyment of the Transferred Assets based on or related to any such Claim or

 based on any actions the Debtors have taken or may take in these chapter 11 cases.

         16.       Except as expressly set forth in the Asset Purchase Agreement including, without

  limitation, the Assumed Liabilities, the Purchaser and its Purchaser Related Parties, successors

 and assigns, shall have no liability for any Claim or Excluded Liabilities, whether known or

 unknown as of the Closing Date, now existing or hereafter arising, whether fixed or contingent,


                                                   23
 FTL 111766962V9
   Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18        Page 148 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 115 of 184 PageID# 583



 whether derivatively, vicariously, as a transferee or successor or otherwise, of any kind, nature or

 character whatsoever, by reason of any theory of law or equity, including Claims or Excluded

 Liabilities arising under, without limitation: (a) any employment or labor agreements; (b) any

 pension, welfare, compensation or other employee benefit plans, agreements, practices and

 programs, including, without limitation, any pension plan of or related to the Debtors or any of

 the Debtors' Affiliates or predecessors or any current or former employees of any of the

 foregoing, including, without limitation, the Benefit Plans and any participation or other

 agreements related to the Benefit Plans, or the termination of any of the foregoing; (c) the

 Debtors' business operations or the cessation thereof; (d) any litigation involving the Debtors; (e)

 any employee, workers' compensation, occupational disease or unemployment or temporary

 disability related law, including, without limitation, claims that might otherwise arise under or

 pursuant to (i) the Employee Retirement Income Security Act of 1974, as amended, (ii) the Fair

 Labor Standards Act, (iii) Title VII of the Civil Rights Act of 1964, (iv) the Federal

 Rehabilitation Act of 1973, (v) the National Labor Relations Act, (vi) the Worker Adjustment

 and Retraining Notification Act of 1988, (vii) the Age Discrimination and Employee Act of 1967

 and Age Discrimination in Employment Act, as amended, (viii) the Americans with Disabilities

 Act of 1990, (ix) the Consolidated Omnibus Budget Reconciliation Act of 1985, (x) the

 Multiemployer Pension Plan Amendments Act of 1980,(xi) state and local discrimination laws,

 (xii) state and local unemployment compensation laws or any other similar state and local laws,

 (xiii) state workers' compensation laws or (xiv) any other state, local or federal employee benefit

 laws, regulations or rules or other state, local or federal laws, regulations or rules relating to,

 wages, benefits, employment or termination of employment with the Debtor or any predecessors;

 (f) any antitrust laws; (g) any product liability or similar laws, whether state or federal or


                                                 24
 FTL 111766962v9
    Case 3:16-bk-02230-PMG                Doc 1118        Filed 07/18/18      Page 149 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 116 of 184 PageID# 584




 otherwise; (h) any environmental laws, rules, or regulations, including, without limitation, under

 the Comprehensive Environmental Response, Compensation, and Liability Act, 42 U.S.C. §§

 9601, et seq., or similar state statutes; (i) PACA; (j) the Foreign Corrupt Practices Act; (k) any

 bulk sales or similar laws; (1) any federal, state or local tax statutes, regulations or ordinances,

 including, without limitation, the Internal Revenue Code of 1986, as amended; and (m) any

 common law doctrine of de facto merger or successor or transferee liability, successor-in-interest

 liability theory or any other theory of or related to successor liability.

         17.       If any Person that has filed financing statements, mortgages, mechanic's liens, lis

 pendens or other documents or agreements evidencing Claims against or in the Debtors or the

 Transferred Assets shall not have delivered to the Debtors prior to the Closing, in proper form

 for filing and executed by the appropriate parties, termination statements, instruments of

 satisfaction, releases of all interests which the Person has with respect to the Debtors or the

 Transferred Assets or otherwise, then with regard to the Transferred Assets that are purchased by

 the Purchaser pursuant to the Asset Purchase Agreement and this Sale Order (a) the Debtors are

 hereby authorized to execute and file such statements, instruments, releases and other documents

 on behalf of the Person with respect to the Transferred Assets and (b) the Purchaser is hereby

 authorized to file, register or otherwise record a certified copy of this Sale Order, which, once

 filed, registered or otherwise recorded, shall constitute conclusive evidence of the release of all

 Claims against the Transferred Assets. This Sale Order is deemed to be in recordable form

 sufficient to be placed in the filing or recording system of each and every federal, state, county or

 local government agency, department or office.

         18.       On the Closing Date, this Sale Order shall be considered and constitute for any

 and all purposes a full and complete general assigiunent, conveyance and transfer of the


                                                   25
 FTL 111766962V9
    Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18       Page 150 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 117 of 184 PageID# 585




 Transferred Debtor Assets acquired under the Asset Purchase Agreement or a bill of sale or

 assignment transferring good and marketable, indefeasible title and interest in all of the

 Purchased Debtor Assets to the Purchaser.

         19.       To the maximum extent available under applicable law and to the extent provided

 for under the Asset Purchase Agreement, the Purchaser shall be authorized, as of the Closing

 Date, to operate under any license, permit, registration and governmental authorization or

 approval of the Debtors with respect to the Transferred Assets and, to the maximum extent

 available under applicable law and to the extent provided for under the Asset Purchase

 Agreement, all such licenses, permits, registrations and governmental authorizations and

 approvals are deemed to have been transferred to the Purchaser as of the Closing Date. All

 existing licenses or permits applicable to the business shall remain in place for the Purchaser's

 benefit until either new licenses and permits are obtained or existing licenses and permits are

 transferred in accordance with applicable administrative procedures.

         20.       No Successor or Other Derivative Liability. By virtue of the Sale Transaction,

 the Purchaser and its Purchaser Related Parties, successors and assigns, shall not be deemed or

 considered to, (a) be a legal successor, or otherwise be deemed a successor to the Sellers, (b)

 have, de facto or otherwise, merged with or into any or all Sellers, or (c) be a continuation or

 substantial continuation, or be holding itselfout as a mere continuation, of any of the Sellers or

 their estates, businesses or operations, or any enterprise of the Sellers, in each case by any law or

 equity, and the Purchaser has not assumed nor is it in any way responsible for any liability or

 obligation of the Sellers or the Debtors' estates, except with respect to the Assumed Liabilities.

 The Purchaser and its Purchaser Related Parties, successors and assigns, shall have no successor,

 transferee or vicarious liability of any kind or character, including, without limitation, under any


                                                 26
 Fit 111766962V9
    Case 3:16-bk-02230-PMG              Doc 1118        Filed 07/18/18       Page 151 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 118 of 184 PageID# 586




 theory of foreign, federal, state or local antitrust, environmental, successor, tax, ERISA, assignee

 or transferee liability, labor, product liability, employment, de facto merger, substantial

 continuity, or other law, rule, regulation or doctrine, whether known or unknown as of the

 Closing Date, now existing or hereafter arising, whether asserted or un-asserted, fixed or

 contingent, liquidated or unliquidated with respect to the Sellers or any obligations of the Sellers

 arising on or prior to the Closing Date, including, without limitation, liabilities on account of any

 Taxes or other Governmental Authority fees, contributions or surcharges, in each case arising,

 accruing or payable under, out of, in connection with, or in any way relating to, the operation of

 the Transferred Assets on or prior to the Closing Date or arising based on actions of the Sellers

 taken after the Closing Date.

          21.       Assumption and Assignment of Assumed Contracts and Assumed Real


  Property Leases. The Debtors are hereby authorized in accordance with sections 105(a) and 365

  of the Bankruptcy Code to assume and assign the Assumed Contracts and Assumed Real

  Property Leases to the Purchaser free and clear of all Claims (including all Excluded Liabilities),

  and to execute and deliver to the Purchaser such documents or other instruments as may be

  necessary to assign and transfer the Assumed Contracts and Assumed Real Property Leases to

 the Purchaser as provided in the Asset Purchase Agreement. Upon the Closing, the Purchaser

  shall be fully and irrevocably vested with all right, title and interest of the Debtors under the

  Assumed Contracts and Assumed Real Property Leases and, pursuant to section 365(k) of the

  Bankruptcy Code, the Debtors shall be relieved from any further liability with respect to the

  Assumed Contracts and Assumed Real Property Leases. The Purchaser acknowledges and agrees

 that from and after the Closing, subject to and in accordance with the Asset Purchase Agreement,

  it shall comply with the terms of each assumed and assigned Assumed Contract and Assumed


                                                  27
  FTL 111766962V9
    Case 3:16-bk-02230-PMG              Doc 1118       Filed 07/18/18        Page 152 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 119 of 184 PageID# 587



 Real Property Lease in its entirety, unless any such provisions are not enforceable pursuant to the

 terms of this Sale Order. The assumption by the Debtors and assignment to the Purchaser of the

 Assumed Contracts and Assumed Real Property Leases shall not be a default under any such

 Assumed Contract or Assumed Real Property Lease. Pursuant to Bankruptcy Code §§

 365(b)(1)(A) and (B), the Purchaser shall promptly pay at Closing or cause to be paid at Closing

 to the non-debtor parties to any Assumed Contract or Assumed Real Property Lease the

 requisite Cure Costs, if any, set forth on the Contract Notice filed with the Court, except to the

 extent that a Cure Cost was amended on the record of the Sale Hearing, following the

 assumption and assignment thereof. The Cure Costs are hereby fixed at the amounts set forth

 on the Contract Notice, or the amounts set forth on the record of the Sale Hearing, as the case

 may be, and the non-debtor parties to the Assumed Contracts and Assumed Real Property

 Leases are forever bound by such Cure Costs. To the extent a counterparty to an Assumed

 Contract or Assumed Real Property Lease failed to timely object to a Cure Amount, such Cure

 Amount has been and shall be deemed to be finally determined and any such counterparty shall

 be prohibited from challenging, objecting to or denying the validity and finality of the Cure

 Amount at any time.

         26.       All defaults or other obligations under any Assumed Contract or Assumed Real

 Property Lease arising prior to the Closing (without giving effect to any acceleration clauses,

 assignment fees, increases, advertising rates, or any other default provisions of the kind specified

 in Bankruptcy Code § 365(b)(2)) shall be deemed cured by payment of the Cure Costs.

         27.       Any provision in any Assumed Contract or Assumed Real Property Lease that

 purports to declare a breach, default, or payment right as a result of an assignment or a change

 of control in respect of the Debtors is unenforceable, and all Assumed Contracts and Assumed


                                                 28
 FTL 111766962V9
    Case 3:16-bk-02230-PMG                Doc 1118       Filed 07/18/18      Page 153 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 120 of 184 PageID# 588




 Real Property Leases shall remain in full force and effect, subject only to payment of the

 appropriate Cure Costs, if any. No sections or provisions of any Assumed Contract or Assumed

 Real Property Lease that purport to provide for additional payments, penalties, charges, or

 other financial accommodations in favor of the non-debtor party to the Assumed Contract or

 Assumed Real Property Lease shall have any force and effect with respect to the transactions

 and assigrunents authorized by this Order, and such provisions constitute unenforceable anti-

 assignment provisions under Bankruptcy Code § 365(f) and/or are otherwise unenforceable

 under Bankruptcy Code § 365(e) and no assignment of any Assumed Contract or Assumed Real

 Property Lease pursuant to the terms of the Purchase Agreement shall in any respect constitute

 a default under any Assumed Contract or Assumed Real Property Lease. The non-debtor party

 to each Assumed Contract and Assumed Real Property Lease shall be deemed to have consented

 to such assignment under Bankruptcy Code § 365(c)(1)(B), and the Purchaser shall enjoy all of

 the Debtors' rights and benefits under each such Assumed Contract and Assumed Real Property

 Lease as of the applicable date of assumption without the necessity of obtaining such non-debtor

 party's written consent to the assumption or assignment thereof.

         28.       The Purchaser has satisfied all requirements under Bankruptcy Code §§

 365(b)(1)(C) and 365(f)(2)(b) to provide adequate assurance of future performance under each

 Assumed Contract and Assumed Real Property Lease.

         29.       The Debtors and their estates shall be relieved of any liability for any breach of

 any Assumed Contract or Assumed Real Property Lease occurring from and after Closmg,

 pursuant to and in accordance with Bankruptcy Code § 365(k).

         30.       Pursuant to Bankruptcy Code §§ 105(a), 363, and 365, all parties to any

 Assumed Contract or Assumed Real Property Lease are forever barred and enjoined from


                                                   29
 FTL 111766962V9
    Case 3:16-bk-02230-PMG               Doc 1118      Filed 07/18/18        Page 154 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 121 of 184 PageID# 589




 raising or asserting against the Purchaser any assignment fee, default, breach or Claim or

 pecuniary loss, or condition to assignment, arising under or related to any Assumed Contract

 or Assimied Real Property Lease existing as of the Closing or arising by reason of the Closing,

 except for any amounts that are Assumed Liabilities being assumed by the Purchaser under

 the Purchase Agreement.

         22.       Ipso Facto Clauses Ineffective. The Assumed Contracts and Assumed Real

 Property Leases shall be transferred to, and remain in full force and effect for the benefit of, the

 Purchaser in accordance with their respective terms, including all obligations of the Purchaser as

 the assignee of the Assumed Contracts and Assumed Real Property Leases, notwithstanding any

 provision in any such Assumed Contracts and Assumed Real Property Leases (including, without

 limitation, those of the type described in sections 365(e)(1) and (f) of the Bankruptcy Code) that

 prohibits, restricts or conditions such assignment or transfer. There shall be no, and all

 non-debtor parties to any Assumed Contract or Assumed Real Property Lease are forever barred

 and permanently enjoined from raising or asserting against the Debtors or the Purchaser any

 defaults, breach, claim, pecuniary loss, rent accelerations, escalations, assignment fees, increases

 or any other fees charged to the Purchaser or the Debtors as a result of the assumption or

 assignment of the Assumed Contracts and Assumed Real Property Leases or the Closing.

         23.       The failure of the Debtors or the Purchaser to enforce at any time one or more

 terms or conditions of any Assumed Contract or Assumed Real Property Lease shall not be a

 waiver of such terms or conditions, or of the Debtors' and the Purchaser's rights to enforce every

 term and condition of the Assumed Contracts and Assumed Real Property Leases.

         24.       Statutory Mootness. The transactions contemplated by the Asset Purchase

 Agreement are undertaken by the Purchaser without collusion and in good faith, as that term is


                                                 30
 FTL 111766962V9
    Case 3:16-bk-02230-PMG               Doc 1118          Filed 07/18/18   Page 155 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 122 of 184 PageID# 590




 used in section 363(m) of the Bankruptcy Code, and accordingly, the reversal or modification on

 appeal of the authorization provided herein of the Sale Transaction shall neither affect the

 validity of the Sale Transaction nor the transfer of the Transferred Assets to the Purchaser, free

 and clear of Claims, unless such authorization is duly stayed before the Closing Date pending

 such appeal. The Purchaser is a good faith purchaser of the Transferred Assets and is entitled to

 all of the benefits and protections afforded by section 363(m) of the Bankruptcy Code. The

 Sellers and the Purchaser will be acting in good faith if they proceed to consummate the Sale

 Transaction at any time after entry of this Sale Order.

         25.       No Avoidance of Asset Purchase Agreement. Neither the Sellers nor the

 Purchaser has engaged in any conduct that would cause or permit the Asset Purchase Agreement

 to be avoided or costs and damages to be imposed under section 363(n) of the Bankruptcy Code.

 Accordingly, the Asset Purchase Agreement and the Sale Transaction shall not be avoidable

 under section 363(n) of the Bankruptcy Code, and no party shall be entitled to any damages or

 other recovery pursuant to section 363(n) of the Bankruptcy Code in respect of the Asset

 Purchase Agreement or the Sale Transaction.

         26.       Approval of FacBridee Parties Settlement. The PacBridge Parties Settlement

 meets the requirements set forth in In re Justice Oaks II, Ltd., 898 F.2d 1544 (11th Cir. 1990),

 and Bankruptcy Rule 9019, and is APPROVED. Upon the Closing, in full satisfaction of the

 respective claims of tlie PacBridge Parties, (x) the Secured Creditors will receive in

 consideration of their Secured Claims, (i) a cash payment in the aggregate amount of $1 million,

 payable $333,333.34 to Feng, $333,333.33 to Zhang, and $333,333.33 to Zou, plus (ii) allowed

 general unsecured claims against each of Premier, PEM, and Premier Merch (but subject to a

 single satisfaction), in the total aggregate amount of $2,000,000, to be allocated $666,666.67 to


                                                  31
 FTL 111766962V9
    Case 3:16-bk-02230-PMG              Doc 1118       Filed 07/18/18       Page 156 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 123 of 184 PageID# 591




 Feng, $666,666.67 to Zhang, and $666,666.66 to Zou, and (y) PacBridge will have an allowed

 general unsecured claim against Premier in the amount of $1,195,350.39. For the avoidance of

 doubt, Zou's Claim No. 17-1 against PEM, Claim No. 4-1 against Premier Merch, and Claim

 No. 34-1 as amended by Claim No. 34-2 against Premier shall each be allowed in the amount of

 $666,666.66 (but each subject to a single satisfaction); Zhang's Claim No. 18-1 against PEM,

 Claim No. 2-1 against Premier Merch, and Claim No. 35-1 against Premier shall each be allowed

 in the amount of $666,666.67 (but each subject to a single satisfaction); Feng's Claim No. 19-1

 against PEM, Claim No. 3-1 against Premier Merch, and Claim No. 36-1 against Premier shall

 each be allowed in the amount of $666,666.67 (but each subject to a single satisfaction); and

 PacBridge's Claim No. 29-1 against RMST shall be allowed in the amount of $1,195,350.39 as

 an allowed claim against Premier.

         27.       Waiver of Bankruptcy Rules 6004(h). 6006(d) and 7062. Notwithstanding the

 provisions of Bankruptcy Rules 6004(h), 6006(d) or 7062 or any applicable provisions of the

 Local Rules of the United States Bankruptcy Court for the Middle District of Florida, this Sale

 Order shall not be stayed after the entry hereof, but shall be effective and enforceable

 inmiediately upon entry, and the fourteen-day stay provided in Bankruptcy Rules 6004(h) and

 6006(d) is hereby expressly waived and shall not apply. Time is of the essence in closing the

 Sale Transaction and the Sellers and the Purchaser intend to close the Sale Transaction as soon as

 practicable. Any party objecting to this Sale Order must exercise due diligence in filing an appeal

 and pursuing a stay within the time prescribed by law and prior to the Closing Date, or risk its

 appeal will be foreclosed as moot.

         28.       Binding Effect of Sale Order. The terms and provisions of the Asset Purchase

 Agreement and this Sale Order shall be binding in all respects upon the Sellers, the Debtors'


                                                 32
 FTL 111766962V9
    Case 3:16-bk-02230-PMG                 Doc 1118        Filed 07/18/18         Page 157 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 124 of 184 PageID# 592




 estates, their creditors, any affected tliird parties, all holders of equity interests in the Debtors, all

 holders of any claims, whether known or unknown, against the Debtors, any holders of Claims

 against or on all or any portion of the Transferred Assets, including, but not limited to all

 contract counterparties, leaseholders, governmental units, and any trustees, examiners,

 administrators, responsible officers, estate representatives, or similar entities for the Debtors, if

 any, subsequently appointed in any of the Debtors' chapter 11 cases or upon a conversion of any

 of the Debtors' chapter 11 cases to a case under chapter 7 of the Bankruptcy Code, and each of

 their respective Affiliates, successors and assigns. The Asset Purchase Agreement and the Sale

 Order shall inure to the benefit of the Sellers, the Debtors' estates, creditors, the Purchaser, and

 their respective successors and assigns. The Asset Purchase Agreement, the Sale Transaction and

 this Sale Order shall not be subject to rejection or avoidance by the Sellers, the Debtors' estates,

 creditors, its equity interest holders, or any trustee, examiner or receiver.

         29.       Conflicts; Precedence. In the event that there is a direct conflict between the


 terms of this Sale Order, the Asset Purchase Agreement, and any documents executed in

 connection therewith, the provisions contained in this Sale Order, the Asset Purchase Agreement

 and any documents executed in connection therewith shall govern, in that order. Nothing

 contained in any chapter 11 plan hereinafter confirmed in any of these chapter 11 cases, any

 order confirming such plan(s), or in any other order of any type or kind entered in any of these

 chapter 11 cases (including, without limitation, any order entered after any conversion of any of

 these chapter 11 cases to a case under chapter 7 of the Bankruptcy Code) or in any related

 proceeding shall alter, conflict with or derogate from the provisions of the Asset Purchase

 Agreement, any documents executed in connection therewith, or the terms ofthis Sale Order.




                                                    33
 FTL 111766962v9
    Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18       Page 158 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 125 of 184 PageID# 593




         30.       Modification of Asset Purchase Agreement. The Asset Purchase Agreement,

 and any related agreements, documents or other instruments, may be modified, amended or

 supplemented by the parties thereto, in a writing signed each party, and in accordance with the

 terms thereof, without further order of the Court; provided that any such modification,

 amendment or supplement does not materially change the terms of the Asset Purchase

 Agreement or any related agreements, documents or other instruments.

         31.       Bulk Sales; Taxes. No bulk sales law, bulk transfer law or similar law of any

  state or other jurisdiction (including those relating to Taxes, other than Transfer Taxes) shall

 apply in any way to the transactions contemplated by the Asset Purchase Agreement, the Sale

  Motion or this Sale Order. Except as otherwise expressly provided in the Asset Purchase

  Agreement, all obligations of the Debtors relating to Taxes, whether arising under any law, by

 the Asset Purchase Agreement, or otherwise shall be the obligation of and fiilfilled and paid by

  the Debtors.

         32.       Assumed Contract and Assumed Real Property Lease Deposits and Security.


  The Purchaser shall not be required, pursuant to section 365(1) of the Bankruptcy Code or

  otherwise, to provide any additional deposit or security with respect to any Assumed Contract or

  Assumed Real Property Lease to the extent not previously provided by the Debtors or in excess

  of any deposit or security previously provided by the Debtors.

         33.       RMST. Upon the Closing, subject to the conditions set forth in the Asset

  Purchase Agreement, the chapter 11 case of In re RMS Titanic, Inc., Case No. 3:16-bk-2230-

  PMG (Bankr. M.D. Fla.) shall be dismissed, without fiirther motion, hearing or Court order,

 upon the filing of a notice of dismissal pursuant to the relief granted in this Sale Order.




                                                  34
 FTL 111766962V9
    Case 3:16-bk-02230-PMG               Doc 1118      Filed 07/18/18       Page 159 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 126 of 184 PageID# 594




         34.       Retention of Jurisdiction. This Court shall retain exclusive jurisdiction to,

 among other things, interpret, enforce and implement the terms and provisions of this Sale Order

 and the Asset Purchase Agreement, all amendments thereto, any waivers and consents thereunder

 (and of each of the agreements executed in connection therewith), to adjudicate disputes related

 to this Sale Order or the Asset Purchase Agreement (and such other related agreements,

 documents or other instruments) and to enforce the injunctions set forth herein.

                                                ###




                                                 35
 FTL 111766962V9
    Case 3:16-bk-02230-PMG     Doc 1118        Filed 07/18/18   Page 160 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 127 of 184 PageID# 595

                                                                       EXHIBITE


                                   Exhibit A

                            Asset Purchase Agreement




 FTL 111766962V9
    Case 3:16-bk-02230-PMG     Doc 1118        Filed 07/18/18   Page 161 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 128 of 184 PageID# 596




                                  EXHIBIT F

                    FORM OF BIDDING PROCEDURES ORDER




                                     Ex. F-1
 FTL 111767089V15
    Case 3:16-bk-02230-PMG                    Doc 1118         Filed 07/18/18           Page 162 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 129 of 184 PageID# 597
                                                                                                   EXHIBIT F




                               UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                        JACKSONVILLE DIVISION


 In re:
                                                                      Case No. 3:16-bk-02230-PMG
 RMS TITANIC, INC., et a l . C h a p t e r 11

           Debtors.                                                   (Jointly Administered)
                                                     /

              ORDER (A) APPROVING COMPETITIVE BIDDING AND
      SALE PROCEDURES; (B) APPROVING FORM AND MANNER OF NOTICES;
    (C) APPROVING FORM OF ASSET PURCHASE AGREEMENT; (D) APPROVING
         BREAK-UP FEE AND EXPENSE REIMBURSEMENT;(E) SCHEDULING
                AUCTION AND HEARING TO CONSIDER FINAL APPROVAL
          OF SALE, INCLUDING REJECTION OR ASSUMPTION AND ASSIGNMENT
          OF RELATED EXECUTORY CONTRACTS AND UNEXPIRED LEASES AND
     SETTLEMENT WITH THE PACBRIDGE PARTIES; (F) AUTHORIZING SALE
    OF THE TRANSFERRED ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
    ENCUMBRANCES. AND INTERESTS; AND (G) GRANTING RELATED RELIEF




   The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
 number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions Management,
 LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075);
 Premier Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867), and Dinosaurs Unearthed Corp.
 (7309). The Debtors' service address is 3045 Kingston Court, Suite I, Peachtree Comers, Georgia 30071.
    Case 3:16-bk-02230-PMG                    Doc 1118         Filed 07/18/18           Page 163 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 130 of 184 PageID# 598

                                                                                                    EXHIBIT F



         THIS CAUSE came before the Court on July [•], 2018 at [•                         .m.] in Jacksonville,

 Florida upon the Motion for Entry of an Order (A) Approving Competitive Bidding and Sale

 Procedures; (B) Approving Form and Manner of Notices; (C) Approving Form of Asset

 Purchase Agreement; (D) Approving Break Up-Fee and Expense Reimbursement; (E) Scheduling

 Auction and Hearing to Consider Final Approval ofSale, Including Rejection or Assumption and

 Assignment of Related Executory Contracts and Unexpired Leases; (F) Authorizing Sale of the

 Transferred Assets Free and Clear ofAll Liens, Claims, Encumbrances, and Interests; and (G)

 Approving Settlement with the Pacbridge Parties; and (H) Granting Related Relief (the

 "Motion")?. (ECF No.                ) filed by debtors and debtors-in-possession RMS Titanic, Inc.;
 Premier Exhibitions, Inc.; Premier Exhibitions Management, LLC; Arts and Exhibitions

 International, LLC; Premier Exhibitions International, LLC; Premier Exhibitions NYC, Inc.;

 Premier Merchandising, LLC; and Dinosaurs Unearthed Corp. (collectively, the "Debtors")..^.
 Upon review of the Motion and the record in this case, and having considered the statements of

 counsel for the Debtors, and the evidence adduced by the Debtors (including proffers of evidence

 admitted into evidence without objection), the Court finds that establishing procedures for a sale

 of the Transferred Assets (as defined below) in accordance with this Bidding Procedures Order,

 is in the best interests of the Debtors' estates. Accordingly,



 ^ Capitalized terms used but not defined herein shall have the meanings set forth in the motion to approve these
 Bidding Procedures or the Asset Purchase Agreement dated as of June [•], 2018 by and among (i) Premier
 Exhibitions, Inc., a Florida corporation, (ii) Arts and Exhibitions International, LLC, a Florida limited liability
 company, (iii) Premier Exhibition Management LLC, a Florida limited liability company, (iv) Premier Exhibitions
 NYC, Inc., a Nevada corporation, (v) Premier Merchandising, LLC, a Delaware limited liability company,
 (vi) Premier Exhibitions International, LLC, a Delaware limited liability company, (vii) Dinosaurs Unearthed Corp.,
 a Delaware corporation; (viii) DinoKing Tech Inc. d/b/a Dinosaurs Unearthed, a company formed under the laws of
 British Columbia ("DinoKing"), (ix) RMS Titanic, Inc., a Florida corporation, solely for purposes of Article 111,
 Article V, Article VII and Article VIII, and Premier Acquisition Holdings LLC, a Delaware limited liability
 company (as amended, modified or supplemented, the "Asset Purchase Agreement"), as applicable.
 ^ All references to the Debtors herein shall refer either (a) to the Debtors including DinoKing, in the event that
 DinoKing becomes a Debtor, or (b) the Debtors and DinoKing, as an indirectly wholly-owned non-debtor subsidiary
 of Premier, in the event that DinoKing does not become a Debtor.
    Case 3:16-bk-02230-PMG             Doc 1118       Filed 07/18/18      Page 164 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 131 of 184 PageID# 599




         IT IS HEREBY FOUND AND DETERMINED THAT:


         A.    The findings and conclusions set forth herein constitute the Court's findings of

 fact and conclusions of law pursuant to Rule 7052 of the Federal Rules of Bankruptcy Procedure

 (the "Bankruptcy Rules"), made applicable to this proceeding pursuant to Bankruptcy Rule

 9014.


         B.    The Court has jurisdiction over the Motion and the transactions contemplated by

 the Asset Purchase Agreement pursuant to 28 U.S.C. §§157 and 1334, and this matter is a core

 proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (M) and (O). Venue in this district is proper

 under 28 U.S.C. §§ 1408 and 1409.

         C.    The statutory bases for the relief requested in the Motion are sections 105, 363,

 and 365 of chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101 et seq. (the

 ''Bankruptcy Code"), and Bankruptcy Rules 2002(a)(2), 6004,6006, 9014 and 9019.

         D.    Good and sufficient notice of the Motion and the relief sought therein has been

 given under the circumstances, and no other or further notice is required except as set forth

 herein with respect to the Sale Hearing. A reasonable opportunity to object or be heard regarding

 the relief provided herein has been afforded to creditors, equity holders and other parties in

 interest.


         E.    The Debtors' proposed notice of the Bidding Procedures is appropriate and

 reasonably calculated to provide all interested parties with timely and proper notice of the

 Auction, the sale of the assets as set forth in the Asset Purchase Agreement (the "Transferred

 Assets"), and the Bidding Procedures to be employed in connection therewith.

         F.    The Debtors have articulated good and sufficient reasons for the Court to:

 (i) approve the Bidding Procedures; (ii) schedule the Sale Hearing, approve the manner of notice
    Case 3:16-bk-02230-PMG                 Doc 1118         Filed 07/18/18   Page 165 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 132 of 184 PageID# 600



 of the Motion and the Sale Hearing, and set the Sale Objection Deadline (as defined below); and

 (iii) approve the procedures for the assumption and assignment of certain executory contracts

 and unexpired leases (collectively, the "Assumed Executory Contracts"), including notice of

 proposed cure amounts. Specifically, the Debtors, through their financial advisors retained in this

 case, GlassRatner Advisory & Capital Group LLC ("GlassRatner"), have engaged in a thorough

 and extensive marketing process over a period of approximately one year. In connection with

 that process, the Debtors contacted over 150 parties and signed approximately 30 non-disclosure

 agreements with entities that received information packages and registered access to the

 diligence data room. As a result of that process and in consultation with its professionals, on June

 [•], 2018, the Debtors designated Premier Acquisition Holdings LLC to be the stalking horse

 purchaser (the "Stalking Horse Purchaser"). Accordingly, the Court is satisfied that the

 timeline and deadlines set forth herein are appropriate and that good cause exists to grant the

 relief requested in the Motion.

         G.      The Transferred Assets include assets owned by Premier's indirect non-debtor

 Canadian subsidiary DinoKing. The Asset Purchase Agreement contemplates the possibility that

 DinoKing may become a debtor in these Bankruptcy Cases. If DinoKing becomes a debtor in

 these Bankruptcy Cases, this Bidding Procedures Order (and all exhibits thereto) shall also apply

 to DinoKing, and all references to the Debtors shall include DinoKing.

         H.      The entry of this Bidding Procedures Order is in the best interests of the Debtors,

 their estates, creditors, and other parties in interest.

         I.      The Bidding Procedures are reasonably designed to maximize the value to be

 achieved for the Transferred Assets.
    Case 3:16-bk-02230-PMG              Doc 1118       Filed 07/18/18       Page 166 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 133 of 184 PageID# 601




        IT IS THEREFORE ORDERED THAT:


        1.      The Motion is GRANTED as set forth herein.


        2.      All objections to the Motion or the relief provided herein that have not been

 withdrawn, waived or settled, and all reservations of rights included therein, hereby are overruled

 and denied on the merits.


        3.      The Bidding Procedures, attached hereto as Exhibit 1. are hereby incorporated

 herein and approved in their entirety. The Debtors are authorized to take any and all actions

 necessary or appropriate to implement the Bidding Procedures.

        4.      As further described in the Bidding Procedures, the deadline for submitting bids

 for the Transferred Assets (the "Bid Deadline") is August 8, 2018 at 4:00 p.m. (prevailing

 Eastern Time). No Bid shall be deemed to be a Qualified Bid or otherwise considered for any

 purposes unless such Bid is determined by the Debtors, in the exercise of their fiduciary duties,

 to meet the requirements set forth in the Bidding Procedures.

        5.      If Qualified Bids, other than the Qualified Bid of the Stalking Horse Purchaser,

 are received by the Debtors in accordance with the Bidding Procedures, the Auction shall take

 place on August 13, 2018 at 10:00 a.m. (prevailing Eastern Time) at Troutman Sanders

 LLP, 600 Peachtree Street NE, Suite 3000, Atlanta, GA 30308, or such other place and time

 as the Debtors shall notify all Qualified Bidders, the Official Committee of Unsecured Creditors

 (the "Creditors Committee") and the Official Committee of Equity Security Holders (the

 "Equity Committee," and together with the Creditors Committee, the "Committees"). The

 Auction shall be conducted in accordance with the Bidding Procedures. However, if no Qualified

 Bid, other than the Qualified Bid submitted by the Stalking Horse Purchaser, is received by the

 Bid Deadline, then the Auction will be canceled and the Debtors will proceed to seek final
    Case 3:16-bk-02230-PMG             Doc 1118      Filed 07/18/18       Page 167 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 134 of 184 PageID# 602



 approval of the Asset Purchase Agreement with the Stalking Horse Purchaser at the Sale

 Hearing.

        6.     The Stalking Horse Purchaser shall be entitled to credit bid each round at the

 Auction using the amount of the Break-up Fee (defined below) and Expense Reimbursement

 (defined below) as a portion of any Overbid by the Stalking Horse Purchaser.

        7.     If the Auction is cancelled in accordance with paragraph 5 above, the Sale

 Hearing shall be held before the Court on [August 13,2018 at 10:00 a.m.] (prevailing Eastern

 Time); or at such later date and time as may be scheduled by further Order of this Court upon

 motion or application by the Debtors. If the Auction takes place in accordance with paragraph 5

 hereof, the Sale Hearing shall be held before the Court on [August 15, 2018 at 10:00 a.m.]

 (prevailing Eastern Time); or at such later date and time as may be scheduled by further Order

 ofthis Court upon motion or application by the Debtors.

        8.     Objections, if any, to the Sale contemplated by the Asset Purchase Agreement

 must: (a) be in writing; (b) comply with the Bankruptcy Rules and the Local Rules of the United

 States Bankruptcy Court for the Middle District of Florida; (c) be filed with the clerk of the

 United States Bankruptcy Court for the Middle District of Florida, Jacksonville Division, Bryan

 Simpson United States Courthouse, 300 North Hogan Street, Suite 3-150, Jacksonville, Florida

 32202 (or filed electronically via CM/ECF), by 4:00 p.m. (prevailing Eastern Time) on

 August 8, 2018 (the "Sale Objection Deadline"); and (d) be served upon (i) counsel to the

 Debtors, Troutman Sanders LLP, 600 Peachtree Street NE, Suite 3000, Atlanta, GA 30308,

 attention: Harris B. Winsberg (harris.winsberg@.troutman.com') and Matthew R. Brooks

 (matthew.brooks@.troutman.com): (ii) counsel to the Creditors Committee, Storch Amini PC,

 140 East 45th Street, 25th Floor, New York, NY 10017, attention: Jeffrey Chubak
    Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18        Page 168 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 135 of 184 PageID# 603




 (ichubak@storchamini.com): (iii) counsel to the Equity Committee, Landau Gottfried & Berger

 LLP, 1801 Century Park East, Suite 700, Los Angeles, CA 90067, attention: Peter J. Gurfein

 (pgurfein@LGBFirm.com): (iv) counsel to the Stalking Horse Purchaser, Greenberg Traurig,

 P.A., 401 East Las Olas Blvd., Suite 2000, Fort Lauderdale, FL 33301, attention: Scott M.

 Grossman (grossmansm@,gtlaw.coni) and Bracewell LLP, 1251 Avenue of the Americas, 49th

 Floor,         New        York     NY       10020-1100,        attention      Jennifer      Feldsher

  (iennifer.feldsher@bracewell.com') and (v) the Office of the United States Trustee, U.S.

 Department of Justice, George C. Young Federal Building, 400 West Washington Street, Suite

  1100, Orlando,      FL    32801, attention Miriam G.      Suarez (Miriam.G.Suarez@usdoi.gov')

  (collectively, the "Notice Parties"), in each case, so as to be actually received no later than 4:00

 p.m. (prevailing Eastern Time) on August 8, 2018. Notwithstanding the foregoing, any objection

 to the conduct of the Auction (including the Debtors' determination of the Prevailing Bidder)

 may be raised for the first time at the Sale Hearing. Any other Sale Objections not filed and

 served before the Sale Objection Deadline will be waived. Responses to Sale Objections shall

 be filed and served by not later than 4:00 p.m. (prevailing Eastern Time) one day before the Sale

 Hearing.

          9.      The sale notice, substantially in the form attached hereto as Exhibit 2 (the "Sale

 Notice"), is hereby approved.

          10.     No later than three business days after entry of this Bidding Procedures Order, the

 Debtors will cause the Sale Notice to be sent by first-class mail postage prepaid, to the

  following: (a) all creditors or their counsel known by the Debtors to assert a lien (including any

 security interest), claim, right, interest or encumbrance of record against all or any portion of the

 Transferred Assets; (b) the Office of the United States Trustee; (c) the Securities and Exchange
    Case 3:16-bk-02230-PMG              Doc 1118       Filed 07/18/18       Page 169 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 136 of 184 PageID# 604



 Commission; (d) all applicable federal, state and local taxing and regulatory authorities of the

 Debtors or recording offices or any other governmental authorities that, as a result of the sale of

 the Transferred Assets, may have claims, contingent or otherwise, in connection with the

 Debtors' ownership of the Transferred Assets or have any known interest in the relief requested

 by the Motion; (e) the state and local environmental agencies in the jurisdictions where the

 Debtors own or lease real property; (f) the United States Attorney's office for the Middle District

 of Florida; (g) the National Oceanic and Atmospheric Administration; (h) all parties in interest

 who have requested notice pursuant to Bankruptcy Rule 2002 as of the date of entry of this

 Bidding Procedures Order; (i) counsel to the Creditors Committee; (j) counsel to the Equity

 Committee; (k) all parties to any litigation involving the Debtors; (1) all counterparties to any

 executory contract or unexpired lease of the Debtors; (m) all of DinoKing's known creditors,

 regulatory authorities, and other parties in interest that could assert Liens or Claims against the

 Transferred Assets; and (n) all other known creditors and interest holders of the Debtors.

        11.     Copies of exhibits to the Motion (including the Asset Purchase Agreement)

 may be obtained by request in writing, by telephone, or via email from counsel to the

 Debtors, Harris B. Winsberg (harris.winsberg@troutman.com> and Matthew R. Brooks

 (matthew.brooks@troutman.com), Telephone: 404.885.3348 Troutman Sanders LLP, 600

 Peachtree Street NE, Suite 3000, Atlanta, GA 30308. In addition, copies of the

 aforementioned will be available for review on the website maintained by the Committees,

 httD;//mvw.indla.com/cases/premiercommittee. and may be found on the PACER website,

 http://ecf.flmb.uscourts.gov.
    Case 3:16-bk-02230-PMG            Doc 1118       Filed 07/18/18       Page 170 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 137 of 184 PageID# 605




        12.    The notice of potential assumption and assignment of the Scheduled Contracts (as

 defined in the Cure Notice), substantially in the form attached hereto as Exhibit 3 (the "Cure

 Notice"), is hereby approved.

        13.    No later than three business days after the entry of this Bidding Procedures Order,

 the Debtors shall serve by first class mail or hand delivery the Cure Notice on all non-Debtor

 parties to the Scheduled Contracts. The Cure Notice shall identify the Scheduled Contracts and

 provide the cure amounts that the Debtors believe must be paid to cure all prepetition defaults

 under the Scheduled Contracts (collectively, the "Cure Amounts" and individually, a "Cure

 Amount").

        14.    Unless the non-debtor party to a Scheduled Contract files by the Sale Objection

 Deadline an objection (the "Cure Amount Objection") to its scheduled Cure Amoimt, the

 assumption and assignment to the Stalking Horse Purchaser of the Scheduled Contracts, or the

 ability of the Stalking Horse Purchaser to provide adequate asswance of future performance, and

 serves a copy of the Cure Amount Objection on the Notice Parties so as to be received by no

 later than the Sale Objection Deadline, such non-debtor party shall be deemed to consent to the

 Cure Amount proposed by the Debtors and shall be forever enjoined and barred from seeking an

 additional amount on account of the Debtors' cure obligations imder section 365 of the

 Bankruptcy Code or otherwise from the Debtors, their estates or the Stalking Horse Purchaser (or

 other Prevailing Bidder) on account of the assumption and assignment of the Scheduled

 Contracts and shall be deemed to have consented to the proposed assumption and assignment. In

 addition, if no timely Cure Amount Objection is filed, the Stalking Horse Purchaser (or other

 Prevailing Bidder) shall enjoy all the rights and benefits under all Scheduled Contracts without

 the necessity of obtaining any party's written consent to the Debtors' assumption and assignment
    Case 3:16-bk-02230-PMG              Doc 1118        Filed 07/18/18        Page 171 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 138 of 184 PageID# 606




 of such rights and benefits, and each such party shall be deemed to have waived any right to

 object to, contest, condition or otherwise restrict any such assumption and assignment or to

 object or contest that the Stalking Horse Purchaser (or other Prevailing Bidder) has not provided

 adequate assurance of future performance. Information regarding adequate assurance of future

 performance submitted as part of any Qualified Bid with respect to Scheduled Contracts shall be

 provided, upon request to Debtors' counsel made on or before the Bid Deadline, to the

 requesting non-debtor party to a Scheduled Contract within 24 hours of the Bid Deadline.

        15.     In the event of a dispute regarding: (a) any Cure Amount with respect to any

 Scheduled Contract; (b) the ability of the Prevailing Bidder (including the Stalking Horse

 Purchaser) to provide adequate assurance of future performance as required by section 365 of the

 Bankruptcy Code, if applicable, under such Scheduled Contract or Additional Assumed

 Executory Contract; or (c) any other matter pertaining to assumption and assignment, the Cure

 Amounts shall be paid as soon as reasonably practicable after the Closing and following the

 entry of a final order resolving the dispute and approving the assumption of such Scheduled

 Contract; provided, however, that the Debtors, with the consent of the Stalking Horse Purchaser

 or other Prevailing Bidder, as applicable or as provided in paragraph 18 below, are authorized to

 settle any dispute regarding the amount of any Cure Amount or assignment to the Prevailing

 Bidder (including the Stalking Horse Purchaser) without any further notice to or action, order or

 approval of the Court.

        16.     Notwithstanding the inclusion of an executory contract or unexpired lease on any

 list of Scheduled Contracts, the Stalking Horse Purchaser or other Prevailing Bidder, as

 applicable, shall have authority, in its sole discretion, to remove any contract or lease from the

 list of Scheduled Contracts either (i) at the Auction, or (ii) no later than five business days after


                                                  10
    Case 3:16-bk-02230-PMG              Doc 1118        Filed 07/18/18       Page 172 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 139 of 184 PageID# 607




 the Bankruptcy Court sustains, in whole or in part, such non-debtor party's Cure Amount

 Objection or Adequate Assurance Objection; in either such case, the Debtors shall not assume

 and assign such Scheduled Contract to the Stalking Horse Purchaser or other Prevailing Bidder,

 as applicable, who removed such contract or lease from any list of Scheduled Contracts.

        17.     Notwithstanding anything to the contrary herein, nothing in this Order shall

 extend the Debtors' time to assume or reject any executory contract or unexpired lease pursuant

 to section 365 of the Bankruptcy Code; provided, however, that the Debtors retain all rights to

 seek such an extension after notice and an opportunity for a hearing consistent with the

 applicable provisions of the Bankruptcy Code and Bankruptcy Rules.

        18.     In the event any party to a Scheduled Contract timely objects to the calculation of

 the Cure Amount for such contract, and alleges that the Cure Amount for such contract exceeds

 the amount calculated by Debtors for such contract (the amount of such excess Cure Amount for

 the contract in question, the "Excess Cure Amount''), then, (i) Debtors shall provide written

 notice to Stalking Horse Purchaser or other Prevailing Bidder, as applicable, of such Cure

 Amount objection and the amount of such Excess Cure Amount for each of the proposed

 Assumed Contracts, and (ii) Stalking Horse Purchaser or other Prevailing Bidder, as applicable

 shall, no later than three business days after receipt of such notice from Debtors either (a) notify

 the Debtors that Stalking Horse Purchaser or other Prevailing Bidder, as applicable, elects not to

 assimie such contract if the Excess Cure Amount is in excess of ten percent of the Cure Amount

 for such contract or (b) take no action with respect to such notice, in which case, such contract

 shall continue to be assumed by the Stalking Horse Purchaser or the Prevailing Bidder, as

 applicable, at the Closing. At the Closing, the Debtors shall retain the aggregate Excess Cure

 Amounts for all Assumed Contracts in escrow and shall use commercially reasonable efforts to


                                                 11
    Case 3:16-bk-02230-PMG              Doc 1118        Filed 07/18/18     Page 173 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 140 of 184 PageID# 608




 resolve such discrepancy with such contract counterparties after the Closing. In the event any

 such discrepancies are resolved by the Debtors, with the consent of the Stalking Horse Purchaser

 or other Prevailing Bidder, then the Debtors shall refund such Excess Cure Amounts to the

 Stalking Horse Purchaser or other Prevailing Bidder, as applicable. In the event the Debtors do

 not resolve such discrepancy with such contract counterparty in question, then the Debtors shall

 deliver such Excess Cure Amount to the contract counterparties in question.

        19.      Within two business days after the Closing Date, the Debtors will file a notice of

 assumption and assignment of the Assumed Executory Contracts, substantially in the form

 attached hereto as Exhibit 4 (the "Assumption Notice"), listing the Scheduled Contracts that

 were assumed and assigned as Assumed Executory Contracts, as of the Closing Date, to the

 Stalking Horse Purchaser or to the Prevailing Bidder, to the extent that the Prevailing Bidder is

 not the Stalking Horse Purchaser. The form of Assumption Notice is hereby approved.

        20.      The Sale Hearing may be continued, from time to time, without further notice to

 creditors, equity holders or other parties in interest other than by announcement of said

 continuance before the Court on the date scheduled for such hearing or in the hearing agenda for

 such hearing.

        21.      The form of the Asset Purchase Agreement is approved in all respects.

        22.      Other than the Stalking Horse Purchaser, no party submitting an offer or Bid for

 the Transferred Assets or a Qualified Bid shall be entitled to any expense reimbursement,

 breakup, termination or similar fee or payment.

        23.      In the event the Debtors consummate a Competing Transaction, a break-up fee in

 the amount of the greater of $500,000 or 3% of the Purchase Price set forth in the Prevailing Bid

 (the "Break-up Fee") and an expense reimbursement for actual, documented out-of-pocket


                                                   12
    Case 3:16-bk-02230-PMG              Doc 1118       Filed 07/18/18       Page 174 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 141 of 184 PageID# 609




 expenses (the "Expense Reimbursement,'' and together with the Break-up Fee, the "Bid

 Protections") shall be paid to the Stalking Horse Purchaser from the sale proceeds at the closing

 of such Competing Transaction, provided however, that the total amount of the Bid Protections

 shall be limited to a maximum of $1,000,000. The Bid Protections shall be an administrative

 expense of each of the Debtors' estates under Sections 503(b) and 507(a)(2) of the Bankruptcy

 Code, and shall be payable by the Debtors prior to payment of any other prepetition creditor.

        24.     If an Auction is conducted, the party with the next highest and best Qualified Bid

 after the Bid made by the Prevailing Bidder or otherwise second best Qualified Bid at the

 Auction, as determined by the Debtors, will be designated as the backup bidder (the "Backup

 Bidder").

        25.     To the extent not inconsistent with the Asset Purchase Agreement, the Bidding

 Procedures or this Bidding Procedures Order, the Debtors reserve the right as they may

 reasonably determine to be in the best interests of their estates, after consultation with the

 Committees, to: (a) determine which Bidders are Qualified Bidders; (b) determine which Bids

 are Qualified Bids; (c) determine which Qualified Bid is the highest and best Bid and which is

 the next highest and best Bid; (d) reject any Bid (other than the Stalking Horse Purchaser's Bid)

 that is (i) inadequate or insufficient, (ii) not in conformity with the requirements of the Bidding

 Procedures, this Bidding Procedures Order, the Bankruptcy Code, or the Bankruptcy Rules, or

 (iii) contrary to the best interests of the Debtors and their estates; (e) extend the deadlines set

 forth herein; or (f) continue or cancel the Auction or Sale Hearing in open court without further

 notice. The Stalking Horse Purchaser is a Qualified Bidder, and the Asset Purchase Agreement is

 a Qualified Bid.




                                                 13
   Case 3:16-bk-02230-PMG              Doc 1118       Filed 07/18/18       Page 175 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 142 of 184 PageID# 610




        26.    To the extent that any chapter 11 plan confirmed in these cases or any order

 confirming any such plan or any other order in these cases (including any order entered after any

 conversion of any of these cases to a case under chapter 7 of the Bankruptcy Code) alters,

 conflicts with or derogates from the provisions of this Bidding Procedures Order, the provisions

 of this Bidding Procedures Order shall control. The Debtors' obligations under this Bidding

 Procedures Order, the provisions of this Bidding Procedures Order and the portions of the Asset

 Purchase Agreement pertaining to the Bidding Procedures shall survive confirmation of any plan

 of reorganization or discharge of claims thereunder and shall be binding upon the Debtors, and

 the reorganized or reconstituted debtors, as the case may, after the effective date of a confirmed

 plan in one or more of the Debtors' cases (including any order entered after any conversion of

 any of these cases to a case under chapter 7 of the Bankruptcy Code).

        27.     If DinoKing becomes a debtor in these Bankruptcy Cases, this Bidding

 Procedures Order (and all exhibits thereto) shall apply to DinoKing, and all references to the

 Debtors shall include DinoKing.

        28.     To the extent there are any inconsistencies between the terms of this Bidding

 Procedures Order and the Asset Purchase Agreement (including all ancillary documents executed

 in connection therewith), the terms of this Bidding Procedures Order shall govern.

        29.     The stays provided for in Bankruptcy Rules 6004(h) and 6006(d) are hereby

 waived and this Bidding Procedures Order shall be effective immediately upon its entry.

        30.     All time periods set forth in this Bidding Procedures Order shall be calculated in

 accordance with Bankruptcy Rule 9006(a).

        31.     The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Bidding Procedures Order in accordance with the Motion.


                                                14
   Case 3:16-bk-02230-PMG            Doc 1118       Filed 07/18/18       Page 176 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 143 of 184 PageID# 611



       32.    The Court shall retain jurisdiction over any matters related to or arising from the

 implementationof this Bidding Procedures Order.

                                             ###




                                              15
    Case 3:16-bk-02230-PMG     Doc 1118        Filed 07/18/18   Page 177 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 144 of 184 PageID# 612




                                   Exhibit 1

                               Bidding Procedures




 FTL 1117SSS49V10
      Case 3:16-bk-02230-PMG                 Doc 1118          Filed 07/18/18          Page 178 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 145 of 184 PageID# 613




                                        BIDDING PROCEDURES-^

 I.      OVERVIEW

        On June 14, 2016 (the "Petition Date"), Premier Exhibitions, Inc., a Florida corporation
 ("Premier"); Arts and Exhibitions International, LLC, a Florida limited liability company
 ("A&E"); Dinosaurs Unearthed Corp., a Delaware Corporation ("DU Corp."); Premier
 Exhibitions International, LLC, a Delaware limited liability company ("PEI"); Premier
 Exhibition Management LLC, a Florida limited liability company ("PEM"); Premier Exhibitions
 NYC, Inc., a Nevada Corporation ("Premier NYC"); Premier Merchandising, LLC, a Delaware
 limited liability company ("Premier Merch"); and RMS Titanic, Inc., a Florida corporation
 ("RMST"), as debtors and debtors-in-possession (collectively, the "Debtors") filed voluntary
 petitions for relief under chapter 11 of title 11 of the United States Code (the "Bankruptcy
 Code"). The Debtors are operating their businesses and managing their properties as debtors-in-
 possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On August 24, 2016,
 both an Official Committee of Unsecured Creditors (the "Creditors Committee") and an
 Official Committee of Equity Security Holders (the "Equity Committee," and together with the
 Creditors Committee, the "Committees") were appointed.

         On July [•], 2018, the United States Bankruptcy Court for the Middle District of Florida
 (the "Bankruptcy Court") entered an order (the "Bidding Procedures Order"), which, among
 other things, authorized the Debtors to (a) solicit bids and approved these bidding procedures
 (the "Bidding Procedures") for a sale of the Transferred Assets (as defined in the Asset
 Purchase Agreement), on terms substantially similar to, and in no event less favorable to the
 Debtors than, the terms set forth in the Asset Purchase Agreement and as set forth in these
 Bidding Procedures, and (b) select Premier Acquisition Holdings LLC as the stalking horse
 bidder in connection with such sale (the "Stalking Horse Purchaser").

         On the terms and subject to the conditions set forth in the Asset Purchase Agreement, the
 Transferred Assets will be sold free and clear of all liens, claims and encumbrances (except that
 to the extent that any artifacts owned by RMST are subject to the jurisdiction of the United
 States District Court for the Eastern District of Virginia, in the civil action styled R.M.S. Titanic,
 Inc., Successor in Interest to Titanic Ventures Limited Partnership v. The Wrecked and
 Abandoned Vessel, Etc., Case No. 2:93-cv-902 (the "Admiralty Court") and to the Revised
 Covenants and Conditions (the "Covenants and Conditions") set forth in Exhibit A to the
 August 12, 2010 Opinion of the Admiralty Court, such artifacts shall continue to be subject to
 the Covenants and Conditions and to the jurisdiction of the Admiralty Court) as permitted by the
 Bankruptcy Code pursuant to an order approving a sale imder Section 363 of the Bankruptcy
 Code (the "Sale Order"). All references to the Debtors herein shall refer either (a) to the

 ' Capitalized terms used but not defined herein shall have the meanings set forth in the motion to approve these
 Bidding Procedures or the Asset Purchase Agreement dated as of June [•], 2018 by and among (i) Premier,
 (ii) A&E, (iii) PEM, (iv) Premier NYC, (v) Premier Merch, (vi) PEI, (vii) DU Corp.) (collectively with Premier,
 A&E, PEM, Premier NYC, Premier Merch and PEI, the "Debtor Sellers"); (viii) DinoKing Tech Inc. d^/a
 Dinosaurs Unearthed, a company formed under the laws of British Columbia ("DinoKing"), (ix) RMST, solely for
 purposes of Article 111, Article V, Article VII and Article VIII, and Premier Acquisition Holdings LLC, a Delaware
 limited liability company (as amended, modified or supplemented, the "Asset Purchase Agreement"), as
 applicable.


 FTL 111755549v10
       Case 3:16-bk-02230-PMG         Doc 1118    Filed 07/18/18         Page 179 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 146 of 184 PageID# 614




 Debtors including DinoKing, in the event that DinoKing becomes a Debtor, or (b) the
 Debtors and DinoKing, as an indirectly wholly-owned non-debtor subsidiary of Premier, in
 the event that DinoKing does not become a Debtor.

 II.     SUMMARY OF IMPORTANT DATES

 August 8,2018, at 4:00 p.m.               Bid Deadline

 August 8,2018, at 4:00 p.m.               Deadline to Object to Sale
                                           Deadline to Object to Assumption and
                                           Assignment of Transferred Contracts to
                                           Stalking Horse Purchaser, Including Proposed
                                           Cure Amounts

 August 10,2018, at 4:00 p.m.              Deadline for Debtors to Designate and Publish
                                           Qualified Bidders
 August 13,2018, at 10:00 a.m.             Auction, if any
                                           Location:

                                           Troutman Sanders LLP
                                           600 Peachtree Street NE, Suite 3000
                                           Atlanta, GA 30308
 August [13], 2018, at [10:00 a.m.]        Sale Hearing, if no Auction
                                           Location:

                                           United States Bankruptcy Court for the Middle
                                           District of Florida, Jacksonville Division
                                           Bryan Simpson United States Courthouse
                                           300 North Hogan Street, Courtroom 4A
                                           Jacksonville, Florida 32202
 August [15], 2018, at [10:00 a.m.]        Sale Hearing, if Auction occurs
                                           Location:

                                           United States Bankruptcy Court for the Middle
                                           District of Florida, Jacksonville Division
                                           Bryan Simpson United States Courthouse
                                           300 North Hogan Street, Courtroom 4A
                                           Jacksonville, Florida 32202
 4:00 p.m., one day before Sale Hearing    Deadline to File and Serve Responses to Any
                                           Sale Objection




 FTL 1117S5549V10
    Case 3:16-bk-02230-PMG                Doc 1118         Filed 07/18/18   Page 180 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 147 of 184 PageID# 615




 III.    MARKETING PROCESS

         A.         Contact Parties.

          The Debtors, in consultation with their financial advisor GlassRatner Advisory & Capital
 Group LLC ("GlassRatner"), have developed a list of parties whom the Debtors believe may
 potentially be interested in consummating, and whom the Debtors reasonably believe would have
 the financial resources to consummate, a competing transaction to that of the Stalking Horse
 Purchaser (a "Competing Transaction") (each, individually, a "Contact Party," and
 collectively, the "Contact Parties"). Following approval of the Bidding Procedures and until
 the Bid Deadline (as defined below), the Debtors intend to contact the Contact Parties to explore
 their interest and may initiate contact with, or solicit or encourage submission of any Qualified
 Bids by any person or otherwise facilitate any effort or attempt to make a Qualified Bid. Prior to
 the approval of the Bidding Procedures, third parties may continue to conduct due diligence on
 the Sellers and the Transferred Assets for purposes of being competing bidders for the
 Transferred Assets following the execution of confidentiality agreements with the Debtors. The
 Contact Parties may include parties whom the Debtors or their advisors have previously
 contacted regarding a transaction, regardless of whether such parties expressed any interest, at
 such time, in pursuing a transaction. The Debtors will continue to discuss and may supplement
 the list of Contact Parties throughout the marketing process, as appropriate.

         The Debtors may distribute to each Contact Party an information package containing:

                    1.     The Bidding Procedures Order;

                    2.     The Asset Purchase Agreement;

                    3.     These Bidding Procedures; and

                    4.     A confidentiality agreement that is substantially similar to the
                           confidentiality agreements executed by the Debtors with the Stalking
                           Horse Purchaser (unless the Contact Party has already entered into and
                           remains boimd by a confidentiality agreement with the Debtors).

         B.         Access to Diligence Materials.

         To participate in the bidding process and to receive access to then current and reasonably
 available due diligence materials (the "Diligence Materials"), a party must submit an executed
 confidentiality agreement in accordance with Section 11I.A.4. above, along with evidence
 satisfactory to the Debtors, demonstrating the party's financial capability to consummate a
 Competing Transaction (together, an "Expression of Interest"): to (i) GlassRatner Advisory &
 Capital Group LLC, 3445 Peachtree Road, Suite 1225, Atlanta, GA 30326, attention: Marshall
 Glade, Tel: (404) 835-8844, Fax: (678) 904-1991 (email: .melade@.elassratner.com.\ with a
 copy to (ii) the Committees' retained financial advisor, Lincoln International, 444 Madison
 Avenue, Suite 300, New York, NY 10022, attention: Brent C. Williams, Tel: (212) 357-7750,
 Fax: (212) 277-8101 (email: JBWilliams@lincolninternational.com.y Potential bidders are
 instructed to contact only the retained financial advisors to the Debtors and not any other
 parties, including the Debtors or any Committee members.
                                                     3
 FTL 11175SS49V10
    Case 3:16-bk-02230-PMG                  Doc 1118      Filed 07/18/18       Page 181 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 148 of 184 PageID# 616




         A party who submits an Expression of Interest and qualifies, in the Debtors' sole
 discretion, for access to Diligence Materials shall be a "Preliminary Interested Purchaser" and
 shall be provided prompt access to the Diligence Materials in no event later than one business
 day following receipt of an Expression of Interest.

 IV.     AUCTION QUALIFICATION PROCESS

        To be eligible to participate in the Auction (as defined herein), each offer, solicitation or
 proposal (each, a "Bid"), and each party submitting a Bid (each, a "Bidder"), must be
 determined by the Debtors to satisfy each of the following conditions:

         A.         Good Faith Deposit. Each Bid must be accompanied by a cash deposit in the
                    amount of 10% of the total consideration provided for in its Bid, to be held in an
                    interest-bearing escrow account to be identified and established by the Debtors
                    (the "Good Faith Deposit"). The Debtors will provide wire instructions for the
                    Good Faith Deposit upon written request of any Preliminary Interested Purchaser
                    made to (i) GlassRatner Advisory & Capital Group LLC, 3445 Peachtree Road,
                    Suite 1225, Atlanta, GA 30326, attention: Marshall Glade, Tel: (404) 835-8844,
                    Fax: (678) 904-1991 (email: .mglade^lglassratner.com.). with a copy to
                    (ii) Lincoln International, 444 Madison Avenue, Suite 300, New York, NY 10022,
                    attention: Brent C. Williams, Tel: (212) 357-7750, Fax: (212) 277-8101 (email:
                    •BWilliams@lincolnintemational.com.y

         B.         Same or Better Terms.

                    1.     Each Bid must be on terms that are substantially similar, the same or
                           better for the Debtors than        the terms of the Asset Purchase
                           Agreement. At a minimum, each Bid must:

                           (a)    Propose a Competing Transaction for all or substantially all of the
                                  Transferred Assets;

                           (b)    Include an executed asset purchase agreement by the Bidder (a
                                  "Competing Asset Purchase Agreement") in substantially the
                                  same form and on substantially the same material terms as the
                                  Asset Purchase Agreement, excepting the Bid Protections
                                  applicable only to the Stalking Horse Purchaser (including
                                  without limitation the Break-Up Fee and Expense
                                  Reimbursement);

                           (c)    Include a redline comparison marked to show all changes to the
                                  Asset Purchase Agreement;

                           (d)    Include a signed statement that the Bid set forth in the Competing
                                  Asset Purchase Agreement is irrevocable until the earlier of (i) the
                                  Outside Backup Date (as defined herein) or (ii) the date of closing
                                  of a Competing Transaction with the Prevailing Bidder (as defined
                                  herein) or with the Backup Bidder (as defined herein);
                                                    4
 FTL 1117S5549V10
    Case 3:16-bk-02230-PMG                    Doc 1118        Filed 07/18/18   Page 182 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 149 of 184 PageID# 617




                           (e)      Include a signed statement that the Bidder consents to be bound by
                                    and to the Covenants and Conditions;

                           (f)      Propose a purchase price equal to or greater than $19,000,000.00?
                                    in cash (the "Minimum Cash Amount");

                           (g)      Obligate the Bidder to pay all Cure Amounts; and

                           (h)      Not contain any break-up fee, expense reimbursement, or similar
                                    type of payment in favor of the Bidder.

                    2.     A Bid will not be considered a Qualified Bid (as defined herein) if such
                           Bid:

                           (a)      Contains any material alterations to the Asset Purchase Agreement
                                    not contemplated under Section IV.B.l.(b) above;

                           (b)      Is not received by the Bid Deadline (as defined herein) in
                                    accordance with these Bidding Procedures; or

                           (c)      Does not contain evidence of the Bidder's financial ability to
                                    perform in accordance with Section IV.D. of these Bidding
                                    Procedures.

         C.         Corporate Authority. Each Bid must include written evidence acceptable to the
                    Debtors demonstrating appropriate corporate authorization to consummate the
                    proposed Competing Transaction; provided, however., that, if the Bidder is an
                    entity specially formed for the purpose of effectuating the Competing
                    Transaction, then the Bidder must furnish written evidence reasonably acceptable
                    to the Debtors of the approval of the Competing Transaction by the equity
                    holder(s) of such Bidder.

         D.         Proof of Financial Ability to Perform. Each Bid must include written evidence
                    satisfactory to the Debtors to demonstrate that the Bidder has the necessary
                    financial ability to close the Competing Transaction and provide adequate
                    assurance of future performance under all contracts to be assumed and assigned in
                    such Competing Transaction. Such information must include, at a minimum, the
                    following:

                    1.     Contact names and telephone numbers for verification of financing
                           sources;


                    2.     Evidence of the Bidder's internal resources and proof of unconditional
                           debt or equity funding commitments, from a recognized banking
                           institution in the amount of at least 125% of the Minimum Cash Amount
                           of such Bid, or the posting of an irrevocable letter of credit from a

 ^All amounts herein areexpressed in United States dollars.
                                                         5
 FTL 111755549V10
    Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18      Page 183 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 150 of 184 PageID# 618




                           recognized banking institution issued in favor of the Debtors in the
                           amount of at least 125% of the Minimum Cash Amount of such Bid;

                    3.     The Bidder's current audited financial statements, provided, however^ that
                           if the Bidder is an entity formed solely for the purpose of the Bid, the
                           Bidder must include current audited financial statements for such Bidder's
                           equity holders, and evidence that such equity holders have guaranteed the
                           obligations of such Bidder in connection with the Competing Transaction;
                           and

                    4.     Any other form of financial disclosure or credit-quality support
                           information or enhancement reasonably acceptable to the Debtors
                           demonstrating that such Bidder has the ability to close the Competing
                           Transaction.

         E.         No Contingencies.. A Bid may not be conditioned on obtaining financing or any
                    internal approval, or on the outcome or review of due diligence.

         F.         Irrevocable. A Bid must be irrevocable through the time of the Auction, provided.
                    however, that if such Bid is accepted as the Prevailing Bid or the Backup Bid
                    (each as defined herein), such Bid shall remain irrevocable thereafter, until the
                    earlier of (i) the Outside Backup Date (as defined herein) or (ii) the date of
                    closing of a Competing Transaction with the Prevailing Bidder (as defined herein)
                    or with the Backup Bidder (as defined herein).

         G.         Bid Deadline. All Bids must be submitted so that they are actually received by the
                    following parties on or before August 8, 2018 at 4:00 p.m. (prevailing Eastern
                    Time) (the "Bid Deadline"): (i) counsel to the Debtors, Troutman Sanders LLP,
                    600 Peachtree Street NE, Suite 3000, Atlanta, GA 30308, attention: Harris B.
                    Winsberg f-harris.winsberg@troutman.com.') and Matthew R. Brooks
                    (matthew.brooks@troutman.com); (ii) counsel to the Creditors Committee, Storch
                    Amini PC, 140 East 45th Street, 25th Floor, New York, NY 10017, attention:
                    Jeffrey Chubak r.ichubak@storchamini.com.'): (iii) counsel to the Equity
                    Committee, Landau Gottfned &. Berger LLP, 1801 Century Park East, Suite 700,
                    Los Angeles, CA 90067, attention: Peter J. Gurfein f-pgurfein@LGBFirm.com.'t:
                    (iv) counsel to the Stalking Horse Purchaser, Greenberg Traurig, P.A., 401 East
                    Las Olas Blvd., Suite 2000, Fort Lauderdale, FL 33301, attention: Scott M.
                    Grossman (.grossmansm@gtlaw.coni.') and Bracewell LLP, 1251 Avenue of the
                    Americas, 49th Floor, New York NY 10020-1100, attention Jennifer Feldsher
                    (.iennifer.feldsher@bracewell.com.'): (v) the Debtors' retained financial advisor,
                    GlassRatner Advisory & Capital Group LLC, 3445 Peachtree Road, Suite 1225,
                    Atlanta, GA 30326, attention: Marshall Glade (.mGlade@.glassratner.com-'): and
                    (vi)the Committees' retained financial advisor: Lincoln International, 444
                    Madison Avenue, Suite 300, New York, NY 10022, attention: Brent C. Williams
                    (.BWilliams@lincolnintemational.com.).




 FTL 111755S49V10
      Case 3:16-bk-02230-PMG                Doc 1118        Filed 07/18/18       Page 184 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 151 of 184 PageID# 619




         H.         Qualified Bids. A Bid received fi"om a Bidder on or before the Bid Deadline that
                    meets the requirements of Sections IV.A-G of these Bidding Procedures shall
                    constitute a "Qualified Bid," and such Bidder shall constitute a "Qualified
                    Bidder." For purposes of the Auction, the Asset Purchase Agreement submitted
                    by the Stalking Horse Purchaser is a Qualified Bid and the Stalking Horse
                    Purchaser is a Qualified Bidder for all purposes and requirements pursuant to
                    these Bidding Procedures, notwithstanding the requirements that other Bidders
                    must satisfy to be a Qualified Bidder. The Stalking Horse Purchaser shall not be
                    required to take any flirther action in order to participate in the Auction, or if the
                    Asset Purchase Agreement submitted by the Stalking Horse Purchaser is the
                    Prevailing Bid or the Backup Bid, to be named the Prevailing Bidder or the
                    Backup Bidder (each as defined herein), as applicable. Within one business day
                    after the Bid Deadline, the Debtors shall inform counsel to the Committees and
                    the Stalking Horse Purchaser whether the Debtors will consider any Bids received
                    to be Qualified Bids.

         I.         Disclosure of Qualified Bids. If the Debtors receive one or more Qualified Bids
                    (other than the Qualified Bid of the Stalking Horse Purchaser), then not later than
                    two business days after the Bid Deadline (the "Competing Bid Disclosure
                    Deadline"), the Debtors shall file a notice with the Bankruptcy Court disclosing
                    the identity and aggregate consideration offered by such Qualified Bid(s).

         J.         Cancellation of Auction If No Competing Qualified Bids Received. If the Debtors
                    do not receive any other Qualified Bid(s) on or before the Bid Deadline, then on
                    or before the Bid Disclosure Deadline the Debtors shall file a notice with the
                    Bankruptcy Court cancelling the Auction, and will proceed to seek approval of
                    the sale of the Transferred Assets to the Stalking Horse Purchaser under the Asset
                    Purchase Agreement at the Sale Hearing.

 V.      AUCTION

         A.         Determination of Highest and Best Qualified Bid.

                    1.     If one or more Qualified Bids (other than the Asset Purchase Agreement
                           submitted by the Stalking Horse Purchaser) are received by the Bid
                           Deadline, the Debtors will conduct an auction (the "Auction") to
                           determine the highest and best Qualified Bid. The determination of the
                           highest and best Qualified Bid shall take into account the followmg (the
                           "Bid Assessment Criteria"):

                           (a)     the total consideration to be received by the Debtors;

                           (b)     the likelihood that the Admiralty Court will approve the Bidder as
                                   purchaser of the Transferred Assets; and

                           (c)     the likelihood of the Bidder's ability to timely consummate a
                                   Competing Transaction.


 FTL 111755549V10
    Case 3:16-bk-02230-PMG                   Doc 1118    Filed 07/18/18        Page 185 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 152 of 184 PageID# 620




                    2,    The highest and best Qualified Bid must include cash in an amount not
                           less than the Minimum Cash Amount.

         B.         Conduct of the Auction.

                    1.    The Auction, if any, shall take place on August 13, 2018 at 10:00 a.m.
                          (prevailing Eastern Time) at the offices of Troutman Sanders, LLP, 600
                          Peachtree Street NE, Suite 3000, Atlanta, Georgia 30308, or such other
                          place and time as the Debtors shall notify the Auction Attendees (as
                          defined herein).

                    2.    Only Qualified Bidders may participate in the Auction.

                    3.    The Debtors and their professionals shall direct and preside over the
                          Auction.

                    4.    The Auction will be transcribed by a certified court reporter.

                    5.    At the start of the Auction, the Debtors shall describe the terms of the
                          highest and best Qualified Bid received prior to the Bid Deadline (such
                          Qualified Bid, the "Auction Baseline Bid"). The Stalking Horse
                          Purchaser shall have the right (but not the obligation) to match the highest
                          and best Qualified Bid received prior to the Bid Deadline, and thus
                          become the Auction Baseline Bid.

                    6.    At the start of the Auction, each Qualified Bidder participating in the
                          Auction must confirm that it has not engaged in any collusion with respect
                          to the bidding or sale of the Transferred Assets, and at the Debtors'
                          request, each Qualified Bidder must disclose the direct and indirect legal
                          and beneficial owners of the Qualified Bidder.

                    7.    Unless otherwise agreed by the Debtors, only the Debtors, the
                          Committees, the Stalking Horse Purchaser, and any other Qualified
                          Bidder, along with each of their respective professionals (collectively, the
                          "Auction Attendees"), may attend the Auction in person, and only the
                          Stalking Horse Purchaser and other Qualified Bidders will be entitled to
                          make any Bids at the Auction.

                    8.    Terms of Overbids.

         An "Overbid" is any bid made at the Auction after the Debtors' announcement of the
 Auction Baseline Bid. To submit an Overbid at the Auction, a Bidder must comply with the
 following conditions:

                          (a)    The initial Overbid must be for a purchase price equal to or greater
                                 than $19,000,000.00 (the "Initial Overbid").



 FTL 1117S5549V10
    Case 3:16-bk-02230-PMG                Doc 1118       Filed 07/18/18       Page 186 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 153 of 184 PageID# 621




                           (b)    Any Bid after the Initial Overbid must be made in increments of
                                  not less than $500,000.00.

                           (c)    The Stalking Horse Purchaser shall be entitled to credit bid the Bid
                                  Protections as a portion of any Overbid (including an Initial
                                  Overbid).

                           (d)    All Overbids must at all times continue to comply with the
                                  conditions for a Qualified Bid set forth in Sections IV.A-G of these
                                  Bidding Procedures.

                           (e)    All Overbids must remain open and binding on the Bidder until
                                  and unless the Debtors accept a higher Overbid. At the Debtors'
                                  request (in consultation with the Committees, but in the Debtors'
                                  sole and absolute discretion) at any point during the Auction, a
                                  Bidder submitting an Overbid must submit, as part of its Overbid,
                                  written evidence (in the form of financial disclosure or credit-
                                  quality support information or enhancement reasonably acceptable
                                  to the Debtor) demonstrating such Bidder's ability to close the
                                  Competing Transaction proposed by such Overbid (including
                                  performance of obligations under any Assumed Executory
                                  Contracts).

                    9.     Announcing Overbids.

         The Debtors shall announce at the Auction (a) the material terms of each Overbid that
 shall stand as the basis for the next Overbid; (b) the basis for calculating the total consideration
 offered in each such Overbid, and (c) the resulting benefit to the Debtors' estates, based on the
 Bid Assessment Criteria.

         C.         Conclusion of Auction and Determination of Prevailing Bidder.

         The Auction will continue until there is only one Qualified Bid that the Debtors
 determine in their reasonable business judgment, upon consideration of the Bid Assessment
 Criteria and after consultation with the Committees, is the highest and best Qualified Bid at the
 Auction (the "Prevailing Bid" and the Bidder submitting such Prevailing Bid, the "Prevailing
 Bidder"). The Auction shall not close unless and until all Bidders who have submitted Qualified
 Bids have been given a reasonable opportunity to submit a further Overbid to the last Overbid.
 Once the Debtors have designated the Prevailing Bidder, the Auction will be concluded. The
 Debtors will not consider any Bids submitted after the conclusion of the Auction.

         D.         Backup Bidder.

                    1.    Notwithstanding anything in these Bidding Procedures to the contrary, if
                          an Auction is conducted, the Qualified Bidder with the next highest or best
                          Qualified Bid after the Bid made by the Prevailing Bidder at the Auction,
                          as determined by the Debtors in the exercise of their reasonable business
                          judgment, will be designated as a backup bidder (the "Backup Bidder").
                                                    9
 FTL 1117SSS49V10
    Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18       Page 187 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 154 of 184 PageID# 622




                           The Backup Bidder is required to keep its final Overbid (or, if the Backup
                           Bidder did not submit any Overbids, then its initial Bid) (the "Backup
                           Bid") open and irrevocable until the earlier of (i) 4:00 p.m. (prevailing
                           Eastern time) on the date that is 30 days after the Closing Date provided
                           for in the Sale Order approving the Prevailing Bid (the "Outside Backup
                           Date"), or (ii) the date of closing of a Competing Transaction with the
                           Prevailing Bidder or v^rith the Backup Bidder.

                    2.     Following the Sale Hearing, if the Prevailing Bidder fails to close due to a
                           breach or failure to perform on the part of such Prevailing Bidder, the
                           Debtors may designate the Backup Bidder to be the new Prevailing
                           Bidder, and the Debtors will be authorized, but not required, to
                           consummate a transaction with the Backup Bidder without further order of
                           the Bankruptcy Court. In such case, the defaulting Prevailing Bidder's
                           Good Faith Deposit shall be forfeited to the Debtors.

         E.         Consent to Jurisdiction as Condition to Bidding: Waiver of Jury Trial Rights.

     BY SUBMITTING A BID, THE STALKING HORSE PURCHASER AND ALL
 OTHER QUALIFIED BIDDERS AT THE AUCTION ARE SUBMITTING TO THE
 CORE JURISDICTION OF THE BANKRUPTCY COURT, AND ARE WAIVING ANY
 RIGHT TO A JURY TRIAL IN CONNECTION WITH ANY DISPUTES RELATING TO
 THESE BIDDING PROCEDURES, THE ASSET PURCHASE AGREEMENT, A
 COMPETING ASSET PURCHASE AGREEMENT, THE AUCTION OR THE
 CONSTRUCTION AND ENFORCEMENT OF ANY DOCUMENTS DELIVERED IN
 CONNECTION WITH A BID.

 VI.     SALE HEARING

        The Bankruptcy Court will conduct a hearing (the "Sale Hearing") on either (a) if no
 Auction occurs, [August 13, 2018 at 10:00 a.m.] (prevailing Eastern Time), or (b) if an
 Auction occurs, [August 15, 2018 at 10:00 a.m.] (prevailing Eastern Time). At the Sale
 Hearing, the Debtors will seek approval of the transactions contemplated by the Asset Purchase
 Agreement or Competing Asset Purchase Agreement, as applicable, with the Prevailing Bidder.
 Objections, if any, to the sale of the Transferred Assets to the Prevailing Bidder and the
 transactions contemplated therewith (a "Sale Objection") must be in writing and filed with the
 Bankruptcy Court by August 8, 2018 at 4:00 p.m. (the "Sale Objection Deadline"). Any Sale
 Objection must also be served, so that it is actually received by the Sale Objection Deadline, on
 (a) counsel to the Debtors, Troutman Sanders LLP, 600 Peachtree Street NE, Suite 3000,
 Atlanta, GA 30308, attention: Harris B. Winsberg fJiarris.winsberg@.troutman.com.') and
 Matthew R. Brooks (matthew.brooks@troutman.com); (b) counsel to the Creditors Committee,
 Storch Amini PC, 140 East 45th Street, 25th Floor, New York, NY 10017, attention: Jeffrey
 Chubak (.ichubak@storchamini.coni-'): (c) counsel to the Equity Committee, Landau Gottfried &
 Berger LLP, 1801 Century Park East, Suite 700, Los Angeles, CA 90067, attention: Peter J.
 Gurfein (•pgurfein@LGBFirm.com-): (d) counsel to the Stalking Horse Purchaser, Greenberg
 Traurig, P.A., 401 East Las Olas Blvd., Suite 2000, Fort Lauderdale, FL 33301, attention: Scott
 M. Grossman (•grossmansm@,gtlaw.com-) and Bracewell LLP, 1251 Avenue of the Americas,

                                                    10
 FTL 11175S549V10
    Case 3:16-bk-02230-PMG                  Doc 1118     Filed 07/18/18     Page 188 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 155 of 184 PageID# 623




 49th     Floor,     New       York         NY   10020-1100,    attention     Jennifer    Feldsher
 (•iennifer.feldsher@bracewell.com.'): and (e) the Office of the United States Trustee, U.S.
 Department of Justice, George C. Young Federal Building, 400 West Washington Street, Suite
  1100, Orlando, FL 32801, attention Miriam G. Suarez (•Miriam.G.Suarez@usdoi.gov.).
 Notwithstanding the foregoing, any objection to the conduct of the Auction (including the
 Debtor's determination of the Prevailing Bidder) may be raised for the first time at the Sale
 Hearing. Any other Sale Objections must be filed and served by the Sale Objection
 Deadline, or else will be waived. Responses to Sale Objections shall be filed and served by not
 later than 4:00 p.m. one day before the Sale Hearing.

 VII.    RETURN OF GOOD FAITH DEPOSIT

         The Good Faith Deposits of all Qualified Bidders shall be held in one or more interest-
 bearing escrow accounts established and maintained by a reputable financial institution
 acceptable to the Debtors, but shall not become property of the Debtors' bankruptcy estates
 absent further order of the Bankruptcy Court. The Good Faith Deposit of any Qualified Bidder
 other than the Prevailing Bidder or the Backup Bidder shall be returned to such Qualified Bidder
 not later than three business days after the Sale Hearing. The Good Faith Deposit of the Backup
 Bidder shall be returned to the Backup Bidder on the date that is the earlier of 24 hours after (a)
 the closing of the transaction with the Prevailing Bidder and (b) the Outside Backup Date. Upon
 the return of the Good Faith Deposits, their respective ovmers shall receive any and all interest
 that will have accrued thereon. If the Prevailing Bidder timely closes, its Good Faith Deposit
 shall be credited to its purchase price.

                                                 ###




                                                  11
 FTL 11175S549V10
    Case 3:16-bk-02230-PMG     Doc 1118       Filed 07/18/18   Page 189 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 156 of 184 PageID# 624




                                  EXHIBIT G

                            ESCROW AGREEMENT




                                    Ex. G-1
 FTL 1117670a9v1S
      Case 3:16-bk-02230-PMG              Doc 1118        Filed 07/18/18        Page 190 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 157 of 184 PageID# 625

                                                                                           EXHIBIT G



                                        ESCROW AGREEMENT

 THIS ESCROW AGREEMENT (this "Escrow Agreement"^ is entered into and effective this [ ]th day of
 June, 2018, by and among (i) Premier Exhibitions, Inc., a Florida corporation ("Premier"), (ii) Arts and
 Exhibitions International, LLC, a Florida limited liability company ("ME"), (iii) Premier Exhibition
 Management LLC, a Florida limited liability company ("PEM"), (iv) Premier Exhibitions NYC, Inc., a
 Nevada corporation ("Premier NYC"V (v) Premier Merchandising, LLC, a Delaware limited liability
 company ("Premier Merch"). (vi) Premier Exhibitions International, LLC, a Delaware limited liability
 company ("PEl"), (vii) Dinosaurs Unearthed Corp., a Delaware corporation ("DU Corp.") (collectively with
 Premier, A&E, PEM, Premier NYC, Premier Merch and PEl, the "Debtor Sellers"!: (viii) DinoKing Tech
 Inc. d/b/a Dinosaurs Unearthed, a company formed under the laws of British Columbia ("DinoKjng"),
 Premier Acquisition Holdings LLC, a Delaware limited liability company (the "Purchaser"), and SunTrust
 Bank, a Georgia banking corporation, as escrow agent (the "Escrow Aaent"). The Debtor Sellers and
 DinoKing are collectively referred to herein as the "Sellers." The Sellers and Purchaser are collectively
 referred to herein as the "Parties". Capitalized terms used but not defined herein shall have the meaning
 ascribed to such tenms in the Asset Purchase Agreement (as defined below).

 WHEREAS, on June 14, 2018, Purchaser, Sellers and RMS Titanic, Inc., a Florida corporation, entered
 into that certain Asset Purchase Agreement (the "Asset Purchase Agreement"), pursuant to which (i)
 Sellers agreed to sell, assign, transfer, convey and deliver to Purchaser, and Purchaser agreed to
 purchase, acquire and accept from Sellers, all of the right, title and interest of Sellers in and to the
 Transferred Assets, and (ii) Purchaser has agreed to assume the Assumed Liabilities, in each case,
 effective as of the Closing, on the terms and subject to the conditions of the Asset Purchase Agreement;

 WHEREAS, pursuant to the terms of the Asset Purchase Agreement and this Escrow Agreement,
 Purchaser (i) has deposited with the Escrow Agent, on the date hereof, an amount in cash equal to
 $1,750,000 (the "Good Faith Deposit Funds") in an account (the "Good Faith Deposit Accounf) to be
 held, disbursed and invested by the Escrow Agent in accordance with this Escrow Agreement, and (ii)will
 deposit with the Escrow Agent, on the Closing Date, an amount in cash equal to $500,000 (the "Purchase
 Price Adiustment Funds") in an account (the "Purchase Price Adiustment Account") to be held, disbursed
 and invested by the Escrow Agent in accordance with this Escrow Agreement;

 WHEREAS, the Good Faith Deposit Funds and the Purchase Price Adjustment Funds are collectively
 referred to herein as the "Escrow Funds": and

 WHEREAS, the Parties acknowledge that the Escrow Agent is not a party to, and has no duties or
 obligations under, the Asset Purchase Agreement, that all references in this Escrow Agreement to the
 Asset Purchase Agreement are for convenience only, and that the Escrow Agent shall have no implied
 duties beyond the express duties set forth in this Escrow Agreement.

 NOW, THEREFORE, in consideration of the premises and the mutual covenants and agreements
 contained herein, and for other good and valuable consideration, the receipt and sufficiency of which is
 hereby acknowledged, in consideration of the premises herein, the Parties and the Escrow Agent,
 intending to be legally bound, hereby agree as follows:

 I.     Terms and Conditions

 1.1 The Parties hereby appoint the Escrow Agent as their escrow agent for the purposes set forth herein,
     and the Escrow Agent hereby accepts such appointment under the terms and conditions set forth
      herein.


 1.2 Purchaser shall, contemporaneously with the execution and delivery of this Escrow Agreement, and
     within three (3) Business Days from the execution and delivery of the Asset Purchase Agreement,
     deposit into the Good Faith Deposit Account the Good Faith Deposit Funds by wire transfer of
     immediately available funds using the wire instructions below. Escrow Agent shall hold, invest and
      disburse the Good Faith Deposit Funds in accordance with the terms and conditions of this Escrow
      Agreement


 FTL 111784647V10
       Case 3:16-bk-02230-PMG                  Doc 1118      Filed 07/18/18         Page 191 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 158 of 184 PageID# 626


                       SunTrust Bank
                       ABA: 061000104
                       Account; 9443001321
                       Account Name: Escrow Services
                       Reference: Premier Good Faitfi Deposit Account
                       Attention: Byron Roldan

 1.3 Purchaser shall, at the Closing, deposit into the Purchase Price Adjustment Account the Purchase
     Price Adjustment Funds by wire transfer of immediately available funds using the wire instructions
     below. Escrow Agent shall hold, invest and disburse the Purchase Price Adjustment Funds in
     accordance with the tenns and conditions of this Escrow Agreement.

                       SunTrust Bank
                       ABA: 061000104
                       Account: 9443001321
                       Account Name; Escrow Services
                       Reference; Premier Purchase Price Adjustment Account
                       Attention: Byron Roldan

 1.4 Escrow Agent shall hold the Good Faith Deposit Funds in its possession and shall disburse the Good
     Faith Deposit Funds pursuant to and in accordance with the terms and conditions of the joint written
     direction signed by the authorized representatives of Sellers and Purchaser which is attached hereto
       as Exhibit 0 (the "Joint Written Direction''^

 1.5 Escrow Agent shall hold the Purchase Price Adjustment Funds in its possession and shall disburse
     the Purchase Price Adjustment Funds after receipt of. and in accordance with, a joint written notice
     signed by the authorized representatives of Sellers and Purchaser substantially in the form attached
     hereto as Exhibit D (a "Purchase Price Adjustment Account Disbursement Instruction'^ Within two
     Business Days of receipt of the Purchase Price Adjustment Account Disbursement Instruction, all or a
     portion of the Purchase Price Adjustment Escrow Funds shall be disbursed by the Escrow Agent to
     Purchaser and/or the Sellers pursuant to the terms of and in the amounts specified in such
       instnjctions.

 1.6 For purposes of this Escrow Agreement, "Business Day" shall mean any day other than a Saturday,
     Sunday or any other day on which the banking institutions in the Commonwealth of Virginia, are
     authorized or required by law or executive order to remain closed.

 II.     Provisions as to Escrow Agent

 2.1 This Escrow Agreement expressly and exclusively sets forth the duties of the Escrow Agent with
     respect to any and all matters pertinent hereto, which duties shall be deemed purely ministerial in
     nature, and no implied duties or obligations shall be read into this Escrow Agreement against the
     Escrow Agent. The Escrow Agent shall in no event be deemed to be a fiduciary to any Party or any
     other person or entity under this Escrow Agreement. The permissive rights of the Escrow Agent to do
     things enumerated in this Escrow Agreement shall not be construed as duties. In performing its duties
     under this Escrow Agreement, or upon the claimed failure to perform its duties, the Escrow Agent
     shall not be liable for any damages, losses or expenses other than damages, losses or expenses
     which have been finally adjudicated by a court of competent jurisdiction to have resulted from the
     Escrow Agent's bad faith, willful misconduct or gross negligence. In no event shall the Escrow Agent
     be liable for incidental, indirect, special, consequential or punitive damages of any kind whatsoever
     (including but not limited to lost profits), even if the Escrow Agent has been advised of the likelihood
     of such loss or damage and regardless of the form of action. The Escrow Agent shall not be
     responsible or liable for the failure of any Party to take any action in accordance with this Escrow
     Agreement. Any wire transfers of funds made by the Escrow Agent pursuant to this Escrow
     Agreement will be made subject to and in accordance with the Escrow Agent's usual and ordinary
     wire transfer procedures in effect from time to time and the terms of this Escrow Agreement. The
     Escrow Agent shall have no liability with respect to the transfer or distribution of any funds effected by
     the Escrow Agent pursuant to wiring or transfer instructions provided to the Escrow Agent in
     accordance with the provisions of this Escrow Agreement, except in the case of its bad faith, gross
     negligence or willful misconduct. The Escrow Agent shall not be obligated to take any legal action or

 FTL 111784647V10
    Case 3:16-bk-02230-PMG                   Doc 1118         Filed 07/18/18          Page 192 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 159 of 184 PageID# 627


     to commence any proceedings in connection with this Escrow Agreement or any property held
     hereunder or to appear in, prosecute or defend in any such legal action or proceedings.

 2.2 The Parties acknowledge and agree that the Escrow Agent acts hereunder as a depository only, and
     is not responsible or liable in any manner whatsoever for the sufficiency, correctness, genuineness or
     validity of the subject matter of this Escrow Agreement or any part thereof, or of any person
     executing or depositing such subject matter. No provision of this Escrow Agreement shall require the
     Escrow Agent to risk or advance its own funds or otherwise incur any financial liability or potential
     financial liability in the performance of its duties or the exercise of its rights under this Escrow
     Agreement.

 2.3 This Escrow Agreement constitutes the entire agreement between the Escrow Agent and the Parties
     in connection with the subject matter of this Escrow Agreement, and no other agreement entered into
     between the Parties, or any of them, including, without limitation, the Asset Purchase Agreement,
     shall be considered as adopted or binding, in whole or in part, upon the Escrow Agent
     notwithstanding that any such other agreement may be deposited with the Escrow Agent or the
     Escrow Agent may have knowledge thereof.

 2.4 The Escrow Agent shall in no way be responsible for nor shall it be its duty to notify any Party or any
     other person or entity interested in this Escrow Agreement of any payment required or maturity
     occurring under this Escrow Agreement or under the terms of any instrument deposited herewith
     unless such notice is explicitly provided for in this Escrow Agreement. Solely as between Purchaser
     and Sellers, with respect to any inconsistencies between the Escrow Agreement and the Asset
     Purchase Agreement, the Asset Purchase Agreement shall control with respect to the rights of
     Purchaser and Sellers.

 2.5 The Escrow Agent shall be protected in acting upon any written instruction, notice, request, waiver,
     consent, certificate, receipt, authorization, power of attorney or other paper or document which the
     Escrow Agent in good faith believes to be genuine and what it purports to be, including, but not
     limited to, items directing investment or non-investment of funds, items requesting or authorizing
     release, disbursement or retainage of the subject matter of this Escrow Agreement and items
     amending the terms of this Escrow Agreement. Except with respect to information set forth in the
     Incumbency Certificates furnished pursuant to Section 4.13 hereof, The Escrow Agent shall be under
     no duty or obligation to inquire into or investigate the validity, accuracy or content of any such notice,
     request, waiver, consent, certificate, receipt, authorization, power of attorney or other paper or
     document. The Escrow Agent shall have no duty or obligation to make any formulaic calculations of
     any kind hereunder.

 2.6 The Escrow Agent may execute any of its powers and perform any of its duties hereunder directly or
     through affiliates or agents. The Escrow Agent shall be entitled to seek the advice of legal counsel
     with respect to any matter arising under this Escrow Agreement and the Escrow Agent shall have no
     liability and shall be fully protected with respect to any action taken or omitted in good faith pursuant
     to the advice of such legal counsel. The Parties shall be jointly and severally liable for and shall
     promptly pay upon demand by the Escrow Agent the reasonable and documented fees and expenses
     of any such legal counsel; provided, that solely as between Purchaser and Sellers, Purchaser shall
     be responsible for 50% of such fees and expenses and Sellers shall be responsible for 50% of such
     fees and expenses.

 2.7 In the event of any disagreement between any of the Parties, or between any of them and any other
     person or entity, resulting in adverse claims or demands being made in connection with the matters
     covered by this Escrow Agreement, or in the event that the Escrow Agent, in good faith, is in doubt
     as to what action it should take hereunder, the Escrow Agent may, at its option, refuse to comply with
     any claims or demands on it, or refuse to take any other action hereunder, so long as such
     disagreement continues or such doubt exists, and in any such event, the Escrow Agent shall not be
     or become liable (except for its bad faith, gross negligence or willful misconduct) in any way or to any
     Party or other person or entity for its failure or refusal to act, and the Escrow Agent shall be entitled to
     continue to refrain from acting until (i) the rights of the Parties and all other interested persons and
     entities shall have been fully and finally adjudicated by a court of competent jurisdiction, or (ii) all
     differences shall have been settled and all doubt resolved by agreement among all of the Parties and
     all other interested persons and entities, and the Escrow Agent shall have been notified thereof in

 FTL 111784647V10
        Case 3:16-bk-02230-PMG                 Doc 1118         Filed 07/18/18         Page 193 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 160 of 184 PageID# 628


        writing signed by the Parties and all such persons and entities. Notwithstanding the foregoing, the
        Escrow Agent may in its discretion obey the order, judgment, decree or levy of any court, whether
        with or withoutjurisdiction, or of an agency of the United States or any political subdivision thereof, or
        of any agency of any State of the United States or of any political subdivision of any thereof, and the
        Escrow Agent is hereby authorized in its sole discretion to comply with and obey any such orders,
        judgments, decrees or levies. The rights of the Escrow Agent under this sub-paragraph are
        cumulative of all other rights which it may have by law or othenwise.

        In the event of any disagreement or doubt, as described above, the Escrow Agent shall have the
        right, in addition to the rights described above and at the election of the Escrow Agent, to tender into
        the registry or custody of any court having jurisdiction, all funds and property held under this Escrow
        Agreement, and the Escrow Agent shall have the right to take such other legal action as may be
        appropriate or necessary, in the reasonable discretion of the Escrow Agent Upon such tender, the
        Parties agree that the Escrow Agent shall be discharged from all further duties under this Escrow
        Agreement: provided, however, that any such action of the Escrow Agent shall not deprive the
        Escrow Agent of its compensation and right to reimbursement of expenses hereunder arising prior to
        such action and discharge of the Escrow Agent of its duties hereunder.

  2.8 The Parties jointly and severally agree to indemnify, defend and hold harmless the Escrow Agent and
      each of the Escrow Agent's officers, directors, agents and employees (the "Indemnified Parties") from
      and against any and all losses, liabilities, claims made by any Party or any other person or entity,
      damages, expenses and costs (including, without limitation, reasonable attomeys' fees and
      expenses) of every nature whatsoever (collectively, "Losses"^ which any such Indemnified Party may
      incur and which arise directly or indirectly from this Escrow Agreement or which arise directly or
      indirectly by virtue of the Escrow Agent's undertaking to serve as Escrow Agent hereunder; provided,
      however, that no Indemnified Party shall be entitled to indemnity with respect to Losses that have
      been finally adjudicated by a court of competent jurisdiction to have resulted from such Indemnified
      Party's bad faith, gross negligence or willful misconduct; provided further, that solely as between
        Purchaser and Sellers, Purchaser shall be responsible for 50% of such Losses and Sellers shall be
        responsible for 50% of such Losses. The provisions of this section shall survive the termination of
        this Escrow Agreement and any resignation or removal of the Escrow Agent.

2.9     Any entity into which the Escrow Agent may be merged or converted or with which it may be
        consolidated, or any entity to which all or substantially all the escrow business of the Escrow Agent
        may be transferred, shall be the Escrow Agent under this Escrow Agreement without further act

2.10 The Escrow Agent may resign at any time from its obligations under this Escrow Agreement by
     providing written notice to the Parties. Such resignation shall be effective on the date set forth in
     such written notice, which shall be no eariier than thirty (30) days after such written notice has been
     furnished to the Parties. In such event, the Parties shall as promptly as reasonably practicable
     appoint a successor escrow agent. In the event no successor escrow agent has been appointed on or
     prior to the date such resignation is to become effective, the Escrow Agent shall be entitled to tender
     into the custody of any court of competent jurisdiction all funds and other property then held by the
     Escrow Agent hereunder and the Escrow Agent shall thereupon be relieved of all further duties and
     obligations under this Escrow Agreement; provided, however, that any such action of the Escrow
     Agent shall not deprive the Escrow Agent of its compensation and right to reimbursement of
     expenses hereunder arising prior to such action and discharge of the Escrow Agent of its duties
     hereunder. The Escrow Agent shall have no responsibility for the appointment of a successor escrow
     agent hereunder. Purchaser and Sellers may remove the Escrow Agent at any time by giving written
     notice at least thirty (30) calendar days in advance of such removal.

2.11 The Escrow Agent and any director, officer or employee of the Escrow Agent may become financially
     interested in any transaction in which any of the Parties may be interested and may contract with and
     lend money to any Party and otherwise act as fully and freely as though it were not escrow agent
     under this Escrow Agreement. Nothing herein shall preclude the Escrow Agent from acting in any
     other capacity for any Party.

  Hi.     Compensation of Escrow Agent



  FTL 111784647V10
       Case 3:16-bk-02230-PMG                Doc 1118         Filed 07/18/18         Page 194 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 161 of 184 PageID# 629

  3.1 Purchaser and Sellers jointly and severally agree to pay to the Escrow Agent compensation, and to
      reimburse the Escrow Agent for costs and expenses, all in accordance with the provisions of Exhibit
      B hereto, which is incorporated herein by reference and made a part hereof; provided, that solely as
      between Purchaser and Sellers, Sellers shall be responsible for all such compensation, costs and
       expenses. The fees agreed upon for the services rendered hereunder are intended as full
       compensation for the Escrow Agent's services as contemplated by this Escrow Agreement; provided,
       however, that in the event that the conditions for the disbursement of funds are not fulfilled, or the
       Escrow Agent renders any service not contemplated in this Escrow Agreement, or there is any
       assignment of interest in the subject matter of this Escrow Agreement or any material modification
       hereof, or ifany dispute or controversy arises hereunder, or the Escrow Agent is made a party to any
       litigation pertaining to this Escrow Agreement or the subject matter hereof, then Purchaser and
       Sellers jointly and severally agree to compensate the Escrow Agent for such extraordinary services
       and reimburse the Escrow Agent for all costs and expenses, including documented reasonable
       attomeys' fees and expenses, occasioned by any such event; provided, that solely as between
       Purchaser and Sellers, Purchaser shall be responsible for 50% of such compensation, costs and
       expenses and Sellers shall be responsible for 50% of such compensation, costs and expenses. In the
       event the Escrow Agent is authorized to make a distribution of funds to any Party (or at the direction
       of any Party) pursuant to the terms of this Escrow Agreement, and fees or expenses are then due
       and payable to the Escrow Agent pursuant to the terms of this Escrow Agreement (including, without
       limitation, amounts owed under this Section 3.1 and Section 2.8) by such Party, the Escrow Agent is
       authorized to offeet and deduct such amounts due and payable to it from such distribution. The
       Escrow Agent shall have, and is hereby granted, a prior lien upon and first priority security interest in
       the Escrow Funds (and the earnings and interest accrued thereon) with respect to its unpaid fees,
       non-reimbursed expenses and unsatisfied indemnification rights, superior to the interests of any other
       persons or entitles and without judicial action to foreclose such lien and security interest, and the
       Escrow Agent shall have and is hereby granted the right to set off and deduct any unpaid fees, non
       reimbursed expenses and unsatisfied indemnification rights from the Escrow Funds (and the earnings
       and interest accrued thereon). The provisions of this section shall survive the termination of this
       Escrow Agreement and any resignation or removal of the Escrow Agent.

 IV.     Miscellaneous

 4.1 The Escrow Agent shall make no disbursement, investment or other use of funds until and unless it
     has collected funds. The Escrow Agent shall not be liable for collection items until the proceeds of
     the same in actual cash have been received or the Federal Reserve has given the Escrow Agent
       credit for the funds.

 4.2 The Escrow Agent shall invest all funds held pursuant to this Escrow Agreement in the SunTrust
     Institutional Deposit Option 100 (SIDO 100). The investments in the SunTrust Institutional Deposit
     Option 100 (SIDO 100) are insured, subject to the applicable rules and regulations of the Federal
     Deposit Insurance Corporation (the "FDiC"), in the standard FDIC insurance amount of $250,000,
     including principal and accrued interest, and are not secured. The SunTrust Institutional Deposit
     Option 100 (SIDO 100) is more fully described in materials which have been furnished to the Parties
     by the Escrow Agent, and the Parties acknowledge receipt of such materials from the Escrow Agent.
     Instructions to make any other investment must be in writing and signed by each of the Parties. The
     Parties recognize and agree that the Escrow Agent will not provide supervision, recommendations or
     advice relating to the investment of moneys held hereunder or the purchase, sale, retention or other
     disposition of any investment, and the Escrow Agent shall not be liable to any Party or any other
     person or entity for any loss incurred in connection with any such investment The Escrow Agent is
     hereby authorized to execute purchases and sales of investments through the facilities of its own
     trading or capital markets operations or those of any affiliated entity. The Escrow Agent or any of its
     affiliates may receive compensation with respect to any investment directed hereunder including
     without limitation charging any applicable agency fee in connection with each transaction. The
     Escrow Agent shall use its best efforts to invest funds on a timely basis upon receipt of such funds;
     provided, however, that the Escrow Agent shall in no event be liable for compensation to any Party
     or other person or entity related to funds which are held un-invested or funds which are not invested
     timely. The Escrow Agent is authorized and directed to sell or redeem any investments as it deems
     necessary to make any payments or distributions required under this Escrow Agreement. Any
     investment earnings and income on the Escrow Funds shall become pari: of the Escrow Funds and
     shall be disbursed in accordance with this Escrow Agreement.

 FTL 111784647V10
    Case 3:16-bk-02230-PMG                   Doc 1118          Filed 07/18/18         Page 195 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 162 of 184 PageID# 630


  4.3 The Escrow Agent shall provide monthly reports of transactions and holdings to the Parties as of the
      end of each month, at the addresses provided by the Parties in Section 4.5.

  4.4 The Parties agree that all interest and income from the investment of the Purchase Price Adjustment
      Funds and the Good Faith Deposit Funds shall be reported as having been earned by Premier as of
      the end of each calendar year whether or not such income was disbursed during such calendar year
      and to the extent required by the Intemal Revenue Service; provided, however, that the Sellers may
      deliver written instructions to the Escrow Agent to change the allocation of any such interest and
      income at any time after the execution of this Escrow Agreement. On or before the execution and
      delivery of this Escrow Agreement, each of the Parties shall provide to the Escrow Agent a correct,
      duly completed, dated and executed current United States Internal Revenue Service Fonri W-9 or
      Form W-8, whichever is appropriate or any successor forms thereto, in a form and substance
      satisfactory to the Escrow Agent including appropriate supporting documentation and/or any other
      form, document, and/or certificate required or reasonably requested by the Escrow Agent to validate
      the form provided. Notwithstanding anything to the contrary herein provided, except for the delivery
      and filing of tax information reporting forms required pursuant to the Internal Revenue Code of 1986,
      as amended, to be delivered and filed with the Intemal Revenue Service by the Escrow Agent, as
      escrow agent hereunder, the Escrow Agent shall have no duty to prepare or file any Federal or state
      tax report or retum with respect to any funds held pursuant to this Escrow Agreement or any income
      eamed thereon. With respect to the preparation, delivery and filing of such required tax infonnation
      reporting fonns and all matters pertaining to the reporting of earnings on funds held under this Escrow
      Agreement, the Escrow Agent shall be entitled to request and receive written instructions from the
      Sellers, and the Escrow Agent shall be entitled to rely conclusively and without further inquiry on such
      written instructions. The Parties jointly and severally, agree to indemnify, defend and hold the Escrow
      Agent harmless from and against any tax, late payment, interest, penalty or other cost or expense
      that may be assessed against the Escrow Agent on or with respect to the Escrow Funds or any
      earnings or interest thereon unless such tax, late payment, interest, penalty or other cost or expense
      was finally adjudicated by a court of competent jurisdiction to have resulted from the bad faith, gross
      negligence or willful misconduct of the Escrow Agent; provided that solely as between Purchaser and
      Sellers, Purchaser shall be responsible for 50% of such liability and Sellers shall be responsible for
      50% of such liability. The indemnification provided in this section is in addition to the indemnification
      provided to the Escrow Agent elsewhere in this Escrow Agreement and shall survive the resignation
      or removal of the Escrow Agent and the termination of this Escrow Agreement.

  4.5 Any notice, request for consent, report, or any other communication required or permitted in this
      Escrow Agreement shall be in writing and shall be deemed to have been given when delivered (i)
      personally, (ii) by facsimile transmission with written confirmation of receipt, (iii) by electronic mail to
      the e-mail address given below, and written confirmation of receipt is obtained promptly after
      completion of the transmission, (iv) by overnight delivery with a reputable national overnight delivery
      service, or (v) by United States mail, postage prepaid, or by certified mail, retum receipt requested
      and postage prepaid, in each case to the appropriate address set forth below or at such other
      address as any Party hereto may have furnished to the other Parties hereto in writing:

        If to Escrow Agent:                  If prior to July 13, 2018

                                             SunTrust Bank
                                             Attn; Escrow Services
                                             919 East Main Street, 7th Floor
                                             Richmond, Virginia 23219
                                             Client Manager Byron Roldan
                                             Phone: 804-782-5404
                                             Facsimile: 804-225-7141
                                             Email: Byron.Roldan@SunTrust.com

                                             If on or after July 13,2018:

                                             SunTrust Bank


  FTL 1im4647v10
    Case 3:16-bk-02230-PMG      Doc 1118         Filed 07/18/18          Page 196 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 163 of 184 PageID# 631


                               Attn: Escrow Services
                               Mail Code: CS-HDQ 5307
                               919 East Main Street, 5th Floor
                               Richmond, Virginia 23219
                               Client Manager Byron Roldan
                               Phone: 804-782-5404
                               Facsimile: 804-225-7141
                               Email: Byron.Roldan@SunTrust.com

        If to:                 Purchaser
                               Premier Acquisition Holdings LLC

                               777 Third Avenue Suite 19A
                               New York, NY 10017
                               Attention: Gilbert Li
                               Email: gli@altafundamental.com
                               Fax: 212-319-1778


                               Unit 1401,14th Floor, The Chinese Bank Building.
                               61-65 Des Voeux Road, Central Hong Kong
                               Attention: Giovanni Wong
                               Email: wongg@pacbridgepartners.com

                               9 West 57th Street, 37th Floor
                               NY, NY 10019
                               Attention: Joe Glatt

                               with a copy to (which shall not constitute notice):
                               Greenberg Traurig, P.A.
                               401 East Las Olas Blvd., Suite 2000
                               Fort Lauderdale, Florida 33301
                               Attention: Scott M. Grossman, Esq.
                               Email: grossmansm@gtlaw.com
                               Fax: 954-765-1477


                               with a copy to (which shall not constitute notice):

                               Bracewell LLP
                               1251 Avenue of the Americas, 49th Floor
                               New York, New York 10020
                               Attention: Jennifer Feldsher, Esq.
                               Email; jennifer.feldsher@bracewell.com
                               Fax: 212-938-3837


        If to:                 Sellers
                               do Premier Exhibitions, Inc.
                               3045 Kingston Court. Suite I
                               Peachtree Comers, Georgia 30071
                               Attention: Daoping Bao
                               Phone: 604-277-0707 ext. 555
                               Facsimile: 604-277-1617
                               E-mail: daoping@prxi.com


  FTL 111784647V10
     Case 3:16-bk-02230-PMG                 Doc 1118         Filed 07/18/18         Page 197 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 164 of 184 PageID# 632


                                           with a copy to (which shall not constitute notice):

                                           Troutman Sanders, LLP
                                           600 Peachtree Street, NE Suite 3000
                                           Atlanta, Georgia 30308
                                           Attention: Hams B. Winsberg, Esq.
                                           Phone: 404-885-3348
                                           Facsimile: 404-885-3900
                                           Email: harris.winsberg@troutmansanders.com

      Any Party hereto may unilaterally designate a different address by giving notice of each change in the
      manner specified above to each other Party hereto. Notwithstanding anything to the contrary herein
      provided, the Escrow Agent shall not be deemed to have received any notice, request, report or other
      communication hereunder prior to the Escrow Agent's actual receipt thereof.

 4.6 This Escrow Agreement is being made in and is intended to be construed according to the laws of the
     State of New York, except to the extent that the Laws of such State are superseded by the
     Bankruptcy Code or other applicable Federal Law. Except as pemnitted in Section 2.9, neither this
     Escrow Agreement nor any rights or obligations hereunder may be assigned by any party hereto
     without the express written consent of each of the other parties hereto. This Escrow Agreement shall
     inure to and be binding upon the Parties and the Escrow Agent and their respective successors, heirs
      and permitted assigns.

 4.7 The terms of this Escrow Agreement may be altered, amended, modified or revoked only by an
     instmment in writing signed by all the Parties and the Escrow Agent.

 4.8 This Escrow Agreement is for the sole benefit of the Indemnified Parties, the Parties and the Escrow
     Agent, and their respective successors and permitted assigns, and nothing herein, express or
     implied, is intended to or shall confer upon any other person or entity any legal or equitable right,
     benefit or remedy of any nature whatsoever under or by reason of this Escrow Agreement.

 4.9 No party to this Escrow Agreement shall be liable to any other party hereto for losses due to, or if it is
     unable to perform its obligations under the terms of this Escrow Agreement because of, acts of God,
     fire, war, terrorism, floods, strikes, electrical outages, equipment or transmission failure, or other
     causes reasonably beyond its control.

4.10 This Escrow Agreement shall terminate on the date on which all of the funds and property held by the
     Escrow Agent under this Escrow Agreement have been disbursed. Upon the termination of this
     Escrow Agreement and the disbursement of all of the funds and property held hereunder, this Escrow
     Agreement shall be of no further effect except that the provisions of Sections 2.8, 3.1 and 4.4 shall
      survive such termination.

4.11 All titles and headings in this Escrow Agreement are intended solely for convenience of reference and
     shall in no way limit or otherwise affect the interpretation of any of the provisions hereof.

4.12 This Escrow Agreement may be executed in one or more counterparts, each of which shall be
     deemed an original but all of which together shall constitute one and the same instrument.

4.13 Contemporaneously with the execution and delivery of this Escrow Agreement and, if necessary, from
     time to time thereafter, each of the Parties shall execute and deliver to the Escrow Agent a
     Certificate of Incumbency substantially in the form of Exhibit A-1, A-2, A-3, A-4, A-5, A-6, A-7, A-8
     and A-9 hereto, as applicable (a "Certificate of Incumbency"), for the purpose of establishing the
     identity and authority of persons entitled to issue notices, instructions or directions to the Escrow
     Agent on behalf of each such Party. Until such time as the Escrow Agent shall receive an amended
     Certificate of Incumbency replacing any Certificate of Incumbency theretofore delivered to the Escrow
     Agent, the Escrow Agent shall be fully protected in relying, without further inquiry, on the most recent
     Certificate of Incumbency furnished to the Escrow Agent. Whenever this Escrow Agreement provides
     for joint written notices, joint written instructions or other joint actions to be delivered to the Escrow



  FTL 111784647V10
    Case 3:16-bk-02230-PMG                  Doc 1118         Filed 07/18/18         Page 198 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 165 of 184 PageID# 633

      Agent, the Escrow Agent shall be fully protected in relying, without further inquiry, on anyjoint written
      notice, instructions or action executed by persons named in such Certificate of Incumbency.
4.14 All non-public information and advice furnished by any Party to the Escrow Agent shall be treated as
     confidential and will not be disclosed to third parties unless required by law, except that the Escrow
     Agent may disclose (a) any information required to be disclosed to any government regulator of the
     Escrow Agent or its affiliates; provided that the Escrow Agent shall provide written notice of any such
     disclosure to the applicable Party as promptly as practicable, and (b) any information to the Escrow
     Agent's affiliated entities, employees and representatives to the extent necessary to provide the
      services hereunder.



                                           [Signature page follows]




  FTL 111784647V10
    Case 3:16-bk-02230-PMG             Doc 1118       Filed 07/18/18      Page 199 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 166 of 184 PageID# 634


 IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be executed as of the date
 first above written.

 Escrow Agent:

 SunTrust B^nk

 By:
 Name:
 Title;




                               [Signature page to Escrow Agreement]




 FTL 111784647V10
    Case 3:16-bk-02230-PMG                     Doc 1118    Filed 07/18/18         Page 200 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 167 of 184 PageID# 635



  Sellers:


  PREMIER EXHIBITIONS, INC.                          PREMIER EXHIBITION MANAGEMENT, LLC,
                                                     by Premier Exhibitions, Inc., its Managing
                                                     Member




  By:                                                By:
  Name; Daoping Bao                                  Name; Daoping Bao
 Title: President                                    Title; President

 ARTS AND EXHIBITIONS INTERNATIONAL,                 PREMIER EXHIBITIONS INTERNATIONAL,
  LLC                                                LLC, by Premier Exhibitions, Inc., its Managing
                                                     Member
  By Premier Exhibition Management, LLC, its
  Managing Member

  By Premier Exhibitions, Inc., its Managing
  Member




  By:                                                By:
  Name; Daoping Bao                                  Name; Daoping Bao
 Title; President                                    Title; President

  PREMIER EXHIBITIONS NYC, INC.                      PREMIER MERCHANDISING, LLC, by Premier
                                                     Exhibitions, Inc., its Managing Member



                                                     By:
  By:                                                Name: Daoping Bao
  Name: Daoping Bao                                  Title; President
 Title: President

  DINOKING TECH INC.                                 DINOSAURS UNEARTHED CORP.




  By;                                                By:
  Name: Daoping Bao                                  Name: Daoping Bao
 Title; President                                    Title: President




                              [Signature page to Escrow Agreement Continued]




  FTL 111784647V10
    Case 3:16-bk-02230-PMG                Doc 1118       Filed 07/18/18        Page 201 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 168 of 184 PageID# 636

  Purchaser:

  Premier Acquisition i-loldings LLC

  By:
  Name:
  Title:




                              [Signature page to Escrow Agreement Continued]




  FTL 111784647V10
             Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18         Page 202 of 352

    Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 169 of 184 PageID# 637




                                                      EXHIBIT A-1


                                                Certificate of Incumbency
                                          (List of Authorized Representatives)




       Client Name:       Premier Acquisition Holdinos LLC

       As an Authorized Person of the above referenced entity, I hereby certify that each person listed below is
       an authorized signor for such entity, and that the title and signature appearing beside each name is true
       and correct

Name                              Iit!e                          Signature                              Phone Number

Giovanni Wong                     Authorized Person

Gilbert Li                        Authorized Person


Robert Givone                     Authorized Person




       IN WITNESS WHEREOF, this certificate has been executed by a duly authorized person on;


                Date




       By:_
       Name:,
       Its:




       FTL 111784647V10
          Case 3:16-bk-02230-PMG                      Doc 1118   Filed 07/18/18         Page 203 of 352

  Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 170 of 184 PageID# 638


                                                        EXHIBIT A-2


                                                 Certificate of Incumbency
                                           (List of Authorized Representatives)




       Client Name:       Premier Exhibitions. Inc.

       As an Authorized Officerof the above referenced entity, I hereby certify that each person listed below is
       an authorized signer for such entity, and that the title and signature appearing beside each name is true
       and corect

Name                               Title                          Signature                             Phone Number




       IN WITNESS WHEREOF, this certificate has been executed by a duly authorized officer on;


               Date




       By:_
       Name:

       Its:




       FTL 1117a4647v10
              Case 3:16-bk-02230-PMG                Doc 1118        Filed 07/18/18       Page 204 of 352

  Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 171 of 184 PageID# 639


                                                        EXHIBIT A-3


                                                 Certificate of Incumbency
                                           (List of Authorized Representatives)




       Client Name:       Arts and Exhibitions international. LLC

       As an Authorized Officer of the above referenced entity, I hereby certify that each person listed below is
       an authorized signor for such entity, and that the title and signature appearing beside each name is true
       and con-ect

Name                               Title                            Signature                            Phone Number




       IN WITNESS WHEREOF, this certificate has been executed by a duly authorized officer on:


                 Date




       By:_
       Name:

       Its;




       FTL 111784647V10
              Case 3:16-bk-02230-PMG               Doc 1118       Filed 07/18/18         Page 205 of 352

  Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 172 of 184 PageID# 640


                                                        EXHIBIT A-4


                                                 Certificate of Incumbency
                                           (List of Authorized Representatives)




       Client Name:       Premier Exiiibition l\/lanaaement LLC

       As an Authorized Officer of the above referenced entity, I hereby certify that each person listed below is
       an authorized signor for such entity, and that the title and signature appearing beside each name is true
       and con-ecL

Name                               Title                          Signature                              Phone Number




       IN WITNESS WHEREOF, this certificate has been executed by a duly authorized officer on;


                 Date




       By:_
       Name:,
       Its:




       FTL 111784647V10
              Case 3:16-bk-02230-PMG              Doc 1118         Filed 07/18/18       Page 206 of 352

  Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 173 of 184 PageID# 641


                                                          EXHIBIT A-5


                                                 Certificate of Incumbency
                                           (List of Authorized Representatives)




       Client Name:       Premier Exhibitions NYC. Inc.

       As an Authorized Officerof the above referenced entity, I hereby certify that each person listed below is
       an authorized signor for such entity, and that the title and signature appearing beside each name is true
       and con-ecL

Name                               Title                           Signature                            Phone Number




       IN WITNESS WHEREOF, this certificate has been executed by a duly authorized officer on:


                 Date




       By:_
       Name:,
       Its:




       FTL 111784647V10
          Case 3:16-bk-02230-PMG                 Doc 1118        Filed 07/18/18         Page 207 of 352

  Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 174 of 184 PageID# 642

                                                       EXHIBIT A-6


                                                Certificate of Incumbency
                                          (List of Autiiorized Representatives)




       Client Name:       Premier Merchandising. LLC

       As an Authorized Officerof the above referenced entity, I hereby certify that each person listed below is
       an authorized signorfor such entity, and that the title and signature appearing beside each name is true
       and con-ect.

Name                              Title                           Signature                             Phone Number




       INWITNESS WHEREOF, this certificate has been executed by a duly authorized officer on:


               Date




       By:_
       Name:

       Its:




       FTL 111784647V10
              Case 3:16-bk-02230-PMG              Doc 1118        Filed 07/18/18         Page 208 of 352

  Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 175 of 184 PageID# 643


                                                       EXHIBIT A-7


                                                Certificate of Incumbency
                                          (List of Authorized Representatives)




       Client Name:      Premier Exhibitions International. LLC

       As an Authorized Officer of the above referenced entity, I hereby certify that each person listed below is
       an authorized signor for such entity, and that the titleand signature appearing beside each name is tme
       and con-ect.

Name                              Title                           Signature                              Phone Number




       IN WITNESS WHEREOF, this certificate has been executed by a duly authorized officer on:


                 Date




       By:_
       Name:.
       Its:




       FTL U1784647V10
              Case 3:16-bk-02230-PMG              Doc 1118         Filed 07/18/18          Page 209 of 352

  Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 176 of 184 PageID# 644


                                                       EXHIBIT A-8


                                                Certificate of Incumbency
                                          (List of Authorized Representatives)




       Client Name:       Dinosaurs Unearthed Corp.

       As an Authorized Officer of the above referenced entity, I hereby certify that each person listed belov)/ is
       an authorized signor for such entity, and that the title and signature appearing beside each name is true
       and correct.

Name                              Title                            Signature                               Ptione Number




       IN WITNESS WHEREOF, this certificate has been executed by a duly authorized officer on;


                 Date




       By:_
       Name:

       Its;




       FTL 111784647V10
              Case 3:16-bk-02230-PMG             Doc 1118         Filed 07/18/18        Page 210 of 352

  Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 177 of 184 PageID# 645


                                                      EXHIBIT A-9


                                                Certificate of Incumbency
                                          (List of Autliorized Representatives)




       Client Name:       DinoKlna Tech Inc.

       As an Authorized Officerof the above referenced entity, I hereby certify that each person listed below is
       an authorized signor for such entity, and that the title and signature appearing beside each name is true
       and correct.

Name                              Title                           Signature                             Phone Number




       IN WITNESS WHEREOF, this certificate has been executed by a duly authorized officer on:


                 Date




       By:_
       Name:.
       Its:




       FTL 111784647V10
    Case 3:16-bk-02230-PMG                  Doc 1118        Filed 07/18/18          Page 211 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 178 of 184 PageID# 646


                                                 EXHIBIT B

                                     SunTrust Bank, as Escrow Agent

                                       Schedule of Fees & Expenses




 Acceptance/Legal Review Fee:             $600.00 - one time only payable at the time of signing the
                                           Escrow Agreement


 The Legal Review Fee includes reviewof all related documents and accepting the appointment of Escrow
 Agent on behalf of SunTrust Bank. The fee also includes setting up the required account(s) and
 accounting records, document filing, and coordinating the receipt of funds/assets for deposit to the
 Escrow Account This is a one-time fee payable upon execution of the Escrow Agreement As soon as
 SunTrust Bank's attorney begins to review the Escrow Agreement, the leaal review fee is subiect to
 payment regardless if the Parties decide to appoint a different escrow agent or a decision is made that
 the Escrow Agreement is not needed.



 Administration Fee:                      $4,500 - payable at the time of signing the Escrow Agreement
                                          and on the anniversary date thereafter, ifapplicable


 The Administration Fee includes providing routine and standard services of an Escrow Agent The fee
 includes administering the escrow account performing investment transactions, processing cash
 transactions (including wires and check processing), disbursing funds in accordance with the Agreement
 (note any pricing considerations below), and providing trust account statements to the Parties for a twelve
 (12) month period. If the account remains open beyond the twelve (12) month term, the Parties will be
 invoiced each year on the anniversary date of the execution of the Escrow Agreement. Extraordinary
 expenses, including legal counsel fees, will be billed as out-of-pocket The Administration Fee is due
 upon execution of the Escrow Agreement The fees shall be deemed eamed in full upon receipt by the
 Escrow Agent and no portion shall be refundable for any reason, including without limitation, tennination
 of the agreement


 Out-of-Pocket Expenses:                                                    At Cost

 Reasonable actually incurred out-of-pocket expenses such as, but not limited to, postage, courier,
 overnight mail, wire transfer, travel, legal (out-of-pocket to counsel) or accounting, will be billed at cost

 Note: This fee schedule is based on the assumption that the escrowed funds will be
 invested in one of the SunTrust Deposit Options, if any other investment options are
 chosen, this fee schedule will become subject to change.




 FTL 111784647V10
    Case 3:16-bk-02230-PMG                  Doc 1118         Filed 07/18/18         Page 212 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 179 of 184 PageID# 647



                                                                                                    Exhibit C

                                     JOINT WRITTEN DIRECTION
                                FOR RELEASE OF GOOD FAITH DEPOSIT

 [SunTrust Bank
 Attn; Escrow Services
  919 East iUlain Street, 7"" Floor
  Richmond, Virginia 23219]

 June [   ], 2018

  Re: Escrow Account no. [•], June [   ], 2018

  Dear Sir/Madam:

 We refer to (i) an Asset Purchase Agreement, dated as of June 14,2018, by and among, Sellers,
 Purchaser and RIVIS Titanic, Inc., a Florida corporation (the "Asset Purchase Agreemenf), and (ii) the
 Escrow Agreement, dated as of June [ ], 2018 , by and among Sellers, Purchaser and Escrow Agent
 (the "Escrow Agreement").

 Capitalized temis in this letter that are not otherwise defined shall have the same meaning given to them
 in the Asset Purchase Agreement and Escrow Agreement.

  Pursuant to Section 1.4(b) of the Asset Purchase Agreement and Section 1.4 of the Escrow Agreement,
 the Purchaser and Sellers hereby irrevocably instruct the Escrow Agent to do the following:

              (i) Upon receiving a joint written notice from the Parties stating that the Closing has
              occurred, deliver the Good Faith Deposit Funds and interest earned thereon to the Sellers to
              an account or accounts and in the amounts provided in writing by the Sellers;

              (ii) Within one (1) Business Day after receiving a joint written notice from the Parties stating
              that the Asset Purchase Agreement has been terminated pursuant to Section 7.3(b) thereof
              ("Purchaser Default Termination"), pay the Good Faith Deposit Funds and interest earned
              thereon to the Sellers to an account or accounts and in the amounts provided in writing by the
              Sellers; and

              (iii) Within one (1) Business Day after receiving a joint written notice from the Parties stating
              that the Asset Purchase Agreement has been terminated prior to Closing for any reason
              other than a Purchaser Default Termination, retum the Good Faith Deposit Funds (including
              interest earned thereon) to the Purchaser to an account or accounts provided to the Escrow
              Agent in writing by the Purchaser.

                                           [Signature page follows]




 FTL 111784647V10
    Case 3:16-bk-02230-PMG                 Doc 1118    Filed 07/18/18        Page 213 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 180 of 184 PageID# 648

  Sellers:

  PREMIER EXHIBITIONS, INC.                      PREMIER EXHIBITION MANAGEMENT, LLC,
                                                 by Premier Exhibitions, Inc., its Managing
                                                 Member




  By:                                            By:
  Name; Daoping Bao                              Name; Daoping Bao
  Title: President                               Title; President

  ARTS AND EXHIBITIONS INTERNATIONAL,            PREMIER EXHIBITIONS INTERNATIONAL,
  LLC                                            LLC, by Premier Exhibitions, Inc., its Managing
                                                 Member
  By Premier Exhibition Management, LLC, its
  Managing Member

  By Premier Exhibitions, Inc., its Managing
  Member




  By:                                            By:
  Name: Daoping Bao                              Name; Daoping Bao
  Title: President                               Title: President

  PREMIER EXHIBITIONS NYC, INC.                  PREMIER MERCHANDISING, LLC, by Premier
                                                 Exhibitions, Inc., its Managing Member



                                                 By:
  By:                                            Name; Daoping Bao
  Name: Daoping Bao                              Title; President
  Title: President

  DINOKING TECH INC.                             DINOSAURS UNEARTHED CORP.




  By:                                            By:
  Name: Daoping Bao                              Name; Daoping Bao
  Title; President                               Title; President




  FTL 111784647V10
    Case 3:16-bk-02230-PMG     Doc 1118    Filed 07/18/18   Page 214 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 181 of 184 PageID# 649

  Purchaser:

 PREMIER ACQUISITION HOLDINGS LLC




  By;
  Name:
 Title:




  FTL 111784647V10
    Case 3:16-bk-02230-PMG                  Doc 1118        Filed 07/18/18        Page 215 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 182 of 184 PageID# 650


                                                                                                 Exhibit D

                                         JOINT WRITTEN DIRECTION
                     FOR RELEASE OF PURCHASE PRICE ADJUSTMENT FUNDS

 [SunTrust Bank
 Attn: Escrow Services
 919 East Main Street, 7*^ Floor
 Richmond, Virginia 23219]

 [.], 2018

 Re: Escrow Account no. [•], (•], 2018

 Dear Sir/Madam;

 We refer to (i) an Asset Purchase Agreement, dated as of June 14,2018, by and among, Sellers,
 Purchaser and RMS Titanic, Inc., a Florida corporation {the "Asset Purchase Agreement"), and (11) the
 Escrow Agreement, dated as of June [ ], 2018 , by and among Sellers, Purchaser and Escrow Agent
 {the "Escrow Agreement").

 Capitalized terms in this letter that are not otherwise defined shall have the same meaning given to them
 in the Asset Purchase Agreement and Escrow Agreement.

 Pursuant to Section 2.4(d) of the Asset Purchase Agreement and Section 1.5 of the Escrow Agreement,
 the Purchaser and Sellers hereby irrevocably instruct the Escrow Agent to [release and deliver to
 Purchaser the amount of $[*] of the Purchase Price Adjustment Funds and release and deliver to
 Sellers the remainder of the Purchase Price Adjustment Funds to an account or accounts
 provided to the Escrow Agent in writing by the Sellers and Purchaser] [release and deliver to
 Purchaser the entire amount of the Purchase Price Adjustment Funds to an account or accounts
 provided to the Escrow Agent in writing by the Purchaser] [release and deliver to Sellers the entire
 amount of the Purchase Price Adjustment Funds to an account or accounts provided to the
 Escrow Agent in writing by the Sellers].

                                           [Signature page follows]




 FTL 1117B4647V10
    Case 3:16-bk-02230-PMG                    Doc 1118    Filed 07/18/18         Page 216 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 183 of 184 PageID# 651


 Sellers:


 PREMIER EXHIBITIONS, INC.                          PREMIER EXHIBITION MANAGEMENT, LLC,
                                                    by Premier Exhibitions, Inc., its Managing
                                                    IVIember




 By:                                                By:
 Name: Daoping Bao                                  Name; Daoping Bao
 Title: President                                  Title: President

 ARTS AND EXHIBITIONS INTERNATIONAL,                PREMIER EXHIBITIONS INTERNATIONAL,
 LLC                                                LLC, by Premier Exhibitions, Inc., its Managing
                                                    Member
 By Premier Exhibition Management, LLC, its
 Managing Member

 By Premier Exhibitions, Inc., its Managing
 Member




 By:                                                By:
 Name: Daoping Bao                                  Name: Daoping Bao
 Title; President                                   Title: President

 PREMIER EXHIBITIONS NYC, INC.                      PREMIER MERCHANDISING, LLC, by Premier
                                                    Exhibitions, Inc., its Managing Member



                                                    By:
 By:                                                Name: Daoping Bao
 Name: Daoping Bao                                  Title: President
 Title: President

 DINOKING TECH INC.                                 DINOSAURS UNEARTHED CORP.




 By:                                                By:
 Name: Daoping Bao                                  Name: Daoping Bao
 Title: President                                   Title: President




 FTL 111784647V10
    Case 3:16-bk-02230-PMG     Doc 1118    Filed 07/18/18   Page 217 of 352

Case 2:93-cv-00902-RBS Document 449-1 Filed 06/29/18 Page 184 of 184 PageID# 652


 Purchaser;

 PREMIER ACQUISITION HOLDINGS LLC




 By:
 Name:
 Title:




 FTL 111784647V10
  Case 3:16-bk-02230-PMG                  Doc 1118          Filed 07/18/18         Page 218 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bl<-02230-PMG   449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   1 of 63
                                                                    1 ofPageID#
                                                                         63     653




                          UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION


   In re:
                                                               Case No. 3:16-bk-02230-PMG
   RMS TITANIC, INC., et al.,^                                 Chapter 11 (Jointly Administered)

                    Debtors.



        DEBTORS' MOTION FOR ENTRY OF AN ORDER (A) APPROVING
    COMPETITIVE BIDDING AND SALE PROCEDURES; (B) APPROVING FORM
    AND MANNER OF NOTICES; (C) APPROVING FORM OF ASSET PURCHASE
         AGREEMENT; (D) APPROVING BREAK UP-FEE AND EXPENSE
       REIMBURSEMENT; (E) SCHEDULING AUCTION AND HEARING TO
      CONSIDER FINAL APPROVAL OF SALE, INCLUDING REJECTION OR
   ASSUMPTION AND ASSIGNMENT OF RELATED EXECUTORY CONTRACTS
           AND UNEXPIRED LEASES; (F) AUTHORIZING SALE OF
    THE TRANSFERRED ASSETS FREE AND CLEAR OF ALL LIENS, CLAIMS,
    ENCUMBRANCES, AND INTERESTS; AND (G) APPROVING SETTLEMENT
    WITH THE PACBRIDGE PARTIES; AND (H) GRANTING RELATED RELIEF

            RMS Titanic, Inc.        ("RMST") and certain of its affiliates, as Debtors and

   Debtors in possession in the above-captioned case (collectively, the "Debtors"), by

   and through their undersigned counsel, hereby move the Court (the "Motion"),

   pursuant to sections 105(a), 363, 365, 503 and 507 of title 11 of the United States

   Code, 11 U.S.C. §§ 101, etseq. (the "Bankruptcy Code"), Rules 2002, 6004, 6006,

   9014, and 9019 of the Federal Rules of Bankruptcy Procedure (the "Bankruptcy



   ' The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax
   identification nimiber include: RMS Titanic, Inc.   (3162); Premier Exhibitions, Inc.   (4922); Premier
   Exhibitions Management, LLC (3101); Arts and Exhibitions International, LLC (3101); Premier
   Exhibitions Intematiotial, LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising,
   LLC (3867); and Dinosaurs Unearthed Corp. (7309). The Debtors' service address is 3045 Kmgston
   Court, Suite I, Peachtree Comers, Georgia 30071.



                                                                                                    EXHIBIT
  Case 3:16-bk-02230-PMG            Doc 1118       Filed 07/18/18      Page 219 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bk-02230-PMG    449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   2 of 63
                                                                    2 ofPageID#
                                                                         63     654




   Rules"), and Rule 2002-1 of the Local Rules of the United States Bankruptcy Court

   for the Middle District of Florida (the "Local Rules"), for entry of two orders: (I) an

   order substantially in the form annexed hereto as Exhibit A (the "Bidding Procedures

   Order"):

          a)     Approving the Bidding Procedures attached as Exhibit 1 to the Bidding

                 Procedures Order      (the "Bidding Procedures") establishing the

                 competitive bidding and auction procedures in connection with the sale

                 (the "Sale") of the Transferred Assets, as defined in the Asset Purchase

                 Agreement dated as of June 14, 2018 by and among (i) Premier

                 Exhibitions, Inc., a Florida corporation, (ii) Arts and Exhibitions

                 International, LLC, a Florida limited liability company, (iii) Premier

                 Exhibition Management LLC, a Florida limited liability company, (iv)

                 Premier Exhibitions NYC, Inc., a Nevada corporation, (v) Premier

                 Merchandising,    LLC,    a   Delaware    limited   liability   company,

                 (vi) Premier Exhibitions International, LLC, a Delaware limited

                 liability company, (vii) Dinosaurs Unearthed Corp., a Delaware

                 corporation, (viii) DlnoKing Tech Inc. d/b/a Dinosaurs Unearthed, a

                 company formed under the laws of British Columbia, (ix) RMS Titanic,

                 Inc., a Florida corporation, solely for purposes of Article III, Article

                 V, Article VII and Article VIII, and Premier Acquisition Holdings

                 LLC, a Delaware limited liability company (as amended, modified or

                 supplemented, the "APA"), as applicable);
  Case 3:16-bk-02230-PMG                   Doc 1118          Filed 07/18/18          Page 220 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bk-02230-PMG    449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   3 of 63
                                                                    3 ofPageID#
                                                                         63     655




           b)       approving the form of the APA attached hereto as Exhibit B (the

                    "APA")^

           c)       approving the Bid Protections (as defined below) as administrative

                    expense claims against the Debtors' estates;

           d)       Scheduling (i) an auction for sale of the Transferred Assets (the

                    "Auction") and (ii) a hearing to consider the Sale, the results of the

                    Auction, assumption and assignment of executory contracts and

                    unexpired leases, and the settlement of certain claims against the

                    Debtors' estates (the "Sale Hearing");

           e)       Approving the manner of notice of the Auction and Sale Hearing in the

                    form attached to the Bidding Procedures Order as Exhibit 2 (the "Sale

                    Notice");

            f)      Approvmg procedures for the assumption and assignment of executory

                    contracts and unexpired leases, including notice and determination of

                    cure costs, and the form of notices in connection therewith attached to

                    the Bidding Procedures Order as Exhibit 3 (the "Cure Notice") and as

                    Exhibit 4 (the "Assumption Notice"); and

           g)       granting related relief;

   (II) an order substantially in the form attached hereto as Exhibit C (the "Sale Order")




   ^The APA is being filed without the Seller Disclosure Letter and accompanying schedules, but such
   documents will be made available to Contact Panics (as defined in the Bid Procedures) and other interested
   parties following the execution of a confidentiality agreement with the Debtors.
  Case 3:16-bk-02230-PMG             Doc 1118        Filed 07/18/18        Page 221 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bk-02230-PMG    449-2  FiledFiled
                                      1055      06/29/18  PagePage
                                                    06/15/18   4 of 63
                                                                    4 ofPageID#
                                                                         63     656




          a)     authorizing the Sale to the party that is the successful bidder at the Auction,

                 free and clear of all liens, interests, claims and encumbrances;

          b)     authorizing the assumption and assignment of certain executory contracts

                 and unexpired leases and determination of cure amounts in connection with

                 the Sale;

          c)     authorizing the Debtors to pay the DIP Loan (as defined below) at closing;

          d)     approving the PacBridge Parties Settlement (as defined in the APA); and

          e)     granting certain related relief as described herein.

          In support of this Motion, the Debtors respectfully state as follows:

                                      JURISDICTION


          1.     This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.

   §§157 and 1334. The subject matter of this Motion is a core proceeding pursuant to 28

   U.S.C. §157(b). Venue in this district is proper pursuant to 28 U.S.C. §1408.

          2.     The stamtory predicates for the relief sought herein are sections 105(a),

   363, 365, 503 and 507 of the Bankruptcy Code, Bankruptcy Rules 2002, 6004, 6006,

   9014 and 9019, and Local Rule 2002-1.

                                      BACKGROUND


          3.     On June 14, 2016 (the "Petition Date"), each of the Debtors filed a

   voluntary petition in this Court for relief under Chapter 11 of the Bankruptcy Code.

          4.     The Debtors continue to manage and operate their business as debtors in

   possession under Bankruptcy Code sections 1107 and 1108.
  Case 3:16-bk-02230-PMG                  Doc 1118         Filed 07/18/18          Page 222 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   5 of 63 PageID#
                                                                   5 of 63    657




           5.       On August 24, 2016, the United States Trustee appointed an Official

   Committee of Unsecured Creditors (the "Creditors Committee") and an Official

   Committee of Equity Security Holders (the "Equity Committee" and together with the

   Creditors Committee, the "Committees") [D.E. 166, 167].

           The Debtors


           6.       Premier Exhibitions, Inc. ("Premier") is the parent corporation of each of

   the other Debtors. It is also the parent of several non-debtor subsidiaries, ^including its

   indirect wholly owned subsidiary DinoKing Tech, Inc., a British Columbia company

   ("DinoKing," and together with the Debtors, the "Sellers"). Premier, together with its

   subsidiaries, is a leading provider of museum quality touring exhibitions around the

   world. Since Premier's formation, it has developed, deployed, and operated unique

   exhibition products that are presented to the public in exhibition centers, museums, and

   non-traditional venues. Income from tiieexhibitions is generated primarily through ticket

   sales, third-party licensing, sponsorships, and merchandise sales.                 The Exhibitions

   include varied subject matter and artifacts, includmg the RMS Titanic, human anatomy,

   King Tut, animatronic dinosaurs and bugs, and Saturday Night Live. Premier and its

   subsidiaries either own the artifacts and exhibitry associated with the various exhibits or

   have licensed the rights to tour and exhibit artifacts owned by third-parties.




   ' Premier's other non-debtor subsidiaries include 1032403 B.C. Ltd., a company formed under the laws
   of British Columbia; DinoKing International, Inc., a company formed under the laws of British Columbia;
   Premier International Holdings CV, a company formed under the laws of the Netherlands; and Premier
   Hollywood Pictures LLC, a Nevada limited liabilitycompany. The APA also contemplates the possibility
   that, subject to certain conditions contained therein, DinoKing may become a Debtor in these cases.
  Case 3:16-bk-02230-PMG              Doc 1118         Filed 07/18/18    Page 223 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   6 of 63
                                                                   6 ofPageID#
                                                                        63     658




          7.       The Debtors' most significant assets are those related to the RMS Titanic.

   Debtor RMST owns the rights to approximately 5,500 artifacts recovered from the wreck

   site of the RMS Titanic (the "Titanic Artifacts").     RMST also has been declared the

   "salvor-in-possession" of the RMS Titanic wreck site by the United States District Court

   for the Eastern District of Virginia (the "Admiralty Court") and has the exclusive right

   to recover additional objects from the RMS Titanic wreck site. Through the Debtors'

   explorations, they have obtained and are in possession of the largest collection of data,

   information, images, and cultural materials associated with the RMS Titanic shipwreck.

   The Titanic Artifacts


          8.       The Titanic Artifacts can be divided into two collections, the "French

   Artifacts" and the "American Artifacts."          The French Artifacts are comprised of

   approximately 2,100 artifacts recovered by a predecessor-in-interest to RMST during its

   1987 expedition to the RMS Titanic wreck site and brought to France for restoration and

   conservation.    In 1993, an Administrator in the French Office of Maritime Affairs

   awarded RMST title to the French Artifacts. Subsequently, this Court entered default

   judgment in favor of RMSTin Adversary Proceeding No. 16-00183 declaringthat France

   has no interest or claim in the 1987 Artifacts.


          9.       The American Artifacts consist of all artifacts recovered after the 1987

   expedition. In 1993, RMST recovered the first of the American Artifacts, and landed

   the artifacts in Norfolk, Virginia. On August 26, 1993, RMST commenced an in rem

   action in the Admiralty Court against both the artifacts recovered in the 1993

   expedition and the wreck itself.       See R.M.S. Titanic, Inc. v. The Wrecked and
  Case 3:16-bk-02230-PMG                     Doc 1118          Filed 07/18/18         Page 224 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bl<-02230-PMG   449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   7 of 63
                                                                    7 ofPageID#
                                                                         63     659




   Abandoned Vessel, 435 F.3d 521, 528 (4th Cir. 2006). As a result of this action, the

   Admiralty Court declared RMST salvor-in-possession of the Titanic wreck site. See

   id. at 524.       Pursuant to its status as salvor-in-possession, RMST recovered the

   remainder of the American Artifacts through expeditions in 1994, 1996, 1998, and

   2004. The American Artifacts are subject to the ongoing in rem jurisdiction of the

   Admiralty Court.

            10.      In 2011, the Admiralty Court granted to RMST an in-specie salvage award

   to the American Artifacts. The Admiralty Court, however, conditioned the in-specie

   award to the American Artifacts on certain covenants and conditions pursuant to the

   Revised Covenants and Conditions set forth in Exhibit A to the August 12, 2010 Opinion

   of the Admiralty Court (the "Covenants and Conditions"). Among other things, the

   Covenants and Conditions strictly limit RMST's ability to sell the American Artifacts

   individually or as a collection.

            11.      Specifically, the Covenants and Conditions require that the American

   Artifacts "shall be kept together and intact forever, pursuant to the terms of the

   [Covenants and Conditions].""* Covenants and Conditions § III.A. The terms of the

   Covenants and Conditions, in turn, allow for the sale of individual artifacts in the

   American Artifact collection only under very limited circumstances that make any sale

   of individual artifacts commercially impractical if not impossible.



   *By its plain language, this requirement only applies to the American Artifacts, not the French Artifacts,
   because the Admiralty Court has no subject matter jurisdiction over the French Artifacts. See R.M.S.
   Titanic, Inc. v. Wrecl^d &Abandoned Vessel, 435 F.3d 521 (4th Cir. 2006) (vacating the Admiralty Court
   ruling involving the French Artifacts for lack of subject matter jurisdiction).
  Case 3:16-bk-02230-PMG             Doc 1118       Filed 07/18/18       Page 225 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   8 of 63
                                                                   8 ofPageID#
                                                                        63     660




          12.    The Covenants and Conditions place further requirements on the

   American Artifacts that make a traditional sale or auction of the Titanic Artifacts, even

   as a whole collection, difficult. For instance, the Covenants and Conditions require

   that the Titanic Artifacts be made available for public display and exhibition, historical

   review, and research.    Id. at § III.B.   The Covenants and Conditions place strict

   conservation, curation, and management requirements on the Titanic Artifacts. Id. at

   § IV. The Covenants and Conditions appoint the National Oceanic and Atmospheric

   Administrative ("NOAA") in an oversight role to ensure adherence to the Covenants

   and Conditions. Id. at § V. The Covenants and Conditions also place a number of

   substantive and procedural requirements for the care and transfer of the American

   Artifacts to any subsequent trustee. Id.

          13.    Because the Admiralty Court has no subject matter jurisdiction over the

   French Artifacts, the Covenants and Conditions only apply to the American Artifacts.

   See R.M.S. Titanic, Inc. v. Wrecked & Abandoned Vessel, 435 F.3d 521 (4th Cir. 2006);

   see also June 21, 2016 transcript of hearing in the Eastern District of Virginia, Norfolk

   Division (The Court: "the French artifacts . . . were excepted in the covenants and

   conditions that protected the artifacts that were before this Court.")           NOAA,

   nevertheless, has consistently maintained that the Covenants and Conditions do not

   allow a sale of the French Artifacts separately from the American Artifacts, and has

   repeatedly indicated that it would vigorously challenge any effort to auction any French
  Case 3:16-bk-02230-PMG                      Doc 1118         Filed 07/18/18     Page 226 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   9 of 63
                                                                   9 ofPageID#
                                                                        63     661




   Artifacts individually or separately from the American Artifact collection.^ Regardless

   of whether NOAA's position is correct, the litigation risk^ associated with pursuing a

   piecemeal sale of the French Artifacts poses a significant challenge to monetizing those

   artifacts apart from a sale of the entire artifact collection, and fundamentally

   undermines the reliability of any appraisal or opinion of value for the Titanic Artifacts

   that assumes the artifacts can be sold individually. In short, and as evidenced by

   several unsuccessful attempts by the Debtors to sell the artifacts dating back to 2012,

   the Covenants and Conditions result in significant risks and uncertainty attendant to

   any sale or disposition of the Titanic Artifacts, and particularly any sale of individual

   or small groups of artifacts.

   Prepetition Secured Creditors

            14.      As of the Petition Date, the Debtors owed approxunately $3,000,000 in

   aggregate principal amount pursuant to the followmg: (i) the Revised and Restated

   Secured Promissory Note and Guarantee issued by Premier to Lange Feng on March

   24, 2016 in the principal amount of $1,000,000; (ii) the Revised and Restated Secured

   Promissory Note and Guarantee issued by Premier to Jihe Zhang on March 24, 2016

   in the principal amount of $1,000,000; and (iii) the Revised and Restated Secured

   Promissory Note and Guarantee issued by Premier to Haiping Zou on March 24, 2016

   in the principal amount of $1,000,000. Haiping Zou, Lange Feng, and Jihe Zhang are



   ' Indeed, NOAA reiterated its position inresponse tothe motion ofEuclid Claims Recovery LLC toappoint
   chapter 11 trustee. See D.E. 1041.
   ®As a governmental entity, NOAA could appeal an adverse determination without having to post a bond,
   thus significantly delaying any resolution of this issue.
   Case 3:16-bk-02230-PMG             Doc 1118     Filed 07/18/18      Page 227 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   10 of10
                                                                    63of
                                                                       PageID#
                                                                         63    662




   collectively referred to as the "Secured Lenders" and their clauns are collectively

    referred to as the "Secured Lender Claims." The Secured Lenders assert liens on the


   assets of Premier and several other Debtors, and assert collectively more than

    $1,000,000 in post-petition interest and fees on the Secured Lender Claims, for total

    Secured Lender Claims in excess of $4,000,000. The Debtors and the Committees

   have asserted disputes with respect to the timing of perfection of certain of the liens

    securing the Secured Lender Claims, and the Debtors and the Secured Lenders have

   executed a tolling agreement with respect to the Debtors' potential causes of action

    related thereto.


   The Sale Process


           15.     On September 30, 2016, the Debtors retained GlassRatner Advisory

   & Capital Group, LLC ("GlassRatner"), as financial advisor and investment banker

   to advise them in connection with their chapter 11 cases and various restructuring

   alternatives.       The Debtors, with the assistance of GlassRatner and its other

    professionals, carefully evaluated each of their various options, and engaged in

   extensive negotiations with the legal and financial advisors to the Committees,

    NOAA, and other constituents regarding a consensual resolution to these chapter 11

   cases. During this time, the Debtors and the Committees considered all potential

   restructuring and liquidation options for the Debtors' business and assets, including

   an auction of the French Artifacts.


           16.     In November of 2016, the Debtors submitted a request for proposals

   to a variety of auction houses for the auction and sale of a portion or all of the



                                             10
   Case 3:16-bk-02230-PMG          Doc 1118       Filed 07/18/18     Page 228 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   11 of11
                                                                    63ofPageID#
                                                                         63     663




   Titanic Artifacts to which Bonhams and Christie's responded.              Following

   discussions with the Equity Committee, the Debtors circulated a revised request for

   proposals to a wider group of auction houses in January of 2017 (the "Debtors'

   RFP"), which contemplated an auction of any of the following; 1) the entire

   collection of the Titanic Artifacts, subject to the Covenants and Conditions; 2) the

   entire collection of the French Artifacts; or 3) a subset of the French Artifacts. In

   late February of 2017, the Debtors received a new proposal from Guernsey's and

   revised proposals from Bonhams and Christie's.

          17.    The responses revealed significant hurdles in connection with the

   proposed auction. As an initial matter, each of the three respondents indicated that

   an evaluation and auction timeframe would likely last through much of 2017.

   Additionally, the respondents expressed significant concerns and reluctance to

   handle and sell the Titanic Artifacts, stemming largely from the Covenants and

   Conditions and the corresponding litigation exposure.       Additionally, the Court

   received informal objections from several members of the international maritime

   community over the proposed auction of the artifact collection. [D.E. 435, 436].

          18.    Thus, after extensive negotiations and evaluation, the Debtors and the

   Committees determined that a sale of all the Debtors' assets as a going concern,

   including the sale of the Titanic Artifacts as a whole collection, was in the best

   interests of the Debtors and their estates.    Accordingly, in April of 2017, the

   Debtors' RFP was suspended and, shortly thereafter, the Debtors and the

   Committees entered into a Plan Support Agreement on May 18, 2017 (the "PSA")



                                            11
   Case 3:16-bk-02230-PMG            Doc 1118         Filed 07/18/18    Page 229 of 352

Case 2:93-cv-00902-RBS   DocumentDoc
        Case 3:16-bk-02230-PMG   449-2
                                     1055FiledFiled
                                               06/29/18   PagePage
                                                    06/15/18   12 of12
                                                                     63ofPageID#
                                                                          63     664




   which was approved by the Court on July 6, 2017 [D.E. 642]. The PSA contemplated

   a sale of all of the Debtors' assets as a going concern after a marketing period to be

   conducted by the Debtors and GlassRatner.

          19.    As required by the PSA, the Debtors, through GlassRatner, marketed

   the Debtors' assets to potential purchasers over several months.           GlassRatner

   conducted an extensive and far-reaching marketing campaign, contacting potential

   buyers and interested parties (as identified through independent research and Debtor

   and Committee contacts) across the globe. In addition, Kekst (a reputable PR firm)

   conducted a national campaign to uncover and reach other potential buyers.         As a

   product of these efforts, news of the sale of the Titanic Artifacts reached a global

   audience - the sale was feamred on the Today Show, national television nightly news

   programs, and newspapers worldwide.              In or about November of 2017, these

   marketing efforts succeeded in yielding a significant offer, with a high certainty of

   closing, that would have provided sufficient funds to pay creditors in full and allow

   shareholders to retain their equity. Ultimately, however, this offer was rescinded after

   certain allegations were made by the Equity Committee regarding the purchaser and

   management - allegations that ultimately were unfounded.

          20.    Despite receiving expressions of interest from a number of other

   interested buyers, ultimately a definitive agreement with a stalking horse bidder on

   the time table originally agreed upon by the Debtors and Committees in the PSA never

   materialized. The Debtors and Committees initially determined to proceed toward an




                                               12
   Case 3:16-bk-02230-PMG            Doc 1118       Filed 07/18/18       Page 230 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   13 of13
                                                                    63of
                                                                       PageID#
                                                                         63    665




   auction of the Debtors' business without a stalking horse bidder and filed a motion to

   approve such a "naked auction" process on November 14, 2017.

          21.     On December 12, 2017, an ad hoc group of equity holders (the "Ad

   Hoc Group") comprised of funds managed by affiliates of Apollo Global Management,

   LLC ("Apollo") and Aha Fundamental Advisers LLC ("Aim") filed an objection to the

   naked auction, requesting that they be given time to conduct diligence on the Debtors to

   formulate a restructuring alternative to the naked auction. [D.E. 850]. On December 14,

   2017, the Trustees of the National Maritime Museum filed a motion to withdraw the

   reference with respect to the proposed naked auction motion and transfer it to the

   Admiralty Court. [D.E. 853].

          22.     Because of these objections, the interest of the Ad Hoc Group to pursue

   a restructuring alternative, and other considerations, on December 15, 2017, with the

   support of the Committees, the Debtors withdrew the "naked auction" motion [D.E.

   863] and began to re-evaluate all potential restructuring alternatives to exit the chapter

    11 process. The Debtors, with aid of its professionals and GlassRatner, continued to

   engage in discussions with potential buyers and other potential sources of financing

   to restrucmre the Debtors' businesses, including the Ad Hoc Group.

          23.    The Debtors' exclusive period to file and obtain acceptances of a plan

   of reorganization expired on February 14, 2018.

          24.    Given the posture of the cases and the various and competing interests

   of the estates' constituents, on February 25 and 26, 2018, representatives of the

   Debtors, the Committees, NOAA, the DIP Lender, the Secured Lenders, the Ad Hoc




                                              13
   Case 3:16-bk-02230-PMG            Doc 1118       Filed 07/18/18       Page 231 of 352

Case 2:93-cv-00902-RBS   DocumentDoc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055      06/29/18  PagePage
                                                   06/15/18   14 of14
                                                                    63ofPageID#
                                                                         63     666




   Group, and other major constituents in the cases convened for a mediation to attempt

   to reach agreement on the best path forward to exit these chapter 11 cases. The

   mediation parties ultimately did not reach a formal resolution, however, the parties

   agreed that continued pursuit of a sale transaction was in the best interests of the

   Debtors and their estates. [D.E. 970].

          25.    On June 1, 2018, the Equity Committee filed its Chapter 11 Plan of

   Reorganization and accompanying Disclosure Statement, proposing to market and sell

   the American Artifacts to a "qualified institution," and market and auction the French

   Artifacts [D.E. 1044, 1045]. The proposed Chapter 11 Plan of Reorganization and

   accompanying Disclosure Statement contain no apparent funding source with which

   to fiind litigation likely to ensue with NOAA over the proposed liquidation of the

   French Artifacts.


   The DIP Loan


          26.    Concurrently with entering into the PSA, the Debtors entered into a post-

   petition financing agreement with Bay Point Capital (the "DIP Lender") on May 18,2017

   for up to $5 million (the "DIP Loan") to fund the Debtors' business and the administrative

   costs of the bankruptcy during the marketing process. The Court approved the DIP Loan

   by order effective June 29, 2017. The current balance of the DIP Loan as of the date of

   this Motion is $4,600,000.00, plus accrued interest of $107,000.00. On May 29, 2018,

   the Debtors exercised an extension option extending the maturity date of the DIP Loan

   for one year to June 29, 2019.




                                              14
   Case 3:16-bk-02230-PMG           Doc 1118       Filed 07/18/18      Page 232 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   15 of15
                                                                    63of
                                                                       PageID#
                                                                         63    667




   The Stalking Horse Purchaser APA

          27.    After considering numerous alternatives and significant arms-length

   negotiations with various potential buyers, lenders, and investors, the Debtors, in

   consultation with their professionals and advisers, negotiated the proposed sale of the

   Transferred Assets to Premier AcquisitionHoldings LLC, a Delaware limited liability

   company (the "Stalking Horse Purchaser"), an entity formed by affiliates of members

   of the Ad Hoc Group, the Secured Lenders, and PacBridge Capital Partners (HK)

   Ltd. ("PacBridge").

          28.    The APA was extensively negotiated, involving complex issues of

   bankruptcy law, admiralty law, Canadian laws and other issues related to the unique

   nature of the Transferred Assets, in addition to those issues commonly arising in a more

   traditional M&A transaction or bankruptcy Section 363 sale. Among the most difficult

   issues to address was the appropriate mechanism for a sale of the Debtors' interests in

   the Titanic Artifacts. Ultimately, after significant negotiation and analysis - and as

   discussed in more detail below - the parties agreed to sale of the stock of RMST, as a

   means to ensure continued compliance with the Covenants and Conditions and to provide

   the most expeditious path toward Admiralty Court approval.

          29.    The APA that resulted from those negotiations is the culmination of an

   extraordinary and thorough marketing and sale process conducted by the Debtors,

   through GlassRatner, over a period of approximately one year. In connection with that

   process, the Debtors contacted over 150 parties and signed over 30 non-disclosure




                                             15
   Case 3:16-bk-02230-PMG                  Doc 1118          Filed 07/18/18           Page 233 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bk-02230-PMG    449-2
                                      1055FiledFiled
                                                06/29/18   PagePage
                                                     06/15/18   16 of16
                                                                      63ofPageID#
                                                                           63     668




   agreements with parties who were sent information packages and provided registered

   access to its diligence data room.

           30.      Shortly after filing this Motion, the Debtors will be filing a motion with

    the Admiralty Court seeking approval of the Sale to the Stalking Horse Purchaser (or any

   other Prevailing Bidder) as contemplated in the APA.

                      SUMMARY OF THE PROPOSED SALE AND APA

           31.      Pursuant to the terms and subject to the conditions of the APA, the Sellers,

   subject to a Court-approved auction and sale process, including any required approval of

   the Sale by the Admiralty Court, and any higher and better offers in accordance with the

   proposed Bidding Procedures outlined below, will sell to the Stalking Horse Purchaser

    its right, title and interest in and to the Transferred Assets,^ as set forth in the APA and,

   in connection therewith, will assign to the Stalking Horse Purchaser certain executory

   contracts and unexpired leases (the "Assumed and Assigned Contracts"). The Stalking

   Horse Purchaser will purchase the Transferred Assets and Assumed and Assigned

   Contracts of the Debtors free and clear of all liens, claims, encumbrances and interests

   pursuantto Sections 363 and 365 of the Bankruptcy Code.*




   ^As noted above, the Transferred Assets include 100% of Premier's stock in RMST.
   *The APA, to which DinoKing is a party as a Seller and which includes the sale of DinoKing assets,
   contemplates that DinoKing may become a Debtor in these cases. If DinoKing does become a debtor in
   thesecases, the provisions of Sections 363 and 365 would apply directly to the assets of DinoKing included
   in the Transferred Assets. To the extent DinoKing does not become a debtor, the Debtors nevertheless seek
   authority under Section 363 to exercise Premier's interests in DinoKing to cause DinoKing to perform
   under the APA.




                                                      16
   Case 3:16-bk-02230-PMG                  Doc 1118          Filed 07/18/18          Page 234 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bl<-02230-PMG   449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   17 of17
                                                                     63ofPageID#
                                                                          63     669




               32.   The terms of the Stalkmg Horse Purchaser's offer to purchase the

   Transferred Assets are set forth in the APA and are summarized herein:'

                     a) Stalking Horse Purchaser. The Stalking Horse Purchaser is an
                        acquisition vehicle formed by affiliates of or ftmds managed by the
                        Secured Lenders, PacBridge, Alta, and Apollo.          The Secured
                         Lenders'" and fiinds managed by Alta and Apollo are each equity
                         holders of Premier.            Collectively, the Secured Lenders own
                         approximately 2,232,143 shares of Premier. Funds managed by Alta
                         own approximately 1,057,624 shares of Premier. Funds managed by
                         Apollo own approximately 463,038 shares of Premier. Further each
                         of the Secured Lenders and PacBridge (collectively, the "PacBridge
                         Parties") has asserted claims against the Debtors. The Secured
                         Lenders each assert secured claims each in the principal amount of
                         $1,000,000, plus post-petition interest and fees. PacBridge asserts an
                         unsecured claim against the Debtors in the approximate amount of
                         $1,195,350.39. As discussed in more detail below, the Debtors have
                         asserted objections and/or potential avoidance claims against the
                         Secured Lenders and PacBridge in cormection with their claims that
                         will be resolved as part of the Sale contemplated in the APA. The
                         Debtors are aware of and disclose the following relationships:

                               •   DinoKing engaged PacBridge and its principal, Giovanni
                                   Wong, as financial advisor for DinoKing's November 2015
                                   sale to Premier, pursuant to which PacBridge referred
                                   $3,500,000.00 of the $13,500,000.00 original investment for a
                                   3% fee;"
                               •   The President of Premier, Daoping Bao, has been friends with
                                   Mr. Zou for over 20 years, and is Mr. Zhang's cousin by
                                   marriage;
                               •   Pursuant to that certain Stockholders Agreement dated as of
                                   April 2, 2015 (the "Stockholders Agreement"),'^ the following
                                   parties have assigned the rights to vote their shares in Premier


   ' Capitalized terms used in this summary but not otherwise defined in the Motion shall have the meaning
   given to them in the APA.
    " Secured Lender Haiping Zou owns his shares of Premier through High Nature Holdings, Ltd. ("High
    Nature")
   " Consistent with this engagement, the Debtors have asserted, in response to certain discovery requests
   issued by the Equity Committee in these cases, that Mr. Wong was a financial consultant and therefore fell
   within the attorney-client privilege as to discussions between Mr. Wong and counsel for the Debtors in
   connection with the DinoUng merger.
     See Schedule 13D, dated March 31, 2016.




                                                      17
   Case 3:16-bk-02230-PMG           Doc 1118       Filed 07/18/18        Page 235 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bk-02230-PMG    449-2  FiledFiled
                                      1055      06/29/18  PagePage
                                                    06/15/18   18 of18
                                                                     63ofPageID#
                                                                          63     670




                           to Mr. Bao: Nancy Brenner, High Nature, Lange Feng, Jihe
                           Zhang, and Mandra Forestry Ltd. The Stockholders Agreement
                           continues until a majority cancels it, or until its five-year
                           expiration. As such, none of Ms. Feng, Mr. Zhang or High
                           Nature currently have any voting rights with respect to
                           Premier.


                b) Transferred Assets. Pursuant to Section 1.1(a) of the APA, the
                   Transferred Assets include all of the right, title and interest of Sellers
                   as of the Closing Date in and to the tangible and intangible assets,
                   properties and rights and claims, to the extent used or otherwise related
                   to, useful in or necessary for the conduct of, the Sellers' Business,
                   other than the Excluded Assets and any Consent Asset subject to
                   Section 1.3. See APA, §1.1. The Transferred Assets will also include
                   the outstanding stock of RMST, which is 100% owned by Premier.
                   APA, § l.l(a)(xiv).

                c) Excluded Assets. Section 1.1(b) of the APA sets forth the Excluded
                   Assets, which includes, among other things, avoidance actions other
                   than certain clauns against affiliates of the Stalking Horse Purchaser
                   and claims against counterparties to Assumed and Assigned Contracts
                   and critical vendors. APA, § 1.1(b).

                d) Assumed Liabilities. The Stalking Horse Purchaser will only assume
                   those liabilities specifically listed in section 1.1(c) of the APA, which
                   include Cure Costs, obligations under Assumed and Assigned
                   Contracts after Closing, obligations under the Covenants and
                   Conditions after Closing, and certam specified liabilities of DinoKing
                   in an amount up to CAD$270,000. APA § 1.1(c).

                e) Cure Payments. The Stalking Horse Purchaser will pay Cure Costs.
                   APA §§ 1.3(b) and 8.5 (definition of Cure Costs).

                f) Purchase Price. The Purchase Price is $17,500,000 in cash, subject
                   to adjustment for the amount of Current Assets at Closing. APA, §§
                    1.2 and 8.5 (definition of Purchase Price).

                g) Good Faith Deposit/Liquidated Damages.              The Stalking Horse
                   Purchaser will deposit within three Business Days of the execution of
                   the APA $1,750,000 into escrow which shall be applied to the
                   Purchase Price at closing or retained by the Sellers in the event the
                   APA is terminated pursuant to Section 7.3(b) for a breach by Purchaser
                   as liquidated damages or returned to the Stalking Horse Purchaser in



                                             18
   Case 3:16-bk-02230-PMG          Doc 1118        Filed 07/18/18     Page 236 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3;16-bk-02230-PMG    449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   19 of19
                                                                     63ofPageID#
                                                                          63     671




                   the event the APA is terminated for any other reason.       APA, §§
                   1.4(b)(ii) and 7.3(b).

                h) Closing Date. The Closing Date shall be no later than seventy days
                   after the Admiralty Court Order Entry Date. APA, § 7.4(j).

                i) Representations and Warranties. The APA contains representations
                   and warranties of the Sellers in Article III and of the Stalking Horse
                   Purchaser in Article IV.


                j) Covenants. The APA contains covenants of the Sellers in Article V,
                   mcluding provisions requiring the Sellers to obtain continued D&O
                   Insurance for a period of six years after Closing. APA § 5.6.

                k) Bankruptcy Court Matters. The APA requires the Debtors to obtain
                   entry of the Bidding Procedures Order by July 20, 2018; and to obtain
                   entry of the Sale Order on or before August 17, 2018. APA §§ 7.4(b).
                   As summarized in more detail below, should other potential parties not
                   submit a Qualified Bid by August 8, 2018, the Debtors request a
                   hearing to approve the Sale to the Stalking Horse Bidder on August
                   13, 2018.

                1) Admiralty Court Matters. The APA requires the Debtors to obtain
                   entry of an order from the Admiralty Court approving the Sale as
                   contemplated in the APA by no later than September 7, 2018. APA
                   §§ 7.4(b).

                m) Bid Protections. The APA provides that the Stalking Horse Purchaser
                   shall be entitled to receive a Break-up Fee in an amount equal to the
                   greater of $500,000 or 3% of the F^rchase Price, and an Expense
                   Reimbursement for the aggregate documented, actual, out-of-pocket
                   costs and expenses incurred by the Stalking Horse Purchaser in
                   connection with the transactions contemplated in the APA, provided
                   that the total Break-up Fee and Expense Reimbursement shall not
                   exceed a total of $1,000,000 (the Break-up Fee and the Expense
                   Reimbursement collectively being the "Bid Protections") in the event
                   that the APA is terminated under certain circumstances set forth in §
                   7.5(b) of the APA. The APA further requires that the Bidding
                   Procedures Order approve the Bid Protections as administrative
                   expenses of Seller under Sections 503(b) and 507 of the Bankruptcy
                   Code, and that the Bid Protections be paid to the Stalking Horse
                   Purchaser at closing of any Competing Transaction or from gross
                   proceeds of any Competing Transaction or, in the event the definitive



                                              19
   Case 3:16-bk-02230-PMG             Doc 1118        Filed 07/18/18       Page 237 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   20 of20
                                                                    63ofPageID#
                                                                         63     672




                      agreement for a Competing Transaction is terminated, within one
                      Business Day of any such termination. APA § 7.5(b)-(c).

                  n) Settlement of Claims. The APA provides that upon Closing, in full
                      satisfaction of the respective claims of the PacBridge Parties, (x) the
                      Secured Lenders will receive in consideration of their Secured Lender
                      Claims, (i) a $1 million cash payment, plus (ii) allowed general
                      unsecured claims against the Debtors in the total aggregate amount of
                      $2,000,000, to be allocated $666,666.67 to Feng, $666,666.67 to
                      Zhang, and $666,666.66 to Zou, and (y) PacBridge will have an
                      allowed general unsecured claim against the Debtors in the amount of
                      $1,195,350.39 (the "PacBridge Parties Settlement"). The APA further
                      provides that this Motion will include a request under Bankruptcy Rule
                      9019 Bankruptcy Court for approval of the PacBridge Parties
                      Settlement, and the Sale Order must include Bankruptcy Court
                      approval of the PacBridge Parties Settlement. APA § 5.7(h).

                  o) Conditions to Closing. The APA contains conditions to Closing in
                      Article VI, including a requirement that the Luxor Lease be renewed
                      on terms acceptable to Stalking Horse Purchaser. APA § 6.3(e).

                  p) Termination. The APA contains termination provisions in Article
                      VIL


          33.     The Debtors seek authority to sell the Transferred Assets to the Stalking

   Horse Purchaser on the terms and conditions set forth in the APA or to a higher and

   better bidder to be determined in accordance with the Bidding Procedures. The Debtors

   believe that securing the Stalking Horse Purchaser after many months of extensive

   marketing efforts, further marketing of the Debtors' assets with the assistance of

   GlassRatner over the time period contemplated by the Bidding Procedures, and the

   holding of the Auction will result in the highest and best price for the Transferred Assets.




                                               20
   Case 3:16-bk-02230-PMG                  Doc 1118         Filed 07/18/18          Page 238 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bl<-02230-PMG   449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   21 of21
                                                                     63ofPageID#
                                                                          63     673




                            SUMMARY OF BmPING PROCEDURES


           34.      Pursuant to the Bidding Procedures, the Sellers propose to sell all of their

   rights, title and interest in the Transferred Assets free and clear of any liens, interests,

   claims, charges or encumbrances in accordance with section 363 of the Bankruptcy Code,

    to the maximum extent permitted by applicable law." The Debtors propose that any

   encumbrances remaining with the Debtors' estates shall attach to any proceeds resulting

    from the sale, net of any transaction costs and fees, in the same order of priority and

   subject to the rights, claims, defenses, and objections, if any, of all parties with respect

    thereto, subject to any further order of the Court.

           35.      A summary of the important dates proposed in the Bidding Procedures are

   as follows:


     August 8, 2018, at 4:00 p.m.                    Bid Deadline
     August 8, 2018, at 4:00 p.m.                    Sale Objection Deadline
                                                     Cure Amount Objection Deadline
     August 10, 2018, at 4:00 p.m.                   Deadline for Debtors to Designate and
                                                     Publish Qualified Bidders
     August 13, 2018, at 10:00 a.m.                  Auction, if any
                                                     Location:
                                                     Troutman Sanders, LLP
                                                     600 Peachtree Street NE
                                                     Suite 3000
                                                     Atlanta, Georgia 30308




     The Sale will not affect the Covenants and Conditions, as the Purchaser will acquire 100% of the stock
   of RMST, not the assets within RMST. The stock of RMST will be sold free and clear of any liens,
   interests, claims, charges or encumbrances.




                                                     21
   Case 3:16-bk-02230-PMG                  Doc 1118          Filed 07/18/18          Page 239 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bk-02230-PMG    449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   22 of22
                                                                     63of
                                                                        PageID#
                                                                          63    674




    August 13, 2018, at 10:00 a.m.                    Sale Hearing, if no Auction
                                                      Location:
                                                      United States Bankruptcy Court for the
                                                      Middle District of Florida, Jacksonville
                                                      Division
                                                      Bryan Simpson United States Courthouse
                                                      300 North Hogan Street, Courtroom 4A
                                                      Jacksonville, Florida 32202
    August 15, 2018, at 10:00 a.m.                    Sale Hearing, if Auction occurs
                                                      Location:
                                                      United States Bankruptcy Court for the
                                                      Middle District of Florida, Jacksonville
                                                      Division
                                                      Bryan Simpson United States Courthouse
                                                      300 North Hogan Street, Courtroom 4A
                                                      Jacksonville, Florida 32202
    4:00 p.m., one day before Sale Deadline to File and Serve Responses to
    Hearing                        Any Sale Objection


           36.      In addition, the proposed Bidding Procedures are summarized as follows:"

    Marketing Process                  The Debtors, in consultation with GlassRatner, have and
                                       will continue to develop a list of parties they believe may
                                       be mterested in participating in the Auction. In
                                       accordance with the Bidding Procedures, the Debtors
                                       will provide such parties with certain preliminary
                                       information, and will provide interested parties with
                                       diligence materials upon execution of a satisfactory
                                       confidentiality agreement and evidence of the ability to
                                       consummate a Competing Transaction.

    Auction Qualification              To be eligible to participate in the Auction, each Bid
    Process                            and/or Bidder must meet the following criteria:

                                           •    Include payment of a good faith deposit into
                                                escrow equal to 10% of the cash consideration

   " This summary disclosure contains a description of only certain terms of the Bidding Procedures.      A
   copy of the Bidding Procedures is attached to the Bidding Procedures Order as Exhibit 1. The Bidding
   Procedures themselves should be consulted for a full description of the terms thereof. To the extent that
   there are any inconsistencies between the terms set forth herein and in the actual terms set forth in the
   Bidding Procedures, the BiddingProceduresshall control. Capitalized terms used in this summary but not
   otherwise defined in the Motionshall have the meaning given to them in the Bidding Procedures.




                                                     22
   Case 3:16-bk-02230-PMG                   Doc 1118         Filed 07/18/18    Page 240 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bk-02230-PMG    449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   23 of23
                                                                     63ofPageID#
                                                                          63     675




                                                provided for in the Bid (a          "Good Faith
                                                Deposit"):
                                            •   Be on substantially similar, the same or better
                                                terms than the APA and propose to buy
                                                substantially all of the Transferred Assets;
                                            •   Include a competing asset purchase agreement m
                                                substantially the same form and on substantially
                                                the same material terms as the APA, excepting
                                                the Bid Protections applicable only to the
                                                Stalking Horse Purchaser, and include a redline
                                                showing all changes from the APA;
                                            •   Be irrevocable until the earlier of the Outside
                                                Backup Date or the closing of a Competing
                                                Transaction and include a signed statement
                                                verifying the same;
                                            •   Include a signed statement that the Bidder agrees
                                                to be bound by the Covenants and Conditions;
                                            •   Propose a purchase price equal to or greater than
                                                $19,000,000.00'^
                                            •   Obligate the Bidder to pay all Cure Amounts;
                                            •   Not contain a break-up fee, expense
                                                reimbursement, or similar provisions;
                                            •   Be received by August 8, 2018 the Bid Deadline
                                                by the parties listed in the Bidding Procedures;
                                            •   Include evidence that the Bidder has corporate
                                                authority to consummate the transaction;
                                            •   Include written evidence satisfactory to the
                                                Debtors demonstrating that the Bidder has the
                                                necessary financial ability to close the
                                                Competing Transaction and provide adequate
                                                assurance of fUmre performance under all
                                                contracts to be assumed and assigned in such
                                                Competing Transaction, including specific
                                                information set forth in the Bidding Procedures;
                                                and
                                            •   Contain no financing contingency.

                                       The Stalking Horse Purchaser is a Qualified Bidder, and
                                       the APA is a Qualified Bid.



     All amounts herein are expressed in United States dollars.




                                                      23
   Case 3:16-bk-02230-PMG        Doc 1118         Filed 07/18/18      Page 241 of 352

Case 2:93-cv-00902-RBS   DocumentDoc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055      06/29/18   PagePage
                                                   06/15/18    24 of24
                                                                     63ofPageID#
                                                                          63     676




                              The Debtors will file a notice with the Bankruptcy Court
                              of all Qualified Bids no later than two business days after
                              the Bid Deadline.


                              The Auction will be cancelled if no Qualified Bids are
                              received by the Bid Deadline and the Debtors will file a
                              notice of the same with the Bankruptcy Court no later
                              than two business days after the Bid Deadline.

    Assessment of Bids        Bids will be assessed by taking into account, among
                              other things, total consideration received by the
                              Debtors, the likelihood that the Bidder will be approved
                              by the Admiralty Court, and the likelihood of the
                              Bidder's ability to consummate a transaction in a timely
                              manner.



    The Auction               The Auction, if any, will be held on August 13, 2018 at
                              10:00 a.m. prevailing eastern time at the offices of
                              Troutman Sanders, LLP, located at 600 Peachtree Street
                              NE, Suite 3000, Atlanta, Georgia 30308.

                              Only Qualified Bidders shall be allowed to participate in
                              the Auction.


                              The Debtors and their professionals shall preside over
                              the Auction.


                              The Auction will be transcribed by a certified court
                              reporter.

                              At the start of the Auction, the Debtors shall describe
                              the terms of the highest and best Qualified Bid received
                              prior to the Bid Deadline (such Qualified Bid, the
                              "Auction Baseline Bid"). The Stalking Horse Purchaser
                              shall have the right (but not the obligation) to match the
                              highest and best Qualified Bid received prior to the Bid
                              Deadline, and thus become the Auction Baseline Bid

                              Unless otherwise agreed by the Debtors, only the
                              Debtors, the Committees, the Stalking Horse Purchaser,
                              NOAA, the DIP Lender, and any other Qualified
                              Bidder, along with each of their respective professionals
                              (collectively, die "Auction Attendees"), may attend the




                                             24
   Case 3:16-bk-02230-PMG         Doc 1118        Filed 07/18/18    Page 242 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   25 of25
                                                                    63of
                                                                       PageID#
                                                                         63    677




                             Auction in person, and only the Stalking Horse
                             Purchaser and other Qualified Bidders will be entitled to
                             make any Bids at the Auction.


     Terms of Overbids       The initial Overbid must be for a purchase price equal
                             to   or    greater   than   $19,000,000.00   the   "Initial
                             Overbid").

                             Any Bid after the Initial Overbid must be made in
                             increments of not less than $500,000.00.

                             The Stalking Horse Purchaser shall be entitled to credit
                             bid the Bid Protections as a portion of any Overbid
                             (including an Initial Overbid).

                             All Overbids must remain open and binding on the
                             Bidder until and unless the Debtors accept a higher
                             Overbid.


    Provisions Governing     The Qualified Bidder with the next highest or best
    Back-up Bidders          Qualified Bid after the Prevailmg Bidder at the Auction
                             will be designated as a Backup Bidder and must keep its
                             fmal Overbid open and irrevocable until the earlier of (i)
                             4:00 p.m. (prevailing Eastern time) on the date that is
                             30 days after the Closing Date provided for in the Sale
                             Order approving the Prevailing Bid (the "Outside
                             Backup Date"), or (ii) the date of closing of a
                             Competing Transaction with the Prevailing Bidder or
                             with the Backup Bidder.

                             If the Prevailing Bidder fails to close due to a breach or
                             failure to perform on the part of such Prevailing Bidder,
                             the Debtors may designate the Backup Bidder to be the
                             new Prevailing Bidder,        and the Debtors will be
                             authorized, but not required, to consummate a
                             transaction with the Backup Bidder without further order
                             of the Bankruptcy Court. In such case, the defaulting
                             Prevailing Bidder's Good Faith Deposit shall be
                             forfeited to the Debtors.
    Return of Good Faith     The Good Faith Deposit of any Qualified Bidder other
    Deposits                 than the Prevailing Bidder or the Backup Bidder shall be
                             returned to such Qualified Bidder not later than three




                                           25
   Case 3:16-bk-02230-PMG             Doc 1118       Filed 07/18/18        Page 243 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   26 of26
                                                                    63ofPageID#
                                                                         63     678




                                  business days after the Sale Hearing. The Good Faith
                                  Deposit of the Backup Bidder shall be returned to the
                                  Backup Bidder on the date that is the earlier of 24 hours
                                  after (a) the closing of the transaction with the Prevailing
                                  Bidder and (b) the Outside Backup Date. Upon the
                                  return of the Good Faith Deposits, their respective
                                  owners shall receive any and all interest that will have
                                  accrued thereon. If the Prevailing Bidder timely closes,
                                  its Good Faith Deposit shall be credited to its piu'chase
                                  price.


          37.     The Debtors believe that it is imperative that they promptly move forward

   with the Auction and the Sale, to generate and retain potential purchasers' interests in the

   Transferred Assets.    Accordingly, the Bid Procedures (as sunmiarized above) were

   developed consistent with the Debtors' need to expeditiously move forward with the sale

   and potential auction process, but with the objective of promoting active bidding that will

   result in the highest or best offer for the Transferred Assets while affording appropriate

   protection for the Stalking Horse Purchaser. Moreover, the Bid Procedures reflect the

   Debtors' objective of conducting the Auction in a controlled, but fair and open, fashion

   that promotes interest in the Transferred Assets by financially motivated bidders who are

   likely to close the transaction. Further, with these chapter 11 cases having been pending

   for over two years, and the Transferred Assets having been marketed extensively for at

   least the past year, the Debtors submit that the Bidding Procedures, including the Bid

   Protections and timelines contained therein, are necessary and appropriate to finally bring

   these Chapter 11 cases to an efficient and prompt resolution.




                                               26
   Case 3:16-bk-02230-PMG             Doc 1118       Filed 07/18/18       Page 244 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   27 of27
                                                                    63of
                                                                       PageID#
                                                                         63    679




          FORM AND MANNER OF THE SALE NOTICE AND OBJECTION

          38.     The Debtors seek to have the Auction scheduled for August 13, 2018.

    Due to the substantial and continuing costs of administering the Debtors' Chapter 11

   cases, it is imperative to expeditiously move forward with the Auction and the Sale.

          39.     No later than three business days after entry of this Bidding Procedures

   Order, the Debtors will cause the Sale Notice to be sent by first-class mail postage

   prepaid, to the following: (a) all creditors or their counsel known by the Debtors to assert

   a lien (including any security interest), claim, right, interest or encumbrance of record

   against all or any portion of the Transferred Assets; (b) the Office of the United States

   Trustee; (c) the Securities and Exchange Commission; (d) all applicable federal, state and

   local taxing and regulatory authorities of the Debtors or recording offices or any other

   governmental authorities that, as a result of the sale of the Transferred Assets, may have

   claims, contingent or otherwise, in connection with the Debtors' ownership of the

   Transferred Assets or have any known interest in the relief requested by the Motion; (e)

   the state and local environmental agencies in the jurisdictions where the Debtors own or

   lease real property; (f) the United States Attorney's office for the Middle District of

   Florida; (g) the National Oceanic and Atmospheric Administration; (h) all parties in

   interest who have requested notice pursuant to Bankruptcy Rule 2002 as of the date of

   entry of this Bidding Procedures Order; (i) counsel to the Creditors Committee; (j)

   counsel to the Equity Committee; (k) all parties to any litigation involving the Debtors;

   (1) all counterparties to any executory contract or unexpired lease of the Debtors; (m)

   counsel for the DIP Lender; (n) AEG Presents LLC f/k/a AEG Live LLC; (o) all of




                                               27
   Case 3:16-bk-02230-PMG             Doc 1118      Filed 07/18/18       Page 245 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   28 of28
                                                                    63of
                                                                       PageID#
                                                                         63    680




   DinoKing's known creditors, regulatory authorities, and other parties in interest that

   could assert Liens or Claims against the Transferred Assets; and (p) all other known

   creditors and interest holders of the Debtors.


          40.     The Debtorssubmitthat the SaleNotice is reasonably calculated to provide

   all interested parties with timely and proper notice of the proposed bidding and auction

   processes, including: (a) the date, time and place of the Auction; (b) the Bidding

   Procedures and the dates and deadlines related thereto; (c) a reasonably specific

   description of the criteria by which Bids will be evaluated; and (d) instructions for

   promptly obtaining access to due diligence materials. The Debtors submit that such notice

   is good, adequate, sufficientand proper noticeof the Bidding Procedures and the Auction.

   The Debtors respectfully request that the Court waive and dispense with any other notice

   that may be required pursuant to any Bankruptcy Rule or any Local Rule.

          41.     The Debtors further request that the Bidding Procedures Order provide

   that all objections to the Sale contemplated by the Asset Purchase Agreement must: (a)

   be in writing; (b) comply with the Bankruptcy Rules and the Local Rules of the United

   States Bankruptcy Court for the Middle District of Florida; (c) be filed with the clerk of

   the United States Bankruptcy Court for the Middle District of Florida, United States

   Bankruptcy Court for the Middle District of Florida, Jacksonville Division, Bryan

   Simpson United States Courthouse, 300 North Hogan Street, Suite 3-150, Jacksonville,

   Florida 32202 (or filed electronically via CM/ECF), by 4:00 p.m. (prevailing Eastern

   Time) on August 8, 2018 (the "Sale Objection Deadline"); and (d) be served upon (i)

   counsel to the Debtors, Troutman Sanders LLP, 600 Peachtree Street NE, Suite 3000,




                                              28
   Case 3:16-bk-02230-PMG                 Doc 1118     Filed 07/18/18           Page 246 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   29 of29
                                                                    63ofPageID#
                                                                         63     681




   Atlanta, GA 30308, attention: Harris B. Winsberg (harris.winsberg@troutman.com) and

   Matthew R. Brooks (matthew.brooks@troutman.com); (ii) counsel to the Creditors

   Conmiittee, Storch Amini PC, 140 East 45th Street, 25th Floor, New York, NY 10017,

   attention: Jeffrey Chubak (ichubak@storchamini.com); (iii) counsel to the Equity

   Conmiittee, Landau Gottfi-ied & Berger LLP, 1801 Century Park East, Suite 700, Los

   Angeles, CA 90067, attention: Peter J. Gurfein (pgurfein@LGBFirm.com); (iv) counsel

   to the Stalkmg Horse Purchaser, Greenberg Traurig, P.A., 401 East Las Olas Blvd.,

   Suite    2000,       Fort   Lauderdale,   FL   33301,     attention:     Scott   M.    Grossman

   (grossmansm@gtlaw.com) and Bracewell LLP, 1251 Avenue of the Americas, 49th

   Floor,         New      York      NY      10020-1100,       attention      Jennifer     Feldsher

   (iennifer.feldsher@bracewell.com) and (v) the Office of the United States Trustee, U.S.

   Department of Justice, George C. Young Federal Building, 400 West Washington Street,

   Suite      1100,       Orlando,     FL     32801,       attention       Miriam    G.     Suarez

   (Miriam.G.Suarez@usdoi.gov) (collectively, the "Notice Parties"), in each case, so as

   to be acmally received no later than 4:00 p.m. (prevailing Eastern Time) on August 8,

   2018.


                           PROCEDURES FOR THE ASSUMPTION AND
                      ASSIGNMENT OF ASSIGNED CONTRACTS AND LEASES

            42.     In addition to the Bidding Procedures and Sale Notice, the Debtors are

   also seeking approval of certain procedures (the "Assumption Procedures") to facilitate

   the fair and orderly assumption and assignment of the Assumed and Assigned Contracts

   in conjunction with any Sale.




                                                  29
   Case 3:16-bk-02230-PMG         Doc 1118       Filed 07/18/18       Page 247 of 352

Case 2:93-cv-00902-RBS   DocumentDoc
        Case 3:16-bk-02230-PMG   449-2
                                     1055FiledFiled
                                                06/29/18  PagePage
                                                    06/15/18   30 of30
                                                                     63ofPageID#
                                                                          63     682




          43.   The proposed Assumption Procedures are as follows;

                a)    No later than three business days after the entry of the Bidding
                      Procedures Order, the Debtors will serve by first class mail or hand
                      delivery the Cure Notice on all non-Debtor parties to the Scheduled
                      Contracts (as defined in the Cure Notice). The Cure Notice will
                      identify the Scheduled Contracts and provide the cure amounts that
                      the Debtors believe must be paid to cure all prepetition defaults
                      under the Scheduled Contracts (collectively, the "Cure Amounts"
                      and individually, a "Cure Amount").

                b)    Unless the non-debtor party to a Scheduled Contract files by the
                      Sale Objection Deadline an objection (the "Cure Amount
                      Objection") to its scheduled Cure Amount, the assumption and
                      assignment to the Stalking Horse Purchaser (or other Prevailing
                      Bidder) of the Scheduled Contracts, or the ability of the Stalking
                      Horse Purchaser to provide adequate assurance of future
                      performance, and serves a copy of the Cure Amount Objection on
                      the Notice Parties so as to be received by no later than the Sale
                      Objection Deadline, such non-debtor party shall be deemed to
                      consent to the Cure Amount proposed by the Debtors and shall be
                      forever enjoined and barred from seeking an additional amount on
                      account of the Debtors' cure obligations under section 365 of the
                      Bankruptcy Code or otherwise from the Debtors, their estates or
                      the Stalking Horse Purchaser (or other Prevailing Bidder) on
                      account of the assumption and assignment of the Scheduled
                      Contracts and shall be deemed to have consented to the proposed
                      assumption and assignment. In addition, if no timely Cure Amount
                      Objection is filed, the Stalking Horse Purchaser (or other
                      Prevailing Bidder) shall enjoy all the rights and benefits under all
                      Scheduled Contracts without the necessity of obtaining any party's
                      written consent to the Debtors' assumption and assignment of such
                      rights and benefits, and each such party shall be deemed to have
                      waived any right to object to, contest, condition or otherwise
                      restrict any such assumption and assignment or to object or contest
                      that the Stalking Horse Purchaser (or other Prevailing Bidder) has
                      not provided adequate assurance of future performance.
                      Information regarding adequate assurance of future performance
                      submitted as part of any Qualified Bid with respect to Scheduled
                      Contracts shall be provided, upon request to Debtors' counsel
                      made on or before the Bid Deadline, to the requesting non-debtor
                      party to a Scheduled Contract within 24 hours of the Bid Deadline.




                                           30
   Case 3:16-bk-02230-PMG         Doc 1118       Filed 07/18/18        Page 248 of 352

        Case 3:16-bk-02230-PMG
Case 2:93-cv-00902-RBS   Document Doc 1055
                                  449-2  FiledFiled 06/15/18
                                               06/29/18   PagePage
                                                               31 of31
                                                                     63of 63
                                                                        PageID# 683




                c)    In the event of a dispute regarding: (a) any Cure Amount with
                      respect to any Scheduled Contract; (b) the ability of the Prevailing
                      Bidder (including the Stalking Horse Purchaser) to provide
                      adequate assurance of future performance as required by section
                      365 of the Bankruptcy Code, if applicable, under such Scheduled
                      Contract or Additional Assumed Executory Contract; or (c) any
                      other matter pertaining to assumption and assignment, the Cure
                      Amounts shall be paid as soon as reasonably practicable after the
                      Closing and following the entry of a final order resolving the
                      dispute and approving the assumption of such Scheduled Contract;
                      provided, however, that the Debtors, with the consent of the
                      Stalking Horse Purchaser or other Prevailing Bidder, as applicable
                      or as provided in paragraph f) below, are authorized to settle any
                      dispute regarding the amount of any Cure Amount or assignment
                      to the Prevailing Bidder (including die Stalking Horse Purchaser)
                      without any further notice to or action, order or approval of the
                      Court.


                d)    Notwithstanding the inclusion of an executory contract or
                      unexpired lease on any list of Scheduled Contracts, the Stalking
                      Horse Purchaser or other Prevailing Bidder, as applicable, shall
                      have authority, in its sole discretion, to remove any contract or
                      lease from the list of Scheduled Contracts either (i) at the Auction,
                      or (ii) no later than five business days after the Bankruptcy Court
                      sustains, in whole or in part, such non-debtor party's Cure Amount
                      Objection or Adequate Assurance Objection; in either such case,
                      the Debtors shall not assume and assign such Scheduled Contract
                      to the Stalking Horse Purchaser or other Prevailing Bidder, as
                      applicable, who removed such contract or lease from any list of
                      Scheduled Contracts.


                e)    Nothing in the Bidding Procedures Order shall extend the Debtors'
                      time to assume or reject any executory contract or unexpired lease
                      pursuant to section 365 of the Bankruptcy Code; provided,
                      however, that the Debtors retain all rights to seek such an extension
                      after notice and an opportunity for a hearing consistent with the
                      applicable provisions of the Bankruptcy Code and Bankruptcy
                      Rules.


                f)    In the event any party to a Scheduled Contract timely objects to the
                      calculation of the Cure Amount for such contract, and alleges that
                      the Cure Amount for such contract exceeds the amount calculated
                      by Debtors for such contract (the amount of such excess Cure




                                           31
   Case 3:16-bk-02230-PMG           Doc 1118          Filed 07/18/18   Page 249 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2 FiledFiled
                                     1055    06/29/18   PagePage
                                                  06/15/18   32 of32
                                                                  63 of
                                                                     PageID#
                                                                        63   684




                        Amount for the contract in question, the "Excess Cure Amount"),
                        then, (i) Debtors shall provide written notice to Stalking Horse
                        Purchaser or other Prevailing Bidder, as applicable, of such Cure
                        Amount objection and the amount of such Excess Cure Amount for
                        each of the proposed Assumed Contracts, and (ii) Stalking Horse
                        Purchaser or other Prevailing Bidder, as applicable shall, no later
                        than three business days after receipt of such notice from Debtors
                        either (a) notify the Debtors that StalkingHorse Purchaser or other
                        Prevailing Bidder, as applicable, elects not to assume such contract
                        if the Excess Cure Amount is in excess of ten percent of the Cure
                        Amount for such contract or (b) take no action with respect to such
                        notice, in which case, such contract shall continue to be assumed
                        by the Stalking Horse Purchaser or the Prevailing Bidder, as
                        applicable, at the Closing. At the Closing, the Debtors shall retain
                        the aggregate Excess Cure Amounts for all Assumed Contracts in
                        escrow and shall use commercially reasonable efforts to resolve
                        such discrepancy with such contract counterparties after the
                        Closing. In the event any such discrepancies are resolved by the
                        Debtors, with the consentof the StalkingHorse Purchaser or other
                        Prevailing Bidder, then the Debtors shall refiind such Excess Cure
                        Amounts to the Stalking Horse Purchaser or other Prevailing
                        Bidder, as applicable. In the event the Debtors do not resolve such
                        discrepancy with such contract counterparty in question, then die
                        Debtors shall deliver such Excess Cure Amount to the contract
                        counterparties in question.

                 g)     Within two business days after the Closing Date, the Debtors will
                        file a notice of assumption and assignment of the Assumed
                        Executory Contracts, substantially in the form attached to the
                        Bidding Procedures Order as Exhibit 4 (the "Assumption Notice"),
                        listing the Scheduled Contracts that were assumed and assigned as
                        Assumed Executory Contracts, as of the Closing Date, to the
                        Stalking Horse Purchaser or to the Prevailing Bidder, to the extent
                        that the Prevailing Bidder is not the Stalking Horse Purchaser. The
                        form of Assumption Notice is hereby approved.

                                 RELIEF REQUESTED

          44.    The Debtors request that this Court enter two orders: (I) enter die Sale

   Order to, among other things, (i) authorize the Sale of the Transferred Assets of the

   Debtors to the Stalking Horse Purchaser pursuant to the APA or to another Prevailing



                                             32
   Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18        Page 250 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bl<-02230-PMG   449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   33 of33
                                                                     63of
                                                                        PageID#
                                                                          63    685




   Bidder pursuant to a purchase agreement entered into with such Prevailing Bidder in

   accordance with the Bidding Procedures, free and clear of all liens, claims,

   encumbrances, and interests pursuant to Sections 363(b), (f), (k), and (m) of the

   Bankruptcy Code, (ii) approve the assumption and assignment of the Assumed and

    Assigned Contracts pursuant to Section 365 of the Bankruptcy Code, (iii) authorize the

   Debtors to pay the DIP Loan at closing of a Sale, (iv) approve the PacBridge Parties

   Settlement, and (v) grant such other and further relief as set forth in the Sale Order; and

   (II) enter the Bidding Procedures Order to, among other things, (i) approve the Bidding

   Procedures and schedule the Auction, (ii) approve the APA as a stalking horse bid, (iii)

   approve the Bid Protections as administrative expenses of the Debtors estates; (iv)

   approve the form, manner and sufficiency of notice of the Sale and schedule the Sale

   Hearing, (iv) approve the Assumption Procedures and (iv) grant such other and further

   relief as set forth in the Bidding Procedures Order.

          45.      As described above, the Debtors, after extensive efforts to maximize

   value, a review of various reorganization, liquidation, and sale options and discussions

   with the Debtors' professionals, ultimately determined m the exercise of their reasonable

   business judgment that die most effective way to maximize the value of the Debtors'

   estates for the benefit of their constituents would be to sell substantially all of their assets

   and to then wind-down any remaining operations. The Debtors believe that the proposed

   Sale will maximize the value of the Debtors' assets for all stakeholders and reduce


   potential risks, contingencies, and uncertainties in the proposed wind-down.




                                                 33
   Case 3:16-bk-02230-PMG             Doc 1118        Filed 07/18/18       Page 251 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bl<-02230-PMG   449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   34 of34
                                                                     63of
                                                                        PageID#
                                                                          63    686




                                    BASIS FOR RELIEF


   I.     The Sale Is within the Sound Business Judgment of the Debtors and Should
          Be Approved.

          46.     Section 363(b)(1) of the Bankruptcy Code provides, in relevant part, that

   a debtor-in-possession, "after notice and a hearing, may use, sell, or lease, other than in

   the ordinary course of business, property of the estate." 11 U.S.C. § 363(b)(1). Section

   363 of the Bankruptcy Code does not set forth a standard for determining when it is

   appropriate for a court to authorize the sale or disposition of a debtor's assets prior to

   confumation of a plan. However, courts in this Circuit and others have required that the

   decision to sell assets outside the ordinary course of business be based upon the sound

   business judgment of the debtors. See In re Abbotts Dairies of Pennsylvania, Inc., 788

   F.2d 143 (3d Cir. 1986); see also Myers v. Martin (In re Martin), 91 F.3d 389, 395 (3d

   Cu". 1996); Comm. ofEquity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), Ill F.2d

    1063, 1071 (2d Cir. 1983); Dai-Ichi Kangyo Bank, Ltd v. Montgomery Ward Holding

   Corp., (In re Montgomery Ward Holding Corp.), 242 B.R. 147, 153 (D. Del. 1999); In

   re Delaware & Hudson Ry. Co., 124 B.R. 169, 176 (D.D.C. 1991); In re Diplomat

   Const., Inc., 481 B.R. 215 (Bankr. N.D. Ga. 2012); In re Friedman's, Inc., 336 B.R.

   891, 895 (Bankr. S.D. Ga. 2005).

          47.     The "sound business judgment" test requires a debtor to establish four

   elements to justify the sale or lease of property outside the ordinary course of business,

   namely, (a) that a "sound business purpose" justifies the sale of assets outside the ordmary

   course of business, (b) that adequate and reasonable notice has been provided to interested




                                               34
   Case 3:16-bk-02230-PMG             Doc 1118        Filed 07/18/18       Page 252 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bk-02230-PMG    449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   35 of35
                                                                     63ofPageID#
                                                                          63     687




   persons, (c) that the debtors have obtained a fair and reasonable price, and (d) good faith.

   See Abbotts Dairies, 788 F.2d 143; Titusville Country Club v. Pennbank (In re Titusville

    Country Club), 128 B.R. 396, 399 (Bankr. W.D. Pa. 1991); In re Sovereign Estates.

   Ltd, 104 B.R. 702, 704 (Bankr. E.D. Pa. 1989); In re GulfStates Steel, Inc. ofAlabama,

   285 B.R. 497, 514 (Bankr. N.D. Ala. 2002). The Debtors submit that the decision to

   proceed with the Sale and the Bidding Procedures related thereto is based upon their

   sound business judgment and should be approved. A debtor's showing of a sound business

   purpose need not be unduly exhaustive but, rather, a debtor is "simply required to justify

   the proposed disposition with sound business reasons." In re Baldwin United Corp., 43

   B.R. 888, 906 (Bankr. S.D. Ohio 1984). Whether there are sufficient business reasons

   to justify a transaction depends upon the facts and circumstances of each case. Lionel,

   111 F.2d at 1071; Montgomery Ward, 242 B.R. at 155 (approving funding of employee

   incentive and severance program; business purpose requirement fiilfilled because

   stabilizing turnover rate and increasing morale were necessary to successful

    reorganization).

           48.     Additionally, Section 105(a) of the Bankruptcy Code provides a

   bankruptcy court with broad powers in the administration of a case under the Bankruptcy

   Code.    Section 105(a) provides that "[t]he court may issue any order, process, or

   judgment that is necessary or appropriate to carry out the provisions of [the Bankruptcy

   Code]." 11 U.S.C. § 105(a). Provided that a bankruptcy court does not employ its

   equitable powers to achieve a result not contemplated by the Bankruptcy Code, the

   exercise of its Section 105(a) power is proper. In re Fesco Plastics Corp., 996 F.2d 152,



                                               35
   Case 3:16-bk-02230-PMG             Doc 1118        Filed 07/18/18          Page 253 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   36 of36
                                                                    63ofPageID#
                                                                         63     688




    154 (7th Cir. 1993); Pincus v. Graduate Loan Or. (In re Pincus), 280 B.R. 303, 312

   (Bankr. S.D.N.Y. 2002). Pursuant to Section 105(a), a court may fashion an order or

   decree that helps preserve or protect the value of a debtor's assets. See, e.g., Chinichian

    V. Campolongo (In re Chinichian), 784 F.2d 1440, 1443 (9th Cir. 1986) ("Section 105

   sets out die power of the bankruptcy court to fashion orders as necessary pursuant to the

   purposes of the Bankruptcy Code."); In re Cooper Props. Liquidating Trust. Inc., 61

   B.R. 531, 537 (Bankr. W.D. Tenn. 1986) (noting that bankruptcy court is "one of equity

   and as such it has a duty to protect whatever equities a debtor may have in property for

   the benefit of its creditors as long as that protection is implemented in a manner consistent

   with the bankruptcy laws.")

          49.     The Debtors submit that sound business justification exists to sell the

   Transferred Assets to the Stalking Horse Purchaser or other Prevailing Bidder pursuant

   to the Biddmg Procedures. Absent a sale of their assets, the Debtors lack sufficient cash

   resources to continue to operate the business and pay their debts as they are due. Further,

   any effort to liquidate the French Artifacts individually (as suggested by various parties)

   will be met with substantial challenge from NOAA, could take years to accomplish, and

   is not likely to generate recoveries for creditors and stakeholders in an amount greater

   than a sale of the Transferred Assets to the Stalking Horse Purchaser or other Prevailing

   Party. Thus, the relief sought herein is not only reasonable, but necessary, to maximize

   the value of the Debtors' estates for the benefit of their stakeholders.




                                               36
   Case 3:16-bk-02230-PMG               Doc 1118      Filed 07/18/18       Page 254 of 352

        Case 3:16-bk-02230-PMG
Case 2:93-cv-00902-RBS  Document Doc 1055
                                 449-2  FiledFiled 06/15/18
                                              06/29/18   PagePage
                                                              37 of37
                                                                    63of 63
                                                                       PageID# 689




   n.      The Sale Is Proposed in Good Faith.

           50.    The Debtors request that the Court find that the Stalking Horse Purchaser

   or Prevailing Bidder is entitled to the benefits and protections provided by Section 363(m)

   of the Bankruptcy Code in connection with the Sale. Section 363(m) of the Bankruptcy

    Code provides, in pertinent part;

                  The reversal or modification on appeal of an authorization under
                  subsection (b) . . . of this section of a sale ... of property does
                  not affect the validity of a sale . . . under such authorization to an
                  entity that purchased . . . such property in good faith, whether or
                  not such entity knew of the pendency of the appeal, unless such
                  authorization and such sale . . . were stayed pending appeal.

    11 U.S.C. §363(m).

           51.    Section 363(m) of the Bankruptcy Code thus protects the purchaser of

   assets sold pursuant to Section 363 of the Bankruptcy Code from the risk that it will lose

    its interest in the purchased assets if the order allowing the sale is reversed on appeal.

   By its terms. Section 363(m) of the Bankruptcy Code applies to sales of interests in

   tangible assets, such as the Transferred Assets.

           52.    The Debtors submit, and will present evidence at the Sale Hearing, if

   necessary, that the APA is an arm's-length transaction, in which the Stalking Horse

    Purchaser or other Prevailing Bidder acted in good faith. The negotiations between the

    Debtors and the Stalking Horse Purchaser have been rigorous and extensive, conducted

   by independent professionals, and the APA has been approved by independent members

   of Premier's board. Additionally, the Stalking Horse Purchaser is not an "insider" or

    "affiliate" within the meaning of die Bankruptcy Code. Although the ultimate equity




                                               37
   Case 3:16-bk-02230-PMG             Doc 1118       Filed 07/18/18       Page 255 of 352

        Case 3:16-bk-02230-PMG
Case 2:93-cv-00902-RBS   Document Doc 1055
                                  449-2  FiledFiled 06/15/18
                                               06/29/18   PagePage
                                                               38 of38
                                                                     63of 63
                                                                        PageID# 690




   interest holders in the Stalking Horse Purchaser, collectively, own roughly forty percent

   of Premier's shares, none of the direct members of the Stalking Horse Purchaser, nor

   any of their ultimate equity holders, individually own twenty percent or more of the

   shares of any of the Debtors. See, e.g., Agresti v. EBAR E. (In re Elephant Bar Rest.),

    196 B.R. 747, 751 (Bankr. W.D. Pa. 1996) (holding that two debtors were not affiliates

   of each other when the same individual controlled thirty percent of one and ten percent

   of the other); cf. Sugarloaf Indus. & Mktg. Co. v. Quaker City Castings. Inc. (In re

   Quaker City Castings. Inc.), 337 B.R. 729, at *7 (B.A.P. 6th Cir. 2005) ("While some

   of [the Purchaser's] individual members appear to meet [the definition of insider], [the

   objector] has cited no authority for the proposition that [the Purchaser], a distinct legal

   entity, should be deemed an insider based solely on the status of its members.").

          53.     Similarly, the fact that Ms. Feng, Mr. Zhang, and High Nature are parties

   to the Stockholders Agreement, in which they assigned their voting rights to Bao, does

   not make them insiders. To the contrary, by virtue of the Stockholders Agreement, Ms.

   Feng, Mr. Zhang, and High Nature currently have no voting rights with respect to their

   Premier stock. Further, none of the ultimate equity holders of the Stalking Horse

   Purchaser are directors, officers, or have any control over any of the Debtors.

          54.     Moreover, the Auction will be an open sale process, and each of the

   Stalking Horse Purchaser and the Debtors have their own separate legal counsel, who

   have been extensively negotiating the APA. Accordingly, the Debtors request that the

   Court make the finding at the Sale Hearing that the Stalking Horse Purchaser or other




                                               38
   Case 3:16-bk-02230-PMG               Doc 1118        Filed 07/18/18        Page 256 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   39 of39
                                                                    63ofPageID#
                                                                         63     691




    Prevailing Bidder has purchased the Transferred Assets in good faith within the meaning

   of Section 363(m) of the Bankruptcy Code.

   III.    The Sale Satisfies the Requirements of Section 363(f) of the Bankruptcy Code.

           55.     Under Section 363(f) of the Bankruptcy Code, a debtor-in-possession may

   sell all or any part of its property free and clear of any and all liens, claims, or interests

    in such property if; (a) such a sale is permitted under applicable non-bankruptcy law; (b)

    the party asserting such a lien, claim, or interest consents to such sale; (c) the interest is

   a lien and the purchase price for the property is greater than the aggregate amount of all

    liens on the property; (d) the interest is the subject of a bona fide dispute; or (e) the party

   asserting the lien, claim, or interest could be compelled, in a legal or equitable

   proceedmg, to accept a money satisfactionfor such interest. 11 U.S.C. § 363(f); Citicorp

   Homeowners Serv., Inc. v. Elliot (In re Elliot), 94 B.R. 343, 345 (E.D. Pa. 1988) (noting

    that Section 363(f) of the Bankruptcy Code is written in the disjunctive; therefore, a court

    may approve a sale "free and clear" provided at least one of the subsections is met).

           56.     The Debtors' only prepetition secured lenders are part of the group

    forming the Stalking Horse Purchaser and are entermg into the PacBridge Parties

   Settlement as part of the proposed Sale.           Accordingly, the Secured Lenders have

   consented to the Sale as contemplated in the APA and related documents. Further, the

    Purchase Price far exceeds all known liens on the Transferred Assets.           The Debtors


    propose to pay all outstanding liabilities to the DIP Lender, pursuant to the DIP Loan at

   closing.   As a result, the Debtors have satisfied, at minimum, the second and third




                                                 39
   Case 3:16-bk-02230-PMG                    Doc 1118          Filed 07/18/18           Page 257 of 352

        Case 3:16-bk-02230-PMG
Case 2:93-cv-00902-RBS   Document Doc 1055
                                  449-2  FiledFiled 06/15/18
                                               06/29/18   PagePage
                                                               40 of40
                                                                     63of 63
                                                                        PageID# 692




   requirements of Section 363(f) of the Bankruptcy Code, if not others as well.

   Therefore, approving the Sale of the Transferred Assets free and clear of all adverse

   interests, to the maxunum extent permitted under applicable law (other than the

   Covenants and Conditions, to the extent applicable) is warranted.

   rV.      Bidding Procedures Are Reasonable and Appropriate and Should Be
            Approved.

            57.      The paramount goal in any proposed sale of property of the estate is to

   maximize the proceeds received by the estate. To that end, courts uniformly recognize

   that procedures intended to promote competitive bidding are consistent with this goal and

   therefore are appropriate in the context of bankruptcy sales. See, e.g.. In re Fin 7 News

   Network, Inc., 126 B.R. 152, 156(Bankr. S.D.N.Y. 1991) ("court-imposed rules for the

   disposition of assets . . . [should] provide an adequate basis for comparison of offers,

   and [should] provide for a fair and efficient resolution of bankrupt estates.")

            58.      Procedures to dispose of assets, similar to those delineated in the proposed

   Bidding Procedures, have previously been approved by this Court in multiple cases. See,

   e.g.. In re WGSouth, LLC, No. 9:09-bk-24038-ALP, 2010 Bankr. LEXIS 5291 (Bankr.

   M.D. Fla. May 27, 2010); In re Amelia Island Co., No. 3:09-bk-09601, 2010 Bankr.

   LEXIS 5396 (Bankr. M.D. Fla. July 9, 2010).




   " Although AEG Presents LLCf/k/a AEG Live LLC ("AEG") is a minority (10%) equity holder in
   Premier Exhibitions Management LLC, the Debtors do not need to obtain AEG's consent to the Sale. See,
   e.g.. In re Searles Castle Etaers., Inc., 12 B.R. 127, 129 (Bankr. 0. Mass. 1981) ("a stockholder, even a
   majority holder, is not entitled to veto or otherwise authorize a sale by the debtor in possession.") Rather,
   the Debtors need only provide adequate notice of the proposed Sale, which the Debtors respectfiilly submit
   is accomplished by service on AEG as provided herein.




                                                       40
   Case 3:16-bk-02230-PMG             Doc 1118       Filed 07/18/18       Page 258 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3;16-bk-02230-PMG    449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   41 of41
                                                                     63of
                                                                        PageID#
                                                                          63    693




          59.     The Debtors believe that the Bidding Procedures will establish fan-

   parameters to test the value at an auction while doing so in a timely manner. These

   procedures will increase the likelihood that the Debtors' creditors and other stakeholders

   will receive the greatest possible consideration for the Transferred Assets because they

   will ensure a competitive and fair bidding process.

          60.     The Debtors also believe that the proposed Bidding Procedures will

   promote active bidding from seriously interested parties and will dispel any doubt as to

   the best and highest offer reasonably available for the Transferred Assets. In particular,

   the proposed Bidding Procedures will allow the Debtor to conduct an Auction in a

   controlled, fair and open fashion that will encourage participation by financially capable

   bidders who demonstrate the ability to close a transaction.

          61.     Accordingly, the proposed BiddingProcedures are reasonable, appropriate

   and within the Debtors' sound business judgment.

          62.     Further, the proposed form of notice and time of the Auction and Sale

   Hearing are appropriate.    Under Bankruptcy Rules 2002(a) and (c), the Debtors are

   required to notify creditors of the proposed sale of the Debtors' Assets, including a

   disclosure of the time and place of an auction, the terms and conditions of a sale, and the

   deadline for filing any objections. The Debtors submit that the notice procedures herein

   comply fiilly with Bankruptcy Rule 2002 and are reasonably calculated to provide timely

   and adequate notice of any potential sale by Auction to the Debtors' creditors and other

   interested parties, as well as to those parties who have expressed an interest, or may

   express an interest, in bidding on the Transferred Assets.      The proposed tmieframe




                                               41
   Case 3:16-bk-02230-PMG             Doc 1118        Filed 07/18/18       Page 259 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bk-02230-PMG    449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   42 of42
                                                                     63of
                                                                        PageID#
                                                                          63    694




    between the filing of this Motion, the commencement of the bidding process and the

    Auction should provide interested purchasers ample tune to participate in the Auction,

    particularly given the extended marketing process that has preceded the APA with die

    Stalking Horse Purchaser.

    V.     The Proposed Break-Up Fee and Expense Reimbursement Are Appropriate
           Under the Circumstances.


           63.     As set forth in the APA, the Debtors seek approval from the court of the

    Bid Protections as administrative expenses of the Debtors' estates pursuant to sections

    503 and 507 of die Bankruptcy Code. The Bid Protections include (a) a Break-Up Fee

    in the greater amount of three percent (3%) of the Purchase Price set forth in any

    Prevailing Bid, or $500,000, plus (b) reimbursement of the Stalking Horse Purchaser's

    actual expenses in connection with the Sale, provided that the total of the Break-up Fee

    and Expense Reimbursement shall not exceed $1,000,000. The Break-Up Fee and the

    Expense Reimbursement shall constitute admmistrative expenses with priority over any

    and all administrative expenses of the kind specified in Section 503(b) of the Bankruptcy

    Code until paid other than superpriority claims granted pursuant to the DIP Financing

    Order to the DIP Lender.


           64.     Bid protections are standard and oftentimes necessary components of sales

    outside the ordinary course of business under section 363 of the Bankruptcy Code. Bid

    protections encourage a potential purchaser to invest the requisite time, money and effort

    to conduct due diligence and sale negotiations with a debtor despite the inherent risks and

    uncertainties of the chapter 11 process. Integrated Res., 147 B.R. at 660 ("Break-up




                                                42
   Case 3:16-bk-02230-PMG             Doc 1118       Filed 07/18/18      Page 260 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bk-02230-PMG    449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   43 of43
                                                                     63of
                                                                        PageID#
                                                                          63    695




   fees and other strategies may be legitimately necessary to convince a 'white knight' to

   enter the bidding by providingsome form of compensation for the risks it is undertaking"

   and the expenses it incurs by having its offer held open, subject to higher and better

   offers); see also In re ALC Holdings, LLC, Case No. 11-13853 (MFW) (Bankr. D. Del.

   Jan. 10, 2012) (approving expense reimbursement in favor of stalking horse purchaser

   that also served as administrative agent and postpetition lender).

          65.     Proposed bid protections should be approved in cases where implementing

   them would serve the best interests of the estate. In re S.N.A. Nut Co., 186 B.R. 98,

    104 (Bankr. N.D. 111. 1995); see also In re America West Airlines, Inc., 166 B.R. 908,

   912 (Bankr. D. Ariz. 1994); In re 995 Fifth Ave. Assocs. L.P., 96 B.R. 24, 28 (Bankr.

   S.D.N.Y. 1989). Typically, this means that some benefit must be provided to the

   debtor's estate. Calpine Corp. v. O'Brien Envtl. Energy, Inc. (In re O'Brien Envtl.

   Energy, Inc.), 181 F.3d 527, 533 (3d Cir. 1999) ("Such fees [to the stalkinghorse bidder]

   could be awarded under [section 503] only if [its] participation m the bidding process was

   necessary to accord the estate an actual benefit."); Integrated Res., 147 B.R. at 660

   ("Break-up fees are important tools to encourage bidding and to maximize the value of

   the debtor's assets.")

          66.     In Calpine Corp., the Third Circuit found that whether breakup fees and

   expenses could be paid to Calpine Corp. as a "stalking horse" depended on whether such

   fees were necessary to preserve the value of the estate.       181 F.3d at 536.     More

   specifically, the court determined that whether these protections were "necessary"

   depended on whether they provided a benefit to the debtor's estate by promoting



                                              43
   Case 3:16-bk-02230-PMG             Doc 1118       Filed 07/18/18       Page 261 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   44 of44
                                                                    63of
                                                                       PageID#
                                                                         63    696




    competitive bidding or researching the value of the assets at issue to increase the

    likelihood that the selling price reflected the true value of the company. Id. at 537.

           67.    Here, the Bid Protections were critical in persuading the Stalking Horse

    Purchaser to make an initial offer and to expend the time and resources associated with

    conducting due diligence regarduig the Transferred Assets and with negotiating and

    entering into the APA. Indeed, without approval of the Bid Protections, the Stalking

    Horse Purchase will have the ability to, and likely will, terminate the APA and have no

    fiirther obligation to pursue a transaction. The APA will further serve as a "floor" for

    other bidders in connection with the sale process and increase the likelihood that other

    Potential Bidders will emerge and make Bids and participate in the Auction. Without the

    Stalking Horse Purchaser, the Debtors may soon face liquidity constraints within several

    months and may not be able to continue as a going concern, which would likely lead to

    a substantially reduced price for the Transferred Assets than possible through the

    proposed APA and Auction process.

           68.    A proposed break-up fee should be approved so long as it is reasonable in

    light of a stalking horse bidder's projected efforts and, in terms of its percentage and

    amount, is of the same order of magnimde as break-up fees approved in other cases.

    Courts typically approve break-up fees in the approximate amount of 3% of the stalking

   horse bid. See, e.g.. In re Global Home ProductsLLC, et al. Case No. 06-10340 (KG)

    (Bankr. D. Del. July 14, 2006) (order approving a breakup fee of $650,000 or 3.1% of

   purchase price of $21 million); In re Fruit of the Loom, Inc., Case No. 99-4497 (PJW)

   (Bankr. D. Del. Dec. 11, 2001) (approving a $25 million, or 3% of purchase price.



                                               44
   Case 3:16-bk-02230-PMG            Doc 1118       Filed 07/18/18      Page 262 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   45 of45
                                                                    63ofPageID#
                                                                         63     697




   breakup fee); In re Caldor, Inc., Case No. 95-B-44080 (JLG) (Bankr. S.D.N.Y. Feb. 4,

    1999) (order approving breakup fees of $1,900,000 on purchase price of $75,735,000

   and $3,550,000 on purchase price of $142,000,000 or approximately 2.5%); In re Fluid

   Routing Solutions Intermediate Holding Corp., etal. Case No. 09-10384 (CSS) (Bankr.

    D. Del., February 19, 2009) (order approving an expense reimbursement fee of $750,000

   or 6.82% of the purchase price of $11 million); In re G-\-G Retail, Inc., Case No. 06-

    10152 (RDD) (Bankr. S.D.N.Y. Jan. 30, 2006) (approving break-up fee of 3%); In re

   MusiclandHolding Corp., Case No. 06-10064 (SMB) (Bankr. S.D.N.Y. Jan. 17, 2006)

    (approving break-up fee of 3% of the purchase price); In re Choice Building Supplies of

    Westchester Co. Inc., Case No. 13-23859 (RDD) (Bankr. S.D.N.Y. May 5, 2014)

    (approving bidder protections of approximately 3.64% of the purchase price); In re HMX

   Acquisition Corp., Case No. 12-14300 (ALG) (Bankr. S.D.N.Y. Nov. 29, 2012)

    (approving bidder protections of approximately 3.46% of the purchase price); In re

    Cabrini Med. Qr., Case No. 09-14398 (AJG) (Bankr. S.D.N.Y. Dec. 30, 2009)

    (approving a breakup fee of approximately 3.75% of the purchase price).

           69.    Here, the proposed Break-Up Fee satisfies these criteria because, if paid,

    it will be capped at the greater of $500,000 or three percent (3%) of the Purchase Price

    in any Prevailing Bid. The Break-Up Fee is reasonable and consistent with the range of

   bid protections typically approved in bankruptcy courts in this District and elsewhere.

    See, e.g.. In re dELiA*s, Inc., Case No. 14-23678 (RDD) (Bankr. S.D.N.Y. February

    10, 2015) (order approving of a break-up fee equal to 3% of the cash portion of the

   payment amount and reimbursement of expenses for up to $50,000 in out of pocket




                                              45
   Case 3:16-bk-02230-PMG           Doc 1118      Filed 07/18/18      Page 263 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bk-02230-PMG    449-2  FiledFiled
                                      1055      06/29/18  PagePage
                                                    06/15/18   46 of46
                                                                     63ofPageID#
                                                                          63     698




   expenses or, combined, 5% of the cash portion of the purchase amount of $2.5 million);

   In re BearingPoint, Inc., No. 09-10691 (REG) (Bankr. S.D.N.Y. Apr. 7, 2009) [Doc.

   No. 369] (approving a break-up fee of approximately 3% of the purchase price and

   expense reunbursement up to $5,000,000); In re Bally TotalFitnessof Greater New York,

   Inc., No 07-12395 (BRL) (Bankr. S.D.N.Y. Aug. 21, 2007) [Doc. No. 269] (approving

   break-up fee of 4.3% and expense reimbursement); In re SiliconGraphics, Inc., No. 09-

    11701 (MG) (Bankr. S.D.N.Y. Apr. 3, 2(K)9) (approving a breakup fee and expense

   reimbursement totaling approximately 6% of the total purchase price); In re Nortel

   Networks Inc., et al.. Case No. 09-10138(KG) (Bankr. D. Del., February 27, 2009)

   (order approving a break-up fee of $650,000 and additional expense reimbursement up

   to $400,000 or, combined, 5.95% of the base purchase price of $17.65 million); In re

   Great Northern Paper, Inc., Case No. 03-10048 (Bankr. D. Me., February 18, 2003)

   (order approving a break-up fee of $5 million and additional expense reimbursement up

   to $750,000 or, combined 6.32% of the base purchase price of $91 million); In re F-

   Squared Investment Management, LLC, et al.. Case No. 15-11469 (LSS) (Bankr. D.

   Del., July 28, 2015) (order approving a break-up fee of $250,000 and expense

   reimbursement up to $250,000 or, combined, 10% of the $5 million cash portion of the

   base purchase price to be paid at the closing, where purchaser may be required to pay

   additional contingent eam-outs in the future); In re Bank of Commerce Holdings, Inc.,

   Case No. 8;16-bk-08197 (CPM) (Bankr. M.D. Fla. Oct. 3, 2016) (order approving a

   breakup fee of $200,000.00 on a purchase price of $1.75 million); In re AI23 Systems,

   Inc., etal. Case No. 12-12859 (KJC) (Bankr. D. Del., Nov. 8, 2012) [Doc. No. 314]



                                            46
   Case 3:16-bk-02230-PMG             Doc 1118       Filed 07/18/18       Page 264 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   47 of47
                                                                    63of
                                                                       PageID#
                                                                         63    699




    (order approving a break-up fee and expense reimbursement that totaled 6.2% of the

    purchase price).   Additionally, the Expense Reimbursement is reasonable, and similar

    expense reimbursements have been approved in this District and Circuit.         See In re

   Antaramian Props., Inc., 564 B.R. 762 (M.D. Fla. 2016) (citing In re Sea Island

    Company, No. 10-21034, 2010 Bankr. LEXIS 3850 at *3 (Bankr. S.D. Ga. Sep. 14,

    2010) for its holding "that a breakup fee of 3% constituted a fair and reasonable

    percentage of the proposed purchase price"); In re Amelia Island Co., No. 3:09-bk-

    09601, 2010 Bankr. LEXIS 5396 (Bankr. M.D. Fla. July 9. 2010) (approving a

    $469,000.00 break-up fee and $500,000.00 expense reimbursement); In re Camptech

   Precision Manufacturing, Inc., 2010 Bankr. LEXIS 6045 (Bankr. S.D. Fla. Dec. 23,

    2010) (order approvmg what amounted to a 15% maximum - $150,000.00 in actual

    expenses and fees on a cash contribution of $1,000,000.00).

           70.    The Debtors believe that the proposed Bid Protections, if implemented,

    are fair and would reasonably compensate the Stalking Horse Purchaser(s) for taking

    actions that will benefit the Debtors' estates. The Bid Protections, if implemented, will

   compensate the Stalking Horse Purchaser(s) for the time, diligence, and professional fees

    incurred in negotiating the terms of the definitive Asset Purchase Agreement.

           71.    Also, the Debtors do not believe that the Bid Protections would have a

   chilling effecton the sale process. Rather, the Stalking Horse Purchaser(s), if designated,

   will increase the likelihood that the Debtors will receive the best possible price for the

   Assets, by permitting other Qualified Bidders to rely on the diligence performed by the

   Stalking Horse Purchaser, and moreover, by allowing Qualified Bidders to utilize the



                                               47
   Case 3:16-bk-02230-PMG               Doc 1118      Filed 07/18/18      Page 265 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bl<-02230-PMG   449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   48 of48
                                                                     63ofPageID#
                                                                          63     700




    Stalking Horse Bid as a platform for negotiations and modifications in the context of a

    competitive bidding process. Indeed, it was the Debtors' agreement (subject to this

    Court's approval) to the Bid Protections that finally commenced the sale process in

   earnest, after more than a year of formal marketing and more than two years since the

    Petition Date.


    VI.    The Assumption Procedures Provide Adequate Notice and Opportunity to
           Object and Should Be Approved.

           72.       Section 365(a) of the Bankruptcy Code provides, in pertinent part, that a

   debtor-in-possession "subject to the court's approval, may assumeor reject any executory

   contract or [unexpired] lease of the debtor." 11 U.S.C. § 365(a). The standard governing

   bankruptcy court approval of a debtor's decisionto assumeor reject an executory contract

   or unexpired lease is whether the debtor's reasonable business judgment supports

   assumption or rejection. See, e.g.. In re Stable Mews Assoc., Inc., 41 B.R. 594, 596

   (Bankr. S.D.N.Y. 1984).         If the debtor's business judgment has been reasonably

   exercised, a court should approve the assumption or rejection of an unexpired lease or

   executory contract. See Group ofInstitutional Investors v. Chicago M St. P. & P.R.R.

   Co., 318 U.S. 523 (1943); Sharon Steel Corp., 872 F.2d 36, 39-40 (3d Cir. 1989). The

   business judgment test "requires only that the trustee [or debtor-in-possession]

   demonstrate that [assumption or] rejection of the contract will benefit the estate."

   Wheeling-Pittsburgh Steel Corp. v. West Penn Power Co. (In re Wheeling-Pittsburgh

   Steel Corp.), 72 B.R. 845, 846 (Bankr. W.D. Pa. 1987) (quoting Stable Mews Assoc.,

   41 B.R. at 596). Any more exacting scrutiny would slow the administration of a debtor's




                                                48
   Case 3:16-bk-02230-PMG              Doc 1118        Filed 07/18/18      Page 266 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   49 of49
                                                                    63of
                                                                       PageID#
                                                                         63    701




    estate and increase costs, interfere with the Bankruptcy Code's provision for private

    control of administration of the estate, and threaten the court's ability to control a case

    impartially. See Richmond Leasing Co. v. Capital Bank, NA., 762F.2d 1303, 1311 (5th

    Cir. 1985). Moreover, pursuant to Section 365(b)(1) of the Bankruptcy Code, for a

    debtor to assume an executory contract, it must "cure, or provide adequate assurance that

    the debtor will promptly cure," any default, including compensation for any "actual

    pecuniary loss" relating to such default. 11 U.S.C. § 365(b)(1).

           73.     Once an executory contract is assumed, the trustee or debtor-in-possession

    may elect to assign such contract. See In re Rickel Home Centers, Inc., 209 F.3d 291,

   299 (3d Cir. 2000) ("[t]he Code generally favors free assignability as a means to

   maximize the value of the debtor's estate"); see also In re Headquarters Dodge, Inc., 13

    F.3d 674, 682 (3d Cir. 1994) (noting purpose of Section 365(f) is to assist the trustee in

   realizing the full value of the debtor's assets).

           74.     Section 365(f) of the Bankruptcy Code provides that the "trustee may

   assign an executory contract . . . only if the trustee assumes such contract . . . and

   adequate assurance of future performance is provided." 11 U.S.C. § 365(f)(2). The

   meaning of "adequate assurance of future performance" depends on the facts and

   circumstances of each case, but should be given "practical, pragmaticconstruction." See

    Carlisle Homes, Inc. v, Arrari (In re Carlisle Homes, Inc.), 103 B.R. 524, 538 (Bankr.

   D.N.J. 1989); see also In re Natco Indus., Inc., 54 B.R. 436, 440 (Bankr. S.D.N.Y.

    1985) (adequate assurance of future performance does not mean absolute assurance that

   debtor will thrive and pay rent). Among other things, adequate assurance may be given



                                                 49
   Case 3:16-bk-02230-PMG             Doc 1118       Filed 07/18/18       Page 267 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bk-02230-PMG    449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   50 of50
                                                                     63ofPageID#
                                                                          63     702




   by demonstrating the assignee's financial health and experience in managing the type of

   enterprise or property assigned. Accord In re Bygaph. Inc., 56 B.R. 596, 605-06 (Bankr.

   S.D.N.Y. 1986) (adequate assurance of future performance is present when prospective

   assignee of lease from debtors has financial resources and has expressed willingness to

   devote sufficient funding to business in order to give it strong likelihood of succeeding.)

          75.     Additionally, as set forth above, Section 105(a) of the Bankruptcy Code

   provides a bankruptcy court with broad powers in the administration of a case under Title

    11. Provided that a bankruptcy court does not employ its equitable powers to achieve a

   result not contemplated by the Bankruptcy Code, the exercise of its Section 105(a) power

   is proper. See In re Fesco Plastics Corp., 996 F.2d 152, 154 (7th Cir. 1993); Pincus v.

    Graduate Loan Ctr. (In re Pincus), 280 B.R. 303, 312 (Bankr. S.D.N.Y. 2002).

   Accordingly, pursuant to Section 105(a), a court may fashion an order or decree that

   helps preserve or protect the value of a debtor's assets. See, e.g.. In re Chinichian, 784

   F.2d 1440, 1443 (9th Cir. 1986) ("Section 105 sets out the power of the bankruptcy court

   to fashion orders as necessary pursuant to the purposes of the Bankruptcy Code"); In re

    Cooper Props. Liquidating Trust, Inc., 61 B.R. 531, 537 (Bankr. W.D. Tenn. 1986)

   (noting that bankruptcy court is "one of equity and as such it has a duty to protect

   whatever equities a debtor may have in property for the benefit of their creditors as long

   as that protection is implemented in a manner consistent with the bankruptcy laws").

          76.     The Debtors respectfully submit that the proposed Assumption Procedures

   are appropriate and reasonably tailored to provide non-Debtor parties to Assumed and

   Assigned Contracts with adequate notice, in the form of the Cure Notice, of the proposed



                                               50
   Case 3:16-bk-02230-PMG                   Doc 1118         Filed 07/18/18           Page 268 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bk-02230-PMG    449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   51 of51
                                                                     63ofPageID#
                                                                          63     703




   assumption and/or assignment of their applicable contract, as well as proposed Cure

   Amounts, if applicable. Such non-Debtor parties to the Assumed and Assigned Contracts

    will then be given an opportunity to object to such notice. Accordingly, the Debtors

   submit that implementation of the proposed Assumption Procedures and assumption and

   assignment of the Assumed and Assigned Contracts is appropriate in these cases.

   Vn.     The PacBridge Parties Settlement Is Appropriate.

           77.      As set forth in the APA, the Sale to the Stalking Horse Purchaser requires

   that the Sale Order include approval of a settlement of various claims held by the

   PacBridge Parties against the Debtors. As set forth above, the Secured Lenders each

   assert that they hold a fully secured claim in die principal amount of $1,000,000 (for a

   total of $3,000,000) for pre-petition loans made by each of them to the Debtors, plus

   post-petition interest and fees. The Committees and the Debtors have asserted that certain

   of the liens securing the Secured Lenders' claims may be avoided as preferences, due to

   the timing of their perfection."

           78.      PacBridge has asserted an unsecured claim in the amount of $1,195,350.39

   (the "PacBridge Claim" and together with the Secured Lender Claims, the "PacBridge

   Party Claims") against the Debtors in connection with its engagement by DinoKing to

   consult on the merger between DinoKing and Premier.                     The Debtors have filed an

   objection to the PacBridge Claim, but that objection is still pending.




   " The Secured Lenders and the Debtors have entered into a tolling agreement to toll the running of the
   statute of limitations on the Debtors' avoidance claims pursuant to 546 of the bankruptcy code.




                                                      51
   Case 3:16-bk-02230-PMG            Doc 1118        Filed 07/18/18      Page 269 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   52 of52
                                                                    63ofPageID#
                                                                         63     704




           79.    The APA provides for die settlement of the disputes between the Debtors

    and the PacBridge Parties regarding the PacBridge Party Claims. The APA provides that

   upon Closing, in full satisfaction of the respective claims of the PacBridge Parties, (x)

    the Secured Lenders will receive in consideration of their Secured Lender Claims, (i) a

    $1 million cash payment, plus (ii) allowed general unsecured clauns against the Debtors

    in the total aggregate amount of $2,000,000, to be allocated $666,666.67 to Feng,

    $666,666.67 to Zhang, and $666,666.66 to Zou, and (y) PacBridge will have an allowed

   general unsecured claim against the Debtors in the amount of $1,195,350.39 (the

    "PacBridge Parties Settlement"). Thus, the PacBridge Parties Settlement will increase

   payouts to unsecured creditors in two ways: 1) the Debtors will not be required to pay

   post-petition interest or fees on the Secured Lender Claims, and 2) by agreeing that 2/3

   of the claims are unsecured, the Secured Lenders will share in distributions pro rata with

   unsecured claims instead of being paid in full before unsecured claims receive a

   distribution. The Debtors believe the PacBridge Parties Settlement is in the best interest

   of the Debtors and their estates and should be approved.

           80.    Compromises are generally favored in Chapter 11 cases. See e.g., Barry

    V. Smith (In re New York, New Haven and Hartford R.R. Co.), 632 F.2d 955, 959 (2d

   Cir. 1980). Approval of a settlement is left to the sound discretion of the court based

   upon the particular circumstances of the proposed settlement and the case as a whole.

   SeeLanges v. Green, 282 U.S. 531, 541 (1931).

           81.    The Debtor is obligated to maximize the value of the estate and make its

   decisions in the best interests of all of the creditors of the estate. See, e.g., Myers v.



                                              52
   Case 3:16-bk-02230-PMG              Doc 1118       Filed 07/18/18       Page 270 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bl<-02230-PMG   449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   53 of53
                                                                     63ofPageID#
                                                                          63     705




   Martin (In re Martin), 91 F.3d 389, 394 (3d Cir. 1996). Courts generally defer to a

    Debtor's business judgment when there is a legitimate business justification for the

    decision to compromise a dispute. Id. at 395.

           82.     In determining whether a settlement shouldbe approved under Bankruptcy

    Rule 9019, the court must consider: "(a) the probability of success in the litigation; (b)

    the difficulties, if any, to be encountered in the matter of collection; (c) the complexity

    of the litigation involved, and the expense, inconvenience and delay necessarily attending

    it; and (d) the paramount interest of the creditors and a proper deference to their

    reasonable views in the premises." Wallis v. Justice Oaks II, Ltd. (In re Justice Oaks II,

   Ltd.), 898 F.2d 1544, 1549 (11th Cir. 1990) (internal citations omitted).

           83.     As reiterated by numerous courts, "a bankruptcy court is not required to

    hold a mini-trial on the merits of the settlement. Instead, it is charged with 'canvassmg

    the issues to determine whether the settlement falls below the lowest point m the range

   of reasonableness.'" In re Enron Corp., 2003 U.S. Dist. LEXIS 1383 at *6 (S.D.N.Y.

   Jan. 31, 2003) (affirming bankruptcy court order approving settlement and (quoting In

    re Interstate Cigar Co., 240 B.R. 816, 822 (E.D.N.Y. 1999)); Abeles v. Infotechnology

    (In re Infotechnology), 1995 U.S. App. LEXIS 39883 at *4-5 (2d Cu-. Nov. 9, 1995)

   (thecourt should not substitute its business judgment for that of the debtor in possession).

           84.     Here, the PacBridge Parties Settiement is reasonable and should be

   approved under the circumstances. The Secured Lenders have significant defenses to any

   avoidance claims brought by the Debtors, and it is not certain that any claim seeking to

   avoid the liens would be successftil. Thus, the agreement to reduce the value of their




                                               53
   Case 3:16-bk-02230-PMG              Doc 1118       Filed 07/18/18       Page 271 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   54 of54
                                                                    63ofPageID#
                                                                         63     706




    liens by more than 2/3 is of significant value to the Debtors and their estates given the

    uncertainty of outcome and cost associated with litigating such avoidance claims. The

    PacBridge Claim may also have a colorable basis for its unsecured claim despite its

   engagement letter being with DinoKing. Given the uncertainty surrounding the Debtors

   claims and objections regarding the PacBridge Parties Claims and that resolution of the

    PacBridge Parties' Claims on the terms set forth in the APA was a material inducement

    to the execution of the APA by the Stalking Horse Purchaser and its willingness to move

    forward with the Sale, it is appropriate to resolve die disputes between the Debtors and

    the PacBridge Parties on the terms embodied in the PacBridge Parties Settlement.

                                            NOTICE


           85.     Notice of this Motion has been given to the following parties or, in lieu

    thereof, to their counsel, if known: (a) all creditors or their counsel known by the Debtors

    to assert a lien (including any security interest), claim, right, interest or encumbrance of

    record against all or any portion of the Transferred Assets; (b) the Office of the United

    States Trustee; (c) the Securities and Exchange Commission; (d) all applicable federal,

    state and local taxing and regulatory authorities of the Debtors or recording offices or

    any other governmental authorities that, as a result of the sale of the Transferred Assets,

    may have claims, contingentor otherwise, in connection with the Debtors' ownership of

    the Transferred Assets or have any known interest in the relief requested by the Motion;

    (e) the state and local environmental agencies in the jurisdictions where the Debtors own

   or lease real property; (f) the United States Attorney's office for the Middle District of

    Florida; (g) the National Oceanic and Atmospheric Administration; (h) all parties in




                                                54
   Case 3:16-bk-02230-PMG            Doc 1118       Filed 07/18/18       Page 272 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bk-02230-PMG    449-2  FiledFiled
                                      1055      06/29/18  PagePage
                                                    06/15/18   55 of55
                                                                     63ofPageID#
                                                                          63     707




   interest who have requested notice pursuant to Bankruptcy Rule 2002 as of the date of

   entry of this Bidding Procedures Order; (i) counsel to the Creditors Committee; (j)

   counsel to the Equity Committee; (k) all parties to any litigation involving the Debtors;

   (1) all counterparties to any executory contract or unexpired lease of the Debtors; (m)

   AEG Presents LLC f/k/a AEG Live LLC; and (n) counsel for the DIP Lender. In light

   of the nature of the relief requested herein, the Debtors submit that no other or further

   notice is necessary.

          WHEREFORE, the Debtors respectfully request that the Court (i) enter the

   Bidding Procedures Order in the form attached hereto as Exhibit A, (ii) enter the Sale

   Order in the form attached hereto as Exhibit C, and (iii) grant such other and further

   relief as the Court may deem proper.

                                        NELSON MULLINS RILEY
                                        & SCARBOROUGH LLP



                                        By         /s/Daniel F. Blanks
                                               Daniel F. Blanks (FL Bar No. 88957)
                                               Lee D. Wedekind, III (FL Bar No. 670588)
                                               50 N. Laura Street, Suite 4100
                                               Jacksonville, FL 32202
                                               (904) 665-3656 (direct)
                                               (904) 665-3699 (fax)
                                               daniel .blanks@nelsonmullins. com
                                               lee. wedekind@nelsonmullins. com




                                              55
   Case 3:16-bk-02230-PMG        Doc 1118     Filed 07/18/18     Page 273 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bk-02230-PMG    449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   56 of56
                                                                     63ofPageID#
                                                                          63     708




                                   and


                                   TROUTMAN SANDERS LLP
                                   Harris B. Winsberg (GA Bar No. 117751)
                                   Stephen S. Roach (GA Bar No. 770892)
                                   Matthew R. Brooks (GA Bar No. 378018)
                                   600 Peachtree Street NE, Suite 5200
                                   Atlanta, GA 30308
                                   (404) 885-3000 (phone)
                                   (404) 962-6990 (fax)
                                   harris. winsberg@troutmansanders. com
                                   Stephen. roach@troutmansanders. com
                                   matthew. brooks@troutmansanders. com

                                   Counselfor the Debtors and Debtors in Possession




                                         56
   Case 3:16-bk-02230-PMG            Doc 1118      Filed 07/18/18       Page 274 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bk-02230-PMG    449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   57 of57
                                                                     63ofPageID#
                                                                          63     709




                              CERTIFICATE OF SERVICE


           I HEREBY CERTIFY that a true and correct copy of the foregoing was
   electronically filed with the Clerk of the Court using CM/ECF on June 15, 2018. I also
   certify that the foregoing document is being served this day on the following counsel of
   record via transmission of Electronic Filing generated by CM/ECF:

    Jay B. Verona, Esq.                        Jill E. Kelso, Esq.
    Shumaker, Lx)op & Kendrick, LLP            Miriam G. Suarez, Esq.
    101 E. Kennedy Blvd., Suite 2800           Office of the United States Trustee
    Tampa, FL 33602                            400 W. Washington Street, Suite 1100
    (813) 229-7600                             Orlando FL 32801
    iverona@slk-law.com                        (407) 648-6301 ext. 137
    Attorneys for George F. Eyde               iill.kelso@usdoi.fiov
    Orlando, LLC and Louis J. Eyde             M iriam. g. suarez@usdoi. gov
     Orlando, LLC                              Attorneys for Guy G. Gebhardt,
                                               Acting U.S. Trustee for Region 21

    Scott M. Grossman, Esq.                    Ari Newman, Esq.
    Greenberg Traurig                          Greenberg Traurig, P.A.
    401 East Las Olas Boulevard, Suite 2000    333 S.E. 2nd Avenue, Suite 4400
    Fort Lauderdale, FL 33301                  Miami, FL 33131
    (954) 768-5212                             (305) 579-0500
    grossmansm@gtlaw.com                       newmanar@gtlaw. com
    Attorneys for Lang Feng, Haiping Ton,      Attorneys for Lang Feng, Haiping Tjou,
    Jihe Zhang, and High Nature Holdings       Jihe Zhang, and High Nature Holdings
    Limited                                    Limited


    Jason B. Burnett, Esq.                     Andrew T. Jenkins, Esq.
    GrayRobinson, P.A.                         Bush Ross, P.A.
    50 N. Laura Street, Suite 1100             P.O. Box 3913
    Jacksonville, FL 32202                     Tampa, FL 33601-3913
    (904) 598-9929                             (813) 224-9255
    jason. bumett@grav-robinson. com           aienkins@bushross. com
    Attorneysfor 417 Fifth Avenue Real         Attorneys for Bank ofAmerica, N.A.
    Estate, LLC




                                              57
   Case 3:16-bk-02230-PMG            Doc 1118        Filed 07/18/18       Page 275 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   58 of58
                                                                    63ofPageID#
                                                                         63     710




    Matthew J. Troy, Esq.                          Kathy A. Jorrie, Esq.
    U.S. Dept. of Justice                          Pillsbury Winthrop Shaw Pittman LLP
     1100 L Street NW, Suite 10030                 725 S. Figueroa Street, Suite 2800
    Washington, DC 20005                           Los Angeles, CA 90017
    (202) 514-9038                                 (213) 488-7251
    matthew. trov@usdoi. gov                       Kathy .jorriet^pillsburylaw.com
    Attorneys for the United States Department Attorneys for AEG Live, Inc.
    of Commerce, National Oceanic and
    Atmospheric Administration

    Brian D. Equi, Esq.                            J. Ellsworth Summers, Jr., Esq.
    Goldberg Segalla, LLP                          Burr Forman, LLP
    121 S. Orange Avenue, Suite 1500               50 N. Laura Street, Suite 3000
    Orlando, FL 32801                              Jacksonville, FL 32202
    (407) 458-5608                                 (904) 232-7200
    bequi@goldbergsegalla. com                     esummers@burr•com
    salamina@goldbergsegalla.com                   Attorneys for Michael J. Little
    shemdon@goldbergsegalla. com
    Attorneys for Structure Tone, Inc.

    Norman P. Fivel, Esq.                          D. Marcus Braswell, Jr., Esq.
    Assistant Attorney General                     Sugarman & Susskind, P.A.
    Office of the New York State                   100 Miracle Mile, Suite 300
    Attorney General                               Coral Gables, FL 33134
    Civil Recoveries Bureau,                       (305) 529-2801
    Bankruptcy Litigation Unit                     mbraswell@sugarmansusskind.com
    The Capitol                                    Attorneys for Theatrical Protective Union,
    Albany, NY 12224-0341                          Local No. One, lATSE
    (518) 776-2264
    norman. fivel@ag. ny. gov
    Attorneys for New YorkDept. of Taxation
    and Finance


    Chris Broussard, Esq.                          Richard R. Thames, Esq.
    Suzy Tate, P.A.                                Thames Markey & Heekin, P.A.
    14502 N. Dale Mabry Highway, Suite 200         50 N. Laura Street, Suite 1600
    Tampa, FL 33618                                Jacksonville, FL 32202
    (813) 264-1685                                 (904) 358-4000
    cbrouss@suzytate.com                           rrt@tmhlaw.net
    Attorneysfor The Armada Group GP, Inc.         Attorneysfor Official Committee of
                                                   Unsecured Creditors




                                              58
   Case 3:16-bk-02230-PMG              Doc 1118      Filed 07/18/18      Page 276 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   59 of59
                                                                    63ofPageID#
                                                                         63     711




    Avery Samet, Esq.                              Peter J. Gurfein, Esq.
    Jeffrey Chubak, Esq.                           Roye Zur, Esq.
    Storch Amini & Munves PC                       Landau Gottfried & Berger LLP
    140 East 45th Street, 25th Floor               1801 Century Park East, Suite 700
    New York, NY 10017                             Los Angeles, CA 90067
    (212) 490-4100                                 (310) 557-0050
    asamet@samlegal.com                            pgurfein@lgbfirm. com
    ichubak@samlegal .com                          rzur@lgbfirm.com
    Attorneys for Official Committee of            Attorneysfor Official Committee ofEquity Security
     Unsecured Creditors                           Holders of Premier Exhibitions, Inc.

    Jacob A. Brown, Esq.                           Skyler M. Tanner, Esq.
    Katherine C. Fackler, Esq.                     Lane Powell PC
    Akerman LLP                                    601 SW Second Avenue, Suite 2100
    50 N. Laura Street, Suite 3100                 Portland, OR 97204
    Jacksonville, FL 32202                         tanners@Ianepowell. com
    (904) 798-3700                                 beidingt@lanepowell. com
    iacob.brown@akerman. com                       docketing-pdx@lanepowell. com
    katherine. fackler@akerman. com                Attorneys for Oregon Museum of Science and
    Attorneys for the Official Committee of        Industry
    Equity Security Holders of Premier
    Exhibitions, Inc.

    T. David Mitchell, Esq.                        Howard Siegel, Esq.
    Brenner Kaprosy Mitchell, L.L.P.               945 McKinney Street, PMB 434
    30050 Chagrin Blvd., Suite 100                 Houston, TX 77002
    Pepper Pike, OH 44124                          (713) 984-4801
    (216) 292-5555                                 howard@eucinv. com
    tdmitchell@brenner-law. com                    Attorney for Euclid Investments, LP
    Attorneys for CRI Properties, Lid.             And Euclid Claims Recovery LLC

    Susan R. Sherrill-Beard, Esq.           Garrett A. Nail, Esq.
    U.S. Securities and Exchange Commission John F. Isbell, Esq.
    Office of Reorganization                Thompson Hine LLP
    950 East Paces Ferry Road, N.E.         3560 Lenox Road, Suite 1600
    Suite 900                                      Atlanta, GA 30326
    Atlanta, GA 30326                              (404) 541-2900
    (404) 842-7626                                 garrett. nail@thompsonhine. com
    sherrill-beards@sec.gov                        john. isbell@thompsonhine. com
    atlreorg@sec.gov                               Attorneys for Bay Point Capital Partners, LP
    Attorneysfor U.S. Securities and
    Exchange Cotnmission




                                              59
   Case 3:16-bk-02230-PMG            Doc 1118          Filed 07/18/18         Page 277 of 352

Case 2:93-cv-00902-RBS  Document Doc
        Case 3:16-bk-02230-PMG   449-2  FiledFiled
                                     1055     06/29/18   PagePage
                                                   06/15/18   60 of60
                                                                    63of
                                                                       PageID#
                                                                         63    712




    Steven R. Fox, Esq.                              Stephen D. Busey, Esq.
    Fox Law Corporation                              Asghar A. Syed, Esq.
    17835 Ventura Blvd., Suite 306                   Smith Hulsey & Busey
    Encino, CA 91316                                 225 Water Street, Suite 1800
    srfox@foxlaw.com                                 Jacksonville, FL 32202
    Attorneys for Titanic Entertainment              (904) 359-7700
    Holdings                                         busey@smithhulsey. com
                                                     asyed@smithhulsey. com
                                                     Attorneysfor the Ad Hoc Group ofEquityholders

    Jennifer Feldsher, Esq.                          Patricia Ann Redmond, Esq.
    David L. Lawton, Esq.                            Stearns Weaver, et al.
    Bracewell LLP                                    150 West Flagler Street, Suite 2200
    1251 Avenue of the Americas                      Miami, FL 33130
    New York, NY 10020                               (305) 789-3200
    (212) 508-6100                                   predmond@steamweaver. com
    Jennifer. feldsher@bracewell. com                Attorneys for the Trustees of the National Maritime
    David. laweton@bracewelI. com                    Museum
    Attorneysfor the Ad Hoc Group of
    Equityholders

    Timothy Graulich, Esq.                           Jason B. Burnett, Esq.
    James I. McClammy, Esq.                          Ashlea A. Edwards, Esq.
    Mara Theophila, Esq.                             GrayRobinson, P.A.
    Davis Polk & Wardwell LLP                        50 N. Laura Street, Suite 1100
    450 Lexington Avenue                             Jacksonville, FL 32202
    New York, NY 10017                               (904) 598-9929
    (212) 450-4000                                   jason. bumett@gray-robinson. com
    Timothy. graulich@davispolk. com                 ashlea. edwards@grav-robinson. com
    James.mcclammv@davispolk. com                    Attorneysfor Ramparts, Inc. d/b/a Luxor Hotel
    Mara. theophila@davispolk. com                   and Casino
    Attorneys for the Trustees ofthe National
    Maritime Museum




                                                60
   Case 3:16-bk-02230-PMG         Doc 1118     Filed 07/18/18       Page 278 of 352

Case 2:93-cv-00902-RBS   DocumentDoc
        Case 3:16-bl<-02230-PMG  449-2
                                     1055FiledFiled
                                                06/29/18  PagePage
                                                    06/15/18   61 of61
                                                                     63ofPageID#
                                                                          63     713




   Via U.S. MaU


    A-1 Storage and Crane                    ABC Imaging
    2482 197th Avenue                        5290 Shawnee Road, Suite 300
    Manchester, lA 52057                     Alexandria, VA 22312

    A.N. Deringer, Inc.                      ATS, Inc.
    POBox 11349                              1900 W. Anaheim Street
    Succursale Centre-Ville                  Long Beach, CA 90813
    Montreal, QC H3C 5H1

    Broadway Video                           CBS Outdoor/Outfront Media
    30 Rockefeller Plaza                     185 US Highway 48
    54th Floor                               Fairfield, NJ 07004
    New York, NY 10112

    Demons Canada LLP                        Enterprise Rent-A-Car Canada
    250 Howe Street, 20th Floor              709 Miner Avenue
    Vancouver, BC V6C 3R8                    Scarborough, ON MIB 6B6

    Expedia, Inc.                            George Young Company
    10190 Covington Cross Drive              509 Heron Drive
    Las Vegas, NV 89144                      Swedesboro, NJ 08085
    Cowlings                                 Hoffen Global Ltd.
    550 Burrard Street                       305 Crosstree Lane
    Suite 2300, Bental 5                     Atlanta, GA 30328
    Vancouver, BC V6C 2B5

    Kirvin Doak Communications               MNP LLP
    5230 W. Patrick Lane                     15303 - 31st Avenue
    Las Vegas, NV 89118                      Suite 301
                                             Surrey, BC V3Z 6X2

    Morris Visitor Publications              NASDAQ Stock Market, LLC
    PO Box 1584                              805 King Farm Blvd.
    Augusta, GA 30903                        Rockville, MD 20850

    National Geographic Society              NYC Dept. of Finance
    1145 - 17th Avenue NW                    PO Box 3646
    Washington, DC 20036                     New York, NY 10008




                                        61
   Case 3:16-bk-02230-PMG             Doc 1118     Filed 07/18/18       Page 279 of 352

Case 2:93-cv-00902-RBS   Document Doc
        Case 3:16-bk-02230-PMG    449-2  FiledFiled
                                      1055     06/29/18   PagePage
                                                    06/15/18   62 of62
                                                                     63ofPageID#
                                                                          63     714




    PacBridge Limited Partners                   Pallet Rack Surplus, Inc.
    22/F Fung House                              1981 Old Covington Cross Road NE
    19-20 Connaught Road                         Conyers, GA 30013
    Central Hong Kong

    Screen Actors Guild                          Seaventtires, Ltd.
     1900 Broadway                               5603 Oxford Moor Blvd.
    5th Floor                                    Windemere, FL 34786
    New York, NY 10023

    Sophrintendenza Archeologica                 Syzygy3,Inc.
    di Napoli e Pompei                           231 West 29th Street
    Piazza Museo 19                              Suite 606
    Naples, Italy 80135                          New York, NY 10001

    Time Out New York                            TPL
    405 Park Avenue                              3340 Peachtree Road
    New York, NY 10022                           Suite 2140
                                                 Atlanta, GA 30326

    TSX Operating Co.                            Verifone, Inc.
    70 West 40th Street                          300 S. Park Place Blvd.
    9th Roor                                     Clearwater, FL 33759
    New York, NY 10018

    WNBC - NBC Universal Media                   Jonathan B. Ross, Esq.
    30 Rockefeller Center                        Gowling WLG (Canada) LLP
    New York. NY 10112                           550 Burrard Street, Suite 2300, Bentall 5
                                                 Vancouver, BC V6C 2B5
    United States Attorney's Office              Christine R. Etheridge, Esq.
    Middle District of Florida                   Bankruptcy Administration
    300 N. Hogan Street, Suite 700               Wells Fargo Vendor Financial Services, LLC
    Jacksonville, FL 32202                       PO Box 13708
                                                 Macon, GA 31208

    B.E. Capital Management Fund LP              TSX Operating Co., LLC
    Thomas Branziel                              c/o James Sanna
    228 Park Avenue South, Suite 63787           70 W. 40th Street
    New York, NY 10003                           New York, NY 10018
    Creditor Committee                           Creditor Committee




                                           62
   Case 3:16-bk-02230-PMG           Doc 1118      Filed 07/18/18    Page 280 of 352

Case 2:93-cv-00902-RBS   DocumentDoc
        Case 3:16-bl<-02230-PMG  449-2
                                     1055FiledFiled
                                                06/29/18  PagePage
                                                    06/15/18   63 of63
                                                                     63ofPageID#
                                                                          63     715




     Dallian Hoffen Biotechnique Co., Ltd.
     c/o Ezra B. Jones
     305 Crosstree Lane
     Atlanta, GA 30328
     Creditor Committee




                                                   /s/Daniel F. Blanks
                                                         Attorney




    -#4851.7069-0410-




                                             63
  Case 3:16-bk-02230-PMG                         Doc 1118            Filed 07/18/18   Page 281 of 352

Case 2:93-cv-00902-RBS Document 449-3 Filed 06/29/18 Page 1 of 2 PageID# 716




                                            Delaware                                                               Page 1


                                                        The First State




              I,   JEFFREY W.          BULLOCK,         SECRETARY OF STATE OF THE STATE OF


     DELAWARE,         DO HEREBY CERTIFY THE ATTACHED IS A TRVE AND CORRECT

     COPY OF THE CERTIFICATE OF FORMATION OF ''PREMIER ACQUISITION

     HOLDINGS LLC", FILED IN THIS OFFICE ON THE SIXTH DAY OF JUNE,

     A.D. 2018, AT 6:05 O'CLOCK P.M.




                                                                                                              exhibit




                                                                                      Jtffrvy W. SuOoct. SMrattfy of StM>   ^




 6919892 8100                                                                          Authentication: 202835586
 SR# 20185011869                                                                                           Date: 06-06-18

 You may verify this certificate online at corp.delaware.gov/authver.shtml
                Case 3:16-bk-02230-PMG           Doc 1118       Filed 07/18/18      Page 282 of 352

            Case 2:93-cv-00902-RBS Document 449-3 Filed 06/29/18 Page 2 of 2 PageID# 717




                                          CERTIFICATE OF FORMATION
                                                     OF
                                     PREMIER ACQUISITION HOLDINGS LLC
                                       A Delaware Limited Liability Company


                   This Certificate of Formation of Premier Acquisition Holdings LLC (the "Company"^,
            dated as ofJune 6,2018, is being duly executed and filed by the undersigned authorized person to
            fonn a limited liability company under the Delaware Limited Liability Company Act (6 Del C.
            §18-101, etseg.).

                   FIRST. The name of the lunited liability company formed is "Premier Acquisition
            Holdings LLC".

                   SECOND. The address of the registered ofRce of the Company in the State of Delaware
            and the name and address of the registered agent for service of process on the Company in the
            State of Delaware are: Corporation Service Company, 251 Little Falls Drive, Wihnington,
            Delaware 19808-1674.

                      IN WITNESS WHEREOF, the undersigned has executed this Certificate ofFormation as
            ofthe date first above written.



                                                             By:    /s/ Mary Kearney
                                                                    Mary Kearney, Authorized Person




         State of Debmare
         Semtaiy of State
      Dh'blon of Coiporatlons
    Ddh-end 06:05 PM0£/D£/2018
     FILED 06:05 PM0(AI6/2018
SR 20185011869 - FOeNumber 6919892
     Case 3:16-bk-02230-PMG                 Doc 1118          Filed 07/18/18          Page 283 of 352

Case 2:93-cv-00902-RBS Document 449-4 Filed 06/29/18 Page 1 of 11 PageID# 718



                                       BIDDING PROCEDURES.^

I.      OVERVIEW

       On June 14, 2016 (the "Petition Date"), Premier Exhibitions, Inc., a Florida corporation
("Premier"); Arts and Exhibitions International, LLC, a Florida limited liability company
("A&E"); Dinosaurs Unearthed Corp., a Delaware Corporation ("DU Corp."); Premier
Exhibitions International, LLC, a Delaware limited liability company ("PEI"); Premier
Exhibition Management LLC, a Florida limited liability company ("PEM"); PremierExhibitions
NYC, Inc., a Nevada Corporation ("Premier NYC"); Premier Merchandising, LLC, a Delaware
limited liability company ("Premier Merch"); and RMS Titanic, Inc., a Florida corporation
("RMST"), as debtors and debtors-in-possession (collectively, the "Debtors") filed voluntary
petitions for relief under chapter 11 of title 11 of the United States Code (the "Bankruptcy
Code"). The Debtors are operating their businesses and managing their properties as debtors-in-
possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On August 24,2016,
both an Official Committee of Unsecured Creditors (the "Creditors Committee") and an
Official Committee of Equity Security Holders (the "Equity Committee," and together with the
Creditors Committee, the "Committees") were appointed.

        On July [•], 2018, the United States Bankruptcy Court for the Middle District of Florida
(the "Bankruptcy Court") entered an order (the "Bidding Procedures Order"), which, among
other things, authorized the Debtors to (a) solicit bids and approved these bidding procedures
(the "Bidding Procedures") for a sale of the Transferred Assets (as defined in the Asset
Purchase Agreement), on terms substantially similar to, and in no event less favorable to the
Debtors than, the terms set forth in the Asset Purchase Agreement and as set forth in these
Bidding Procedures, and (b) select Premier Acquisition Holdings LLC as the stalking horse
bidder in connection with such sale (the "Stalking Horse Purchaser").

       On the terms and subject to the conditions set forth in the Asset Purchase Agreement, the
Transferred Assets will be sold free and clear of all liens, claims and encumbrances (except that
to the extent that any artifacts owned by RMST are subject to the jurisdiction of the United
States District Court for the Eastern District of Virginia, in the civil action styled R.M.S. Titanic,
Inc., Successor in Interest to Titanic Ventures Limited Partnership v. The Wrecked and
Abandoned Vessel, Etc., Case No. 2:93-cv-902 (the "Admiralty Court") and to the Revised
Covenants and Conditions (the "Covenants and Conditions") set forth in Exhibit A to the
August 12, 2010 Opinion of the Admiralty Court, such artifacts shall continue to be subject to
the Covenants and Conditions and to the jurisdiction of the Admiralty Court) as permitted by the
Bankruptcy Code pursuant to an order approving a sale under Section 363 of the Bankruptcy
Code (the "Sale Order"). All references to the Debtors herein shall refer either (a) to the

' Capitalized terms used but not defined herein shall have the meanings set forth in the motion to approve these
Bidding Procedures or the Asset Purchase Agreement dated as of June [•], 2018 by and among (i) Premier,
(ii) A&E, (iii) PEM, (iv) Premier NYC, (v) Premier Merch, (vi) PEI. (vii) DU Corp.) (collectively with Premier,
A&E, PEM, Premier NYC, Premier Merch and PEI, the "Debtor Sellers"); (viii) DinoKing Tech Inc. d^/a
Dinosaurs Unearthed, a company formed under the laws of British Colimibia ("DinoKing"), (ix) RMST, solely for
purposes of Article III, Article V, Article VII and Article VIII, and Premier Acquisition Holdings LLC, a Delaware
limited liability company (as amended, modified or supplemented, the "Asset Purchase Agreement"), as
applicable.
                                                                                                       EXHIBIT
FTL 111755549V10

                                                                                                        D
      Case 3:16-bk-02230-PMG         Doc 1118   Filed 07/18/18         Page 284 of 352

Case 2:93-cv-00902-RBS Document 449-4 Filed 06/29/18 Page 2 of 11 PageID# 719



Debtors including DinoKing, in the event that DinoKing becomes a Debtor, or (b) the
Debtors and DinoKing, as an indirectly wholly-owned non-debtor subsidiary of Premier, in
the event that DinoKing does not become a Debtor.

II.      SUMMARY OF IMPORTANT DATES

August 8,2018, at 4:00 p.m.               Bid Deadline

August 8,2018, at 4:00 p.m.               Deadline to Object to Sale
                                          Deadline to Object to Assumption and
                                          Assignment of Transferred Contracts to
                                          Stalking Horse Purchaser, Including Proposed
                                          Cure Amounts

August 10,2018, at 4:00 p.m.              Deadline for Debtors to Designate and Publish
                                          Qualified Bidders
August 13,2018, at 10:00 a.m.             Auction, if any
                                          Location:

                                          Troutman Sanders LLP
                                          600 Peachtree Street NE, Suite 3000
                                          Atlanta, GA 30308
August [13], 2018, at [10:00 a.m.]        Sale Hearing, if no Auction
                                          Location;

                                          United States Bankruptcy Court for the Middle
                                          District of Florida, Jacksonville Division
                                          Bryan Simpson United States Courthouse
                                          300 North Hogan Street, Courtroom 4A
                                          Jacksonville, Florida 32202
August [15], 2018, at [10:00 a.m.]        Sale Hearing, if Auction occurs
                                          Location:

                                          United States Bankruptcy Court for the Middle
                                          District of Florida, Jacksonville Division
                                          Bryan Simpson United States Courthouse
                                          300 North Hogan Street, Courtroom 4A
                                          Jacksonville, Florida 32202
4:00 p.m., one day before Sale Hearing    Deadline to File and Serve Responses to Any
                                          Sale Objection




FTL 1117S5549v10
   Case 3:16-bk-02230-PMG                Doc 1118       Filed 07/18/18    Page 285 of 352

Case 2:93-cv-00902-RBS Document 449-4 Filed 06/29/18 Page 3 of 11 PageID# 720



m.     MARKETING PROCESS

       A.          Contact Parties..

        The Debtors, in consuhation with theirfinancial advisor GlassRatner Advisory & Capital
Group LLC ("GlassRatner"), have developed a list of parties whom the Debtors believe may
potentially be interested in consummating, and whom the Debtors reasonably believe would have
the financial resources to consummate, a competing transaction to that of the Stalking Horse
Purchaser (a "Competing Transaction") (each, individually, a "Contact Party," and
collectively, the "Contact Parties"). Following approval of the Bidding Procedures and until
the Bid Deadline (as defined below), the Debtors intend to contact the Contact Parties to explore
their interest and may initiate contact with, or solicit or encourage submission of any Qualified
Bids by any person or otherwise facilitate any effort or attempt to make a Qualified Bid. Prior to
the approval of the Bidding Procedures, third parties may continue to conduct due diligence on
the Sellers and the Transferred Assets for purposes of being competing bidders for the
Transferred Assets following the execution of confidentiality agreements with the Debtors. The
Contact Parties may include parties whom the Debtors or their advisors have previously
contacted regarding a transaction, regardless of whether such parties expressed any interest, at
such time, in pursuing a transaction. The Debtors will continue to discuss and may supplement
the list of Contact Parties throughout the marketing process, as appropriate.

       The Debtors may distribute to each Contact Party an information package containing:

                   1.     The Bidding jProcedures Order;
                   2.     The Asset Purchase Agreement;

                   3.     These Bidding Procedures; and

                   4.     A confidentiality agreement that is substantially similar to the
                          confidentiality agreements executed by the Debtors with the Stalking
                          Horse Purchaser (unless the Contact Party has already entered into and
                          remains bound by a confidentiality agreementwith the Debtors).

       B.          Access to Diligence Materials.

        To participate in the bidding process and to receive access to then current andreasonably
available due diligence materials (the "Diligence Materials"), a party must submit an executed
confidentiality agreement in accordance with Section ni.A.4. above, along with evidence
satisfactory to the Debtors, demonstrating the party's financial capability to consummate a
Competing Transaction (together, an "Expression of Interest"): to (i) GlassRatner Advisory &
Capital Group LLC, 3445 Peachtree Road, Suite 1225, Atlanta, GA 30326, attention: Marshall
Glade, Tel: (404) 835-8844, Fax: (678) 904-1991 (email: .meladefSiglassratoer.com.). with a
copy to (ii) the Committees' retained financial advisor, Lincoln International, 444 Madison
Avenue, Suite 300, New York, NY 10022, attention: Brent C. Williams, Tel: (212) 357-7750,
Fax: (212) 277-8101 (email: -BWilliams@.lincolnintemational.com,'). Potential bidders are
instructed to contact only the retained financial advisors to the Debtors and not any other
parties, including the Debtors or any Committee members.
                                                    3
FTL 111755S49V10
  Case 3:16-bk-02230-PMG                   Doc 1118      Filed 07/18/18       Page 286 of 352

Case 2:93-cv-00902-RBS Document 449-4 Filed 06/29/18 Page 4 of 11 PageID# 721



        A party who submits an Expression of Interest and qualifies, in the Debtors' sole
discretion, for access to Diligence Materials shall be a "Preliminary Interested Purchaser" and
shall be provided prompt access to the Diligence Materials in no event later than one business
day following receipt of an Expression of Interest.

IV.     AUCTION QUALIFICATION PROCESS

       To be eligible to participate in the Auction (as defined herein), each offer, solicitation or
proposal (each, a "Bid"), and each party submitting a Bid (each, a "Bidder"), must be
determined by the Debtors to satisfy each of the following conditions:

        A.         Good Faith Deposit. Each Bid must be accompanied by a cash deposit in the
                   amount of 10% of the total consideration provided for in its Bid, to be held in an
                   interest-bearing escrow account to be identified and established by the Debtors
                   (the "Good Faith Deposit"). The Debtors will provide wire instructions for the
                   Good Faith Deposit upon written request of any Preliminary Interested Purchaser
                   made to (i) GlassRatner Advisory & Capital Group LLC, 3445 Peachtree Road,
                   Suite 1225, Atlanta, GA 30326, attention: Marshall Glade, Tel: (404) 835-8844,
                   Fax: (678) 904-1991 (email: .mSladef^glassratner.com.'). with a copy to
                   (ii) Lincoln International, 444 Madison Avenue, Suite 300, New York, NY 10022,
                   attention: Brent C. Williams, Tel: (212) 357-7750, Fax: (212) 277-8101 (email:
                   -BWilliams@lincolnintemational.coni-V

       B.          Same or Better Terms.


                   I.     Each Bid must be on terms that are substantially similar, the same or
                          better for the Debtors than         the terms   of the Asset Purchase
                          Agreement. At a minimum, each Bid must:

                          (a)    Propose a Competing Transaction for all or substantially all of the
                                 Transferred Assets;

                          (b)    Include an executed asset purchase agreement by the Bidder (a
                                 "Competing Asset Purchase Agreement") in substantially the
                                 same form and on substantially the same material terms as the
                                 Asset Purchase Agreement, excepting the Bid Protections
                                 applicable only to the Stalking Horse Purchaser (including
                                 without limitation the Break-Up Fee and Expense
                                  Reimbursement);

                          (c)     Include a redline comparison marked to show all changes to the
                                  Asset Purchase Agreement;

                          (d)     Include a signed statement that the Bid set forth in the Competing
                                  Asset Purchase Agreement is irrevocable until the earlier of (i) the
                                  Outside Backup Date (as defined herein) or (ii) the date of closing
                                  of a Competing Transaction with the Prevailing Bidder (as defined
                                  herein) or with the Backup Bidder (as defined herein);
                                                    4
FTL 1117S5549V10
     Case 3:16-bk-02230-PMG                     Doc 1118         Filed 07/18/18   Page 287 of 352

Case 2:93-cv-00902-RBS Document 449-4 Filed 06/29/18 Page 5 of 11 PageID# 722



                             (e)      Include a signed statement that the Bidder consents to be bound by
                                      and to the Covenants and Conditions;

                             (f)      Propose a purchase price equal to or greater than $19,000,000.00.^.
                                      in cash (the "Minimum Cash Amount");

                             (g)      Obligate the Bidder to pay all Cure Amounts; and

                             (h)      Not contain any break-up fee, expense reimbursement, or similar
                                      type of payment in favor of the Bidder.

                    2.       A Bid will not be considered a Qualified Bid (as defined herein) if such
                             Bid:

                             (a)      Contains any material alterations to the Asset Purchase Agreement
                                      not contemplated under Section rV.B.l.(b) above;

                             (b)      Is not received by the Bid Deadline (as defined herein) in
                                      accordance with these Bidding Procedures; or

                             (c)      Does not contain evidence of the Bidder's financial ability to
                                      perform in accordance with Section IV.D. of these Bidding
                                      Procedures.

           C.       Corporate Authority. Each Bid must include written evidence acceptable to the
                    Debtors demonstrating appropriate corporate authorization to consummate the
                    proposed Competing Transaction; provided, however, that, if the Bidder is an
                    entity specially formed for the purpose of effectuating the Competing
                    Transaction, then the Bidder must fiimish written evidence reasonably acceptable
                    to the Debtors of the approval of the Competing Transaction by the equity
                    hoIder(s) of such Bidder.

           D.       Proof of Financial Ability to Perform. Each Bid must include written evidence
                    satisfactory to the Debtors to demonstrate that the Bidder has the necessary
                    financial ability to close the Competing Transaction and provide adequate
                    assurance of future performance under all contracts to be assumed and assigned in
                    such Competing Transaction. Such information must include, at a minimum, the
                    following:

                    1.       Contact names and telephone numbers for verification of financing
                             sources;


                    2.       Evidence of the Bidder's internal resources and proof of unconditional
                             debt or equity funding commitments, from a recognized banking
                             institution in the amount of at least 125% of the Minimum Cash Amount
                             of such Bid, or the posting of an irrevocable letter of credit from a

2
    All amounts herein are expressed in United States dollars.
                                                            5
FTL 111755549V10
  Case 3:16-bk-02230-PMG                  Doc 1118       Filed 07/18/18      Page 288 of 352

Case 2:93-cv-00902-RBS Document 449-4 Filed 06/29/18 Page 6 of 11 PageID# 723



                          recognized banking institution issued in favor of the Debtors in the
                          amount of at least 125% of the Minimum Cash Amount of such Bid;

                   3.     The Bidder's current audited financial statements, provided, however, that
                          if the Bidder is an entity formed solely for the purpose of the Bid, the
                          Bidder must include current audited financial statements for such Bidder's
                          equity holders, and evidence that such equity holders have guaranteed the
                          obligations of such Bidder in connection with the Competing Transaction;
                          and

                   4.     Any other form of financial disclosure or credit-quality support
                          information or enhancement reasonably acceptable to the Debtors
                          demonstrating that such Bidder has the ability to close the Competing
                          Transaction.

        E.         No Contingencies. A Bid may not be conditioned on obtaining financing or any
                   internal approval, or on the outcome or review of due diligence.

        F.         Irrevocable. A Bid must be irrevocable through the time of the Auction, provided,
                   however, that if such Bid is accepted as the Prevailing Bid or the Backup Bid
                   (each as defined herein), such Bid shall remain irrevocable thereafter, until the
                   earlier of (i) the Outside Backup Date (as defined herein) or (ii) the date of
                   closing of a Competing Transaction with the Prevailing Bidder (as defined herein)
                   or with the Backup Bidder (as defined herein).

        G.         Bid Deadline. All Bids must be submitted so that they are actually received by the
                   following parties on or before August 8, 2018 at 4:00 p.m. (prevailing Eastern
                   Time) (the "Bid Deadline"): (i) counsel to the Debtors, Troutman Sanders LLP,
                   600 Peachtree Street NE, Suite 3000, Atlanta, GA 30308, attention: Harris B.
                   Winsberg (Jiarris.winsbere@troutman.com.) and Matthew R. Brooks
                   (matthew.brooks@troutman.com); (ii) counsel to the Creditors Committee, Storch
                   Amini PC, 140 East 45th Street, 25th Floor, New York, NY 10017, attention:
                   Jeffrey Chubak f.ichubak@storchamini.com.'): (iii) counsel to the Equity
                   Committee, Landau Gottfried & Berger LLP, 1801 Cenmry Park East, Suite 700,
                   Los Angeles, CA 90067, attention: Peter J. Gurfein (.pguifein@,LGBFirm.com.'):
                   (iv) counsel to the Stalking Horse Purchaser, Greenberg Traurig, P.A., 401 East
                   Las Olas Blvd., Suite 2000, Fort Lauderdale, FL 33301, attention: Scott M.
                   Grossman (•erossmansm@gtlaw.com.) and Bracewell LLP, 1251 Avenue of the
                   Americas, 49th Floor, New York NY 10020-1100, attention Jennifer Feldsher
                   (•iennifer.feldsher@bracewell.coni.): (v) the Debtors' retained financial advisor,
                   GlassRatner Advisory & Capital Group LLC, 3445 Peachtree Road, Suite 1225,
                   Atlanta, GA 30326, attention: Marshall Glade (.mglade@glassratoer.com.): and
                   (vi)the Committees' retained financial advisor: Lincoln International, 444
                   Madison Avenue, Suite 300, New York, NY 10022, attention: Brent C. Williams
                   (3Williams@,lincolnintemational.com.).




FTL 1117S5549v10
     Case 3:16-bk-02230-PMG                Doc 1118       Filed 07/18/18       Page 289 of 352

Case 2:93-cv-00902-RBS Document 449-4 Filed 06/29/18 Page 7 of 11 PageID# 724



        H.         Qualified Bids. A Bid received irom a Bidder on or before the Bid Deadline that
                   meets the requirements of Sections IV.A-G of these Bidding Procedures shall
                   constitute a "Qualified Bid," and such Bidder shall constitute a "Qualified
                   Bidder." For purposes of the Auction, the Asset Purchase Agreement submitted
                   by the Stalking Horse Purchaser is a Qualified Bid and the Stalking Horse
                   Purchaser is a Qualified Bidder for all purposes and requirements pursuant to
                   these Bidding Procedures, notwithstanding the requirements that other Bidders
                   must satisfy to be a Qualified Bidder. The Stalking Horse Purchaser shall not be
                   required to take any further action in order to participate in the Auction, or if the
                   Asset Purchase Agreement submitted by the Stalking Horse Purchaser is the
                   Prevailing Bid or the Backup Bid, to be named the Prevailing Bidder or the
                   Backup Bidder (each as defined herein), as applicable. Within one business day
                   after the Bid Deadline, the Debtors shall inform counsel to the Committees and
                   the Stalking Horse Purchaser whether the Debtors will consider any Bids received
                   to be Qualified Bids.

        I.         Disclosure of Qualified Bids. If the Debtors receive one or more Qualified Bids
                   (other than the Qualified Bid of the Stalking Horse Purchaser), then not later than
                   two business days after the Bid Deadline (the "Competing Bid Disclosure
                   Deadline"), the Debtors shall file a notice with the Bankruptcy Court disclosing
                   the identity and aggregate consideration offered by such Qualified Bid(s).

        J.         Cancellation of Auction If No Competing Qualified Bids Received. If the Debtors
                   do not receive any other Qualified Bid(s) on or before the Bid Deadline, then on
                   or before the Bid Disclosure Deadline the Debtors shall file a notice with the
                   Bankruptcy Court cancelling the Auction, and will proceed to seek approval of
                   the sale of the Transferred Assets to the Stalking Horse Purchaser under the Asset
                   Purchase Agreement at the Sale Hearing.

V.      AUCTION

        A.         Determination of Highest and Best Qualified Bid.

                   1.     If one or more Qualified Bids (other than the Asset Purchase Agreement
                          submitted by the Stalking Horse Purchaser) are received by the Bid
                          Deadline, the Debtors will conduct an auction (the "Auction") to
                          determine the highest and best Qualified Bid. The determination of the
                          highest and best Qualified Bid shall take into account the following (the
                          "Bid Assessment Criteria");

                          (a)     the total consideration to be received by the Debtors;

                          (b)     the likelihood that the Admiralty Court will approve the Bidder as
                                  purchaser of the Transferred Assets; and

                          (c)     the likelihood of the Bidder's ability to timely consummate a
                                  Competing Transaction.


FTL 111755549V10
   Case 3:16-bk-02230-PMG                Doc 1118       Filed 07/18/18       Page 290 of 352

Case 2:93-cv-00902-RBS Document 449-4 Filed 06/29/18 Page 8 of 11 PageID# 725



                   2.     The highest and best Qualified Bid must include cash in an amount not
                          less than the Minimum Cash Amount.

        B.         Conduct of the Auction.

                   1.    The Auction, if any, shall take place on August 13, 2018 at 10:00 a.m.
                         (prevailing Eastern Time) at the offices of Troutman Sanders, LLP, 600
                         Peachtree Street NE, Suite 3000, Atlanta, Georgia 30308, or such other
                         place and time as the Debtors shall notify the Auction Attendees (as
                         defined herein).

                   2.     Only Qualified Bidders may participate in the Auction.

                   3.    The Debtors and their professionals shall direct and preside over the
                         Auction.

                   4.    The Auction will be transcribed by a certified court reporter.

                   5.    At the start of the Auction, the Debtors shall describe the terms of the
                         highest and best Qualified Bid received prior to the Bid Deadline (such
                         Qualified Bid, the "Auction Baseline Bid"). The Stalking Horse
                         Purchaser shall have the right (but not the obligation) to match the highest
                         and best Qualified Bid received prior to the Bid Deadline, and thus
                         become the Auction Baseline Bid.

                   6.    At the start of the Auction, each Qualified Bidder participating in the
                         Auction must confirm that it has not engaged in any collusion with respect
                         to the bidding or sale of the Transferred Assets, and at the Debtors'
                         request, each Qualified Bidder must disclose the direct and indirect legal
                         and beneficial owners of the Qualified Bidder.

                   7.    Unless otherwise agreed by the Debtors, only the Debtors, the
                         Committees, the Stalking Horse Purchaser, and any other Qualified
                         Bidder, along with each of their respective professionals (collectively, the
                         "Auction Attendees"), may attend the Auction in person, and only the
                         Stalking Horse Purchaser and other Qualified Bidders will be entitled to
                         make any Bids at the Auction.

                   8.     Terms of Overbids.

       An "Overbid" is any bid made at the Auction after die Debtors' announcement of the
Auction Baseline Bid. To submit an Overbid at the Auction, a Bidder must comply with the
following conditions;

                          (a)    The initial Overbid must be for a purchase price equal to or greater
                                 than $19,000,000.00 (the "Initial Overbid").




FTL 111755549v10
  Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18       Page 291 of 352

Case 2:93-cv-00902-RBS Document 449-4 Filed 06/29/18 Page 9 of 11 PageID# 726



                          (b)    Any Bid after the Initial Overbid must be made in increments of
                                 not less than $500,000.00.

                          (c)    The Stalking Horse Purchaser shall be entitled to credit bid the Bid
                                 Protections as a portion of any Overbid (including an Initial
                                 Overbid).

                          (d)    All Overbids must at all times continue to comply with the
                                 conditions for a Qualified Bid set forth in Sections IV.A-G of these
                                 Bidding Procedures.

                          (e)    All Overbids must remain open and binding on the Bidder until
                                 and unless the Debtors accept a higher Overbid. At the Debtors'
                                 request (in consultation with the Committees, but in the Debtors'
                                 sole and absolute discretion) at any point during the Auction, a
                                 Bidder submitting an Overbid must submit, as part of its Overbid,
                                 written evidence (in the form of financial disclosure or credit-
                                 quality support information or enhancement reasonably acceptable
                                 to the Debtor) demonstrating such Bidder's ability to close the
                                 Competing Transaction proposed by such Overbid (including
                                 performance of obligations under any Assumed Executory
                                 Contracts).

                   9.    Announcing Overbids.

        The Debtors shall announce at the Auction (a) the material terms of each Overbid that
shall stand as the basis for the next Overbid; (b) the basis for calculating the total consideration
offered in each such Overbid, and (c) the resulting benefit to the Debtors' estates, based on the
Bid Assessment Criteria.

        C.         Conclusion of Auction and Determination of Prevailing Bidder.

        The Auction will continue until there is only one Qualified Bid that the Debtors
determine in their reasonable business judgment, upon consideration of the Bid Assessment
Criteria and after consultation with the Committees, is the highest and best Qualified Bid at the
Auction (the "Prevailing Bid" and the Bidder submitting such Prevailing Bid, the "Prevailing
Bidder"). The Auction shall not close unless and until all Bidders who have submitted Qualified
Bids have been given a reasonable opportunity to submit a further Overbid to the last Overbid.
Once the Debtors have designated the Prevailing Bidder, the Auction will be concluded. The
Debtors will not consider any Bids submitted after the conclusion of the Auction.

        D.         Backup Bidder.

                   1.    Notwithstanding anything in these Bidding Procedures to the contrary, if
                         an Auction is conducted, the Qualified Bidder with the next highest or best
                         Qualified Bid after the Bid made by the Prevailing Bidder at the Auction,
                         as determined by the Debtors in the exercise of their reasonable business
                         judgment, will be designated as a backup bidder (the "Backup Bidder").
                                                   9
f=TL111755549v10
   Case 3:16-bk-02230-PMG                 Doc 1118       Filed 07/18/18       Page 292 of 352

Case 2:93-cv-00902-RBS Document 449-4 Filed 06/29/18 Page 10 of 11 PageID# 727



                          The Backup Bidder is required to keep its final Overbid (or, if the Backup
                          Bidder did not submit any Overbids, then its initial Bid) (the "Backup
                          Bid") open and irrevocable until the earlier of (i) 4:00 p.m. (prevailing
                          Eastern time) on the date that is 30 days after the Closing Date provided
                          for in the Sale Order approving the Prevailing Bid (the "Outside Backup
                          Date"), or (ii) the date of closing of a Competing Transaction with the
                          Prevailing Bidder or with the Backup Bidder.

                   2.     Following the Sale Hearing, if the Prevailing Bidder fails to close due to a
                          breach or failure to perform on the part of such Prevailing Bidder, the
                          Debtors may designate the Backup Bidder to be the new Prevailing
                          Bidder, and the Debtors will be authorized, but not required, to
                          consummate a transaction with the Backup Bidder without further order of
                          the Bankruptcy Court. In such case, the defaulting Prevailing Bidder's
                          Good Faith Deposit shall be forfeited to the Debtors.

        E.         Consent to Jurisdiction as Condition to Bidding: Waiver of Jury Trial Rights .

    BY SUBMITTING A BID, THE STALKING HORSE PURCHASER AND ALL
OTHER QUALIFIED BIDDERS AT THE AUCTION ARE SUBMITTING TO THE
CORE JURISDICTION OF THE BANKRUPTCY COURT, AND ARE WAIVING ANY
RIGHT TO A JURY TRIAL IN CONNECTION WITH ANY DISPUTES RELATING TO
THESE BIDDING PROCEDURES, THE ASSET PURCHASE AGREEMENT, A
COMPETING ASSET PURCHASE AGREEMENT, THE AUCTION OR THE
CONSTRUCTION AND ENFORCEMENT OF ANY DOCUMENTS DELIVERED IN
CONNECTION WITH A BID.

VI.     SALE HEARING

       The Bankruptcy Court will conduct a hearing (the "Sale Hearing") on either (a) if no
Auction occurs, [August 13, 2018 at 10:00 a.m.] (prevailing Eastern Time), or (b) if an
Auction occurs, [August 15, 2018 at 10:00 a.m.] (prevailing Eastern Time). At the Sale
Hearing, the Debtors will seek approval of the transactions contemplated by the Asset Purchase
Agreement or Competing Asset Purchase Agreement, as applicable, with the Prevailing Bidder.
Objections, if any, to the sale of the Transferred Assets to the Prevailing Bidder and the
transactions contemplated therewitli (a "Sale Objection") must be in writing and filed with the
Bankruptcy Court by August 8, 2018 at 4:00 p.m. (the "Sale Objection Deadline"). Any Sale
Objection must also be served, so that it is actually received by the Sale Objection Deadline, on
(a) counsel to the Debtors, Troutman Sanders LLP, 600 Peachtree Street NE, Suite 3000,
Atlanta, GA 30308, attention: Harris B. Winsberg f.harris.winsberg@troutman.com,') and
Matthew R. Brooks (matthew.brooks@troutman.com); (b) counsel to the Creditors Committee,
Storch Amini PC, 140 East 45th Street, 25th Floor, New York, NY 10017, attention: Jeffrey
Chubak (.ichubak@storchamini.com-): (c) counsel to the Equity Committee, Landau Gottfried &
Berger LLP, 1801 Century Park East, Suite 700, Los Angeles, CA 90067, attention; Peter J.
Gurfein f.Dgurfein@LGBFirm.com.): (d) counsel to the Stalking Horse Purchaser, Greenberg
Traurig, P.A., 401 East Las Olas Blvd., Suite 2000, Fort Lauderdale, FL 33301, attention; Scott
M. Grossman f.grossmansm@gtlaw.corrL) and Bracewell LLP, 1251 Avenue of the Americas,

                                                   10
FTL 111755549v10
   Case 3:16-bk-02230-PMG                  Doc 1118   Filed 07/18/18       Page 293 of 352

Case 2:93-cv-00902-RBS Document 449-4 Filed 06/29/18 Page 11 of 11 PageID# 728



49th      Floor,    New       York         NY   10020-1100,    attention     Jennifer     Feldsher
(-iennifer.feldsher@bracewell.com.'): and (e) the Office of the United States Trustee, U.S.
Department of Justice, George C. Young Federal Building, 400 West Washington Street, Suite
1100, Orlando, FL 32801, attention Miriam G. Suarez (•Miriam.G.Suarez@usdoi.gov-').
Notwithstanding the foregoing, any objection to the conduct of the Auction (including the
Debtor's determination of the Prevailing Bidder) may be raised for the first time at the Sale
Hearing. Any other Sale Objections must be filed and served by the Sale Objection
Deadline, or eke will be waived. Responses to Sale Objections shall be filed and served by not
later than 4:00 p.m. one day before the Sale Hearing.

VII.    RETURN OF GOOD FAITH DEPOSIT

        The Good Faith Deposits of all Qualified Bidders shall be held in one or more interest-
bearing escrow accounts established and maintained by a reputable financial institution
acceptable to the Debtors, but shall not become property of the Debtors' bankruptcy estates
absent further order of the Bankruptcy Court. The Good Faith Deposit of any Qualified Bidder
other than the Prevailing Bidder or the Backup Bidder shall be returned to such Qualified Bidder
not later than three business days after the Sale Hearing. The Good Faith Deposit of the Backup
Bidder shall be returned to the Backup Bidder on the date that is the earlier of 24 hours after (a)
the closing of the transaction with the Prevailing Bidderand (b) the Outside Backup Date. Upon
the return of the Good Faith Deposits, their respective owners shall receive any and all interest
that will have accrued thereon. If the Prevailing Bidder timely closes, its Good Faith Deposit
shall be credited to its purchase price.

                                                ###




                                                 11
FTL 1117S5549v10
             Case 3:16-bk-02230-PMG              Doc 1118       Filed 07/18/18       Page 294 of 352

          Case 2:93-cv-00902-RBS Document 449-5 Filed 06/29/18 Page 1 of 1 PageID# 729
   McCttlKWoodsLLP
    World Trade Center
   101 West Main Street
            Suite 9000
Norfolk. VA 23510-1655
      Tel 757.640.3700
      Fax 757.640.3701
www.mcguirewoo<ls.com

   Robert W. McFarland
   Direcl: 757/640.3718   McGUIREWiDCOS                                                            Fal 757/640.3966

          June 29, 2018

          HAND DELIVERY

          Fernando Gallndo, Clerk
          United States District Court
          600 Granby Street
          Norfolk, VA 23510

                     RMS Titanic, Inc., etc. v. The Wrecked and Abandoned Vessel, etc
                    Civil Action No. 2:93cv902

          Dear Mr. Gallndo;

                 Enclosed for filing in the above-captioned matter are a Motion to Approve Asset
          Purchase Agreement and Authorize the Sale of 100% of RMST Stock to Premier Acquisition
          Holdings, LLC or Other Qualified Purchaser as Approved by the Bankruptcy Court,
          Memorandum in Support, and Exhibits. We are providing a courtesy copy of the Motion,
          Memorandum and Exhibits to Chief Judge Smith, and have also delivered copies to counsel for
          the United States Government.

                    Thank you for your assistance. With best wishes, I am

                                                        Sincerely yours,



                                                        Robert W. McFarland

          RMW/mgm

          End


          CC:       The Honorable Rebecca B. Smith, Chief Judge (by hand delivery)
                    Kent Porter, Esq. (by email and hand delivery)
                    Brian A. Wainger, Esq. (by email)
Case 3:16-bk-02230-PMG   Doc 1118   Filed 07/18/18   Page 295 of 352




                Exhibit 2
                   Case 3:16-bk-02230-PMG                        Doc 1118            Filed 07/18/18             Page 296 of 352
                                                                                 https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...



          SC 13D 1 v424531_sc13d.htm FORM SC 13D

                                                                                                                          OMB APPROVAL
                                                                                                                  OMB Number: 3235-0145
                                                              UNITED STATES                                       Expires:    February 28, 2009
                                                  SECURITIES AND EXCHANGE COMMISSION                              Estimated average burden hours
                                                           Washington, D.C. 20549                                 per response……..14.5

                                                                   SCHEDULE 13D
                                                       Under the Securities Exchange Act of 1934
                                                            (Amendment No. _________)*

                                                                 Premier Exhibitions, Inc.
                                                                     (Name of Issuer)


                                                                       Common Stock
                                                                (Title of Class of Securities)


                                                                       74051E102
                                                                     (CUSIP Number)


                                                                     Daoping Bao
                                                             C/O Premier Exhibitions, Inc.
                                                           3340 Peachtree Road NE, Suite 900
                                                                  Atlanta, GA 30326
                                                                    (404) 842-2600

                                                                          Copy to:

                                                               Samuel C. Schlessinger
                                                                  Dentons US LLP
                                                                    Willis Tower
                                                          233 S. Wacker Drive, Suite 5900
                                                                 Chicago, IL 60606
                                                                   (312) 876-8000
                                             (Name, Address and Telephone Number of Person Authorized to
                                                        Receive Notices and Communications)


                                                                   October 30, 2015
                                                 (Date of Event which Requires Filing of this Statement)


                 If the filing person has previously filed a statement on Schedule 13G to report the acquisition that is the subject of this
                 Schedule 13D, and is filing this schedule because of §§240.13d-1(e), 240.13d-1(f) or 240.13d-1(g), check the
                 following box. ¨

                 Note: Schedules filed in paper format shall include a signed original and five copies of the schedule, including all
                 exhibits. See §240.13d-7 for other parties to whom copies are to be sent.

                 * The remainder of this cover page shall be filled out for a reporting person’s initial filing on this form with respect to
                 the subject class of securities, and for any subsequent amendment containing information which would alter
                 disclosures provided in a prior cover page.

                 The information required on the remainder of this cover page shall not be deemed to be “filed” for the purpose of
                 Section 18 of the Securities Exchange Act of 1934 (“Act”) or otherwise subject to the liabilities of that section of the
                 Act but shall be subject to all other provisions of the Act (however, see the Notes).




1 of 42                                                                                                                                        1/26/2018, 5:06 PM
                     Case 3:16-bk-02230-PMG                       Doc 1118            Filed 07/18/18            Page 297 of 352
                                                                                  https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




           CUSIP No. 74051E102
            1. Names of Reporting Persons.
               I.R.S. Identification Nos. of above persons (entities only).
               Daoping Bao
            2. Check the Appropriate Box if a Member of a Group (See Instructions)
               (a)                 X
               (b)
            3. SEC Use Only
            4. Source of Funds (See Instructions) OO
            5. Check if Disclosure of Legal Proceedings Is Required Pursuant to Items 2(d) or 2(e)

            6. Citizenship or Place of Organization
               Canada
                                7. Sole Voting Power 4,448,113
          Number of Shares
          Beneficially by       8. Shared Voting Power 0
          Owned by Each
          Reporting Person      9. Sole Dispositive Power 1,271,994
          With
                               10. Shared Dispositive Power 0
           11. Aggregate Amount Beneficially Owned by Each Reporting Person 4,448,113
           12. Check if the Aggregate Amount in Row (11) Excludes Certain Shares (See Instructions) X1

           13. Percent of Class Represented by Amount in Row (11) 47.5%2
           14. Type of Reporting Person (See Instructions)
               IN


          1 At the Closing (as defined herein), Mr. Bao received (a) 1,271,994 shares (“Exchangeable Shares”) of 1032403 B.C. Ltd., a company
          existing under the laws at the Province of British Columbia and a wholly-owned subsidiary of the Issuer (“Exchangeco”), which are
          exchangeable for 1,271,994 shares of common stock, par value $0.0001 per share, of the Issuer (“Issuer Common Stock”) pursuant to
          the terms of such shares and that certain Support Agreement entered into between the Issuer and Exchangeco at the Closing, and (b) one
          share of a separate class of stock of the Issuer (the “Class 1 Special Voting Stock”) that provides for voting rights in the Issuer equal to
          the number of Exchangeable Shares held by Mr. Bao. The amount reported in Row 11 excludes the share of Class 1 Special Voting Stock
          held by Mr. Bao. The reporting person disclaims beneficial ownership of the shares beneficially owned by the other parties to the
          Stockholders Agreement (as defined herein) except to the extent of his pecuniary interest therein.

          2 The calculation of the foregoing percentage is based on dividing Row 11 by the sum of (a) 4,917,222 shares of Issuer Common Stock
          outstanding as of September 15, 2015 according to the definitive proxy statement filed on September 16, 2015, (b) the 3,013,193 shares
          of Issuer Common Stock issued to Mr. Bao as agent for Mr. Feng, Mr. Zhang, High Nature Holding Limited and Mandra Forestry
          Limited and (c) 1,434,720 Exchangeable Shares issued to Mr. Bao and Ms. Brenner.




2 of 42                                                                                                                                     1/26/2018, 5:06 PM
                     Case 3:16-bk-02230-PMG                       Doc 1118           Filed 07/18/18            Page 298 of 352
                                                                                 https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




           CUSIP No. 74051E102
            1. Names of Reporting Persons.
               I.R.S. Identification Nos. of above persons (entities only).
               Nancy Brenner
            2. Check the Appropriate Box if a Member of a Group (See Instructions)
               (a)                 X
               (b)
            3. SEC Use Only
            4. Source of Funds (See Instructions) OO
            5. Check if Disclosure of Legal Proceedings Is Required Pursuant to Items 2(d) or 2(e)

            6. Citizenship or Place of Organization
               United States
                                7. Sole Voting Power 0
          Number of Shares
          Beneficially by       8. Shared Voting Power 0
          Owned by Each
          Reporting Person      9. Sole Dispositive Power 162,726
          With
                               10. Shared Dispositive Power 0
           11. Aggregate Amount Beneficially Owned by Each Reporting Person 162,726
           12. Check if the Aggregate Amount in Row (11) Excludes Certain Shares (See Instructions) X1

           13. Percent of Class Represented by Amount in Row (11) 1.7%2
           14. Type of Reporting Person (See Instructions)
               IN


          1 At the Closing, Ms. Brenner received (a) 162,726 Exchangeable Shares, which are exchangeable for 162,726 shares of Issuer Common
          Stock pursuant to the terms of such shares and that certain Support Agreement entered into between the Issuer and Exchangeco at the
          Closing, and (b) one share of a separate class of stock of the Issuer (the “Class 2 Special Voting Stock”) that provides for voting rights
          in the Issuer equal to the number of Exchangeable Shares held by Ms. Brenner. The amount reported in Row 11 excludes the share of
          Class 2 Special Voting Stock held by Ms. Brenner. The reporting person disclaims beneficial ownership of the shares beneficially owned
          by the other parties to the Stockholders Agreement (as defined herein) except to the extent of her pecuniary interest therein.

          2 The calculation of the foregoing percentage is based on dividing Row 11 by the sum of (a) 4,917,222 shares of Issuer Common Stock
          outstanding as of September 15, 2015 according to the definitive proxy statement filed on September 16, 2015, (b) the 3,013,193 shares
          of Issuer Common Stock issued to Mr. Bao as agent for Mr. Feng, Mr. Zhang, High Nature Holding Limited and Mandra Forestry
          Limited and (c) 1,434,720 Exchangeable Shares issued to Mr. Bao and Ms. Brenner.




3 of 42                                                                                                                                   1/26/2018, 5:06 PM
                     Case 3:16-bk-02230-PMG                       Doc 1118           Filed 07/18/18           Page 299 of 352
                                                                                  https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




           CUSIP No. 74051E102
            1. Names of Reporting Persons.
               I.R.S. Identification Nos. of above persons (entities only).
               Lange Feng
            2. Check the Appropriate Box if a Member of a Group (See Instructions)
               (a)                 X
               (b)
            3. SEC Use Only
            4. Source of Funds (See Instructions) PF
            5. Check if Disclosure of Legal Proceedings Is Required Pursuant to Items 2(d) or 2(e)

            6. Citizenship or Place of Organization
               China
                                7. Sole Voting Power 0
          Number of Shares
          Beneficially by       8. Shared Voting Power 0
          Owned by Each
          Reporting Person      9. Sole Dispositive Power 669,643
          With
                               10. Shared Dispositive Power 0
           11. Aggregate Amount Beneficially Owned by Each Reporting Person 669,643
           12. Check if the Aggregate Amount in Row (11) Excludes Certain Shares (See Instructions) 1

           13. Percent of Class Represented by Amount in Row (11) 7.2% 2
           14. Type of Reporting Person (See Instructions)
               IN


          1 The reporting person disclaims beneficial ownership of the shares beneficially owned by the other parties to the Stockholders
          Agreement (as defined herein) except to the extent of his pecuniary interest therein.

          2 The calculation of the foregoing percentage is based on dividing Row 11 by the sum of (a) 4,917,222 shares of Issuer Common Stock
          outstanding as of September 15, 2015 according to the definitive proxy statement filed on September 16, 2015, (b) the 3,013,193 shares
          of Issuer Common Stock issued to Mr. Bao as agent for Mr. Feng, Mr. Zhang, High Nature Holding Limited and Mandra Forestry
          Limited and (c) 1,434,720 Exchangeable Shares issued to Mr. Bao and Ms. Brenner.




4 of 42                                                                                                                                     1/26/2018, 5:06 PM
                     Case 3:16-bk-02230-PMG                       Doc 1118           Filed 07/18/18           Page 300 of 352
                                                                                  https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




           CUSIP No. 74051E102
            1. Names of Reporting Persons.
               I.R.S. Identification Nos. of above persons (entities only).
               Jihe Zhang
            2. Check the Appropriate Box if a Member of a Group (See Instructions)
               (a)                 X
               (b)
            3. SEC Use Only
            4. Source of Funds (See Instructions)     PF
            5. Check if Disclosure of Legal Proceedings Is Required Pursuant to Items 2(d) or 2(e)

            6. Citizenship or Place of Organization
               China
                                7. Sole Voting Power 0
          Number of Shares
          Beneficially by       8. Shared Voting Power 0
          Owned by Each
          Reporting Person      9. Sole Dispositive Power 446,429
          With
                               10. Shared Dispositive Power 0
           11. Aggregate Amount Beneficially Owned by Each Reporting Person 446,429 1
           12. Check if the Aggregate Amount in Row (11) Excludes Certain Shares (See Instructions)

           13. Percent of Class Represented by Amount in Row (11) 4.8% 2
           14. Type of Reporting Person (See Instructions)
               IN


          1 The reporting person disclaims beneficial ownership of the shares beneficially owned by the other parties to the Stockholders
          Agreement (as defined herein) except to the extent of his pecuniary interest therein.

          2 The calculation of the foregoing percentage is based on dividing Row 11 by the sum of (a) 4,917,222 shares of Issuer Common Stock
          outstanding as of September 15, 2015 according to the definitive proxy statement filed on September 16, 2015, (b) the 3,013,193 shares
          of Issuer Common Stock issued to Mr. Bao as agent for Mr. Feng, Mr. Zhang, High Nature Holding Limited and Mandra Forestry
          Limited and (c) 1,434,720 Exchangeable Shares issued to Mr. Bao and Ms. Brenner.




5 of 42                                                                                                                                     1/26/2018, 5:06 PM
                     Case 3:16-bk-02230-PMG                        Doc 1118           Filed 07/18/18          Page 301 of 352
                                                                                  https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




           CUSIP No. 74051E102
            1. Names of Reporting Persons.
               I.R.S. Identification Nos. of above persons (entities only).
               High Nature Holding Limited
            2. Check the Appropriate Box if a Member of a Group (See Instructions)
               (a)                 X
               (b)
            3. SEC Use Only
            4. Source of Funds (See Instructions) PF
            5. Check if Disclosure of Legal Proceedings Is Required Pursuant to Items 2(d) or 2(e)

            6. Citizenship or Place of Organization
               British Virgin Islands
                                7. Sole Voting Power 0
          Number of Shares
          Beneficially by       8. Shared Voting Power 0
          Owned by Each
          Reporting Person      9. Sole Dispositive Power 1,116,071
          With
                               10. Shared Dispositive Power 0
           11. Aggregate Amount Beneficially Owned by Each Reporting Person 1,116,071 1
           12. Check if the Aggregate Amount in Row (11) Excludes Certain Shares (See Instructions)

           13. Percent of Class Represented by Amount in Row (11) 11.9% 2
           14. Type of Reporting Person (See Instructions)
               CO


          1 The reporting person disclaims beneficial ownership of the shares beneficially owned by the other parties to the Stockholders
          Agreement (as defined herein) except to the extent of its pecuniary interest therein.

          2 The calculation of the foregoing percentage is based on dividing Row 11 by the sum of (a) 4,917,222 shares of Issuer Common Stock
          outstanding as of September 15, 2015 according to the definitive proxy statement filed on September 16, 2015, (b) the 3,013,193 shares
          of Issuer Common Stock issued to Mr. Bao as agent for Mr. Feng, Mr. Zhang, High Nature Holding Limited and Mandra Forestry
          Limited and (c) 1,434,720 Exchangeable Shares issued to Mr. Bao and Ms. Brenner.




6 of 42                                                                                                                                     1/26/2018, 5:06 PM
                     Case 3:16-bk-02230-PMG                      Doc 1118           Filed 07/18/18            Page 302 of 352
                                                                                https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




           CUSIP No. 74051E102
            1. Names of Reporting Persons.
               I.R.S. Identification Nos. of above persons (entities only).
               Mandra Forestry Limited
            2. Check the Appropriate Box if a Member of a Group (See Instructions)
               (a)                 X
               (b)
            3. SEC Use Only
            4. Source of Funds (See Instructions) 1
            5. Check if Disclosure of Legal Proceedings Is Required Pursuant to Items 2(d) or 2(e)

            6. Citizenship or Place of Organization
               British Virgin Islands
                                7. Sole Voting Power 0
          Number of Shares
          Beneficially by       8. Shared Voting Power 0
          Owned by Each
          Reporting Person      9. Sole Dispositive Power 781,250
          With
                               10. Shared Dispositive Power 0
           11. Aggregate Amount Beneficially Owned by Each Reporting Person 781,250 2
           12. Check if the Aggregate Amount in Row (11) Excludes Certain Shares (See Instructions)

           13. Percent of Class Represented by Amount in Row (11) 8.3% 3
           14. Type of Reporting Person (See Instructions)
               CO


          1 We have requested on numerous occasions but not received confirmation from Mandra Forestry Limited.


          2 The reporting person disclaims beneficial ownership of the shares beneficially owned by the other parties to the Stockholders
          Agreement (as defined herein) except to the extent of its pecuniary interest therein.

          3 The calculation of the foregoing percentage is based on dividing Row 11 by the sum of (a) 4,917,222 shares of Issuer Common Stock
          outstanding as of September 15, 2015 according to the definitive proxy statement filed on September 16, 2015, (b) the 3,013,193 shares
          of Issuer Common Stock issued to Mr. Bao as agent for Mr. Feng, Mr. Zhang, High Nature Holding Limited and Mandra Forestry
          Limited and (c) 1,434,720 Exchangeable Shares issued to Mr. Bao and Ms. Brenner.




7 of 42                                                                                                                                     1/26/2018, 5:06 PM
                    Case 3:16-bk-02230-PMG                      Doc 1118              Filed 07/18/18          Page 303 of 352
                                                                               https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




          Item 1. Security and Issuer

                   This statement on Schedule 13D (“Schedule 13D”) relates to the shares of common stock, par value $0.0001 per share (“Issuer
          Common Stock”), of Premier Exhibitions, Inc., a Florida corporation, (the “Company” or the “Issuer”), as well as shares of 1032403
          B.C. Ltd., a wholly-owned subsidiary of the Issuer (“Exchangeco”), which are exchangeable for Issuer Common Stock pursuant to the
          terms of such shares and that certain Support Agreement entered into between the Issuer and Exchangeco at the Closing (as defined
          herein). The address of the principal executive office of the Issuer is 3340 Peachtree Road N.E., Suite 900, Atlanta, Georgia 30326.

          Item 2. Identity and Background

                  This Schedule 13D is being filed jointly by the following persons (collectively, the “Reporting Persons”):

           Name                                     Address                              Employment/Address               Citizenship
           Daoping Bao                              C/O Premier Exhibitions, Inc.,       Exec. Chairman, Pres. and        Canada
                                                    3340 Peachtree Road NE, Suite        CEO
                                                    900
                                                    Atlanta, GA 30326                    Premier Exhibitions, Inc.
                                                                                         3340 Peachtree Rd. N.E. Ste.
                                                                                         900
                                                                                         Atlanta, GA 30326
                                                                                         United States

           Nancy Brenner                            1828 Lilac Drive., #18               Managing Director                United States
                                                    Surrey, British Columbia V4A         Premier Exhibitions, Inc.
                                                    5C9                                  3340 Peachtree Rd. N.E,. Ste.
                                                    Canada                               900
                                                                                         Atlanta, GA 30326

           Lange Feng                               15953 107 Avenue                     Chief Financial Officer          China
                                                    Surrey, British Columbia V4N         Henan Yixue Waterproofing
                                                    5N7                                  Engineering Co., Ltd.
                                                    Canada                               901, Unit 1, Building 1,
                                                                                         Zhenghongqi, No. 260
                                                                                         Dongming Road North,
                                                                                         Agricultural Road, Jinshui
                                                                                         District,
                                                                                         Zhenrgzhou City,
                                                                                         Henan Province,
                                                                                         China

           Jihe Zhang                               Suite 2606, Building A               Chairman of Beijing AO Jie       China
                                                    Full Shuangzi Towers,                Kai Industry & Trading Co.,
                                                    No. 59 Dongsanhuan Zhonglu           LTD
                                                    Chaoyang District, Beijing           Room 2606 Fuli Twins Tower
                                                    China                                A Building No. 59
                                                                                         Mid East 3rd Ring Road
                                                                                         China

           Name                                     Address                              Principal Business               Organization
           High Nature Holding Limited              Unit 8, 3rd Floor                    Biorefineries                    British Virgin Islands
                                                    Qwomar Trading Complex
                                                    Blackburne Road
                                                    Port Purcell, Road Town
                                                    Tortola, British Virgin Islands
                                                    VG1110




8 of 42                                                                                                                                 1/26/2018, 5:06 PM
                    Case 3:16-bk-02230-PMG                       Doc 1118            Filed 07/18/18          Page 304 of 352
                                                                                https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...


           Mandra Forestry Limited                   C/O Portcullis TrustNet (BVI)      Investment Holding Company        British Virgin Islands
                                                     Ltd.
                                                     Portcullis TrustNet Chambers
                                                     P.O. Box 3444
                                                     Road Town, Tortola
                                                     British Virgin Islands


          The name, residence or business address, and present principal occupation or employment of each director, executive officer and
          controlling person of High Nature Holding Limited and Mandra Forestry Limited are listed on Schedule I to this Schedule 13D.




9 of 42                                                                                                                                1/26/2018, 5:06 PM
                      Case 3:16-bk-02230-PMG                        Doc 1118           Filed 07/18/18             Page 305 of 352
                                                                                   https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                   Information in this Schedule 13D with respect to each of the Reporting Persons is given solely by such Reporting Person, and
           no Reporting Person assumes responsibility for the accuracy or completeness of information provided by another Reporting Person.

                     During the past five years, none of the Reporting Persons (or, to the knowledge of the Reporting Persons, any of the persons
           listed on Schedule I hereto) (i) has been convicted in any criminal proceeding (excluding traffic violations or similar misdemeanors) or
           (ii) was a party to a civil proceeding of a judicial or administrative body of competent jurisdiction and as a result of such proceeding was
           or is subject to a judgment, decree or final order enjoining future violations of, or prohibiting or mandating activities subject to, federal
           or state securities laws or finding any violation with respect to such laws. Notwithstanding the foregoing to the contrary, the Reporting
           Persons have requested on multiple occasions but not received confirmation with respect to the matters discussed in this paragraph from
           Mandra Forestry Limited.

           Item 3. Source and Amount of Funds or Other Consideration

                    Pursuant to the merger agreement entered into as of April 2, 2015 by and among the Company, Dinoking Tech Inc.
           (“Dinoking”), Exchangeco, and Mr. Bao and Ms. Brenner (the “Merger Agreement”), on November 1, 2015 (the “Closing”), the
           Company acquired all of the outstanding shares of Dinoking for total consideration of 1,434,720 shares of Exchangeco (“Exchangeable
           Shares”). The Exchangeable Shares are exchangeable for an aggregate of 1,434,720 shares of Issuer Common Stock pursuant to the
           terms of such shares and that certain Support Agreement entered into between the Company and Exchangeco at the Closing. At the
           Closing, Mr. Bao received 1,271,994 Exchangeable Shares and Ms. Brenner received 162,726 Exchangeable Shares, which they can
           exchange on a one-for-one basis into shares of the Issuer’s Common Stock at any time, and Mr. Bao received one share of Class 1
           Special Voting Stock and Ms. Brenner received one share of Class 2 Special Voting Stock, which provides them with voting rights in the
           Company equal to the number of Exchangeable Shares they hold.

                   In connection with the Merger Agreement, the Company also issued a convertible promissory note (the “Convertible Note”) to
           Mr. Bao, as agent for Mr. Lange Feng, Mr. Jihe Zhang, High Nature Holding Limited and Mandra Forestry Limited (the “Former
           Convertible Note Holders”). The Convertible Note automatically converted pursuant to the terms of the Convertible Note into
           3,013,393 shares of Issuer Common Stock on October 30, 2015 (i.e., the first business day after the special meeting at which the
           Company’s shareholders approved certain proposals necessary to consummate the transactions contemplated by the Merger Agreement).

           Item 4. Purpose of Transaction

                    The information set forth or incorporated in Item 3 is incorporated herein by reference.

                    The Reporting Persons intend to review their investment in the Company on an ongoing basis. Depending on their review and
           evaluation of the business and prospects of the Company, and subject to applicable securities laws and the price level of the Issuer
           Common Stock, or such other factors as they may deem relevant, the Reporting Persons may (a) acquire additional shares of Issuer
           Common Stock or other securities of the Company; (b) sell all or any part of their Issuer Common Stock, which potential sales may be
           made pursuant to Rule 144, in privately negotiated transactions or in sales registered or exempt from registration under the Securities Act
           of 1933, as amended (the “Securities Act”) (or, with respect to Mr. Bao and/or Ms. Brenner, subject to their exchange of the
           Exchangeable Shares for Issuer Common Stock, in sales pursuant to a resale registration statement that the Company is required to file
           with the U.S. Securities and Exchange Commission (the “SEC”) within 30 business days after the Closing and cause to be declared
           effective as soon as practicable thereafter under the Registration Rights Agreement (as defined herein); (iii) distribute Issuer Common
           Stock to various of their partners, members or shareholders or may engage in any combination of the foregoing.

                    Subject to applicable law, the Reporting Persons may enter into derivative transactions, hedging transactions or alternative
           structures with respect to the Issuer Common Stock. Any open market or privately negotiated purchases, sales, distributions or other
           transactions may be made at any time without additional prior notice. Any alternative that the Reporting Persons may pursue will depend
           upon a variety of factors, including, without limitation, current and anticipated future trading prices of the Issuer Common Stock, the
           financial condition, results of operations and prospects of the Company, general economic, financial market and industry conditions,
           other investment and business opportunities available to the Reporting Persons, tax considerations and other factors.

                    At the Closing, the Company, Mr. Bao and Ms. Brenner, entered into the Corporate Governance Agreement, dated as of
           November 1, 2015, pursuant to which the Reporting Persons collectively had the right as of the Closing to appoint up to four members of
           the Company’s board of directors, which was then required to be composed of seven members. If their beneficial ownership in the
           Company falls to between 10% and 30%, then the Reporting Persons will have the right to appoint up to 30% of the members of the
           board of directors. If the Reporting Persons beneficially own in the aggregate less than 10% of the Issuer Common Stock, then they will
           no longer be entitled to appoint members of the Company’s board of directors. These board appointment provisions also apply to each
           subsidiary of the Company. The Corporate Governance Agreement also required the Company’s board of directors to appoint Mr. Bao as
           the Executive Chairman of the board of directors and President of the Company, and each subsidiary of the Company, as of the Closing.



10 of 42                                                                                                                                     1/26/2018, 5:06 PM
                     Case 3:16-bk-02230-PMG                      Doc 1118          Filed 07/18/18            Page 306 of 352
                                                                                https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...


           As a result of the Reporting Persons’ continuous review and evaluation of the business of the Company, the Reporting Persons may
           communicate with the board of directors of the Company, members of management and/or other shareholders from time to time with
           respect to operational, strategic, financial or governance matters or otherwise work with management and the board of directors of the
           Company with a view to maximizing shareholder value.




11 of 42                                                                                                                               1/26/2018, 5:06 PM
                      Case 3:16-bk-02230-PMG                        Doc 1118           Filed 07/18/18             Page 307 of 352
                                                                                   https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                    Other than as described in this Item 4 and the Future Contingent Payments under the Success Payment Agreement section
           described in Item 6 below, none of the Reporting Persons, nor to the knowledge of each Reporting Person, any individuals listed in
           response to Item 2 hereof, has any current plans or proposals that relate to or that would result in any of the transactions or other matters
           specified in clauses (a) though (j) of Item 4 of Schedule 13D; provided, that the Reporting Persons may, at any time, review or reconsider
           their position with respect to the Issuer and reserve the right to develop such plans or proposals.

           Item 5. Interest in Securities of the Issuer

                    The information contained on the cover pages to this Schedule 13D and the information set forth or incorporated in Items 2, 3, 4
           and 6 hereof are incorporated herein by reference.

                    (a) As of the Closing, following the consummation of the transactions contemplated by the Merger Agreement, each Reporting
           Person may be deemed to beneficially own 4,448,113 shares of Issuer Common Stock (excluding one share of Class 1 Special Voting
           Stock and one share of Class 2 Special Voting Stock held by Mr. Bao and Ms. Brenner, respectively, that provide for voting rights in the
           Company equal to the number of Exchangeable Shares held by Mr. Bao and Ms. Brenner, respectively, and including 1,434,720
           Exchangeable Shares, which are exchangeable for Issuer Common Stock) representing approximately 47.5% of the outstanding Issuer
           Common Stock. The calculation of the foregoing percentage is based on the sum of (a) 4,917,222 shares of Issuer Common Stock
           outstanding as of September 15, 2015 according to the definitive proxy statement filed on September 16, 2015, (b) the 3,013,193 shares
           of Issuer Common Stock issued to Mr. Bao as agent for Mr. Feng, Mr. Zhang, High Nature Holding Limited and Mandra Forestry
           Limited and (c) 1,434,720 Exchangeable Shares issued to Mr. Bao and Ms. Brenner. Each Reporting Person disclaims beneficial
           ownership of the shares beneficially owned by the other Reporting Persons except to the extent of his, her or its pecuniary interest
           therein.

                    (b) Pursuant to the Stockholders Agreement described in Item 6 below, Mr. Bao has the right to vote (and a right of first refusal
           with respect to) the Issuer Common Stock and Exchangeable Shares held by the other Reporting Persons. Accordingly, Mr. Bao has the
           sole power to vote or direct the vote of all shares reported by the Reporting Persons on the cover pages to this Schedule 13D. Each
           Reporting Person has the sole power to dispose the number of shares listed in Row 9 of its respective cover page to this Schedule 13D.
           No Reporting Person has shared voting or shared dispositive power with respect to any of the shares reported in this Schedule 13D.

                   (c) Other than the matters referred to herein, there have been no other transactions in the Issuer Common Stock effected by the
           Reporting Persons during the past sixty days.

                    (d) No other person is known to have the right to receive or the power to direct the receipt of dividends from, or any proceeds
           from the sale of, securities of the Issuer beneficially owned by the Reporting Persons.

                    (e) Not applicable.

           Item 6. Contracts, Arrangements, Understandings or Relationships with Respect to Securities of the Issuer

           The information set forth or incorporated in Items 3 and 4 is incorporated herein by reference.

           Stockholders Agreement

                  Pursuant to that certain Stockholders Agreement, dated April 2, 2015, among the Reporting Persons (as amended, the
           “Stockholders Agreement”), Mr. Bao has the power to vote (and a right of first refusal with respect to) each of the shares in the
           Company beneficially owned by the other Reporting Persons.

           Corporate Governance Agreement

                    See the description in Item 4 hereof.




12 of 42                                                                                                                                     1/26/2018, 5:06 PM
                      Case 3:16-bk-02230-PMG                       Doc 1118            Filed 07/18/18            Page 308 of 352
                                                                                   https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




           Support Agreement

                   The Company and Exchangeco also entered at the Closing into that certain Support Agreement, which sets forth terms related to
           the Exchangeable Shares and contains certain covenants governing the relationship between the Company and Exchangeco so long as
           Exchangeable Shares are outstanding.

                     Among other things, pursuant to the Support Agreement, the Company will not, without the prior approval of Exchangeco and
           the holders of the Exchangeable Shares, take certain actions unless the same or an economically equivalent change shall simultaneously
           be made to, or in the rights of, the holders of Exchangeable Shares. Such actions include (i) issuing or distributing shares of the Issuer
           Common Stock to holders of the common stock by way of stock dividend or other distribution; (ii) issuing or distributing rights, options,
           warrants, or property to holders of the Issuer Common Stock entitling them to subscribe for or to purchase shares of the Issuer Common
           Stock; (iii) issuing or distributing to holders of shares or securities of the Company of any other class of capital stock of the Company or
           any rights, options, or warrants to purchase the same, evidences of indebtedness of the Company, or assets of the Company; (iv)
           subdividing, redividing, or changing the then outstanding shares of the Issuer Common Stock into a greater number of shares; (v)
           reducing, combining, or consolidating or changing the then outstanding shares of the Issuer Common Stock into a lesser number of
           shares; or (vi) reclassifying or otherwise changing the shares of the Issuer Common Stock or effecting an amalgamation, merger,
           reorganization, or other transaction affecting the Issuer Common Stock.

           Registration Rights Agreement

                   In addition, at the Closing, the Company, Mr. Bao and Ms. Brenner entered into that certain Registration Rights Agreement (the
           “Registration Rights Agreement”), pursuant to which the Company is required to register with the SEC the shares of Issuer Common
           Stock held by Mr. Bao and Ms. Brenner and their permitted assigns upon demand at any time after the Closing.

           Success Payment Agreement

                    In connection with the Closing, the Company, Mr. Bao and Ms. Brenner entered into a Success Payment Agreement, dated
           April 2, 2015 (the "Success Payment Agreement"), which outlines the requirements by which Mr. Bao and Ms. Brenner may receive
           Future Contingent Payments (as defined herein).

                     Mr. Bao and Ms. Brenner have the right to receive from the Company future contingent payments payable in either cash or
           shares of Issuer Common Stock (the “Future Contingent Payments”). The Company has agreed to make Future Contingent Payments
           to Mr. Bao and Ms. Brenner of up to $8,562,715 payable in either cash or shares of Issuer Common Stock upon the satisfaction of
           conditions precedent relating to the execution of specified exhibition and joint venture agreements with third-parties meeting the
           requirements set forth in the Success Payment Agreement. Assuming all of the conditions are satisfied that would trigger the three
           separate Future Contingent Payments provided for under the Success Payment Agreement, the Company will be required to issue a
           minimum of 1,309,162 shares of Issuer Common Stock to Mr. Bao and Ms. Brenner. The Reporting Persons, however, are unable to
           provide an exact estimate of the number of shares that the Company may issue in connection with Future Contingent Payments due to
           the fact that certain conditions must be triggered to satisfy such payments and the value of the shares to be paid out will be determined
           based upon a formula that takes into account the volume weighted average trading price of the Company’s common stock during the 60-
           day period prior to the date of the applicable triggering event. The Reporting Persons estimate that if all of the conditions to the Future
           Contingent Payments are satisfied and the Mr. Bao and Ms. Brenner elect to receive shares of Issuer Common Stock as payment for the
           Future Contingent Payments, that the Company would issue up to a maximum of 856,271,455 shares of Issuer Common Stock in
           connection therewith, assuming that the Company’s stock price was $0.01 based on the 60-day volume weighted average price ending
           immediately prior to the date of each of the three separate triggering events.

                   The foregoing summaries of the agreements described above do not purport to be complete and each is qualified in its entirety
           incorporated by reference to the complete text of such agreement attached hereto or incorporated by reference.

           Item 7. Materials to be Filed as Exhibits

           Exhibit Number            Description of Exhibits
                    1.               Joint Filing Agreement and Power of Attorney, dated November 6, 2015, by and among Messrs. Daoping Bao,
                                     Lange Feng and Jihe Zhang, Ms. Nancy Brenner, High Nature Holding Limited and Mandra Forestry Limited.

                     2.              Stockholders Agreement, dated April 2, 2015, by and among Mr. Daoping Bao, Ms. Nancy Brenner, Mr.
                                     Lange Feng, Mr. Jihe Zhang, 1030443 B.C. Ltd. and High Nature Holding Limited, as amended.

                     3.              Joinder Agreement, dated April 2, 2015 by Mandra Forestry Limited.



13 of 42                                                                                                                                    1/26/2018, 5:06 PM
            Case 3:16-bk-02230-PMG               Doc 1118          Filed 07/18/18            Page 309 of 352
                                                               https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...



           4.       Joinder Agreement, dated April 2, 2015 by Jihe Zhang.

           5.       Merger Agreement, dated April 2, 2015, by and among Premier Exhibitions, Inc., Dinoking Tech Inc.,
                    1032403 B.C. Ltd., Mr. Daoping Bao and Ms. Nancy Brenner (incorporated by reference to Exhibit 2.1 to
                    Premier Exhibitions, Inc.’s Current Report on Form 8-K filed April 8, 2015).

           6.       Corporate Governance Agreement, dated November 1, 2015, by and among Premier Exhibitions, Inc., Mr.
                    Daoping Bao and Ms. Nancy Brenner (incorporated by reference to Exhibit 10.1 to Premier Exhibitions, Inc.’s
                    Current Report on Form 8-K filed November 4, 2015).

           7.       Support Agreement, dated November 1, 2015, by and among Premier Exhibitions, Inc. and 1032403 B.C. Ltd.
                    (incorporated by reference to Exhibit 10.2 to Premier Exhibitions, Inc.’s Current Report on Form 8-K filed
                    November 4, 2015).

           8.       Registration Rights Agreement, dated November 1, 2015, by and among Premier Exhibitions, Inc., Mr.
                    Daoping Bao and Ms. Nancy Brenner (incorporated by reference to Exhibit 10.3 to Premier Exhibitions, Inc.’s
                    Current Report on Form 8-K filed November 4, 2015).

           9.       Success Payment Agreement, dated April 2, 2015, by and among Premier Exhibitions, Inc., Mr. Daoping Bao
                    and Ms. Nancy Brenner (incorporated by reference to Exhibit 10.2 to Premier Exhibition, Inc.’s Current Report
                    on Form 8-K filed April 8, 2015).

           10.      Amended and Restated Secured Promissory Note and Guarantee, dated April 2, 2015, by and among Premier
                    Exhibitions, Inc., as obligor, Premier Merchandising, LLC, RMS Titanic, Inc., Premier Exhibition
                    Management LLC and Arts and Exhibitions International, LLC, as obligors, and Mr. Daoping Bao, for and on
                    behalf of the lenders thereunder.




14 of 42                                                                                                               1/26/2018, 5:06 PM
                       Case 3:16-bk-02230-PMG                     Doc 1118            Filed 07/18/18          Page 310 of 352
                                                                                https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                                                                         Schedule I

           The names of the shareholders of High Nature Holding Limited, their business address and citizenship are set forth below. Each
           occupation set forth opposite an individual’s name refers to Anhui Geyi Biorefineries Industrial Park Ltd.

            Name                               Position      Business Address                                                   Citizenship
            Haiping Zou                        Chairman      Anhui Geyi Biorefineries Industrial Park Ltd.                      China
                                               &             Chuangye Avenue, Yanliu, Shou County, Anhui Province P.R.
                                               President     China
            Xiao Bai                           CFO           Anhui Geyi Biorefineries Industrial Park Ltd.                      China
                                                             Chuangye Avenue, Yanliu, Shou County, Anhui Province P.R.
                                                             China


           The Reporting Persons have requested on multiple occasions but not received the information necessary to complete this Schedule I with
           respect to Mandra Forestry Limited.




15 of 42                                                                                                                                1/26/2018, 5:06 PM
                      Case 3:16-bk-02230-PMG                       Doc 1118             Filed 07/18/18          Page 311 of 352
                                                                                  https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                                                                        SIGNATURES

                    After reasonable inquiry and to the best of my knowledge and belief, I certify that the information set forth in this statement is
           true, complete and correct.

                                                                                  DAOPING BAO

                                                                                  By:     /s/ Samuel C. Schlessinger, Attorney-in-fact


                                                                                  HIGH NATURE HOLDING LIMITED

                                                                                  By:     /s/ Samuel C. Schlessinger, Attorney-in-fact, on behalf of
                                                                                          High Nature Holding Limited


                                                                                  JIHE ZHANG

                                                                                  By:     /s/ Samuel C. Schlessinger, Attorney-in-fact


                                                                                  LANGE FENG

                                                                                  By:     /s/ Samuel C. Schlessinger, Attorney-in-fact


                                                                                  MANDRA FORESTRY LIMITED

                                                                                  By:     /s/ Samuel C. Schlessinger, Attorney-in-fact, on behalf of
                                                                                          Mandra Forestry Limited


                                                                                  NANCY BRENNER

                                                                                  By:     /s/ Samuel C. Schlessinger, Attorney-in-fact


           Dated: March 31, 2016




16 of 42                                                                                                                                   1/26/2018, 5:06 PM
                      Case 3:16-bk-02230-PMG                       Doc 1118           Filed 07/18/18            Page 312 of 352
                                                                                  https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                                                                                                                                            Exhibit 1
                                             JOINT FILING AGREEMENT AND POWER OF ATTORNEY

           Pursuant to and in accordance with the Securities Exchange Act of 1934, as amended (the “Exchange Act”), and the rules and
           regulations promulgated thereunder, each undersigned party hereby agrees to the joint filing, on behalf of such undersigned party with
           respect to the common stock, par value $0.0001 per share, of Premier Exhibitions, Inc. (the “Company”), a Florida corporation, of any
           and all forms, statements, reports, and/or documents required to be filed by such undersigned party under Section 13(d) and/or Section
           16 of the Exchange Act (including any amendments, supplements, and/or exhibits thereto) with the U.S. Securities and Exchange
           Commission (the “SEC”) (and, if such security is registered on a national securities exchange or national securities association, also with
           such exchange or association as may be required by applicable laws, rules and regulations), and each undersigned party further agrees
           that this Joint Filing Agreement and Power of Attorney may be included as an Exhibit to such joint filing.

           Know all by these presents, that the undersigned hereby constitutes and appoints each of Laing Henshall, Catherine Wade, Samuel
           Schlessinger, Emily Yuen, Danielle Moore Burton, Tina Bingham and Brian A. Wainger or any of them acting as the true and lawful
           attorney-in-fact and agent of such undersigned party with full power and authority and full power of substitution and resubstitution, for,
           in the name of, and on behalf of such undersigned party, place and stead, in any and all capacities to:

                              1. execute any and all forms, statements, reports, and/or documents required to be filed by such undersigned party
                    under Section 13(d) and/or Section 16 of the Exchange Act (including any and all amendments, supplements and/or exhibits
                    thereto), for, in the name of, and on behalf of such undersigned party;

                             2. do and perform any and all acts for, in the name of, and on behalf of such undersigned party which said attorney-
                    in-fact determines may be necessary or appropriate to complete and execute any and all such forms, statements, reports, and/or
                    documents, any and all such amendments, supplements, and/or exhibits thereto, and any and all other documents in connection
                    therewith;

                              3.    file such forms, statements, reports, and/or documents, any and all such amendments, supplements, and/or
                    exhibits thereto, and any and all other documents in connection therewith with the SEC (and, if such security is registered on a
                    national securities exchange or national securities association, also with such exchange or association as may be required by
                    applicable laws, rules and regulations); and

                              4. perform any and all other acts that said attorney-in-fact or agents determines may be necessary or appropriate in
                    connection with the foregoing that may be in the best interest of or legally required by such undersigned party, granting unto
                    said attorney-in-fact and agent full power and authority to do and perform each and every act and thing requisite or necessary to
                    be done in and about the premises, as full to all intents and purposes as said attorney-in-fact and agents might or should do in
                    person, hereby ratifying and confirming all that said attorney-in-fact and agent shall do or cause to be done by virtue hereof.




17 of 42                                                                                                                                   1/26/2018, 5:06 PM
                      Case 3:16-bk-02230-PMG                        Doc 1118           Filed 07/18/18             Page 313 of 352
                                                                                   https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




           The undersigned hereby grants to each such attorney-in-fact full power and authority to do and perform any and every act and thing
           whatsoever required, necessary or proper to be done in the exercise of any of the rights and powers herein granted, as fully to all intents
           and purposes as the undersigned might or could do if personally present, with full power of substitution or revocation, hereby ratifying
           and confirming all that such attorney-in-fact, or such attorney-in-fact's substitute or substitutes, shall lawfully do or cause to be done by
           virtue of this Joint Filing Agreement and Power of Attorney and the rights and powers herein granted.

           The undersigned acknowledges that the foregoing attorney-in-fact, in serving in such capacity at the request and on the behalf of the
           undersigned, is not assuming, nor is the Company assuming, any of the undersigned's responsibilities to comply with, or any liability for
           the failure to comply with, any provision of Section 16 of the Exchange Act.

           This Joint Filing Agreement and Power of Attorney shall remain in full force and effect until the undersigned is no longer required to file
           such forms, statements, reports, and/or documents in accordance with Section 13(d) and/or Section 16 of the Exchange Act with respect
           to the undersigned's holdings of and transactions in securities issued by the Company, unless earlier revoked by the undersigned in a
           signed writing delivered to the foregoing attorney-in-fact.


                                                               [SIGNATURE PAGE FOLLOWS]




18 of 42                                                                                                                                     1/26/2018, 5:06 PM
                    Case 3:16-bk-02230-PMG                 Doc 1118           Filed 07/18/18         Page 314 of 352
                                                                        https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




           IN WITNESS WHEREOF, the undersigned has executed this Joint Filing Agreement and Power of Attorney as of this 6th day of
           November, 2015.

                                                                        DAOPING BAO

                                                                        By:      /s/ Daoping Bao


                                                                        HIGH NATURE HOLDING LIMITED

                                                                        By:      /s/ Haiping Zou
                                                                                 Name: Haiping Zou
                                                                                 Title: President


                                                                        JIHE ZHANG

                                                                        By:      /s/ Jihe Zhang


                                                                        LANGE FENG

                                                                        By:      /s/ Lange Feng


                                                                        MANDRA FORESTRY LIMITED

                                                                        By:      /s/ Zhang Songyi
                                                                                 Name: Zhang Songyi
                                                                                 Title: Director


                                                                        NANCY BRENNER

                                                                        By:      /s/ Nancy Brenner




19 of 42                                                                                                                  1/26/2018, 5:06 PM
                     Case 3:16-bk-02230-PMG                      Doc 1118           Filed 07/18/18            Page 315 of 352
                                                                                https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                                                                                                                                        Exhibit 2

                                                           STOCKHOLDERS AGREEMENT

                    This Stockholders Agreement (this “Agreement”), dated as of April 2, 2015, is entered into by Daoping Bao, an individual
           residing in the Province of British Columbia, Canada (“Bao”), Nancy Brenner, an individual residing in the Province of British
           Columbia, Canada (collectively with Bao, the “DK Shareholders”), Lange Feng, an individual residing in the Province of British
           Columbia, Canada), 1030443 B.C. Ltd., a corporation existing under the laws of the Province of British Columbia, and High Nature
           Holding Limited, a corporation existing under laws of the British Virgin Islands (collectively, the “DK Investor Group”) each of which
           is sometimes hereinafter referred to individually as a “Party” and collectively as the “Parties”.

                                                                        RECITALS

                    WHEREAS, the DK Shareholders own all of the share capital in Dinoking Tech Inc. have entered into that certain Merger
           Agreement of even date herewith (the “Merger Agreement”); capitalized terms used but not defined herein shall have the meanings
           ascribed to such terms in the Merger Agreement);

                    WHEREAS, under the Merger Agreement the DK Shareholders have agreed to exchange their shares of Dinoking Tech Inc. for
           a combination of shares of (i) Common Stock, par value US$0.0001 per share (“Common Stock”) of Premier Exhibitions Inc., a Florida
           company (the “Company”), (ii) an indirect ownership represented by shares exchangeable into the Company’s Common Stock
           (“Exchangeable Shares”), and (iii) the right to direct the voting of the Company’s Common Stock represented by newly created special
           voting shares of the Company at a price of US$100 per share (the “Special Voting Shares”, and collectively with the Common Stock
           and Exchangeable Shares, the “Merger Shares”) to be issued on the closing of the transactions under the Merger Agreement,
           representing in the aggregate approximately 24% of the shares of the Company’s Common Stock on a fully diluted basis. The Special
           Voting Shares will have attached thereto voting rights equivalent to the number of the Company’s Common Stock for which the
           Exchangeable Shares received by the DK Shareholders can be exchanged;

                    WHEREAS, the DK Investor Group has entered into an Assignment and Assumption Agreement of even date herewith (the
           “Assignment and Assumption Agreement”) with each of PWCM Master Fund Ltd. and Pentwater Credit Opportunity Fund Ltd. under
           which the DK Investor Group has taken an assignment of the promissory notes issued to them by the Company as replaced by the Note
           (as defined below);

                    WHEREAS, the Company has issued an Amended and Restated Promissory Note of even date herewith (the “Note”) having a
           principal amount of up to US$13.5 million of which US$8 million is outstanding (which amount was owed by the Company under the
           promissory notes assigned to the DK Investor Group under the Assignment and Assumption Agreement) and under which the DK
           Investor Group has agreed to advance up to an additional US$5.5 million to the Company, under specified conditions;




20 of 42                                                                                                                                1/26/2018, 5:06 PM
                     Case 3:16-bk-02230-PMG                       Doc 1118           Filed 07/18/18            Page 316 of 352
                                                                                  https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                   WHEREAS, the Note automatically converts into Common Stock of the Company upon the completion of the transaction
           contemplated by the Merger Agreement;

                   WHEREAS, immediately following the consummation of the transactions contemplated by the Merger Agreement, the DK
           Shareholders will own, directly or indirectly, and have direct or indirect ownership and voting rights to shares of the Company’s
           Common Stock (including through the holding of Exchangeable Shares together with the Special Voting Shares) representing
           approximately 24% of shares of the Company’s Common Stock on a fully diluted basis;

                     WHEREAS, the DK Shareholders may also receive an additional ownership and voting rights to shares of the Company’s
           Common Stock or Exchangeable Shares in the aggregate representing approximately 6% of the shares of the Company’s Common Stock
           on a fully diluted basis (the “Additional Payments”), relating to matters providing additional value to the Company and that arise after
           the execution of the Merger Agreement;

                    WHEREAS, immediately following the conversion of the Note, the DK Investor Group will own, directly or indirectly, shares
           of the Company’s Common Stock representing approximately 23% of shares of the Company’s Common Stock on a fully diluted basis
           and the Parties, assuming the Additional Payments are made, will own in the aggregate, directly or indirectly, shares of Common Stock
           representing up to approximately 53% of the Company’s Common Stock or a fully diluted basis; and

                    WHEREAS, in connection with their entry into the Merger Agreement by the DK Shareholders and the consummation of the
           transactions contemplated thereby, and the entry into the Assignment and Assumption Agreement by the DK Investor Group and the
           consummation of the transactions contemplated thereby, the Parties have agreed to enter into this Agreement, which sets forth certain
           terms and conditions relating to, among other things, the ownership, transfer and voting of the shares of the Company’s Common Stock
           owned by the Parties.

           NOW, THEREFORE, in consideration of the mutual covenants and agreements hereinafter set forth and for other good and valuable
           consideration, the receipt and sufficiency of which are hereby acknowledged, the parties hereto agree as follows


                                                                              2




21 of 42                                                                                                                                 1/26/2018, 5:06 PM
            Case 3:16-bk-02230-PMG                       Doc 1118            Filed 07/18/18             Page 317 of 352
                                                                          https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                                                                ARTICLE I
                                                                 VOTING

           Section 1.01   Parties’ Covenants to Vote.

                    (a) Each Party hereby agrees to vote or cause to be voted, or consent or cause to be consented, with respect to all
                        matters submitted to a vote or consent, as the case may be, of the Company’s stockholders at any time during the
                        term of this Agreement, whether the matter is brought before any meeting of the stockholders of the Company
                        however called, proposed to be taken by written consent of the stockholders of the Company or otherwise, all
                        Merger Shares owned or held by the Parties, directly or indirectly, (the “Party Shares”), as directed by the
                        Representative of the Parties. For the avoidance of doubt, the term “Party Shares” shall include all Merger
                        Shares owned or held by the Parties, directly or indirectly, as of the date hereof (after giving effect to the
                        transaction contemplated by the Merger Agreement and on the conversion of the Note) and all such Party Shares
                        and rights subsequently acquired by any Party by any means, including, without limitation, upon exercise of any
                        stock option, warrant or similar purchase right. The term “Representative of the Parties” or “Parties’
                        Representative” shall mean Bao or, if applicable, an entity under his majority control, in each case in his or its
                        capacity as Representative of the Parties.

                    (b) In furtherance of the voting agreement of the Parties contained in Section 1.01(a), each Party hereby constitutes
                        and appoints as the proxy of such Party, and hereby grants a power of attorney to, the Representative of the
                        Parties, with full power of substitution, with respect to all matters submitted to a vote or consent of the
                        Company’s stockholders as contemplated by the foregoing Section 1.01(a). Each of the proxy and power of
                        attorney granted pursuant to the immediately preceding sentence is given in consideration of the agreements and
                        covenants of the Parties in connection with the transactions contemplated by the Merger Agreement, the Note
                        and this Agreement, including the agreements to vote set forth in this Article I, and, as such, each is coupled with
                        an interest and shall be irrevocable unless and until this Agreement terminates pursuant to Article IV and for
                        greater certainty shall be an enduring power of attorney as defined in the Power of Attorney Act (British
                        Columbia) under which the attorney may exercise authority both (i) while the adult person granting such power
                        is capable, and (ii) while such adult is incapable, of making decisions about the grantor's financial affairs, and the
                        authority of the attorney continues despite the grantor’s incapacity, regardless of any Transfer or assignment of
                        the Party Shares of the Party and despite any Transfer by will, or devolution or otherwise at law to another
                        person on the death of such Party.


                                                                      3




22 of 42                                                                                                                           1/26/2018, 5:06 PM
            Case 3:16-bk-02230-PMG                        Doc 1118           Filed 07/18/18             Page 318 of 352
                                                                          https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                    (c)    Each Party hereby revokes any and all previous proxies or powers of attorney with respect to the Party Shares
                          owned or controlled by it and shall not hereafter, unless and until this Agreement terminates pursuant to Article
                          IV, purport to grant any other proxy or power of attorney with respect to any of the Party Shares owned or
                          controlled by it, deposit any of the Party Shares owned or controlled by it into a voting trust or enter into any
                          agreement (other than this Agreement), arrangement or understanding with any person or entity, directly or
                          indirectly, to vote, grant any proxy or give instructions with respect to the voting of any of the Party Shares.

                    (d) Each Party shall indemnify and hold harmless the Representative of the Parties from, against and in respect of
                        any loss, liability, claim, damage, cost, fine, deficiency, judgment, award, settlement and expense (including,
                        without limitation, interest, penalties, costs of investigation and defense and the reasonable fees and expenses of
                        attorneys and experts) (collectively, “Indemnifiable Expenses”) incurred directly by the Representative of the
                        Parties in connection with any claim asserted by an unaffiliated third party against the Representative of the
                        Parties based upon the voting of the Party’s Shares by the Representative of the Parties or its designee pursuant
                        to the proxy and power of attorney granted under Section 1.01(b). In addition, for the avoidance of doubt, the
                        indemnification contemplated by this Section 1.01(d) shall not apply to any Indemnifiable Expenses incurred in
                        connection with such Representative of the Parties capacity as a director, officer or employee of the Company.

                                                                ARTICLE II
                                                                 TRANSFER

           Section 2.01   General Restrictions on Transfer of Party Shares.

                    (a) Except as otherwise expressly permitted pursuant to this Article II, no Party shall Transfer (as hereinafter
                        defined) any of its Party Shares without the prior written consent of the Parties’ Representative, which consent
                        may be granted or withheld in the sole and absolute discretion of the Parties’ Representative.

                    (b) For all purposes of this Agreement, the term “Transfer” means, as a noun, any direct or indirect, voluntary or
                        involuntary transfer, sale, pledge, encumbrance, assignment, hypothecation, gift, or other disposition and, as a
                        verb, to voluntarily or involuntarily, directly or indirectly, transfer, sell, assign, pledge, encumber, hypothecate,
                        give, or otherwise dispose of, any of the Party Shares. In addition, with respect to any Party that is an entity, any
                        Transfer by any equity holder of such entity of his or its equity interests in such entity, or the issuance of any
                        additional equity interests in such entity, shall be deemed to be a Transfer for purposes of this Agreement.


                                                                      4




23 of 42                                                                                                                           1/26/2018, 5:06 PM
                      Case 3:16-bk-02230-PMG                         Doc 1118            Filed 07/18/18             Page 319 of 352
                                                                                      https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                    Section 2.02     Permitted Transfers.

           A Party shall be free at any time (without the consent of the Parties’ Representative but, in the case of clauses (i) or (ii) of this sentence,
           upon at least five business days advance written notice to the Parties’ Representative) to Transfer all or any portion of its Party Shares:
           (i) in the case the transferring Party is a natural person, to a trust or estate, limited liability company, limited partnership or similar
           vehicle owned or controlled by such Party; and (ii) in the case of a transferring Party that is not a natural person, to (A) such Party’s
           equity holders on dissolution of such Party, or (B) a wholly owned subsidiary of such Party. Party Shares owned or held by a Party who
           is a natural person may also be Transferred upon such Party’s death or involuntarily by operation of law. In addition, Party Shares may
           be Transferred pursuant to a merger, consolidation or other business combination involving the Company’s Common Stock that has been
           approved by the Company’s Board of Directors and otherwise in compliance with all applicable laws, rules and regulations.
           Notwithstanding the foregoing, in the case of any Transfer permitted under this Section 2.02 (other than a permitted Transfer pursuant to
           the preceding sentence of this Section 2.02), it shall be a condition to such Transfer that such transferee agrees, by executing a joinder
           agreement in substantially the form attached hereto as Exhibit A (y) to be bound by this Agreement as a Party with respect to all of the
           Party Shares Transferred to such transferee, and (z) that all of the Party Shares Transferred to such transferee remain subject to this
           Agreement and all of the terms, conditions and restrictions hereof as Party Shares.

                    Section 2.03     Right of First Refusal.

                               (a) If a Party (such Party, an "Offering Stockholder") receives a bona fide offer (the “Offer”) from any unaffiliated
                                   third party (a “Third Party Purchaser”) to purchase any or all of the Party Shares owned by such Party (the
                                   “Offered Shares”) and the Offering Stockholder desires to Transfer the Offered Shares to the Third Party
                                   Purchaser pursuant to such Offer, then the Offering Stockholder must first make an offering of the Offered
                                   Shares to the other Parties in accordance with the provisions of this Section 2.03.

                               (b) The Offering Stockholder shall, within five business days after receipt of the Offer from the Third Party
                                   Purchaser, give written notice (the "Offering Stockholder Notice") to the Parties’ Representative stating that it
                                   has received a bona fide offer from a Third Party Purchaser and specifying:

                                           (i) the number of Offered Shares proposed to be Transferred by the Offering Stockholder;


                                                                                  5




24 of 42                                                                                                                                        1/26/2018, 5:06 PM
           Case 3:16-bk-02230-PMG                   Doc 1118           Filed 07/18/18            Page 320 of 352
                                                                    https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                           (ii) the identity of the Third Party Purchaser;

                           (iii) the per share purchase price and the other material terms and conditions of the Offer, including a
                                 description of any non-cash consideration in sufficient detail to permit the valuation thereof; and

                           (iv) the proposed date, time and location of the closing of the Offer, which shall not be less than 60 days
                                from the date of the Offering Stockholder Notice.

               (c) The Offering Stockholder Notice shall constitute the Offering Stockholder's offer to Transfer the Offered Shares
                   to each ROFR Purchaser (as hereinafter defined), which offer shall be irrevocable for the ROFR Notice Period
                   (as hereinafter defined).

               (d) Upon receipt of the Offering Stockholder Notice, each of the Parties and, if applicable, their respective assignees
                   under this Section 2.03 (the “ROFR Purchaser”) shall have 45 days (the “ROFR Notice Period”) to elect, in its
                   sole discretion, to purchase its pro rata share or such additional number as it would purchase in the event that any
                   Party does not provide an ROFR Notice in respect of their pro rata share of the Offered Shares, on the terms
                   specified in the Offering Stockholder Notice (subject to the right of the ROFR Purchaser pursuant to Section
                   2.03(e) below to pay the purchase price solely in cash), by delivering a written notice of such election (a "ROFR
                   Notice") to the Offering Stockholder. Any ROFR Notice shall be binding upon delivery and irrevocable by the
                   ROFR Purchaser. If not all Offered Shares are the subject of an ROFR Notice, any ROFR Purchaser that has
                   delivered an election to purchase more that its pro rata share shall be entitled to purchase Offered Shares in
                   excess of the number of Offered Shares which represent its pro rata share of Offered Shares on a pro rata basis
                   with all other Parties who have so elected. For the purposes of this Section a “pro rata” share shall mean the
                   number of Party Shares a Party owns divided by the aggregate of the number of Party Shares owned by all of the
                   Parties or for which the Parties have sent an ROFR Notice, as applicable.


                                                                6




25 of 42                                                                                                                    1/26/2018, 5:06 PM
                      Case 3:16-bk-02230-PMG                       Doc 1118            Filed 07/18/18            Page 321 of 352
                                                                                    https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                              (e) If the ROFR Purchasers elect to purchase all, but not less than all, of the Offered Shares pursuant to this Section
                                  2.03, the ROFR Purchasers and the Offering Stockholder shall take all actions as may be reasonably necessary to
                                  consummate the purchase and sale of such Offered Shares, including entering into agreements and delivering
                                  certificates and instruments and consents as may be deemed necessary or appropriate, and making all payments
                                  in connection therewith, within 30 days after delivery of the ROFR Notice (or if such 30 day period expires
                                  during a period in which “insiders” of the Company are prohibited from purchasing or selling securities of the
                                  Company and such prohibition applies to the exercise of the ROFR Purchaser’s rights hereunder, within 10 days
                                  following the expiration of such restricted period). Notwithstanding anything to the contrary contained herein, if
                                  all or any portion of the consideration proposed to be paid by the Third Party Purchaser for the Offered Shares as
                                  set forth in the Offering Stockholder Notice is other than cash, the ROFR Purchaser shall have the option
                                  exercisable in its sole discretion by specifying the same in the ROFR Notice to pay the purchase price solely in
                                  cash, in which case the fair market value of the proposed non-cash consideration shall be determined in good
                                  faith by the disinterested members of the Company’s Board of Directors. All cash payments shall be paid by
                                  certified check or by wire transfer of immediately available funds to an account designated in writing by the
                                  Offering Stockholder to the ROFR Purchaser.

                              (f) If the ROFR Purchaser does not elect in an ROFR Notice delivered during the ROFR Notice Period to purchase
                                  all, but not less than all, of the Offered Shares, (i) the Party and, if applicable, ROFR Purchaser shall be deemed
                                  to have waived their rights to purchase the Offered Shares under this Section 2.03, and (ii) the Offering
                                  Stockholder may, during the 60-day period immediately following the expiration of the ROFR Notice Period and
                                  subject to Section 2.03(g), transfer to the Third Party Purchaser all but not less than all of the Offered Shares on
                                  terms and conditions no more favorable to the Third Party Purchaser than those set forth in the Offering
                                  Stockholder Notice. If the Offering Stockholder does not Transfer the Offered Shares within such period, the
                                  rights provided under this Section 2.03 shall be deemed to be revived and the Offered Shares shall not be
                                  Transferred to the Third Party Purchaser or otherwise pursuant to this Section 2.03 unless the Offering
                                  Stockholder sends a new Offering Stockholder Notice in accordance with, and otherwise complies with, this
                                  Section 2.03.

                     Section 2.04    Condition to Transfer of Party Shares.

           For so long as the Parties are required to have in place the power of attorney in favour of Bao or his nominee in accordance with Section
           1.01 (such period, the “Restricted Period”), it shall be a condition to any Transfer of a Party’s Shares that the transferee agrees, by
           executing a joinder agreement in substantially the form attached hereto as Exhibit A, (i) to be bound by this Agreement as a Party with
           respect to all of the Party’s Shares Transferred to such transferee, and (ii) that all of the Party’s Shares Transferred to such transferee
           remain subject to this Agreement and all of the terms, conditions and restrictions hereof as the Party’s Shares.


                                                                                7




26 of 42                                                                                                                                    1/26/2018, 5:06 PM
            Case 3:16-bk-02230-PMG                       Doc 1118           Filed 07/18/18             Page 322 of 352
                                                                         https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




           Section 2.05   Drag-Along and Tag-Along Rights.

                    (a) If a Party holding in excess one-third (1/3) of the total number of Party Shares (the “Transferor”) elects to sell
                        (either in a single or a series of related transactions) shares representing 50% or more of the Party’s Shares (such
                        Party’s Shares desired to be so Transferred, the “Transferor Shares”)) to an unaffiliated third party (a “Drag-
                        Tag Buyer”), then, at least 30 days prior to the date upon which the Party intends to consummate such Transfer,
                        the Transferor shall give written notice thereof which notice shall set forth the consideration to be paid by the
                        Drag-Tag Buyer, and the other material terms and conditions of such transaction (such notice, the “Transferor
                        Notice”) to each Party and the Parties’ Representative that the Transferor desires (the “Drag-Along Right”) that
                        each such Party Transfer in the transaction the percentage of its Party Shares equal to the percentage of the
                        Transferor Shares being Transferred in the transaction compared to all of Party Shares owned by the Party at that
                        time (the “Ratable Percentage Shares”) and on the same terms and conditions, including price, upon which the
                        Transferor is Transferring the Transferor Shares. The Parties shall, subject to the provisions of this Section 2.05,
                        consent to and raise no objections against such Transfer by the Party and, if requested to do so by the Transferor
                        in the Transferor Notice, Transfer their respective Ratable Percentage Shares, subject to the provisions of this
                        Section 2.05, on the same terms and conditions upon which the Transferor is Transferring the Transferor Shares.

                    (b) If the Transferor proposes to sell Transferor Shares pursuant to any transaction or series of related transactions as
                        to which the Transferor would be entitled to exercise the Drag-Along Right but the Transferor does not so elect
                        to exercise the Drag-Along Right, then, as a condition to such Transfer, each Party shall have the right (the “Tag-
                        Along Right”) to sell to the Drag-Tag Buyer, at such Party’s option, such Party’s Ratable Percentage Shares (as
                        calculated in the same manner as set forth in Section 2.05(a)), on the same terms and conditions and at the same
                        price as are applicable to the Transferor Shares. In the event that the Tag-Along Right applies with respect to a
                        proposed Transfer of Transferor Shares, then (i) the Transferor shall provide notice thereof in the Transferor
                        Notice and (ii) each Party shall have 30 days following receipt of the Transferor Notice to elect to sell all or a
                        portion of such Party’s Ratable Percentage Shares. The failure of a Party to notify the Transferor of its election of
                        the Tag-Along Right within such 30 day period shall be deemed to constitute a waiver of such Party’s Tag-Along
                        Right with respect to such Transfer. If the Drag-Tag Buyer is unwilling to purchase the Transferor Shares and all
                        of the Party Shares desired to be sold by Parties exercising the Tag-Along Right, then, at the Transferor’s sole
                        option, either (i) the transaction shall not be consummated or (ii) each of the Transferor Shares and the Party
                        Shares desired to be sold in the transaction by Parties exercising the Tag-Along Right shall be ratably reduced to
                        equal an amount of shares determined by multiplying the Transferor Shares or the applicable Party Shares, as the
                        case may be, by a fraction, the numerator of which is the total number of shares which the Drag-Tag Buyer
                        agrees to purchase in the transaction and the denominator of which is the total number of Transferor Shares and
                        Party Shares desired to be sold in the transaction.


                                                                     8




27 of 42                                                                                                                          1/26/2018, 5:06 PM
           Case 3:16-bk-02230-PMG                   Doc 1118            Filed 07/18/18             Page 323 of 352
                                                                     https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




               (c) If the Transferor exercises the Drag-Along Right, each Party shall, and each Party who exercises the Tag-Along
                   Right shall, take such actions as reasonably necessary to consummate the applicable transaction, including,
                   without limitation, to execute and deliver a definitive purchase and sale (or other similar) agreement, in
                   substantially the same form and substance as the definitive agreement executed and delivered by the Transferor;
                   provided, that (i) if the Transferor exercises the Drag-Along Right, no Party will be required to provide
                   representations and warranties other than several (and not joint) representations and warranties, and indemnities
                   with respect thereto, substantially similar in scope and substance (other than to conform the same to the
                   applicable transaction) to the representations and warranties made by the DK Shareholders in the Agreement,
                   and (ii) if the Tag-Along Right is exercised, (A) the representations and warranties relating specifically to a Party
                   participating in the transaction shall be made only by such Party and any indemnification provided by any Party
                   participating in the transaction with respect to the Company, if any, shall be based on the shares being
                   Transferred by each of them vis a vis all of the shares in the Company being Transferred in the transaction, on a
                   several, not joint, basis, (B) no Party shall be required to provide any indemnity in such transaction that provides
                   for liability to such Party in excess of the amount of proceeds actually received by such Party in such transaction,
                   and (C) each of the Transferor and each Party participating in the transaction shall bear its pro rata share of the
                   costs of the transactions based on the net proceeds to be received by each such person in connection with the
                   transaction to the extent such costs are incurred for the benefit of persons selling shares in the transaction and are
                   not paid by the Drag-Tag Buyer.

               (d) The Transferor shall have 120 days following the date of the Transferor Notice in which to consummate a
                   transaction subject to this Section 2.05 on the terms set forth in the Transferor Notice (which 120-day period
                   shall be extended for a reasonable time to the extent reasonably necessary to obtain any regulatory approvals or
                   if necessary to enable the Transferor and any Party as an insider of the Company to engage in a transaction in the
                   securities of the Company). If at the end of such period, the Transferor has not completed the transaction other
                   than as a result of any action or inaction by a Party in breach of this Agreement, the Transferor may not then
                   effect a transaction subject to this Section 2.05 without again fully complying with the provisions of this Section
                   2.05.


                                                                 9




28 of 42                                                                                                                      1/26/2018, 5:06 PM
                     Case 3:16-bk-02230-PMG                       Doc 1118            Filed 07/18/18             Page 324 of 352
                                                                                   https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                                                                    ARTICLE III
                                                           REPRESENTATIONS AND WARRANTIES

                    Section 3.01 Representations and Warranties. Each Party, severally and not jointly, represents and warrants to each of the
           other Parties, severally and not jointly, that:

                             (a) if such Stockholder is not a natural person, such Stockholder is duly organized and validly existing in good
                                 standing under the laws of the jurisdiction in which it is formed, and has the requisite power and authority to
                                 own its properties and to carry on its business as now being conducted;

                             (b) if such Stockholder is a natural person, such Stockholder is under no impairment or other disability, legal,
                                 physical, mental or otherwise, that would preclude or limit the ability of the Party to enter into this Agreement or
                                 perform his obligations hereunder;

                             (c) such Stockholder has the requisite power and authority to enter into and perform its or his obligations under this
                                 Agreement;

                             (d) the execution and delivery of this Agreement by such Stockholder have been duly authorized and, except for
                                 filings required under the Exchange Act, no further filing, consent, or authorization is required;

                             (e) this Agreement has been duly executed and delivered by such Stockholder, and constitutes the legal, valid and
                                 binding obligation of such Stockholder, enforceable against such Stockholder in accordance with the terms
                                 hereof, except as such enforceability may be limited by general principles of equity or applicable bankruptcy,
                                 insolvency, reorganization, moratorium, liquidation or similar laws relating to, or affecting generally, the
                                 enforcement of applicable creditors’ rights and remedies;

                             (f) the execution, delivery and performance of this Agreement and the consummation by such Stockholder of the
                                 transactions contemplated hereby do not and will not: (i) if such Stockholder is not a natural person, result in a
                                 violation of the organizational documents of such Stockholder; (ii) conflict with, or constitute a default (or an
                                 event which with notice or lapse of time or both would become a default) under, or give to others any rights of
                                 termination, amendment, acceleration or cancellation of, any agreement, indenture or instrument to which such
                                 Stockholder is a party or by which such Stockholder is bound or to which any of its or his assets or properties are
                                 subject; or (iii) result in a violation of any Law applicable to such Stockholder or by which any of his or its assets
                                 or properties is bound or affected; and


                                                                              10




29 of 42                                                                                                                                    1/26/2018, 5:06 PM
                      Case 3:16-bk-02230-PMG                         Doc 1118            Filed 07/18/18             Page 325 of 352
                                                                                      https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                               (g) except for this Agreement, the Merger Agreement, the Note and any agreements or arrangements that were
                                   terminated prior to the consummation of the transactions contemplated by the Merger Agreement, such
                                   Stockholder has not entered into or agreed to be bound by any other agreements or arrangements of any kind
                                   with any other party with respect to the shares of the Company’s Common Stock or any conversion rights in
                                   respect of the Note owned or held by such Stockholder, including agreements or arrangements with respect to the
                                   acquisition or disposition of such shares or any interest therein or the voting of such shares.

                                                                         ARTICLE IV
                                                                     TERM AND TERMINATION

                     Section 4.01 Termination. The term of this Agreement shall commence on the date hereof and shall terminate upon the
           earliest of (a) such time, if any, as no Party Shares remain subject to this Agreement, (b) the dissolution, liquidation, or winding up of the
           Company, (c) such time, if any, as the holder(s) of a majority of all of the Party Shares elect to terminate this Agreement by providing
           written notice of such termination to the Parties, (d) the fifth anniversary of the date hereof; provided, however, that solely in the case of
           clause (d), if any period for giving notice or exercising a right or option under, or otherwise complying with the provisions of or
           completing a transaction (or, if applicable, series of related transactions), under, Sections 2.03, 2.04 or 2.05 is in effect on the fifth
           anniversary of the date hereof, then solely with respect to such transaction (or, if applicable, series of related transactions), the provisions
           of Sections 2.03, 2.04 and 2.05, as the case may be, and the Parties’ respective obligations thereunder shall survive the termination of
           this Agreement in accordance with their terms.

                                                                          ARTICLE V
                                                                         MISCELLANEOUS

                     Section 5.01 Expenses; Prevailing Party. Each Party shall pay his or its own expenses (including attorneys’ fees) incident to
           this Agreement and the transactions contemplated herein. Notwithstanding the foregoing, in the event that any Party institutes any action
           or suit to enforce this Agreement or to secure relief from any default hereunder or breach hereof, the prevailing party shall be reimbursed
           by the losing party or parties for all costs and expenses, including reasonable attorneys’ fees and expenses, incurred in connection
           therewith and in enforcing or collecting any judgment rendered therein.


                                                                                 11




30 of 42                                                                                                                                        1/26/2018, 5:06 PM
                      Case 3:16-bk-02230-PMG                         Doc 1118            Filed 07/18/18            Page 326 of 352
                                                                                      https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                    Section 5.02 Notices. Any and all notices or other communications or deliveries required or permitted to be provided under
           this Agreement shall be in writing and shall be deemed given and effective on the earliest of (a) the business day following the date of
           mailing, if sent by nationally recognized overnight courier service, specifying next business day delivery, (b) the third business day
           following the date of mailing, if sent by certified mail, return receipt requested, postage prepaid, or (c) upon actual receipt by the Party to
           whom such notice is required to be given if delivered by hand. The address for such notices and communications shall be as follows:

                    (a)      If to Daoping Bao:
                             5790 126A Street
                             Surrey, British Columbia V3X 3H6
                             Canada

                             Attention:    Daoping Bao
                             Facsimile:    (604) 277-1617
                             Email:        daoping@dinosaursunearthed.com

                             with a copy to:

                             Dentons Canada LLP
                             20th Floor, 250 Howe Street
                             Vancouver, British Columbia V6C 3R8
                             Canada

                             Attention:    Catherine Wade
                             Facsimile:    (604) 683-5214
                             Email:        Catherine.Wade@dentons.com

                    (b)      If to Nancy Brenner:
                             18 - 1828 Lilac Drive
                             Surrey, British Columbia V4A 5C9
                             Canada

                             Attention:    Nancy Brenner
                             Facsimile:    (604) 277-1617
                             Email:        nancy@dinosaursunearthed.com

                             with a copy to:

                             Dentons Canada LLP
                             20th Floor, 250 Howe Street
                             Vancouver, British Columbia V6C 3R8
                             Canada

                             Attention:    Catherine Wade
                             Facsimile:    (604) 683-5214
                             Email:        Catherine.Wade@dentons.com


                                                                                 12




31 of 42                                                                                                                                       1/26/2018, 5:06 PM
                      Case 3:16-bk-02230-PMG                        Doc 1118            Filed 07/18/18            Page 327 of 352
                                                                                     https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                    (c)      If to DK Investor Group:
                             Dinoking Tech Inc.
                             c/o Daoping Bao
                             #110 - 11188 Featherstone Way
                             Richmond, British Columbia V6W 1K9
                             Canada

                             Attention:    Daoping Bao
                             Facsimile:    (604) 277-1617
                             Email:        daoping@dinosaursunearthed.com

                             with a copy to:

                             Dentons Canada LLP
                             20th Floor, 250 Howe Street
                             Vancouver, British Columbia V6C 3R8
                             Canada

                             Attention:    Catherine Wade
                             Facsimile:    (604) 683-5214
                             Email:        Catherine.Wade@dentons.com

           or, in each case or in the case of a subsequently admitted Party to this Agreement, to such other address as may be designated in writing
           hereafter, in the same manner, by such Party by prior notice to the other Party or Parties, as the case may be, in accordance with this
           Section 5.02.

                     Section 5.03 Governing Law; Waiver of Jury Trial. All questions concerning the construction, validity, enforcement and
           interpretation of this Agreement shall be governed by and construed and enforced in accordance with the internal Laws of the State of
           Florida, without regard to the principles of conflicts of law thereof. Each Party agrees that all legal proceedings concerning the
           interpretation, enforcement and defense of this Agreement or the transactions contemplated by this Agreement (whether brought against
           a Party hereto or his or its respective Affiliates, directors, officers, securityholders, members, employees or agents) shall be commenced
           exclusively in the state or federal courts sitting in Florida. Each Party hereto hereby irrevocably submits to the exclusive jurisdiction of
           the state and federal courts sitting in Florida for the adjudication of any dispute hereunder or in connection herewith or with any
           transaction contemplated hereby or discussed herein (including with respect to the interpretation or enforcement of this Agreement), and
           hereby irrevocably waives, and agrees not to assert in any Proceeding, any claim that it is not personally subject to the jurisdiction of any
           such court or that such Proceeding is improper. Each Party hereto hereby irrevocably waives personal service of process and consents to
           process being served in any such Proceeding by mailing a copy thereof via registered or certified mail or overnight delivery (with
           evidence of delivery) to such Party at the address in effect for notices to it under this Agreement and agrees that such service shall
           constitute good and sufficient service of process and notice thereof. Nothing contained herein shall be deemed to limit in any way any
           right to serve process in any manner permitted by applicable Law.


                                                                                13




32 of 42                                                                                                                                      1/26/2018, 5:06 PM
                      Case 3:16-bk-02230-PMG                         Doc 1118            Filed 07/18/18             Page 328 of 352
                                                                                      https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                 TO THE FULLEST EXTENT PERMITTED BY LAW, THE PARTIES HERETO HEREBY WAIVE THEIR
           RESPECTIVE RIGHTS TO A JURY TRIAL OF ANY CLAIM OR CAUSE OF ACTION BASED UPON OR ARISING OUT
           OF THIS AGREEMENT OR ANY DEALINGS BETWEEN THEM RELATING TO THE SUBJECT MATTER OF THIS
           TRANSACTION. THE SCOPE OF THIS WAIVER IS INTENDED TO BE ALL-ENCOMPASSING OF ANY AND ALL
           DISPUTES THAT RELATE TO THE SUBJECT MATTER OF THIS AGREEMENT, INCLUDING, WITHOUT
           LIMITATION, CONTRACT CLAIMS, TORT CLAIMS, BREACH OF DUTY CLAIMS, AND ALL OTHER COMMON LAW
           AND STATUTORY CLAIMS. IN THE EVENT OF LITIGATION, THIS AGREEMENT MAY BE FILED AS A WRITTEN
           CONSENT TO A TRIAL BY THE COURT.

                   Section 5.04 Titles and Headings. The titles and headings in this Agreement are for reference purposes only, and shall not in
           any way affect the meaning or interpretation of this Agreement.

                     Section 5.05 Severability. Any provision of this Agreement that is prohibited or unenforceable in any jurisdiction shall, as to
           such jurisdiction, be ineffective to the extent of such prohibition or unenforceability without invalidating the remaining provisions
           hereof, and any such prohibition or unenforceability in any jurisdiction shall not invalidate or render unenforceable such provision in any
           other jurisdiction. If any court of competent jurisdiction determines that any term or provision hereof, or any part of any such term or
           provision is invalid or unenforceable, such term or provision, or part thereof, shall be enforced to the full extent permitted by such court,
           and all other terms and provisions shall not thereby be affected and shall be given full effect, without regard to the invalid provisions or
           portions.

                    Section 5.06 Entire Agreement. This Agreement, the Merger Agreement, the Note and the other documents being executed
           by the parties in connection with the Merger Agreement constitute the entire agreement of the Parties with respect to the subject matter
           contained herein and supersede all prior and contemporaneous understandings and agreements, both written and oral, with respect to
           such subject matter.

                     Section 5.07 Successors and Assigns. This Agreement shall be binding upon and shall inure to the benefit of the Parties
           hereto and their respective heirs, successors, legal representatives, and permitted assigns and, to the extent set forth herein, transferees.

                   Section 5.08 No Third Party Beneficiaries. Nothing expressed or implied in this Agreement is intended, or shall be
           construed, to confer upon any person or entity other than the Parties hereto and their respective heirs, successors, legal representatives,
           and permitted assigns and, to the extent set forth herein, transferees, any rights or remedies under or by reason of this Agreement.


                                                                                 14




33 of 42                                                                                                                                        1/26/2018, 5:06 PM
                      Case 3:16-bk-02230-PMG                        Doc 1118            Filed 07/18/18            Page 329 of 352
                                                                                     https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                    Section 5.09 Amendment and Modification; Waiver. This Agreement may only be amended, modified or supplemented by
           an agreement in writing signed by the holder(s) of a majority of the Party Shares then subject to this Agreement. No waiver by any party
           of any of the provisions hereof shall be effective unless explicitly set forth in writing and signed by the Party so waiving. No waiver by
           any Party shall operate or be construed as a waiver in respect of any failure, breach or default not expressly identified by such written
           waiver, whether of a similar or different character, and whether occurring before or after that waiver. No failure to exercise, or delay in
           exercising, any right, remedy, power or privilege arising from this Agreement shall operate or be construed as a waiver thereof; nor shall
           any single or partial exercise of any right, remedy, power or privilege hereunder preclude any other or further exercise thereof or the
           exercise of any other right, remedy, power or privilege.

                     Section 5.10 Counterparts. This Agreement may be executed in counterparts, each of which shall be deemed an original
           agreement, but all of which together shall constitute one and the same instrument. This Agreement may be transmitted by facsimile or
           electronically, and it is the intent of the parties that the facsimile copy (or a photocopy or PDF copy) of any signature printed by a
           receiving facsimile machine or computer printer shall be deemed an original signature and shall have the same force and effect as an
           original signature.

                    Section 5.11 Further Assurances. The Parties hereto shall from time to time execute and deliver all such further documents
           and instruments and do all acts and things as the other Parties (in particular, the party or parties whose rights and privileges may be
           affected or at issue) may reasonably request or require to effectively carry out or better evidence or perfect the full intent and meaning of
           this Agreement.

                     Section 5.12 Equitable Remedies. Each Party hereto acknowledges that the other Party or Parties hereto would be
           irreparably damaged in the event of a breach or threatened breach by such Party of any of its obligations under this Agreement and
           hereby agrees that in the event of a breach or a threatened breach by such Party of any such obligations, each of the other Parties hereto
           shall, in addition to any and all other rights and remedies that may be available to them in respect of such breach under this Agreement,
           at law or in equity, be entitled to an injunction from a court of competent jurisdiction (without any requirement to post bond) granting
           specific performance by such Party of its obligations under this Agreement.

                    Section 5.13    Legend on Stock Certificates.

                               (a) In addition to any legends required by applicable Law, (i) each stock certificate representing any Party Shares
                                   shall bear a legend in substantially the form set forth in paragraph (b) below for so long as this Agreement
                                   remains in effect.


                                                                                15




34 of 42                                                                                                                                      1/26/2018, 5:06 PM
            Case 3:16-bk-02230-PMG                       Doc 1118            Filed 07/18/18            Page 330 of 352
                                                                          https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                    (b) The restrictive legend referenced in paragraph (a) above shall be in substantially the following form:

           “THE SHARES REPRESENTED BY THIS CERTIFICATE ARE SUBJECT TO THAT CERTAIN STOCKHOLDERS AGREEMENT, DATED APRIL 2,
           2015, AND ALL AMENDMENTS THERETO, COPIES OF WHICH ARE ON FILE AT THE PRINCIPAL OFFICE OF THE COMPANY, AND
           VOLUNTARY OR INVOLUNTARY SALE, PLEDGE, ASSIGNMENT, HYPOTHECATION, GIFT, OR OTHER DISPOSITION OR TRANSFER (AS
           DEFINED IN SUCH STOCKHOLDERS AGREEMENT) OF THE SHARES REPRESENTED BY THIS CERTIFICATE OR ANY INTEREST THEREIN
           SHALL BE SUBJECT TO THE TERMS OF SUCH STOCKHOLDERS AGREEMENT AND THE SHARES REPRESENTED HEREBY SHALL
           REMAIN SUBJECT TO THE TERMS OF SUCH STOCKHOLDERS AGREEMENT NOTWITHSTANDING ANY SUCH TRANSFER.”


                    (c) The Parties hereby agree to immediately submit to the Company the stock certificates held by each of them
                        representing the Party Shares, as the case may be, for inscription of the aforesaid restrictive legend thereon.

                    (d) Notwithstanding the foregoing or anything to the contrary contained herein, the enforceability of this
                        Agreement, including, without limitation, the proxy granted hereby, shall not be affected by the fact that the
                        stock certificates representing any Party Shares have not been delivered as provided for herein or that such stock
                        certificates may not bear any legend with respect to the provisions of this Agreement.

           Section 5.14   Construction; Interpretation.

                    (a) This Agreement shall be interpreted and construed without regard to any rule or presumption requiring that this
                        Agreement be interpreted or construed against the party causing this Agreement to be drafted.

                    (b) Whenever the context of this Agreement permits, the masculine or neuter gender shall include the feminine,
                        masculine and neuter genders, and any reference to the singular or plural shall be interchangeable with the other.

                    (c) For the avoidance of doubt, the terms “Common Stock,” and “Party Shares” as used throughout this
                        Agreement shall refer to the Company’s Common Stock or shares thereof, as the context may require, and any
                        other securities into which the Company’s Common Stock may be converted during the term of this Agreement.

                                                    [SIGNATURE PAGE FOLLOWS]



                                                                     16




35 of 42                                                                                                                          1/26/2018, 5:06 PM
           Case 3:16-bk-02230-PMG   Doc 1118      Filed 07/18/18         Page 331 of 352
                                               https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                                          17




36 of 42                                                                                        1/26/2018, 5:06 PM
           Case 3:16-bk-02230-PMG   Doc 1118      Filed 07/18/18         Page 332 of 352
                                               https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




37 of 42                                                                                        1/26/2018, 5:06 PM
                     Case 3:16-bk-02230-PMG                       Doc 1118           Filed 07/18/18           Page 333 of 352
                                                                                 https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                                                                        EXHIBIT A

                                                                 Form of Joinder Agreement

                  Reference is hereby made to that certain Stockholders Agreement, dated as ________, 2015 (as amended from time to time, the
           "Stockholders Agreement"), by the DK Shareholders and the DK Investor Group, as defined therein, and the other Stockholders which
           may have become a party thereto from time to time.

                   Pursuant to and in accordance with Sections 2.02 and 2.04 of the Stockholders Agreement, the undersigned hereby agrees that
           upon the execution of this Joinder Agreement, (a) the undersigned shall become a party to the Stockholders Agreement as a Party, (b) the
           undersigned shall be fully bound by, and subject to, all of the covenants, terms and conditions of the Stockholders Agreement as a Party
           as though an original party thereto, and (c) the shares of the Company’s Common Stock acquired on the date hereof by the undersigned
           from __________ shall be deemed to be [Party] Shares for all purposes of the Stockholders Agreement.

                   Capitalized terms used herein without definition shall have the meanings ascribed to such terms in the Stockholders Agreement.

           IN WITNESS WHEREOF, the undersigned has executed this Joinder Agreement as of _____________.

                                                                                [Transferee Stockholder Name]

                                                                                By
                                                                                Name:
                                                                                Title:

                                                                              Address:




38 of 42                                                                                                                                 1/26/2018, 5:06 PM
                      Case 3:16-bk-02230-PMG                       Doc 1118           Filed 07/18/18            Page 334 of 352
                                                                                  https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                                                                                                                                           Exhibit 3

                                                                 JOINDER AGREEMENT

                  Reference is hereby made to that certain Stockholders Agreement, dated as April 2, 2015 (as amended from time to time, the
           "Stockholders Agreement"), by the DK Shareholders and the DK Investor Group, as defined therein, and the other Stockholders which
           may have become a party thereto from time to time.

                     The undersigned confirms that it is a part of the DK Investor Group and will be advancing funds under the Note, as defined in
           the Stockholders Agreement and hereby agrees that upon the execution of this Joinder Agreement, (a) the undersigned shall become a
           party to the Stockholders Agreement as a Party, (b) the undersigned shall be fully bound by, and subject to, all of the covenants, terms
           and conditions of the Stockholders Agreement as a Party as though an original party thereto.

                    Capitalized terms used herein without definition shall have the meanings ascribed to such terms in the Stockholders Agreement.

           IN WITNESS WHEREOF, the undersigned has executed this Joinder Agreement as of April 2, 2015.

                                                                                 MANDRA FORESTRY LIMITED


                                                                                 By:        /s/ ZHANG SONG-YI
                                                                                 Name:      ZHANG SONG-YI
                                                                                 Title:


                                                                                 Address: c/o Porticullis TrustNet (BVI) Limited


                                                                                 Porticullis TrustNet Chambers, PO Box 3444


                                                                                 Road Town, Tortola
                                                                                 British Virgin Islands




39 of 42                                                                                                                                   1/26/2018, 5:06 PM
           Case 3:16-bk-02230-PMG   Doc 1118      Filed 07/18/18         Page 335 of 352
                                               https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




                                                                                                Exhibit 4




40 of 42                                                                                        1/26/2018, 5:06 PM
           Case 3:16-bk-02230-PMG   Doc 1118      Filed 07/18/18         Page 336 of 352
                                               https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




41 of 42                                                                                        1/26/2018, 5:06 PM
           Case 3:16-bk-02230-PMG   Doc 1118      Filed 07/18/18         Page 337 of 352
                                               https://www.sec.gov/Archives/edgar/data/796764/000114420416091888...




42 of 42                                                                                        1/26/2018, 5:06 PM
Case 3:16-bk-02230-PMG   Doc 1118   Filed 07/18/18   Page 338 of 352




                Exhibit 3
Case 3:16-bk-02230-PMG   Doc 1118   Filed 07/18/18   Page 339 of 352
Case 3:16-bk-02230-PMG   Doc 1118   Filed 07/18/18   Page 340 of 352
Case 3:16-bk-02230-PMG   Doc 1118   Filed 07/18/18   Page 341 of 352
Case 3:16-bk-02230-PMG   Doc 1118   Filed 07/18/18   Page 342 of 352
Case 3:16-bk-02230-PMG   Doc 1118   Filed 07/18/18   Page 343 of 352




                Exhibit 4
       Case 3:16-bk-02230-PMG          Doc 1118     Filed 07/18/18     Page 344 of 352


 Case 2:93-cv-00902-RBS Document 450 Filed 07/09/18 Page 1 of 3 PageID# 731



                         THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division


R.M.S. TITANIC, INC.,
Successor in interest to Titanic
Ventures, limited partnership,

       Plaintiff,

v.                                                  Civil Action No.: 2:93cv902

The Wrecked and Abandoned
Vessel, . . . believed to be
The RMS TITANIC, in rem,

       Defendant.


                                   NOTICE OF APPEARANCE

       COMES NOW Edward J. Powers of the law firm of Vandeventer Black LLP, and

files this Notice of Appearance as counsel on behalf of the National Maritime Museum, located

at Greenwich, England, as interested party, potential bidder for the STAC, and proponent of a

chapter 11 plan and related disclosure statement in the matter captioned “In re: RMS TITANIC,

Inc. et al.,” bearing docket number 3:16-bk-02230-PMG pending in the United States

Bankruptcy Court for the Middle District of Florida which provides for the purchase of the

STAC by, inter alia, the National Maritime Museum.



                                            NATIONAL MARITIME MUSEUM

                                            By: /s/ Edward J. Powers
                                                      Of Counsel
    Case 3:16-bk-02230-PMG         Doc 1118   Filed 07/18/18   Page 345 of 352
 Case 2:93-cv-00902-RBS Document 450 Filed 07/09/18 Page 2 of 3 PageID# 732



Edward J. Powers, Esq. (VSB No. 32146)
Vandeventer Black LLP
101 West Main Street, Suite 500
Norfolk, VA 23510
Telephone: (757) 446-8600
Facsimile: (757) 446-8670
epowers@vanblacklaw.com
Counsel for National Maritime Museum




                                         2
     Case 3:16-bk-02230-PMG           Doc 1118      Filed 07/18/18    Page 346 of 352
 Case 2:93-cv-00902-RBS Document 450 Filed 07/09/18 Page 3 of 3 PageID# 733




                               CERTIFICATE OF SERVICE

The undersigned hereby certifies that the foregoing pleading was electronically filed with the
Court’s ECF system causing ECF notification to be sent to all counsel of record.



                                                  /s/ Edward J. Powers

Edward J. Powers, Esq. (VSB No. 32146)
Vandeventer Black LLP
101 West Main Street, Suite 500
Norfolk, VA 23510
Telephone: (757) 446-8600
Facsimile: (757) 446-8670
epowers@vanblacklaw.com




                                              3
Case 3:16-bk-02230-PMG   Doc 1118   Filed 07/18/18   Page 347 of 352




                Exhibit 5
Case 3:16-bk-02230-PMG      Doc 1118    Filed 07/18/18   Page 348 of 352

Case 2:93-cv-00902-RBS Document 453 Filed 07/12/18 Page 1 of 5 PageID# 736
Case 3:16-bk-02230-PMG      Doc 1118    Filed 07/18/18   Page 349 of 352

Case 2:93-cv-00902-RBS Document 453 Filed 07/12/18 Page 2 of 5 PageID# 737
Case 3:16-bk-02230-PMG      Doc 1118    Filed 07/18/18   Page 350 of 352

Case 2:93-cv-00902-RBS Document 453 Filed 07/12/18 Page 3 of 5 PageID# 738
Case 3:16-bk-02230-PMG      Doc 1118    Filed 07/18/18   Page 351 of 352

Case 2:93-cv-00902-RBS Document 453 Filed 07/12/18 Page 4 of 5 PageID# 739
Case 3:16-bk-02230-PMG      Doc 1118    Filed 07/18/18   Page 352 of 352

Case 2:93-cv-00902-RBS Document 453 Filed 07/12/18 Page 5 of 5 PageID# 740
